           Case: 21-2316      Document: 17        Page: 1   Filed: 12/14/2021




                         Appeal Nos. 2021-2316, 2021-2317

    UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

BLUE GENTIAN, LLC, NATIONAL EXPRESS, INC., TELEBRANDS CORPO-
                          RATION,
                                     Plaintiffs-Appellants,
                             v.
                   TRISTAR PRODUCTS, INC.,
                                    Defendant-Appellee.

                Appeal from the United States District Court for the
          District of New Jersey in Case No. 1:13-cv-01758-NLH-AMD,
                        Honorable Judge Noel L. Hillman


    TRISTAR PRODUCTS, INC.’S OPPOSED MOTION TO DISMISS FOR
             LACK OF JURISDICTION RESULTING FROM
                ABSENCE OF A FINAL JUDGMENT

       This appeal should be dismissed and the case remanded to the District Court

because Appellant Telebrands Corp. has failed to take the necessary steps below to

reach a final, appealable judgment. Telebrands’ consolidated appeal 1 is premature,

and this Court lacks jurisdiction to proceed. 2

       While Telebrands tells the Court there is already a final judgment below




1
  Plaintiffs’ first (February 14, 2020) and second (September 10, 2021) notices of
appeal (Exs. F, N (Dkts. 555, 571)) were eventually docketed as 22-2316 and 22-
2317 on September 16, 2021, and consolidated in docket 22-2316.
2
  Appellant has stated that it opposes this motion and will file a response.

                                           1
             Case: 21-2316    Document: 17      Page: 2    Filed: 12/14/2021




(e.g., DE3 9 at 1, 4 (Appellant Telebrands’ docketing statement)), Telebrands actu-

ally appealed a judgment concerning only one of Appellee’s counterclaims (Exs. F,

N (Dkts. 555, 571)), and numerous other claims remain pending in the District

Court—including Telebrands’ own claims (together with the remaining Plaintiffs

who are not appellants here) for infringement of the six Asserted Patents,4 as well

as Tristar Products, Inc.’s counterclaims for declarations of non-infringement, in-

validity, and unenforceability, and for a declaration that Tristar is a licensee, of

each of the Asserted Patents (along with, e.g., Appellee’s claims for costs and

fees). Although Telebrands is correct that the ruling below on Appellee Tristar’s

correction of inventorship counterclaims means “Plaintiffs’ patent suit must be dis-

missed” (DE 9 at 4), this has not yet occurred. Plaintiffs’ infringement claims, and

these other claims of Tristar’s, have not yet been dismissed or otherwise finally ad-

judicated.

      Moreover, Telebrands clearly recognizes this: together with the two other

Plaintiffs who have since pulled out of this appeal, Telebrands filed two separate

notices of appeal nineteen months apart, and between these notices Telebrands pur-

sued Rule 54(b) certification from the District Court so that it could appeal despite




3
 Citations to “DE” refer to the docket on appeal, and “Dkt.” to the docket below.
4
 U.S. Pat. Nos. 8,291,941, 8,291,942, 8,479,776, 8,757,213, D722,681, and
D724,186.

                                           2
           Case: 21-2316      Document: 17    Page: 3     Filed: 12/14/2021




the other pending claims. Certification was denied without prejudice pending me-

diation, but with a clear invitation to renew the motion if (as occurred) mediation

was unsuccessful. Telebrands, however, ignored that invitation, and it declined

several proposals from Tristar (over three months of discussions) to address the re-

maining claims below and establish proper jurisdiction.

      It is clear Telebrands intends, instead, to progress with substantive briefing

in the hopes this Court may permit it to clean up its jurisdictional defect informally

at some later stage. But Telebrands’ knowing pursuit of this appeal now without

the required finality risks the “needless delay and inefficiency” this Court has re-

peatedly cautioned against. E.g., Pause Tech. LLC v. TiVo Inc., 401 F.3d 1290,

1293 (Fed. Cir. 2005). Because this Court lacks jurisdiction, it should dismiss the

appeal and remand before Telebrands continues to impose further unnecessary ex-

pense and burdens both on this Court and Appellee Tristar.


I.    Background

      A.     Multiple Unadjudicated Claims Remain Pending Below

      The current Plaintiffs below are Blue Gentian, LLC, National Express, Inc.,

and Telebrands (which was joined as a Plaintiff and Counterclaim Defendant on

June 19, 2017 (Ex. B (Dkt. 289))). Plaintiffs’ operative pleading is their Fifth




                                          3
           Case: 21-2316      Document: 17     Page: 4    Filed: 12/14/2021




Amended Complaint against Defendants Tristar and Wal-Mart Stores, Inc., 5 alleg-

ing infringement of the six Asserted Patents. Ex. A (Dkt. 166). Appellee Tristar’s

operative pleading below is its Amended Answer to Fifth Amended Complaint,

Affirmative Defenses, and Counterclaims (Ex. C (Dkt. 352)), which includes coun-

terclaims for a declaration of non-infringement, a declaration of invalidity, a decla-

ration of unenforceability, and a declaration that Tristar is a licensee of each As-

serted Patent, as well as for correction of inventorship of each Asserted Patent.

Id.

      Plaintiffs’ claims for infringement remain pending; they have not yet been

dismissed or otherwise finally adjudicated in the District Court, and the Plaintiffs

below are not all present here before this Court as appellants. See DE 15 (granting

motion of Blue Gentian and National Express to withdraw from appeal). The

Court has also not dismissed or otherwise adjudicated any of Appellee Tristar’s

counterclaims other than inventorship, the sole issue Telebrands seeks to appeal. 6



5
 Plaintiffs and Defendant Walmart stipulated to the dismissal of this action against
Walmart on May 13, 2020 (Ex. I (Dkt. 565)), after Plaintiffs’ first notice of appeal
here (Ex. F (Dkt. 555)), leaving Tristar as the sole remaining Defendant.
6
  On January 16, 2020, the District Court rendered an Opinion (Ex. E (Dkt. 545))
and ordered the entry of judgment in favor of Defendants Tristar and Walmart as to
Defendants’ counterclaims for correction of inventorship of the six Asserted Pa-
tents (Ex. D (Dkt. 548)). On August 12, 2021, the district court (in response to
Tristar’s motion for limited clarification) entered the Amended Opinion (Ex. M
(Dkt. 569)) and left its judgment on Appellee Tristar’s counterclaims for correction

                                           4
            Case: 21-2316      Document: 17     Page: 5    Filed: 12/14/2021




      B.     Plaintiffs Filed Two Notices of Appeal, Nineteen Months Apart,
             Without Ever Reaching Final Judgment
      On January 31, 2020, Plaintiffs (including Appellant Telebrands) moved for

certification under Fed. R. Civ. P. 54(b) of the District Court’s judgment regarding

Defendants’ inventorship counterclaims, or in the alternative “entry of a final judg-

ment.” E.g., EX. G (Dkt. 550). At the same time, Plaintiffs sought to stay District

Court proceedings on all remaining claims. See id. On February 14, 2020, Plain-

tiffs filed their first notice of appeal, appealing only the District Court’s ruling on

Defendants’ correction of inventorship counterclaims. See Ex. F (Dkt. 555) (ap-

pealing “from the Judgment and Opinion (Docket Nos. 545 & 548) entered in this

action on January 16, 2020, entered in favor of Defendants as to Defendants’

claims for Correction of Inventorship” (emphasis added)). Plaintiffs also contin-

ued to urge their motion for Rule 54(b) certification 7 and a stay of District Court

proceedings. Ex. H (Dkt. 562) (Reply filed February 24, 2020); cf. Ex. J (Dkt.

558) at 3 n.3 (Defendants noting Plaintiffs’ notice of appeal was premature).




of inventorship (Ex. D (Dkt. 548)) undisturbed.
7
  See, e.g., Meade Instruments Corp. v. Reddwarf Starware, LLC, 2000 U.S. App.
LEXIS 17877, *8 (Fed. Cir. June 23, 2000) (nonprec.) (“Reddwarf’s motion for
Rule 54(b) certification belies any notion that it was under the mistaken impression
that the district court’s order was final and appealable.”).

                                            5
           Case: 21-2316      Document: 17    Page: 6    Filed: 12/14/2021




      On August 12, 2021, the District Court denied without prejudice Plaintiffs’

motion for Rule 54(b) certification in light of pending mediation, but invited re-

newal of the motion if mediation was unsuccessful. Ex. K (Dkt. 567) at 18–19,

23–24 (“If the mediation is unsuccessful, …the Court finds a longer stay for certi-

fication may be appropriate.”). As noted, the District Court on August 12, 2021

also made limited clarifications to the Opinion accompanying its ruling on Tristar’s

correction of inventorship counterclaims (Exs. K–M (Dkts. 567–569)), but no

changes to the January 16, 2020 judgment itself. Ex. D (Dkt. 548). Plaintiffs

nonetheless appealed again on September 10, 2021, despite the earlier denial of

their Rule 54(b) motion and the many other claims still pending. Plaintiffs’ second

notice of appeal was again limited to the District Court’s disposition of Tristar’s

correction of inventorship counterclaims. See Ex. N (Dkt. 571) (appealing “from

the Opinion and Judgment (Docket Nos. 545 & 548) as entered in this action on

January 16, 2020, and Amended Opinion (Docket No. 567), as entered in this ac-

tion on August 12, 2021, entered in favor of Defendants as to Defendants’ claims

for Correction of Inventorship”).

      Upon Plaintiffs’ filing of their September notice, Defendants again reached

out to warn that this appeal, too, was premature as there was no final judgment.

Since then, Appellee Tristar has sought resolution of Telebrands’ jurisdictional de-

fect without the imposition of further burden, risk, and expense on Tristar and the


                                          6
           Case: 21-2316      Document: 17     Page: 7    Filed: 12/14/2021




courts involved. However, Telebrands (with the other Plaintiffs below) has re-

jected those proposals. Accordingly, Appellee Tristar must seek relief from the

Court and dismissal of this appeal.


II.   Argument
      Telebrands’ consolidated appeal, like both notices on which it is based, is

premature because—despite Telebrands’ assertion—there is no “Final Judgment.”

Cf. DE 9 at 1. In particular, there is no decision that “ends the litigation on the

merits and leaves nothing for the district court to do but execute the judgment.”

See, e.g., Nystrom v. TREX Co., 339 F.3d 1347, 1350 (Fed. Cir. 2003) (quoting

Caitlin v. U.S., 324 U.S. 229 (1945)); Elliott v. Archdiocese of N.Y., 682 F.3d 213,

219 (3d Cir. 2012) (“Generally, an order which terminates fewer than all claims

pending in an action or claims against fewer than all the parties to an action does

not constitute a ‘final’ order for purposes of 28 U.S.C. § 1291”).8 Nor is there any

Rule 54(b) certification. As explained above, Plaintiffs’ (including Telebrands’)

still-pending claims for infringement, as well as Appellee Tristar’s still-pending




8
 See, e.g., W.L. Gore & Assocs. v. Int’l Med. Prosthetics Research, 975 F.2d 858,
861, 864 (Fed. Cir. 1992) (looking to Supreme Court case law, as well as Federal
Circuit and pertinent regional (Ninth) circuit case law and then the law of all cir-
cuits, as necessary, for guidance in considering meaning of “finality” for Rule
54(b) purposes and “traditional notions of finality”).

                                           7
           Case: 21-2316      Document: 17     Page: 8   Filed: 12/14/2021




counterclaims for declarations of non-infringement, invalidity, and unenforceabil-

ity, and a declaration that Tristar is a licensee of each Asserted Patent, have never

been dismissed or otherwise finally adjudicated, meaning the judgment appealed

from is not final. See, e.g., Nystrom, 339 F.3d at 1348 (“Because TREX’s invalid-

ity and unenforceability counterclaim… remains pending at the district court, the

judgment appealed is not final… Therefore, the court dismisses the appeal for lack

of jurisdiction”); Pause Tech., 401 F.3d at 1293–94 (dismissing appeal for lack of

jurisdiction where invalidity counterclaim remained unadjudicated; “There is no

dispute that the district court did not expressly dismiss the invalidity counterclaim

and that a pending counterclaim precludes jurisdiction absent certification under

Rule 54(b)”).

      That various of these claims could or should be dismissed in the future 9—as

Telebrands has argued, but now without participation on appeal of two other re-

maining Plaintiffs (see DE 12; DE 15)—cannot and does not create finality here,

and the consolidated appeal is clearly premature. E.g., Nystrom, 339 F.3d at 1350-

51 (outlining four paths the parties and district court could have taken to yield an

appeal with jurisdiction, but had not yet taken, in dismissing appeal for lack of ju-




9
 To be clear, Tristar has repeatedly identified to Telebrands ways in which finality
and disposition of the remaining claims could be achieved now, but Telebrands has
chosen not to pursue them.

                                          8
            Case: 21-2316     Document: 17     Page: 9    Filed: 12/14/2021




risdiction). Indeed, there is no colorable argument that the judgment here is fi-

nal—Telebrands’ own actions confirm it is not, and it is undisputed that numerous

claims remain pending below. This Court made the consequences of just this sort

of jurisdictional error clear in Pause Tech., which recognized that “parties too fre-

quently are not reviewing the actions of the district courts for finality before lodg-

ing appeals,” leading to “needless delay and inefficiency….” 401 F.3d at 1293.

This Court thus concluded it “will insist upon diligent compliance by counsel with

the rule of finality.” Id.

       Finally, Appellant Telebrands’ repeated suggestion over the last three

months that this defect can simply be brushed under the rug until oral argument 10 is

untenable, and would knowingly invite the “needless delay and inefficiency” this

Court has warned against. E.g., Pause Tech., 401 F.3d at 1293. Telebrands’ ap-

parent plan to seek forgiveness later, rather than reach a solution to this known ju-

risdictional defect now, is not only improper but also unworkable. Among other

things, two of the parties (Plaintiffs Blue Gentian and National Express) that would


10
  In particular, Telebrands has cited prior decisions permitting last-minute cures of
jurisdictional defects raised at oral argument. See, e.g., Amgen Inc. v. Amneal
Pharms. LLC, 945 F.3d 1368, 1374 (Fed. Cir. 2020) (“when questioned at oral ar-
gument about the jurisdictional defect in Zydus’s appeal, Zydus represented that it
would ‘give up’ its invalidity defense”); Synchronoss Techs., Inc. v. Dropbox, Inc.,
987 F.3d 1358, 1366 (Fed. Cir. 2021) (“During oral argument, Dropbox agreed to
give up its invalidity counterclaims”); CAE Screenplates, Inc. v. Heinrich Fiedler
GmbH, 224 F.3d 1308, 1316 (Fed. Cir. 2000) (“At oral argument, [appellant’s]
counsel… conceded… the district court’s claim construction resolved the issue”).

                                           9
           Case: 21-2316     Document: 17      Page: 10   Filed: 12/14/2021




be required to make an on-the-fly “deal” regarding Plaintiffs’ pending claims, as

Telebrands apparently contemplates, are not present in this appeal, having ex-

pressly withdrawn from it in coordination with Telebrands. See DE 12; DE 15.


III.   Conclusion
       As this Court has repeatedly warned it will do in cases like this one, the

Court should dismiss Appellant Telebrands’ clearly premature appeal and remand

to the District Court, where Plaintiffs may undertake to address this jurisdictional

defect.




Date: December 14, 2021                        /s/J. Steven Baughman
                                               J. Steven Baughman
                                               PAUL, WEISS, RIFKIND,
                                                   WHARTON & GARRISON LLP
                                               2001 K Street, NW
                                               Washington, DC 20006
                                               Tel. (202) 223-7300
                                               Fax. (202) 223-7420
                                               sbaughman@paulweiss.com




                                          10
           Case: 21-2316    Document: 17     Page: 11   Filed: 12/14/2021




                      CERTIFICATE OF COMPLIANCE

       This motion complies with the type-volume limitation of Fed. R. App. P.

27(d)(2)(A). The motion contains 2088 words, excluding parts exempted by Fed.

R. App. P. 32(f) and Federal Circuit Rule 32(b). The word count includes the

words counted by the Microsoft Word 2016 function.

       This motion also complies with the typeface and type style requirements of

Fed. R. App. P. 27(d)(1)(E). The motion has been prepared in a proportionally

spaced typeface using Microsoft Word 2016 in 14-point font of Times New Ro-

man.



Dated: December 14, 2021                     /s/ J. Steven Baughman
                                             J. Steven Baughman




                                        11
              Case: 21-2316         Document: 17   Page: 12   Filed: 12/14/2021



FORM 9. Certificate of Interest                                                   Form 9 (p. 1)
                                                                                     July 2020


                     UNITED STATES COURT OF APPEALS
                        FOR THE FEDERAL CIRCUIT

                                  CERTIFICATE OF INTEREST

            Case Number 2021-2316, 2021-2317
   Short Case Caption Blue Gentian, LLC v. Tristar Products, Inc.
   Filing Party/Entity Tristar Products, Inc.



 Instructions: Complete each section of the form. In answering items 2 and 3, be
 specific as to which represented entities the answers apply; lack of specificity may
 result in non-compliance. Please enter only one item per box; attach
 additional pages as needed and check the relevant box. Counsel must
 immediately file an amended Certificate of Interest if information changes. Fed.
 Cir. R. 47.4(b).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        09/30/2021
  Date: _________________                    Signature:   /s/ J. Steven Baughman

                                             Name:        J. Steven Baughman
              Case: 21-2316       Document: 17          Page: 13   Filed: 12/14/2021



FORM 9. Certificate of Interest                                                        Form 9 (p. 2)
                                                                                          July 2020


     1. Represented                   2. Real Party in             3. Parent Corporations
         Entities.                        Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).         Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of        Provide the full names of        Provide the full names of
 all entities represented         all real parties in interest     all parent corporations
 by undersigned counsel in        for the entities. Do not         for the entities and all
 this case.                       list the real parties if         publicly held companies
                                  they are the same as the         that own 10% or more
                                  entities.                        stock in the entities.

                                  ‫ ܆‬None/Not Applicable            ‫܆‬
                                                                   ✔ None/Not Applicable




                                           Mr. Gary Ragner;
    Tristar Products, Inc.              Ragner Technology Corp.                n/a




                                     Additional pages attached
                   Case: 21-2316                  Document: 17               Page: 14           Filed: 12/14/2021



FORM 9. Certificate of Interest                                                                                                Form 9 (p. 3)
                                                                                                                                  July 2020


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already
 entered an appearance in this court. Fed. Cir. R. 47.4(a)(4).
             None/Not Applicable                                               Additional pages attached

Edward Paul Bakos with Bakos & Kritzer



Noam Joseph Kritzer with Bakos & Kritzer




 5. Related Cases. Provide the case titles and numbers of any case known to be
 pending in this court or any other court or agency that will directly affect or be
 directly affected by this court’s decision in the pending appeal. Do not include the
 originating case number(s) for this case. Fed. Cir. R. 47.4(a)(5). See also Fed. Cir.
 R. 47.5(b).
              None/Not Applicable                                              Additional pages attached
   Tristar Prods., Inc. v. Nat'l Express, Inc.,     Telebrands Corp. v. Ragner Tech. Corp.,             Ragner Tech. Corp. v. Berardi,
   Case No. 2:13-cv-07752-ES-MAH (D.N.J.)          Case No. 2:16-cv-03594-ES-MAH (D.N.J.)               Case No. 1:15-cv-7752 (D.N.J.)


      Ragner Tech. Corp. v. Telebrands Corp.,       Telebrands Corp. v. Ragner Tech. Corp.,          Ragner Tech. Corp. v. True Value Co.,
   Case No. 2:15-cv-08185-ES-MAH (D.N.J.)           Case No. 2:16-cv-3474-ES-MAH (D.N.J.)              Case No. 1:15-cv-00741 (D. Del.)


      Telebrands Corp. v. Ragner Tech. Corp.,      Blue Gentian, LLC v. Tristar Prods., Inc.,           Ragner Tech. Corp. v. Berardi,
   Case No. 2:15-cv-03163-ES-MAH (D.N.J.)          Case No. 1:13-cv-7099-NLH-AMD (D.N.J.)       Case No. 50-2019-CA-006688 (Fla. 15th Cir. Ct.)




 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
  ✔           None/Not Applicable                                              Additional pages attached
            Case: 21-2316   Document: 17     Page: 15   Filed: 12/14/2021




                             TABLE OF CONTENTS

EXHIBIT NO. DOCUMENT                                              DISTRICT
                                                                  COURT
                                                                  DOCKET NO.
                                                                  (“Dkt.”)

Exhibit A         Fifth Amended Complaint For Patent              166
                  Infringement

Exhibit B         Order dtd. June 19, 2017                        289

Exhibit C         Defendant Tristar Products, Inc.’s Amended      352
                  Answer To Fifth Amended Complaint,
                  Affirmative Defenses, and Counterclaims

Exhibit D         Order dtd. January 16, 2020                     548

Exhibit E         Opinion dtd. January 16, 2020                   545

Exhibit F         Notice of Appeal dtd. February 14, 2020         555

Exhibit G         Notice of Motion Requesting Certification of    550
                  Judgment Under Rule 54(B) and Motion for
                  Stay of Order and Judgment (Docket Nos.
                  545 & 548) and of Certain Proceedings
                  Pending Appeal

Exhibit H         Reply Brief in Further Support of Plaintiffs’   562
                  Motion Requesting Certification of Judgment
                  Under Rule 54(B) and Motion for Stay of
                  Order and Judgment (Docket Nos. 545 &
                  548) and of Certain Proceedings Pending
                  Appeal

Exhibit I         Stipulation of Voluntary Dismissal Pursuant     565
                  to F.R.C.P. 41(a)(1)(A)(ii)

Exhibit J         Defendants’ Brief in Response to Plaintiffs’    558
                  Motion to Certify for Appeal Under Rule
                  54(B) and for Related Stay
            Case: 21-2316   Document: 17   Page: 16   Filed: 12/14/2021

                                                                          2


EXHIBIT NO. DOCUMENT                                            DISTRICT
                                                                COURT
                                                                DOCKET NO.
                                                                (“Dkt.”)

Exhibit K         Opinion dtd. August 12, 2021                  567

Exhibit L         Order dtd. August 12, 2021                    568

Exhibit M         Amended Opinion dtd. August 12, 2021          569

Exhibit N         [Amended] Notice of Appeal dtd. September     571
                  10, 2021
Case: 21-2316   Document: 17   Page: 17   Filed: 12/14/2021




                  EXHIBIT A
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  18 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  1 of 51 PageID: 2137



  Thomas R. Curtin
  George C. Jones
  GRAHAM CURTIN
  A Professional Association
  4 Headquarters Plaza
  P.O. Box 1991
  Morristown, New Jersey 07962-1991
  (973) 292-1700
  Attorneys for Plaintiffs
  Blue Gentian, LLC and National Express, Inc.

                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

                                                 :
  BLUE GENTIAN, LLC and                          :       Civil Action No. 13-1758 (NLH) (AMD)
  NATIONAL EXPRESS, INC.,                        :
                                                 :       Hon. Noel L. Hillman, U.S.D.J.
                         Plaintiffs,             :       Hon. Ann Marie Donio, U.S.M.J.
                                                 :
  v.                                             :
                                                 :
  TRISTAR PRODUCTS, INC., and                    :
  WAL-MART STORES, INC.,                         :
                                                 :
                         Defendants.             :
                                                 :

                FIFTH AMENDED COMPLAINT FOR PATENT INFRINGEMENT

         Plaintiffs, BLUE GENTIAN, LLC (“Blue Gentian”) and NATIONAL EXPRESS, INC.

  (“National Express”) sue Defendants TRISTAR PRODUCTS, INC. (“Tristar”), and WAL-

  MART STORES, INC. (“Wal-Mart”) for Patent Infringement under the Patent Act and complain

  as follows:

                                   JURISDICTION AND VENUE

         1.       This is an action for Patent Infringement under the Patent Act, 35 U.S.C. § 271.

         2.       This court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

  1338(a).


                                                     1
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  19 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  2 of 51 PageID: 2138



         3.      This court has personal jurisdiction over Tristar, which has its principal place of

  business in the State of New Jersey, has marketed and sold the accused Flex-Able Hose products

  throughout the State, and has submitted to jurisdiction in this Court by filing an Answer,

  Affirmative Defenses and Counterclaims in this action. This court has personal jurisdiction over

  Wal-Mart, which regularly conducts business throughout the State of New Jersey, including

  selling and offering to sell Tristar’s accused Flex-Able Hose products in its “Wal-Mart” and

  “Sam’s Club” and/or “Sam’s Wholesale Club” retail locations therein.

         4.      Venue is proper in this District, pursuant to 28 U.S.C. §§ 1391(b & c) and

  1400(b), because Tristar and Wal-Mart are each subject to personal jurisdiction in the District

  and have committed acts of Patent Infringement in the District.

                                          THE PARTIES

         5.      Plaintiff Blue Gentian is a Florida limited liability company having its principal

  place of business at 516 Les Jardin Drive, Florida.

         6.      Plaintiff National Express is a Connecticut corporation having its principal place

  of business at 2 Morgan Avenue, Norwalk, Connecticut.

         7.      Defendant Tristar is a Pennsylvania corporation having its principal place of

  business at 492 Route 46 East, Fairfield, New Jersey.

         8.      Defendant Wal-Mart is a Delaware corporation having its principal place of

  business at 702 SW 8th Street, Bentonville, Arkansas.

                                          BACKGROUND

         9.      Blue Gentian’s principal, Michael Berardi, has conceived and invented a novel

  hose product that is light in weight, does not kink when unwrapped or uncoiled, and can be

  substantially reduced in length and width when not in use simply by turning off the flow of water



                                                  2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  20 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  3 of 51 PageID: 2139



  into it. The product has been marketed in the United States, under the XHose® trademark, since

  March 24, 2012.

         10.     Blue Gentian is the owner of all intellectual property rights in connection with the

  XHose® product invented by Berardi including, without limitation, the patent rights asserted in

  this Complaint. Blue Gentian is the owner of U.S. Patent No. 8,757,213, entitled “Commercial

  Hose” and issued on June 24, 2014 (“the ‘213 Patent”). The ‘213 Patent is a continuation-in-part

  of the invention disclosed in U.S. Patent No. 8,479,776, entitled “Expandable Garden Hose” and

  issued on July 9, 2013 (“the ‘776 Patent”), which is a continuation-in-part of the inventions

  disclosed in U.S. Patent No. 8,291,941, entitled “Expandable and Contractible Hose” and issued

  on October 23, 2012 (“the ‘941 Patent”) and U.S. Patent No. 8,291,942, entitled “Expandable

  Hose Assembly” and also issued on October 23, 2012 (“the ‘942 Patent”). Copies of the ‘213,

  ‘776, ‘941 and ‘942 Patents are attached as Exhibits “A”, “B”, “C” and “D” hereto, respectively.

         11.     Blue Gentian is also the owner of all right, title and interest in and to certain U.S.

  Design Patents depicting ornamental designs also invented by Berardi.            Specifically, Blue

  Gentian is the owner of U.S. Design Patent D722,681, entitled “Expandable Hose” and issued on

  February 17, 2015 (“the ‘681 Patent”), which is a continuation-in-part of the ornamental design

  shown in U.S. Design Patent D724,186, entitled “Expandable Hose Assembly” and issued on

  March 10, 2015 (“the ‘186 Patent”). Copies of the ‘681 and ‘186 Patents are attached as

  Exhibits “E” and “F” hereto, respectively.

         12.     Blue Gentian has granted National Express the exclusive right under the ‘941,

  ‘942, ‘776, ‘213, ‘681 and ‘186 Patents (collectively, “the Patents-in-Suit”) to make, use, sell,

  offer for sale, import, market, promote and/or distribute expandable/retractable hoses embodying

  the inventions disclosed therein, within certain non-geographic markets, including the direct-to-



                                                   3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  21 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  4 of 51 PageID: 2140



  consumer and retail markets in which Tristar sells the accused Flex-Able Hose product. As such,

  National Express maintains the right to exclude all others from practicing the patents within

  those defined markets.

         13.     Consistent with such license, both the packaging for the XHose® and the

  product’s website advised of pending patent protection as early as March, 2012, and have also

  advised of the Patents-in-Suit after their issuance.

         14.     Indicative of the ingenuity and popularity of the XHose® product, as well as

  Tristar’s determination to sell the product, since August 2012 Tristar has promoted and sold an

  infringing expandable hose product embodying the inventions protected under the Patents-in-

  Suit. A screen shot of Tristar’s website “www.flexablehose.com” promoting such product under

  the brand “Flex-Able Hose” is attached as Exhibit “G” hereto.

         15.     Wal-Mart has promoted and sold iterations of the Flex-Able Hose product at its

  “Wal-Mart” and “Sam’s Club” retail locations, as well as on its websites www.walmart.com and

  www.samsclub.com. Screen shots of these websites promoting the product are attached as

  Exhibit “H” hereto.

         16.     Plaintiffs and Tristar filed suit against each other on October 23, 2012, the day the

  ‘941 and ‘942 Patents issued. Plaintiffs filed the present action in the Southern District of

  Florida for infringement of the ‘941 and ‘942 Patents. Tristar sued Plaintiffs, E. Mishan & Sons,

  Inc. and DAP Brands Co. in the District of New Jersey for declaratory judgment of patent non-

  infringement and invalidity with respect to the ‘941 and ‘942 Patents (Civil Action No. 12-cv-

  06675-DMC). The present action was ultimately transferred to this Court. Tristar’s declaratory

  judgment action was dismissed without prejudice by the Court.




                                                    4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  22 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  5 of 51 PageID: 2141



         17.     Tristar received formal written notice of the ‘776 Patent through a letter to its

  counsel dated July 9, 2013. A copy of this letter is attached as Exhibit “I” hereto. Despite such

  notice, Tristar has willfully continued to infringe the ‘776 Patent.

         18.     Wal-Mart received a similar formal written notice of the Patents-in-Suit through a

  letter to its president dated November 21, 2013. A copy of this letter is attached as Exhibit “J”

  hereto. To date, Wal-Mart has issued only a generic, non-committal response while willfully

  continuing to infringe the Patents-in-Suit.

         19.     Plaintiffs advised Defendants of the impending issuance of the ‘213 Patent,

  including the date thereof, in a joint letter of counsel (D.E. # 97) to the Court submitted on June

  6, 2014.

         20.     Plaintiffs advised Defendants of the impending issuance of the ‘681 and ‘186

  Patents, including the dates thereof, in a joint letter of counsel (D.E. # 120) to the Court

  submitted on March 2, 2015.

         21.     Wal-Mart was previously a named defendant in Civil Action No. 13-cv-4627,

  styled Blue Gentian, LLC, et al. v. Wal-Mart Stores, Inc., et al., which was previously

  consolidated with the present action for pretrial purposes and then stayed. The 13-4627 action

  was dismissed upon notice to the Court of the settlement of Civil Action No. 12-cv-6671 and the

  13-4627 action on June 8, 2015. Each of the Patents-in-Suit in the present action was asserted

  against Wal-Mart in the 13-4627 action for its sale and offers to sell the Pocket Hose expandable

  and contractible hose product produced by Telebrands Corporation.

         22.     Wal-Mart was also previously a named defendant in Civil Action No. 13-cv-7099,

  styled Blue Gentian, LLC, et al. v. Wal-Mart Stores, Inc., d/b/a Sam’s Club and Sam’s Wholesale

  Club, which was consolidated with the present action for pretrial purposes and then stayed. The



                                                    5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  23 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  6 of 51 PageID: 2142



  Court recently lifted the stay of the 13-7099 action, and then administratively closed and

  consolidated it into the present action.

         23.     Wal-Mart had previously sold the XHose® in its stores in January and February

  2013, selling all units that had been shipped to test the market for the product. The XHose® was

  marked with the ‘941 and ‘942 Patents, in accordance with 35 U.S.C. § 287, during that entire

  time period. A sample Wal-Mart display of the XHose®, with the patent markings included on a

  white label on the lower left corner of the product’s packaging, is depicted in Exhibit “K” hereto.

         24.     Over the course of this litigation, Tristar has redesigned certain features related to

  the inlet and outlet couplers and flow restrictor of the Flex-Able Hose. Tristar has also marketed

  a “Tough Grade” Flex-Able Hose constructed of purportedly stronger materials than the original

  Flex-Able Hose. Tristar has also incorporated the Flex-Able Hose into its sales of a pressure

  washer product under the brand “EZ-Jet”.                 Screen shots from Tristar’s websites

  “www.flexablehose.com” and “www.tryezjet.com” promoting these products are attached as

  composite Exhibit “L” hereto.

         25.     Tristar has also recently introduced yet another iteration of the Flex-Able Hose,

  advertised and sold as the “Extreme Flex-Able Hose” which also infringes the Patents-in-Suit.

  While the Flex-Able Hose generally is sold at “Wal-Mart” retail stores and on the Wal-Mart

  website, the “Extreme Flex-Able Hose” appears to be sold only through Sam’s Club and on the

  Sam’s Club website. A photograph of the product in its packaging is attached as Exhibit “M”

  hereto. Further discovery is required as to the full extent of sales of this product.

         26.     Tristar has endeavored to legitimize its infringement of the Patents-in-Suit

  through inequitable conduct before the U.S. Patent Office. On May 5, 2015 U.S. Patent No.

  9,022,076, entitled “Linearly Retractable Pressure Hose Structure” (“the ‘076 Patent”), was



                                                    6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  24 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  7 of 51 PageID: 2143



  issued to Ragner Technology Corporation (“Ragner”). Tristar sells Flex-Able Hose products

  under purported license from Ragner’s patents including U.S. Patent No. 7,549,448 (“the ‘448

  Patent”) and U.S. Patent No. 8,776,836 (“the ‘836 Patent”). Ragner and Tristar are currently

  asserting the ‘448 and ‘836 Patents against the XHose® product in the case styled Tristar Prods.,

  Inc., et al. v. National Express, Inc. et al., Civil Action No. 2:13-cv-07752-ES-MAH (D.N.J.)

  (“the 13-7752 action”). The ‘076 Patent was filed as a continuation of the ‘836 Patent (eight

  years after the ‘836 Patent was filed), which was filed as a continuation-in-part of the ‘448

  Patent. Upon information and belief, Tristar was actively involved in Ragner’s prosecution of the

  ‘076 Patent. A copy of the ‘076 Patent is attached as Exhibit “N” hereto.

         27.     The filing of the ‘076 Patent constitutes an attempt by Tristar and Ragner to

  manufacture prior art evidence against the Patents-in-Suit through deception before the Patent

  Office. The ‘076 Patent was filed as a continuation of the ‘836 Patent in order to claim an earlier

  priority date, notwithstanding the fact that its claims consist mainly of language directly copied

  from the claims of the ‘941 Patent. Significant portions of language from the ‘941 Patent were

  copied into the claims of the ‘076 Patent, as follows: Claim 1 of the ‘076 Patent copies language

  from Claim 1 of the ‘941 Patent as originally filed; Claims 2, 4 and 7 of the ‘076 Patent copy

  language from Claim 1 of the issued ‘941 Patent; Claim 8 of the ‘076 Patent copies language

  from Claim 2 of the issued ‘941 Patent; Claim 9 of the ‘076 Patent copies language (including a

  typographical error) from Claim 3 of the issued ‘941 Patent; Claim 11 of the ‘076 Patent copies

  language from Claim 10 of the issued ‘941 Patent; Claim 12 of the ‘076 Patent copies language

  from Claim 11 of the issued ‘941 Patent; Claim 13 of the ‘076 Patent copies language from

  Claim 13 of the issued ‘941 Patent; Claim 14 of the ‘076 Patent copies language from Claim 15

  of the issued ‘941 Patent; Claim 15 of the ‘076 Patent copies language from Claim 18 of the



                                                  7
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  25 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  8 of 51 PageID: 2144



  issued ‘941 Patent; and Claim 16 of the ‘076 Patent copies language from Claim 22 of the issued

  ‘941 Patent.

         28.     The claims copied from the ‘941 Patent were grafted onto the specification of the

  ‘836 Patent, a patent which Ragner fraudulently revived after abandonment during prosecution.

  The ‘076 Patent was filed as a continuation of the ‘836 Patent in order to improperly influence

  the Patent Examiner into finding support for the ‘941 Patent claim language in the ‘836 Patent

  specification, while not considering the ‘941 Patent as prior art because of the earlier priority

  date afforded to the ‘076 Patent for being filed as a continuation of the ‘836 Patent.

         29.     Ragner did not disclose this copying of the ‘941 Patent - or the existence of the

  present action, the 13-7099 action and the 13-7752 action involving the subject matter of these

  patents – to the Patent Office, all in violation of his duty to disclose material information under

  37 C.F.R. § 1.56. Such an act constitutes an example of “disreputable or gross misconduct”

  under the former 37 C.F.R. § 10.23(c)(7), now incorporated into 37 C.F.R. § 11.804. Further,

  Ragner filed the ‘076 Patent with its copied claims more than 12 months after the ‘941 Patent

  had issued, in violation of 35 U.S.C. § 135(b)(1), as applicable to the ‘076 Patent because it

  claims priority before March 16, 2013.

         30.     In its Invalidity Contentions served in this action, Tristar invoked the ‘076 Patent

  as purported prior art, claiming that each of the ‘941, ‘942, ‘776 and ‘213 Patents is invalid as

  anticipated or obvious under 35 U.S.C. §§ 102 and 103 in view of the ‘076 Patent. Tristar is now

  raising the ‘076 Patent as prior art against the same ‘941 Patent from which its claims were

  fraudulently copied. It is doing so notwithstanding the fact that the ‘076 Patent was filed 29

  months after the filing of the ‘941 Patent, 22 months after the ‘942 Patent, 17 months after the

  ‘776 Patent and 12 months after the ‘213 Patent.



                                                   8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     166 Page:  26 Filed:
                                         Filed 11/06/15   12/14/2021
                                                        Page  9 of 51 PageID: 2145



         31.     Tristar has also attempted to improperly use the ‘076 Patent to bolster its

  overreaching proposed claim constructions of Ragner’s ‘448 and ‘836 Patents, for the purposes

  of expanding their scope to support their infringement claim against the XHose® product in the

  above-referenced 13-7752 action, while also supporting the assertion of Ragner’s 448 Patent as

  prior art against the ‘941, ‘942, ‘776 and ‘213 Patents in the present action.

         32.     Upon information and belief, the ‘076 Patent was prosecuted with Tristar’s

  knowledge, consent and assistance solely for the purpose of unduly influencing the outcome of

  the present action and the 13-7752 action, without regard or concern for the inequitable conduct

  before the Patent Office necessary to obtain its issuance. Such disregard was evident during a

  July 6, 2015 hearing before the Honorable Judge Salas in the 13-7752 action, in which Tristar’s

  counsel argued that, even if the allegations of fraud in connection with the ‘076 Patent are true,

  the result was nevertheless the issuance of a patent that would be used to support Ragner and

  Tristar’s proposed claim construction for the ‘448 and ‘836 Patents in that action.

         33.     Upon information and belief, Wal-Mart has knowledge of and has adopted

  Tristar’s bad-faith course of action in connection with the ‘076 Patent as part of their concerted

  defense in the present action.

                                          COUNT I
                               DIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘941 Patent)

         34.     This Count alleges direct Patent Infringement of the ‘941 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         35.     Tristar has infringed and is still infringing one or more claims of the ‘941 Patent

  by making, using, selling, offering to sell and, upon belief, importing into the United States hose




                                                   9
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              27 Filed: 12/14/2021
                                                      Page 10 of 51 PageID: 2146



  products embodying the invention protected under the ‘941 Patent, and will continue to do so

  unless enjoined by this Court.

         36.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         37.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                          COUNT II
                             INDIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘941 Patent)

         38.     This Count alleges indirect Patent Infringement of the ‘941 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

  A.     INDUCEMENT OF INFRINGEMENT

         39.     Tristar has induced others to infringe and continues to induce others to infringe

  one or more claims of the ‘941 Patent.

         40.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

         41.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘941 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.




                                                  10
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              28 Filed: 12/14/2021
                                                      Page 11 of 51 PageID: 2147



         42.     Tristar should have known, and has known, that selling and offering to sell, and,

  upon belief, importing into the United States the Flex-Able Hose products would cause the direct

  infringement of the ‘941 Patent.

         43.     Despite having knowledge of the issuance of the ‘941 Patent prior to the date

  thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold, offered to

  sell and promoted the accused Flex-Able Hose products with specific intent to encourage and

  cause infringement of the ‘941 Patent by end-user retail customers and retailers.

         44.     Since at least the date of the issuance of the ‘941 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         45.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         46.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         47.     Tristar has contributorily infringed and continues to contributorily infringe the

  ‘941 Patent.

         48.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.



                                                  11
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              29 Filed: 12/14/2021
                                                      Page 12 of 51 PageID: 2148



         49.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘941 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         50.     Despite having knowledge of the announced issuance of the ‘941 Patent prior to

  the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold

  and offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause infringement of the ‘941 Patent by customers and retailers.

         51.     Since at least the date of the issuance of the ‘941 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         52.     Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘941 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘941 Patent.

         53.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.    They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         54.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         55.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are



                                                  12
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              30 Filed: 12/14/2021
                                                      Page 13 of 51 PageID: 2149



  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                        COUNT III
                              DIRECT PATENT INFRINGEMENT
                                   (Tristar - ‘942 Patent)

         56.     This Count alleges direct Patent Infringement of the ‘942 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         57.     Tristar has infringed and is still infringing one or more claims of the ‘942 Patent

  by making, using, selling, offering to sell and, upon belief, importing into the United States hose

  products embodying the invention protected under the ‘942 Patent, and will continue to do so

  unless enjoined by this Court.

         58.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         59.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                         COUNT IV
                             INDIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘942 Patent)

         60.     This Count alleges indirect Patent Infringement of the ‘942 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.




                                                  13
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              31 Filed: 12/14/2021
                                                      Page 14 of 51 PageID: 2150



  A.     INDUCEMENT OF INFRINGEMENT

         61.     Tristar has induced others to infringe and continue to induce others to infringe one

  or more claims of the ‘942 Patent.

         62.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

         63.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘942 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         64.     Tristar should have known, and has known, that selling and offering to sell and,

  upon belief, importing into the United States the Flex-Able Hose products would cause the direct

  infringement of the ‘942 Patent.

         65.     Despite having knowledge of the announced issuance of the ‘942 Patent prior to

  the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold

  and offered to sell the accused Flex-Able Hose products with specific intent to encourage and

  cause the infringement of the ‘942 Patent by customers and retailers.

         66.     Since at least the date of the issuance of the ‘942 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including though its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         67.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.




                                                  14
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              32 Filed: 12/14/2021
                                                      Page 15 of 51 PageID: 2151



         68.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         69.     Tristar has contributorily infringed and continues to contributorily infringe the

  ‘942 Patent.

         70.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

         71.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘942 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         72.     Despite having knowledge of the announced issuance of the ‘942 Patent prior to

  the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold

  and offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause the infringement of the ‘942 Patent by customers and retailers.

         73.     Since at least the date of the issuance of the ‘942 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         74.     Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘942 Patent, and has done so with




                                                  15
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              33 Filed: 12/14/2021
                                                      Page 16 of 51 PageID: 2152



  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘942 Patent.

         75.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.    They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         76.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         77.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                         COUNT V
                              DIRECT PATENT INFRINGEMENT
                                   (Tristar - ‘776 Patent)

         78.     This Count alleges direct Patent Infringement of the ‘776 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         79.     Tristar has infringed and is still infringing one or more claims of the ‘776 Patent

  by making, using, selling, offering to sell and, upon belief, importing into the United States hose

  products embodying the invention protected under the ‘776 Patent, and will continue to do so

  unless enjoined by this Court.

         80.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.



                                                  16
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              34 Filed: 12/14/2021
                                                      Page 17 of 51 PageID: 2153



         81.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                         COUNT VI
                             INDIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘776 Patent)

         82.     This Count alleges indirect Patent Infringement of the ‘776 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

  A.     INDUCEMENT OF INFRINGEMENT

         83.     Tristar has induced others to infringe and continues to induce others to infringe

  one or more claims of the ‘776 Patent.

         84.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

         85.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘776 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         86.     Tristar should have known, and has known, that selling and offering to sell, and,

  upon belief, importing into the United States the Flex-Able Hose products would cause the direct

  infringement of the ‘776 Patent.

         87.     Despite having knowledge of the issuance of the ‘776 Patent, Tristar has sold,

  offered to sell and promoted the accused Flex-Able Hose products with specific intent to

  encourage and cause the infringement of the ‘776 Patent by customers and by retailers.




                                                  17
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              35 Filed: 12/14/2021
                                                      Page 18 of 51 PageID: 2154



         88.     Since at least the date of the issuance of the ‘776 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         89.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         90.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         91.     Tristar has contributorily infringed and continues to contributorily infringe the

  ‘776 Patent.

         92.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

         93.     Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘776 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         94.     Despite having knowledge of the issuance of the ‘776 Patent, Tristar has sold and

  offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause the infringement of the ‘776 Patent by customers and retailers.




                                                  18
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              36 Filed: 12/14/2021
                                                      Page 19 of 51 PageID: 2155



         95.     Since at least the date of the issuance of the ‘776 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         96.     Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘776 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘776 Patent.

         97.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.    They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         98.     Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         99.     Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                       COUNT VII
                              DIRECT PATENT INFRINGEMENT
                                       (‘213 Patent)

         100.    This Count alleges direct Patent Infringement of the ‘213 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.




                                                  19
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              37 Filed: 12/14/2021
                                                      Page 20 of 51 PageID: 2156



         101.    Tristar has infringed and is still infringing one or more claims of the ‘213 Patent

  by making, using, selling, offering to sell and, upon belief, importing into the United States hose

  products embodying the invention protected under the ‘213 Patent, and will continue to do so

  unless enjoined by this Court.

         102.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         103.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                        COUNT VIII
                             INDIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘213 Patent)

         104.    This Count alleges indirect Patent Infringement of the ‘213 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

  A.     INDUCEMENT OF INFRINGEMENT

         105.    Tristar has induced others to infringe and continues to induce others to infringe

  one or more claims of the ‘213 Patent.

         106.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

         107.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘213 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.



                                                  20
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              38 Filed: 12/14/2021
                                                      Page 21 of 51 PageID: 2157



         108.    Tristar should have known, and has known, that selling and offering to sell, and,

  upon belief, importing into the United States Flex-Able Hose products would cause the direct

  infringement of the ‘213 Patent.

         109.    Despite having knowledge of the issuance of the ‘213 Patent, Tristar has sold,

  offered to sell and promoted the accused Flex-Able Hose products with specific intent to

  encourage and cause the infringement of the ‘213 Patent by customers and by retailers.

         110.    Since at least the date of the issuance of the ‘213 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         111.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

         112.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         113.    Tristar has contributorily infringed and continues to contributorily infringe the

  ‘213 Patent.

         114.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.




                                                  21
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              39 Filed: 12/14/2021
                                                      Page 22 of 51 PageID: 2158



         115.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe one or more claims of the ‘213 Patent by selling and offering to sell

  Flex-Able Hose products in their retail locations.

         116.    Despite having knowledge of the issuance of the ‘213 Patent, Tristar has sold and

  offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause infringement of the ‘213 Patent by customers and retailers.

         117.    Since at least the date of the issuance of the ‘213 Patent, Tristar has had actual

  knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

  or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

  no steps to remedy any infringement.

         118.    Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘213 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘213 Patent.

         119.    Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.    They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         120.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         121.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are




                                                  22
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              40 Filed: 12/14/2021
                                                      Page 23 of 51 PageID: 2159



  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                        COUNT IX
                              DIRECT PATENT INFRINGEMENT
                                   (Tristar - ‘681 Patent)

         122.    This Count alleges direct Patent Infringement of the ‘681 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         123.    Tristar has infringed and is still infringing the ‘681 Patent by making, using,

  selling, offering to sell and, upon belief, importing into the United States hose products

  incorporating the ornamental design shown in the ‘681 Patent, and will continue to do so unless

  enjoined by this Court.

         124.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         125.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                          COUNT X
                             INDIRECT PATENT INFRINGEMENT
                                    (Tristar - ‘681 Patent)

         126.    This Count alleges indirect Patent Infringement of the ‘681 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.




                                                  23
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              41 Filed: 12/14/2021
                                                      Page 24 of 51 PageID: 2160



  A.      INDUCEMENT OF INFRINGEMENT

          127.    Tristar has induced others to infringe and continues to induce others to infringe

  the ‘681 Patent.

          128.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe the ‘681 Patent.

          129.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe the ‘681 Patent by selling and offering to sell Flex-Able Hose

  products in their retail locations.

          130.    Tristar should have known, and has known, that selling and offering to sell, and,

  upon belief, importing into the United States the Flex-Able Hose products would cause the direct

  infringement of the ‘681 Patent.

          131.    Despite having knowledge of the issuance of the ‘681 Patent, Tristar has sold,

  offered to sell and promoted the accused Flex-Able Hose products with specific intent to

  encourage and cause the infringement of the ‘681 Patent by customers and by retailers.

          132.    Since at least the date of the issuance of the ‘681 Patent, Tristar has had actual

  knowledge of Patent and the fact that its Flex-Able Hose products are infringements thereof,

  including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

  infringement.

          133.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

          134.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are



                                                   24
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              42 Filed: 12/14/2021
                                                      Page 25 of 51 PageID: 2161



  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.      CONTRIBUTORY INFRINGEMENT

          135.    Tristar has contributorily infringed and continues to contributorily infringe the

  ‘681 Patent.

          136.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe the ‘681 Patent.

          137.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe the ‘681 Patent by selling and offering to sell Flex-Able Hose

  products in their retail locations.

          138.    Despite having knowledge of the issuance of the ‘681 Patent, Tristar has sold and

  offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause infringement of the ‘681 Patent by customers and retailers.

          139.    Since at least the date of the issuance of the ‘681 Patent, Tristar has had actual

  knowledge of the Patent and the fact that its Flex-Able Hose products are infringements thereof,

  including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

  infringement.

          140.    Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in the ‘681 Patent, and has done so with knowledge that the

  products are especially made or adapted for use in an infringement of the ‘681 Patent.

          141.    Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.       They are assembled from manufactured components for a

  specific appearance having no purpose other than infringement.



                                                   25
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              43 Filed: 12/14/2021
                                                      Page 26 of 51 PageID: 2162



         142.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         143.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                        COUNT XI
                              DIRECT PATENT INFRINGEMENT
                                   (Tristar - ‘186 Patent)

         144.    This Count alleges direct Patent Infringement of the ‘186 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         145.    Tristar has infringed and is still infringing the ‘186 Patent by making, using,

  selling, offering to sell and, upon belief, importing into the United States hose products

  incorporating the ornamental design shown in the ‘186 Patent, and will continue to do so unless

  enjoined by this Court.

         146.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         147.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.




                                                  26
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              44 Filed: 12/14/2021
                                                      Page 27 of 51 PageID: 2163



                                          COUNT XII
                              INDIRECT PATENT INFRINGEMENT
                                     (Tristar - ‘186 Patent)

          148.    This Count alleges indirect Patent Infringement of the ‘186 Patent against Tristar,

  pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

  A.      INDUCEMENT OF INFRINGEMENT

          149.    Tristar has induced others to infringe and continues to induce others to infringe

  the ‘186 Patent.

          150.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe the ‘186 Patent.

          151.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe the ‘186 Patent by selling and offering to sell Flex-Able Hose

  products in their retail locations.

          152.    Tristar should have known, and has known, that selling and offering to sell, and,

  upon belief, importing into the United States the Flex-Able Hose products would cause the direct

  infringement of the ‘186 Patent.

          153.    Despite having knowledge of the issuance of the ‘186 Patent, Tristar has sold,

  offered to sell and promoted the accused Flex-Able Hose products with specific intent to

  encourage and cause the infringement of the ‘186 Patent by customers and by retailers.

          154.    Since at least the date of the issuance of the ‘186 Patent, Tristar has had actual

  knowledge of Patent and the fact that its Flex-Able Hose products are infringements thereof,

  including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

  infringement.




                                                   27
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              45 Filed: 12/14/2021
                                                      Page 28 of 51 PageID: 2164



          155.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

  pursuant to 35 U.S.C. § 285.

          156.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

  B.      CONTRIBUTORY INFRINGEMENT

          157.    Tristar has contributorily infringed and continues to contributorily infringe the

  ‘186 Patent.

          158.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe the ‘186 Patent.

          159.    Retailers including, without limitation, Wal-Mart, have directly infringed and

  continue to directly infringe the ‘186 Patent by selling and offering to sell Flex-Able Hose

  products in their retail locations.

          160.    Despite having knowledge of the issuance of the ‘186 Patent, Tristar has sold and

  offered to sell the accused Flex-Able Hose products with the specific intent to encourage and

  cause infringement of the ‘186 Patent by customers and retailers.

          161.    Since at least the date of the issuance of the ‘186 Patent, Tristar has had actual

  knowledge of the Patent and the fact that its Flex-Able Hose products are infringements thereof,

  including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

  infringement.




                                                   28
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              46 Filed: 12/14/2021
                                                      Page 29 of 51 PageID: 2165



         162.    Tristar has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in the ‘186 Patent, and has done so with knowledge that the

  products are especially made or adapted for use in an infringement of the ‘186 Patent.

         163.    Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use. They are assembled from manufactured components for a specific

  appearance having no purpose other than infringement.

         164.    Tristar’s acts of infringement are willful, warranting the assessment of increased

  damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

  pursuant to 35 U.S.C. § 285.

         165.    Tristar’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Tristar is enjoined from doing so by this Court.

                                        COUNT XIII
                              DIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘941 Patent)

         166.    This Count alleges direct Patent Infringement of the ‘941 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         167.    Wal-Mart has infringed and is still infringing one or more claims of the ‘941

  Patent by selling and offering to sell hose products embodying the invention protected under the

  ‘941 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com

  and www.samsclub.com, and will continue to do so unless enjoined by this Court.




                                                  29
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              47 Filed: 12/14/2021
                                                      Page 30 of 51 PageID: 2166



           168.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           169.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XIV
                             INDIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘941 Patent)

           170.   This Count alleges indirect Patent Infringement of the ‘941 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.

  A.       INDUCEMENT OF INFRINGEMENT

           171.   Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘941 Patent.

           172.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

           173.   Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘941 Patent.

           174.   Despite having knowledge of the issuance of the ‘941 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘941 Patent.



                                                  30
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              48 Filed: 12/14/2021
                                                      Page 31 of 51 PageID: 2167



         175.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘941 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         176.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         177.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         178.     Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘941 Patent.

         179.     Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

         180.     Despite having knowledge of the issuance of the ‘941 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘941 Patent.

         181.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘941 Patent, and the fact that the Flex-Able Hose products




                                                   31
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              49 Filed: 12/14/2021
                                                      Page 32 of 51 PageID: 2168



  infringe one or more of those claims.      Upon belief, it has taken no steps to remedy any

  infringement.

         182.     Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘941 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘941 Patent.

         183.     The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use. They are assembled from manufactured components for a specific

  function having no purpose other than infringement.

         184.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         185.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XV
                              DIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘942 Patent)

         186.     This Count alleges direct Patent Infringement of the ‘942 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

         187.     Wal-Mart has infringed and is still infringing one or more claims of the ‘942

  Patent by selling and offering to sell hose products embodying the invention protected under the




                                                 32
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              50 Filed: 12/14/2021
                                                      Page 33 of 51 PageID: 2169



  ‘942 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com

  and www.samsclub.com, and will continue to do so unless enjoined by this Court.

           188.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           189.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XVI
                             INDIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘942 Patent)

           190.   This Count alleges indirect Patent Infringement of the ‘942 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.

  A.       INDUCEMENT OF INFRINGEMENT

           191.   Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘942 Patent.

           192.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

           193.   Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘942 Patent.

           194.   Despite having knowledge of the issuance of the ‘942 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused



                                                  33
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              51 Filed: 12/14/2021
                                                      Page 34 of 51 PageID: 2170



  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘942 Patent.

         195.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘942 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         196.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         197.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         198.     Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘942 Patent.

         199.     Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

         200.     Despite having knowledge of the issuance of the ‘942 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘942 Patent.




                                                   34
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              52 Filed: 12/14/2021
                                                      Page 35 of 51 PageID: 2171



         201.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘942 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         202.     Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘942 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘942 Patent.

         203.     The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.      They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         204.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         205.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                         COUNT XVII
                               DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart - ‘776 Patent)

         206.     This Count alleges direct Patent Infringement of the ‘776 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.




                                                   35
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              53 Filed: 12/14/2021
                                                      Page 36 of 51 PageID: 2172



           207.   Wal-Mart has infringed and is still infringing one or more claims of the ‘776

  Patent by selling and offering to sell hose products embodying the invention protected under the

  ‘776 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com

  and www.samsclub.com, and will continue to do so unless enjoined by this Court.

           208.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           209.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                       COUNT XVIII
                             INDIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘776 Patent)

           210.   This Count alleges indirect Patent Infringement of the ‘776 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.

  A.       INDUCEMENT OF INFRINGEMENT

           211.   Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘776 Patent.

           212.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

           213.   Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘776 Patent.



                                                  36
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              54 Filed: 12/14/2021
                                                      Page 37 of 51 PageID: 2173



         214.     Despite having knowledge of the issuance of the ‘776 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘776 Patent.

         215.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘776 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         216.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         217.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         218.     Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘776 Patent.

         219.     Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

         220.     Despite having knowledge of the issuance of the ‘776 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused




                                                   37
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              55 Filed: 12/14/2021
                                                      Page 38 of 51 PageID: 2174



  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘776 Patent.

         221.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘776 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         222.     Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘776 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘776 Patent.

         223.     The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.      They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         224.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         225.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.




                                                   38
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              56 Filed: 12/14/2021
                                                      Page 39 of 51 PageID: 2175



                                        COUNT XIX
                              DIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘213 Patent)

           226.   This Count alleges direct Patent Infringement of the ‘213 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

           227.   Wal-Mart has infringed and is still infringing one or more claims of the ‘213

  Patent by selling and offering to sell hose products embodying the invention protected under the

  ‘213 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com

  and www.samsclub.com, and will continue to do so unless enjoined by this Court.

           228.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           229.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XX
                             INDIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘213 Patent)

           230.   This Count alleges indirect Patent Infringement of the ‘213 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.

  A.       INDUCEMENT OF INFRINGEMENT

           231.   Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘213 Patent.



                                                 39
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              57 Filed: 12/14/2021
                                                      Page 40 of 51 PageID: 2176



         232.     Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

         233.     Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘213 Patent.

         234.     Despite having knowledge of the issuance of the ‘213 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘213 Patent.

         235.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘213 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         236.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         237.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         238.     Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘213 Patent.




                                                   40
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              58 Filed: 12/14/2021
                                                      Page 41 of 51 PageID: 2177



         239.     Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

         240.     Despite having knowledge of the issuance of the ‘213 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘213 Patent.

         241.     Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘213 Patent, and the fact that the Flex-Able Hose products

  infringe one or more of those claims.        Upon belief, it has taken no steps to remedy any

  infringement.

         242.     Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in one or more claims of the ‘213 Patent, and has done so with

  knowledge that the products are especially made or adapted for use in an infringement of the

  ‘213 Patent.

         243.     The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.      They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         244.     Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         245.     Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,



                                                   41
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              59 Filed: 12/14/2021
                                                      Page 42 of 51 PageID: 2178



  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XXI
                              DIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘681 Patent)

           246.   This Count alleges direct Patent Infringement of the ‘681 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

           247.   Wal-Mart has infringed and is still infringing one or more claims of the ‘681

  Patent by selling and offering to sell hose products incorporating the ornamental design shown in

  the ‘681 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at

  www.walmart.com and www.samsclub.com, and will continue to do so unless enjoined by this

  Court.

           248.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           249.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                        COUNT XXII
                             INDIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘681 Patent)

           250.   This Count alleges indirect Patent Infringement of the ‘681 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.




                                                 42
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              60 Filed: 12/14/2021
                                                      Page 43 of 51 PageID: 2179



  A.     INDUCEMENT OF INFRINGEMENT

         251.    Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘681 Patent.

         252.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘681 Patent.

         253.    Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘681 Patent.

         254.    Despite having knowledge of the issuance of the ‘681 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘681 Patent.

         255.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘681 Patent, and the fact that the Flex-Able Hose products are

  infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

         256.    Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         257.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.




                                                  43
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              61 Filed: 12/14/2021
                                                      Page 44 of 51 PageID: 2180



  B.     CONTRIBUTORY INFRINGEMENT

         258.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘681 Patent.

         259.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘681 Patent.

         260.    Despite having knowledge of the issuance of the ‘681 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘681 Patent.

         261.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘681 Patent, and the fact that the Flex-Able Hose products are

  infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

         262.    Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in the ‘681 Patent, and has done so with knowledge that the

  products are especially made or adapted for use in an infringement of the ‘681 Patent.

         263.    The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.      They are assembled from manufactured components for a

  specific function having no purpose other than infringement.

         264.    Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.




                                                  44
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              62 Filed: 12/14/2021
                                                      Page 45 of 51 PageID: 2181



           265.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                       COUNT XXIII
                              DIRECT PATENT INFRINGEMENT
                                   (Wal-Mart - ‘186 Patent)

           266.   This Count alleges direct Patent Infringement of the ‘186 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

           267.   Wal-Mart has infringed and is still infringing one or more claims of the ‘186

  Patent by selling and offering to sell hose products incorporating the ornamental design shown in

  the ‘186 Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at

  www.walmart.com and www.samsclub.com, and will continue to do so unless enjoined by this

  Court.

           268.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

           269.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.




                                                  45
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              63 Filed: 12/14/2021
                                                      Page 46 of 51 PageID: 2182



                                        COUNT XXIV
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart - ‘186 Patent)

           270.   This Count alleges indirect Patent Infringement of the ‘186 Patent against Wal-

  Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33

  above.

  A.       INDUCEMENT OF INFRINGEMENT

           271.   Wal-Mart has induced others to infringe and continue to induce others to infringe

  one or more claims of the ‘186 Patent.

           272.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘186 Patent.

           273.   Wal-Mart should have known, and has known, that selling and offering to sell the

  Flex-Able Hose products would cause the direct infringement of the ‘186 Patent.

           274.   Despite having knowledge of the issuance of the ‘186 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

  of the ‘186 Patent.

           275.   Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘186 Patent, and the fact that the Flex-Able Hose products are

  infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

           276.   Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.




                                                   46
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              64 Filed: 12/14/2021
                                                      Page 47 of 51 PageID: 2183



         277.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

  B.     CONTRIBUTORY INFRINGEMENT

         278.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

  ‘186 Patent.

         279.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

  directly infringed and continue to directly infringe one or more claims of the ‘186 Patent.

         280.    Despite having knowledge of the issuance of the ‘186 Patent since at least the date

  of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

  Flex-Able Hose products with the specific intent to encourage and cause its customers’

  infringement of the ‘186 Patent.

         281.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

  knowledge of the claims of the ‘186 Patent, and the fact that the Flex-Able Hose products are

  infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

         282.    Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

  practice the invention claimed in the ‘186 Patent, and has done so with knowledge that the

  products are especially made or adapted for use in an infringement of the ‘186 Patent.

         283.    The Flex-Able Hose products are not staple articles of commerce suitable for

  substantial non-infringing use.    They are assembled from manufactured components for a

  specific function having no purpose other than infringement.




                                                  47
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              65 Filed: 12/14/2021
                                                      Page 48 of 51 PageID: 2184



         284.    Wal-Mart’s acts of infringement are willful, warranting the assessment of

  increased damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional

  case, pursuant to 35 U.S.C. § 285.

         285.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

  occur without the authority or license of Plaintiffs. These infringing acts have caused, are

  causing and will continue to cause injury to Plaintiffs, including irreparable injury and damages,

  unless and until Wal-Mart is enjoined from doing so by this Court.

                                    DEMAND FOR JURY TRIAL

         Plaintiffs request that all issues in this case be tried to a jury.

         WHEREFORE, Plaintiffs pray that this Court:

         A.      Enter judgment against Defendants for infringement of the ‘941 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;

         B.      Enter judgment against Defendants for infringement of the ‘942 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;

         C.      Enter judgment against Defendants for infringement of the ‘776 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;




                                                     48
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              66 Filed: 12/14/2021
                                                      Page 49 of 51 PageID: 2185



         D.      Enter judgment against Defendants for infringement of the ‘213 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;

         E.      Enter judgment against Defendants for infringement of the ‘681 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;

         F.      Enter judgment against Defendants for infringement of the ‘186 Patent and

  permanently enjoin Defendants, their principals, officers, directors, agents, employees,

  subsidiaries, affiliates and all other persons in active concert or participation with them, from

  further acts of infringement, pursuant to 35 U.S.C. § 283;

         G.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘941 Patent;

         H.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘941 Patent, pursuant to 35 U.S.C. § 284;

         I.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘942 Patent;

         J.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘942 Patent, pursuant to 35 U.S.C. § 284;

         K.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘776 Patent;




                                                  49
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              67 Filed: 12/14/2021
                                                      Page 50 of 51 PageID: 2186



         L.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘776 Patent, pursuant to 35 U.S.C. § 284;

         M.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘213 Patent;

         N.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘213 Patent, pursuant to 35 U.S.C. § 284;

         O.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘681 Patent;

         P.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘681 Patent, pursuant to 35 U.S.C. § 284;

         Q.      Enter judgment against Defendants for damages in the form of all of Defendants’

  profits arising from the infringement of the ‘681 Patent, pursuant to 35 U.S.C. § 289;

         R.      Enter judgment for Plaintiffs for an accounting as to all damages arising from

  Defendants’ infringement of the ‘186 Patent;

         S.      Enter judgment against Defendants for damages arising from the infringement of

  the ‘186 Patent, pursuant to 35 U.S.C. § 284;

         T.      Enter judgment against Defendants for damages in the form of all of Defendants’

  profits arising from the infringement of the ‘186 Patent, pursuant to 35 U.S.C. § 289;

         U.      Enter judgment that this case is exceptional, and award Plaintiffs treble damages,

  attorney fees and costs incurred in connection therewith, pursuant to 35 U.S.C. § 285; and

         V.      Enter judgment granting Plaintiffs such other relief as this Court deems

  appropriate.




                                                  50
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 166 Page:11/06/15
                                              68 Filed: 12/14/2021
                                                      Page 51 of 51 PageID: 2187



  Dated: November 6, 2015            Respectfully submitted,

                                     s/ Thomas R. Curtin
                                     Thomas R. Curtin
                                     George C. Jones
                                     GRAHAM CURTIN
                                     A Professional Association
                                     4 Headquarters Plaza
                                     P.O. Box 1991
                                     Morristown, New Jersey 07962-1991
                                     Telephone:    (973) 292-1700
                                     Facsimile:    (973) 292-1767
                                     E-mail:       tcurtin@GrahamCurtin.com
                                                   gjones@GrahamCurtin.com

                                     Edward F. McHale (pro hac vice)
                                     Brian M. Taillon (pro hac vice)
                                     McHALE & SLAVIN, P.A.
                                     2855 PGA Boulevard
                                     Palm Beach Gardens, Florida 33410
                                     Telephone:     (561) 625-6575
                                     Facsimile:     (561) 625-6572
                                     E-mail:        litigation@mchaleslavin.com

                                     Attorneys for Plaintiffs
                                     Blue Gentian, LLC and National Express, Inc.




                                       51
Case: 21-2316   Document: 17   Page: 69   Filed: 12/14/2021




                  EXHIBIT B
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     289 Page:  70 Filed:Page
                                          Filed 06/19/17  12/14/2021
                                                              1 of 3 PageID: 8294




                                                                  [D.I. 271]

                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN VICINAGE



   BLUE GENTIAN, LLC and NATIONAL             Civil No. 13-1758 (NLH/AMD)
   EXPRESS, INC.,

                   Plaintiffs,

         v.

   TRISTAR PRODUCTS, INC.,

                Defendant.
   ------------------------------
   BLUE GENTIAN, LLC and NATIONAL
   EXPRESS, INC.,

                   Plaintiffs,

         v.

   WAL-MART STORES, INC. d/b/a
   SAM’S CLUB and SAM’S WHOLESALE
   CLUB,

                   Defendant.




                                      ORDER


              This matter comes before the Court by way of motion [D.I.

 271] filed by Plaintiff National Express seeking to substitute

 current nonparty Telebrands as a plaintiff for National Express.

 (See Motion to Substitute Pursuant to Fed. R. Civ. P. 25(c)

 (hereinafter,     “Pl.’s    Mot.”)   [D.I.    271].)   Defendants    Tristar
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     289 Page:  71 Filed:Page
                                          Filed 06/19/17  12/14/2021
                                                              2 of 3 PageID: 8295




 Products Inc. and Walmart Stores, Inc. (hereinafter, “Defendants”)

 oppose    the    motion.   (See     Response        in   Opposition      (hereinafter,

 “Defs.’    Opp’n”)     [D.I.   279].)         The    Court   has    considered      the

 submissions and conducted oral argument on the record on June 19,

 2017, with George C. Jones, Esquire, and Kenneth W. Cohen, Esquire,

 appearing on behalf of Plaintiff National Express; Edward P. Bakos,

 Esquire, appearing on behalf of Defendants; J. Steven Baughman,

 Esquire, appearing on behalf of Defendant Tristar Products Inc.;

 and Jeffrey L. Snow, Esquire, appearing on behalf of nonparty

 Telebrands Corp. For the reasons set forth on the record, and for

 good cause shown:

             IT IS on this 19th day of June 2017,

             ORDERED that, as set forth on the record, Plaintiff

 National    Express’       motion    [D.I.      271]      seeking     to    substitute

 Telebrands Corp. for National Express shall be, and is hereby,

 DENIED WITHOUT PREJUDICE; and it is further

             ORDERED that, as set forth on the record, Telebrands

 Corp.    shall   be   joined   as    a   party       plaintiff     and     counterclaim

 defendant pursuant to Rule 25(c); and it is further

             ORDERED that, as set forth on the record, the parties

 shall submit a proposed order to reflect the joinder of Telebrands

 Corp. as a plaintiff and counterclaim defendant; and it is further




                                           2
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     289 Page:  72 Filed:Page
                                          Filed 06/19/17  12/14/2021
                                                              3 of 3 PageID: 8296




             ORDERED that, as set forth on the record, Defendants are

 granted leave to serve Telebrands Corp. with twenty-five (25)

 interrogatories and ten (10) document requests.




                                     s/ Ann Marie Donio
                                     ANN MARIE DONIO
                                     UNITED STATES MAGISTRATE JUDGE


 cc:   Hon. Noel L. Hillman




                                        3
Case: 21-2316   Document: 17   Page: 73   Filed: 12/14/2021




                  EXHIBIT C
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              74 Filed: 12/14/2021
                                                      Page 1 of 122 PageID: 9473



                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY
                                    CAMDEN DIVISION

  Edward P. Bakos (ebakos@bakoskritzer.com)
  Noam J. Kritzer (nkritzer@bakoskritzer.com)
  Bakos & Kritzer
  147 Columbia Turnpike
  Florham Park, New Jersey
  Telephone: 212-724-0770
  Facsimile: 973-520-8260

  Counsel for the Defendants:
  Tristar Products, Inc. and
  Walmart Inc.

  BLUE GENTIAN, LLC                                  )
  (a Florida limited liability company) and          )
  NATIONAL EXPRESS, INC.                             )   CIVIL ACTION FILE NUMBER:
                                                     )
  (a Connecticut corporation),
                                                     )   1:13-CV-1758-NLH-AMD
                                                     )
                                Plaintiffs,          )   DEFENDANT TRISTAR PRODUCTS,
  v.                                                 )   INC.’S AMENDED ANSWER TO FIFTH
                                                     )   AMENDED COMPLAINT,
  TRISTAR PRODUCTS, INC.                             )   AFFIRMATIVE DEFENSES, AND
  (a Pennsylvania corporation) and                   )   COUNTERCLAIMS
                                                     )
  WALMART INC.
                                                     )
  d/b/a SAM’S CLUB and SAM’S                         )
  WHOLESALE CLUB                                     )
  (a Delaware corporation),                          )
                                                     )
                                Defendants.          )

         Defendant TRISTAR PRODUCTS, INC. (“Defendant,” or “Tristar”), by its undersigned

  attorneys, responds to Plaintiffs BLUE GENTIAN, LLC’S (“Blue Gentian”) and NATIONAL

  EXPRESS, INC.’S (“National Express”) (hereinafter collectively “Plaintiffs”) Fifth Amended

  Complaint (“Complaint”). To the extent not specifically admitted, Tristar denies each and every

  allegation in the Complaint. Tristar incorporates the heading used by Plaintiffs in the Complaint




                                                 1
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              75 Filed: 12/14/2021
                                                      Page 2 of 122 PageID: 9474



  for convenience and ease of reference, and denies any allegations, assertions or inferences

  associated with same.

                                   JURISDICTION AND VENUE

         1.       This is an action for Patent Infringement under the Patent Act, 35 U.S.C. § 271.

         Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations.

         2.       This court has subject matter jurisdiction of this action pursuant to 28 U.S.C. §

  1338(a).

         Answer: Tristar admits that this Court has jurisdiction over the subject matter of this action

  pursuant to 28 U.S.C. § 1338(a), in that it may involve claims arising under the Patent Act, 35

  U.S.C. § 271.

         3.       This court has personal jurisdiction over Tristar, which has its principal place of

  business in the State of New Jersey, has marketed and sold the accused Flex-Able Hose products

  throughout the State, and has submitted to jurisdiction in this Court by filing an Answer,

  Affirmative Defenses and Counterclaims in this action. This court has personal jurisdiction over

  Wal-Mart, which regularly conducts business throughout the State of New Jersey, including selling

  and offering to sell Tristar’s accused Flex-Able Hose products in its “Wal-Mart” and “Sam’s Club”

  and/or “Sam’s Wholesale Club” retail locations therein.

         Answer: Tristar admits that this Court has personal jurisdiction over Tristar. Tristar is

  without information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 3 regarding Walmart, and therefore denies same. Tristar denies all other allegations set

  forth in Paragraph 3 of the Complaint.




                                                   2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              76 Filed: 12/14/2021
                                                      Page 3 of 122 PageID: 9475



         4.      Venue is proper in this District, pursuant to 28 U.S.C. §§ 1391(b & c) and 1400(b),

  because Tristar and Wal-Mart are each subject to personal jurisdiction in the District and have

  committed acts of Patent Infringement in the District.

         Answer: Tristar admits that venue is proper in this District for Tristar. Tristar is without

  information sufficient to form a belief as to the truth of the allegations set forth in Paragraph 4

  regarding Walmart, and therefore denies same. Tristar denies all other allegations set forth in

  Paragraph 4 of the Complaint.

                                           THE PARTIES

         5.      Plaintiff Blue Gentian is a Florida limited liability company having its principal

  place of business as 516 Les Jardin Drive, Florida.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 5 of the Complaint, and therefore denies same.

         6.      Plaintiff National Express is a Connecticut corporation having its principal place of

  business at 2 Morgan Avenue, Norwalk, Connecticut.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 6 of the Complaint, and therefore denies same.

         7.      Defendant Tristar is a Pennsylvania corporation having its principal place of

  business at 492 Route 46 East, Fairfield, New Jersey.

         Answer: Tristar admits the allegations set forth in Paragraph 7 of the Complaint.

         8.      Defendant Wal-Mart is a Delaware corporation having its principal place of

  business at 702 SW 8th Street, Bentonville, Arkansas.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 8 of the Complaint, and therefore denies same.




                                                   3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              77 Filed: 12/14/2021
                                                      Page 4 of 122 PageID: 9476



                                          BACKGROUND

          9.     Blue Gentian’s principal, Michael Berardi, has conceived and invented a novel hose

  product that is light in weight, does not kink when unwrapped or uncoiled, and can be substantially

  reduced in length and width when not in use simply by turning off the flow of water into it. The

  product has been marketed in the United States, under the XHose® trademark, since March 24,

  2012.

          Answer: Tristar is without sufficient information to form a belief as to the truth of the

  allegations set forth in Paragraph 9 of the Complaint, and therefore denies same.

          10.    Blue Gentian is the owner of all intellectual property rights in connection with the

  XHose® product invented by Berardi including, without limitation, the patent rights asserted in

  this Complaint. Blue Gentian is the owner of U.S. Patent No. 8,757,213, entitled “Commercial

  Hose” and issued on June 24, 2014 (“the ‘213 Patent”). The ‘213 Patent is a continuation-in-part

  of the invention disclosed in U.S. Patent No. 8,479,776, entitled “Expandable Garden Hose” and

  issued on July 9, 2013 (“the ‘776 Patent”), which is a continuation-in-part of the inventions

  disclosed in U.S. Patent No. 8,291,941, entitled “Expandable and Contractible Hose” and issued

  on October 23, 2012 (“the ‘941 Patent”) and U.S. Patent No. 8,291,942, entitled “Expandable Hose

  Assembly” and also issued on October 23, 2012 (“the ‘942 Patent”). Copies of the ‘213, ‘776, ‘941

  and ‘942 Patents are attached as Exhibits “A”, “B”, “C” and “D” hereto, respectively.

          Answer: Tristar admits that the electronic records maintained by the United States Patent

  and Trademark Office includes a record for U.S. Patent No. 8,757,213 (issued June 24, 2014)

  entitled “Commercial Hose” and list the assignee as “Blue Gentian, LLC.” Tristar admits that

  attached Exhibit A appears to be the ‘213 patent. Tristar admits that the electronic records

  maintained by the United States Patent and Trademark Office includes a record for U.S. Patent




                                                  4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              78 Filed: 12/14/2021
                                                      Page 5 of 122 PageID: 9477



  No. 8,479,776 (issued July 9, 2013) entitled “Expandable Garden Hose” and list the assignee as

  “Blue Gentian, LLC.” Tristar admits that attached Exhibit B appears to be the ‘776 patent. Tristar

  admits that the electronic records maintained by the United States Patent and Trademark Office

  includes a record for U.S. Patent No. 8,291,941 (issued Oct. 23, 2012) entitled “Expandable and

  Contractible Hose” and list the assignee as “Blue Gentian, LLC.” Tristar admits that attached

  Exhibit C appears to be the ‘941 patent. Tristar admits that the electronic records maintained by

  the United States Patent and Trademark Office includes a record for U.S. Patent No. 8,291,942

  (issued October 23, 2012) entitled “Expandable Hose Assembly” and list the assignee as “Blue

  Gentian, LLC.” Tristar admits that attached Exhibit D appears to be the ‘942 patent. Tristar is

  without information sufficient to form a belief as to the truth of all other allegations set forth in

  Paragraph 10 of the Complaint, and therefore denies same.

         11.     Blue Gentian is also the owner of all right, title and interest in and to certain U.S.

  Design Patents depicting ornamental designs also invented by Berardi. Specifically, Blue Gentian

  is the owner of U.S. Design Patent D722,681, entitled “Expandable Hose” and issued on February

  17, 2015 (“the ‘681 Patent”), which is a continuation-in-part of the ornamental design shown in

  U.S. Design Patent D724,186, entitled “Expandable Hose Assembly” and issued on March 10,

  2015 (“the ‘186 Patent”). Copies of the ‘681 and ‘186 Patents are attached as Exhibits “E” and “F”

  hereto, respectively.

         Answer: Tristar admits that the electronic records maintained by the United States Patent

  and Trademark Office includes a record for U.S. Design Patent No. D722,681 (issued February

  17, 2015) entitled “Expandable Hose” and list the assignee as “Blue Gentian, LLC.” Tristar admits

  that attached Exhibit E appears to be the ‘681 patent. Tristar admits that the electronic records

  maintained by the United States Patent and Trademark Office includes a record for U.S. Design




                                                   5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              79 Filed: 12/14/2021
                                                      Page 6 of 122 PageID: 9478



  Patent No. D724,186 (issued March 10, 2015) entitled “Expandable Hose Assembly” and list the

  assignee as “Blue Gentian, LLC.” Tristar admits that attached Exhibit F appears to be the ‘186

  patent. Tristar is without information sufficient to form a belief as to the truth of all other

  allegations set forth in Paragraph 11 of the Complaint, and therefore denies same.

         12.     Blue Gentian has granted National Express the exclusive right under the ‘941, ‘942,

  ‘776, ‘213, ‘681 and ‘186 Patents (collectively, “the Patents-in-Suit”) to make, use, sell, offer for

  sale, import, market, promote and/or distribute expandable/retractable hoses embodying the

  inventions disclosed therein, within certain non-geographic markets, including the direct-to-

  consumer and retail markets in which Tristar sells the accused Flex-Able Hose product. As such,

  National Express maintains the right to exclude all others from practicing the patents within those

  defined markets.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 12 of the Complaint, and therefore denies same.

         13.     Consistent with such license, both the packaging for the XHose® and the product’s

  website advised of pending protection as early as March, 2012, and have also advised of the

  Patents-in-Suit after their issuance.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 13 of the Complaint, and therefore denies same.

         14.     Indicative of the ingenuity and popularity of the XHose® product, as well as

  Tristar’s determination to sell the product, since August 2012 Tristar has promoted and sold an

  infringing expandable hose product embodying the inventions protected under the Patents-in-Suit.

  A screen shot of Tristar’s website “www.flexablehose.com” promoting such product under the

  brand “Flex-Able Hose” is attached as Exhibit “G” hereto.




                                                   6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              80 Filed: 12/14/2021
                                                      Page 7 of 122 PageID: 9479



         Answer: Tristar admits to promoting a product under the brand “Flex~Able Hose.” Tristar

  admits that a depiction of a screen shot appears to be attached to the Complaint as Exhibit “G.”

  Tristar denies all other allegations set forth in Paragraph 14 of the Complaint.

         15.     Wal-Mart has promoted and sold iterations of the Flex-Able Hose product at its

  “Wal-Mart” and “Sam’s Club” retail locations, as well as on its websites www.walmart.com and

  www.samsclub.com. Screen shots of these websites promoting the product are attached as Exhibit

  “H” hereto.

         Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 15 of the Complaint, and therefore denies same.

         16.     Plaintiffs and Tristar filed suit against each other on October 23, 2012, the day the

  ‘941 and ‘942 Patents issued. Plaintiffs filed the present action in the Southern District of Florida

  for infringement of the ‘941 and ‘942 Parents. Tristar sued Plaintiffs, E. Mishan & Sons, Inc. and

  DAP Brands Co. in the District of New Jersey for declaratory judgment of patent non-infringement

  and invalidity with respect to the ‘941 and ‘942 Patents (Civil Action No. 12-cv-06675-DMC).

  The present action was ultimately transferred to this Court. Tristar’s declaratory judgment action

  was dismissed without prejudice by the Court.

         Answer: Tristar admits to filing a case styled Tristar Prods, Inc. v. Nat’l Express, Inc., No.

  12-CV-06675-DMC-JAD (D.N.J. 2013) that was dismissed solely as a result of for lack of standing

  due to the absence of Ragner Technology Corporation as a party Plaintiff. Tristar denies all other

  allegations set forth in Paragraph 16 of the Complaint.

         17.     Tristar received formal written notice of the ‘776 Patent though a letter to its

  counsel dated July 9, 2013. A copy of this letter is attached as Exhibit “I” hereto. Despite such

  notice, Tristar has willfully continued to infringe the ‘776 Patent.




                                                    7
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              81 Filed: 12/14/2021
                                                      Page 8 of 122 PageID: 9480



          Answer: Tristar admits to receiving notice of the ‘776 Patent through a letter dated July

  9, 2013. Tristar admits that the letter appears to be attached as Exhibit “I” to the Complaint. Tristar

  denies all other allegations set forth in Paragraph 17 of the Complaint.

          18.    Wal-Mart received a similar formal written notice of the Patents-in-Suit through a

  letter to its president dated November 21, 2013. A copy of this letter is attached as Exhibit “J”

  hereto. To date, Wal-Mart has issued only a generic, non-committal response while willfully

  continuing to infringe the Patents-in-Suit.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

  allegations set forth in Paragraph 18 of the Complaint, and therefore denies same.

          19.    Plaintiffs advised Defendants of the impending issuance of the ‘213 Patent,

  including the date thereof, in a joint letter of counsel (D.E. # 97) to the Court submitted on June 6,

  2014.

          Answer: Tristar admits the allegations set forth in Paragraph 19 of the Complaint.

          20.    Plaintiffs advised Defendants of the impending issuance of the ‘681 and ‘186

  Patents, including the dates thereof, in a joint letter of counsel (D.E. # 120) to the Court submitted

  on March 2, 2015.

          Answer: Tristar admits the allegations set forth in Paragraph 20 of the Complaint.

          21.    Wal-Mart was previously a named defendant in Civil Action No. 13-cv-4627, styled

  Blue Gentian, LLC, et al. v Wal-Mart Stores, Inc., et al., which was previously consolidated with

  the present action for pretrial purposes and then stayed. The 13-4627 action was dismissed upon

  notice to the Court of the settlement of Civil Action No. 12-cv-6671 and the 13-4627 action on

  June 8, 2015. Each of the Patents-in-Suit in the present action was asserted against Wal-Mart in




                                                    8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              82 Filed: 12/14/2021
                                                      Page 9 of 122 PageID: 9481



  the 13-4627 action for its sale and offers to sell the Pocket Hose expandable and contractible hose

  product produced by Telebrands Corporation.

         Answer: Tristar admits that the case styled Blue Gentian, LLC v. Wal-Mart Stores, Inc.,

  Civil Action No. 13-cv-4627 was consolidated with the present action for pretrial purposes. Tristar

  admits that Civil Action No. 13-cv-4627 was stayed. Tristar is without information sufficient to

  form a belief as to the truth of the other allegations set forth in Paragraph 21 of the Complaint, and

  therefore denies same.

         22.     Wal-Mart was also previously a named defendant in Civil Action No. 13-cv-7099,

  styled Blue Gentian, LLC, et al. v. Wal-Mart Stores, Inc., d/b/a Sam’s Club and Sam’s Wholesale

  Club, which was consolidated with the present action for pretrial purposes and then stayed. The

  Court recently lifted the stay of the 13-7099 action, and then administratively closed and

  consolidated it into the present action.

         Answer: Tristar admits that Walmart was a named defendant in the case styled Blue

  Gentian, LLC v. Tristar Products, Inc., Civil Action No. 13-cv-7099. Tristar admits that Civil

  Action No. 13-cv-7099 was consolidated with the present action for pretrial purposes. Tristar

  admits that Civil Action No. 13-cv-7099 was stayed. Tristar admits that the Court lifted the stay

  on Civil Action No. 13-cv-7099 and then administratively closed and consolidated it into the

  present action. Tristar denies all other allegations set forth in Paragraph 22 of the Complaint.

         23.     Wal-Mart had previously sold the XHose® in its stores in January and February

  2013, selling units that had been shipped to test the market for the product. The XHose® was

  marked with the ‘941 and ‘942 Patents, in accordance with 35 U.S.C. § 287, during that entire time

  period. A sample Wal-Mart display of the XHose®, with the patent markings included on a white

  label on the lower left corner of the product’s packaging, is depicted in Exhibit “K” hereto.




                                                    9
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  83 Filed:
                                               03/01/18    12/14/2021
                                                        Page 10 of 122 PageID: 9482



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 23 of the Complaint, and therefore denies same.

          24.     Over the course of this litigation, Tristar has redesigned certain features related to

   the inlet and outlet couplers and flow restrictor of the Flex-Able Hose. Tristar has also marketed

   a “Tough Grade” Flex-Able Hose constructed of purportedly stronger materials than the original

   Flex-Able Hose. Tristar has also incorporated the Flex-Able Hose into its sales of a pressure

   washer under the brand “EZ-Jet”. Screen shots from Tristar’s websites “www.flexablehose.com”

   and “www.tryezjet.com” promoting these products are attached as composite Exhibit “L” hereto.

          Answer: Tristar admits to promoting a product under the brand “Tough Grade Flex~Able

   Hose.” Tristar admits to promoting a product under the brand “EZ-Jet.” Tristar admits that screen

   shots of two websites appear to be attached to the Complaint as Exhibit “L”. Tristar denies all

   other allegations set forth in Paragraph 24 of the Complaint.

          25.     Tristar has also recently introduced yet another iteration of the Flex-Able Hose,

   advertised and sold as the “Extreme Flex-Able Hose” which also infringes the Patents-in-Suit.

   While the Flex-Able Hose generally is sold at “Wal-Mart” retail stores and on the Wal-Mart

   website, the ‘Extreme Flex-Able Hose” appears to be sold only through Sam’s Club and on the

   Sam’s Club website. A photograph of the product in its packaging is attached as Exhibit “M”

   hereto. Further discovery is required as to the full extent of sales of this product.

          Answer: Tristar admits to promoting a product under the brand “Extreme Flex~Able

   Hose.” Tristar admits that a depiction of screen shot appears to be attached to the Complaint as

   Exhibit “M.” Tristar denies all other allegations set forth in Paragraph 25 of the Complaint.

          26.     Tristar has endeavored to legitimize its infringement of the Patents-in-Suit through

   inequitable conduct before the U.S. Patent Office. On May 5, 2015 U.S. Patent No. 9,022,076,




                                                    10
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  84 Filed:
                                               03/01/18    12/14/2021
                                                        Page 11 of 122 PageID: 9483



   entitled “Linearly Retractable Pressure Hose Structure” (“the ‘076 Patent”), was issued to Ragner

   Technology Corporation (“Ragner”). Tristar sells Flex-Able Hose products under purported

   license from Ragner’s patents including U.S. Patent No. 7,549,448 (“the ‘448 Patent”) and U.S.

   Patent No. 8,776,836 (“the ‘836 Patent”). Ragner and Tristar are currently asserting the ‘448 and

   ‘836 Patents against the XHose® product in the case styled Tristar Prods., Inc., et al. v. National

   Express, Inc. et al., Civil Action No. 2:13-cv-07752-ES-MAH (D.N.J.) (“the 13-7752 action”).

   The ‘076 Patent was filed as a continuation of the ‘836 Patent (eight years after the ‘836 Patent

   was filed), which was filed as a continuation-in-part of the ‘448 Patent. Upon information and

   belief, Tristar was actively involved in Ragner’s prosecution of the ‘076 Patent. A copy of the

   ‘076 Patent is attached as Exhibit “N” hereto.

           Answer: Tristar admits that the electronic records maintained by the United States Patent

   and Trademark Office includes a record for U.S. Patent No. 9,022,076 (issued May 5, 2015)

   entitled “Linearly Retractable Pressure Hose Structure” and lists the assignee as “Ragner

   Technology Corporation.” Tristar admits that attached Exhibit N appears to be the ‘076 patent.

   Tristar admits to having an exclusive license to make, have made, use, distribute, sell, offer for

   sale, and import in the United States certain products covered by the ‘448 patent and ‘836 patent.

   Tristar admits to filing a case styled Tristar Prods., Inc., et al. v. National Express, Inc. et al., Civil

   Action No. 13-cv-07752-ES-MAH (D.N.J.) with Ragner Technology Corporation. Tristar admits

   that U.S. Patent No. 7,549,448 and U.S. Patent No. 8,776,836 are asserted in Civil Action No. 13-

   cv-07752. Tristar denies all other allegations set forth in Paragraph 26 of the Complaint.

           27.     The filing of the ‘076 Patent constitutes an attempt by Tristar and Ragner to

   manufacture prior art evidence against the Patents-in-Suit through deception before the Patent

   Office. The ‘076 Patent was filed as a continuation of the ‘836 Patent in order to claim an earlier




                                                       11
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  85 Filed:
                                               03/01/18    12/14/2021
                                                        Page 12 of 122 PageID: 9484



   priority date, notwithstanding the fact that its claims consist mainly of language directly copied

   from the claims of the ‘941 Patent. Significant portions of the language from the ‘941 Patent were

   copied into claims of the ‘076 Patent, as follows: Claim 1 of the ‘076 Patent copies language from

   Claim 1 of the ‘941 Patent as originally filed; Claims 2, 4, and 7 of the ‘076 Patent copy language

   from Claim 1 of the issued ‘941 Patent; Claim 8 of the ‘076 Patent copies language from Claim 2

   of the issued ‘941 Patent; Claim 9 of the ‘076 Patent copies language (including a typographical

   error) from Claim 3 of the issued ‘941 Patent; Claim 11 of the ‘076 Patent copies language from

   Claim 10 of the issued ‘941 Patent; Claim 12 of the ‘076 Patent copies language from Claim 11 of

   the issued ‘941 Patent; Claim 13 of the ‘076 Patent copies language from Claim 13 of the issued

   ‘941 Patent; Claim 14 of the ‘076 Patent copies language from Claim 15 of the issued ‘941 Patent;

   Claim 15 of the ‘076 Patent copies language from Claim 18 of the issued ‘941 Patent; and Claim

   16 of the ‘076 Patent copies language from Claim 22 of the issued ‘941 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 27 of the Complaint, and therefore denies same.

          28.     The claims copies from the ‘941 Patent were grafted onto the specification of the

   ‘836 Patent, a patent which Ragner fraudulently revived after abandonment during prosecution.

   The ‘076 Patent was filed as a continuation of the ‘836 Patent in order to improperly influence the

   Patent Examiner into finding support for the ‘941 Patent claim language in the ‘836 Patent

   specification, while not considering the ‘941 Patent as prior art because of the earlier priority date

   afforded to the ‘076 Patent for being filed as a continuation of the ‘836 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 28 of the Complaint, and therefore denies same.




                                                    12
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  86 Filed:
                                               03/01/18    12/14/2021
                                                        Page 13 of 122 PageID: 9485



          29.     Ragner did not disclose this copying of the ‘941 Patent – or the existence of the

   present action, the 13-7099 action and the 13-7752 action involving the subject matter of these

   patents – to the Patent Office, all in violation of his duty to disclose material information under 37

   C.F.R. § 1.56. Such an act constitutes an example of “disreputable or gross misconduct” under the

   former 37 C.F.R. § 10.23(c)(7), now incorporated into 37 C.F.R. § 11.804. Further, Ragner filed

   the ‘076 Patent with its copied claims more than 12 months after the ‘941 Patent has issued, in

   violation of 35 U.S.C. § 135(b)(1), as applicable to the ‘076 Patent because it claims priority before

   March 16, 2013.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 29 of the Complaint, and therefore denies same.

          30.     In its Invalidity Contentions served in this action, Tristar invoked the ‘076 Patent

   as purported prior art, claiming that each of the ‘941, ‘942, ‘776, and ‘213 Patents is invalid as

   anticipated or obvious under 35 U.S.C. §§ 102 and 103 in view of the ‘076 Patent. Tristar is now

   raising the ‘076 Patent as prior art against the same ‘941 Patent from which its claims were

   fraudulently copied. It is doing so notwithstanding the fact that the ‘076 Patent was filed 29 months

   after the filing of the ‘941 Patent, 22 months after the ‘942 Patent, 17 months after the ‘776 Patent

   and 12 months after the ‘213 Patent.

          Answer: Tristar admits to setting forth the ‘076 patent and U.S. Patent No. 6,948,527 as

   prior art references that anticipate the asserted claims of the ‘941, ‘942, ‘776, and ‘213 patents in

   its Invalidity Contentions Pursuant to L. Pat. R. 3.3 served on June 15, 2015. Tristar admits to

   setting forth the ‘076 patent, U.S. Patent No. 6,948,527, U.S. Patent No. 1,220,661, U.S. Patent

   No. 6,523,539, U.S. Patent No. 3,980,325, and Chinese Patent Application No. CN 201220069023

   as prior art references that alone, in combination with the knowledge of one of ordinary skill in the




                                                    13
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  87 Filed:
                                               03/01/18    12/14/2021
                                                        Page 14 of 122 PageID: 9486



   art, or in combination with one another render the asserted claims of the ‘941, ‘942, and ‘213

   patents obvious in its Invalidity Contentions Pursuant to L. Pat. R. 3.3 served on June 15, 2015.

   Tristar denies all other allegations set forth in Paragraph 30 of the Complaint.

          31.     Tristar has also attempted to improperly use the ‘076 Patent to bolster its

   overreaching proposed claim constructions of Ragner’s ‘448 and ‘836 Patents, for the purposes of

   expanding their scope to support their infringement claim against the XHose® product in the

   above-referenced 13-7752 action, while also supporting the assertion of the Ragner’s 448 Patent

   as prior art against the ‘941, ‘942, ‘776, and ‘213 Patents in the present action.

          Answer: Tristar denies the allegations set forth in Paragraph 31 of the Complaint.

          32.     Upon information and belief, the ‘076 Patent was prosecuted with Tristar’s

   knowledge, consent and assistance solely for the purpose of unduly influencing the outcome of the

   present action and the 13-7752 action, without regard or concern for the inequitable conduct before

   the Patent Office necessary to obtain its issuance. Such disregard was evidence during a July 6,

   2015 hearing before the Honorable Judge Salas in the 13-7752 action, in which Tristar’s counsel

   argued that, even if the allegations of fraud in connection with the ‘076 Patent are true, the result

   was nevertheless the issuance of a patent that would be used to support Ragner and Tristar’s

   proposed claim construction for the ‘448 and ‘836 Patents in that action.

          Answer: Tristar denies the allegations set forth in Paragraph 32 of the Complaint.

          33.     Upon information and belief, Wal-Mart has knowledge of and has adopted Tristar’s

   bad-faith course of action in connection with the ‘076 Patent as part of their concerted defense in

   the present action.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   other allegations set forth in Paragraph 33 of the Complaint, and therefore denies same.




                                                    14
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  88 Filed:
                                               03/01/18    12/14/2021
                                                        Page 15 of 122 PageID: 9487



                                            COUNT I
                                DIRECT PATENT INFRINGEMENT
                                     (Tristar – ‘941 Patent)

          34.     This Count alleges direct Patent Infringement of the ‘941 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          35.     Tristar has infringed and is still infringing one or more claims of the ‘941 Patent by

   making, using, selling, offering to sell and, upon belief, importing into the United States hose

   products embodying the invention protected under the ‘941 Patent, and will continue to do so

   unless enjoined by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 35 of the Complaint.

          36.     Tristar’s actions of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 36 of the Complaint.

          37.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 37 of the Complaint.




                                                   15
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  89 Filed:
                                               03/01/18    12/14/2021
                                                        Page 16 of 122 PageID: 9488



                                          COUNT II
                              INDIRECT PATENT INFRINGEMENT
                                    (Tristar – ‘941 Patent)

          38.     This Count alleges indirect Patent Infringement of the ‘941 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          39.     Tristar has induced others to infringe and continues to induce others to infringe one

   or more claims of the ‘941 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 39 of the Complaint.

          40.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 40 of the Complaint.

          41.     Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘941 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 41 of the Complaint, and therefore denies same.

          42.     Tristar should have known, and has known, that selling and offering to sell, and

   upon belief, importing into the United States the Flex-Able Hose products would cause the direct

   infringement of the ‘941 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 42 of the Complaint.




                                                   16
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  90 Filed:
                                               03/01/18    12/14/2021
                                                        Page 17 of 122 PageID: 9489



             43.    Despite having knowledge of the issuance of the ‘941 Patent prior to the date

   thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold, offered to

   sell and promoted the accused Flex-Able Hose products with specific intent to encourage and cause

   infringement of the ‘941 Patent by end-user retail customers and retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 43 of the Complaint.

             44.    Since at least the date of the issuance of the ‘941 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

             Answer: Tristar denies the allegations set forth in Paragraph 44 of the Complaint.

             45.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

             Answer: Tristar denies the allegations set forth in Paragraph 45 of the Complaint.

             46.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 46 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             47.    Tristar has contributorily infringed and continues to contributorily infringe the ‘941

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 47 of the Complaint.




                                                     17
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  91 Filed:
                                               03/01/18    12/14/2021
                                                        Page 18 of 122 PageID: 9490



          48.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 48 of the Complaint.

          49.     Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘941 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 49 of the Complaint, and therefore denies same.

          50.     Despite having knowledge of the announced issuance of the ‘941 Patent prior to

   the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   infringement of the ‘941 Patent by customers and retailers.

          Answer: Tristar denies the allegations set forth in Paragraph 50 of the Complaint.

          51.     Since at least the date of the issuance of the ‘941 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 51 of the Complaint.

          52.     Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in one or more claims of the ‘941 Patent, and has done so with knowledge

   that the products are especially made or adapted for use in an infringement of the ‘941 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 52 of the Complaint.




                                                   18
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  92 Filed:
                                               03/01/18    12/14/2021
                                                        Page 19 of 122 PageID: 9491



          53.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 53 of the Complaint.

          54.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 54 of the Complaint.

          55.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 55 of the Complaint.

                                           COUNT III
                                DIRECT PATENT INFRINGEMENT
                                     (Tristar – ‘942 Patent)

          56.     This Count alleges direct Patent Infringement of the ‘942 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          57.     Tristar has infringed and is still infringing one or more claims of the ‘942 Patent by

   making, using, selling, offering to sell and, upon belief, importing into the United States hose

   products embodying the invention protected under the ‘942 Patent, and will continue to do so

   unless enjoined by this Court.




                                                   19
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  93 Filed:
                                               03/01/18    12/14/2021
                                                        Page 20 of 122 PageID: 9492



          Answer: Tristar denies the allegations set forth in Paragraph 57 of the Complaint.

          58.     Tristar’s act of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 58 of the Complaint.

          59.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 59 of the Complaint.

                                          COUNT IV
                              INDIRECT PATENT INFRINGEMENT
                                    (Tristar – ‘942 Patent)

          60.     This Count alleges indirect Patent Infringement of the ‘942 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          61.     Tristar has induced others to infringe and continue to induce others to infringe one

   or more claims of the ‘942 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 61 of the Complaint.

          62.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 62 of the Complaint.




                                                   20
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  94 Filed:
                                               03/01/18    12/14/2021
                                                        Page 21 of 122 PageID: 9493



          63.     Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘942 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 63 of the Complaint, and therefore denies same.

          64.     Tristar should have known, and has known, that selling and offering to sell and,

   upon belief, importing into the United States the Flex-Able Hose products would cause the direct

   infringement of the ‘942 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 64 of the Complaint.

          65.     Despite having knowledge of the announced issuance of the ‘942 Patent prior to

   the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with specific intent to encourage and cause

   the infringement of the ‘942 Patent by customers and retailers.

          Answer: Tristar denies the allegations set forth in Paragraph 65 of the Complaint.

          66.     Since at least the date of the issuance of the ‘942 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including though its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 66 of the Complaint.

          67.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 67 of the Complaint.




                                                   21
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  95 Filed:
                                               03/01/18    12/14/2021
                                                        Page 22 of 122 PageID: 9494



             68.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 68 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             69.    Tristar has contributorily infringed and continues to contributorily infringe the ‘942

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 69 of the Complaint.

             70.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 70 of the Complaint.

             71.    Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘942 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 71 of the Complaint, and therefore denies same.

             72.    Despite having knowledge of the announced issuance of the ‘942 Patent prior to

   the date thereof, and actual knowledge of its issuance since October 23, 2012, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   the infringement of the ‘942 Patent by customers and retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 72 of the Complaint.




                                                     22
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  96 Filed:
                                               03/01/18    12/14/2021
                                                        Page 23 of 122 PageID: 9495



          73.     Since at least the date of the issuance of ‘942 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 73 of the Complaint.

          74.     Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in one or more claims of the ‘942 Patent, and has done so with knowledge

   that the products are especially made or adapted for use in an infringement of the ‘942 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 74 of the Complaint.

          75.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 75 of the Complaint.

          76.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 76 of the Complaint.

          77.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 77 of the Complaint.




                                                   23
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  97 Filed:
                                               03/01/18    12/14/2021
                                                        Page 24 of 122 PageID: 9496



                                           COUNT V
                                DIRECT PATENT INFRINGEMENT
                                     (Tristar – ‘776 Patent)

          78.     This Count alleges direct Patent Infringement of the ‘776 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          79.     Tristar has infringed and is still infringing one or more claims of the ‘776 Patent by

   making, using, selling, offering to sell and, upon belief, importing into the United States hose

   products embodying the invention protected under the ‘776 Patent and will continue to do so unless

   enjoined by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 79 of the Complaint.

          80.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 80 of the Complaint.

          81.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 81 of the Complaint.




                                                   24
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  98 Filed:
                                               03/01/18    12/14/2021
                                                        Page 25 of 122 PageID: 9497



                                          COUNT VI
                              INDIRECT PATENT INFRINGEMENT
                                    (Tristar – ‘776 Patent)

          82.     This Count alleges indirect Patent Infringement of the ‘776 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          83.     Tristar has induced others to infringe and continues to induce others to infringe one

   or more claims of the ‘776 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 83 of the Complaint.

          84.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 84 of the Complaint.

          85.     Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘776 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 85 of the Complaint, and therefore denies same.

          86.     Tristar should have known, and has known, that selling and offering to sell, and

   upon belief, importing into the United States the Flex-Able Hose products would cause the direct

   infringement of the ‘776 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 86 of the Complaint.




                                                   25
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  99 Filed:
                                               03/01/18    12/14/2021
                                                        Page 26 of 122 PageID: 9498



             87.    Despite having knowledge of the issuance of the ‘776 Patent, Tristar has sold,

   offered to sell and promoted the accused Flex-Able Hose products with specific intent to encourage

   and cause the infringement of the ‘776 Patent by customers and by retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 87 of the Complaint.

             88.    Since at least the date of the issuance of the ‘776 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

             Answer: Tristar denies the allegations set forth in Paragraph 88 of the Complaint.

             89.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

             Answer: Tristar denies the allegations set forth in Paragraph 89 of the Complaint.

             90.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority of license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 90 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             91.    Tristar has contributorily infringed and continues to contributorily infringe the ‘776

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 91 of the Complaint.




                                                     26
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              100 Filed: 12/14/2021
                                                      Page 27 of 122 PageID: 9499



          92.     Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 92 of the Complaint.

          93.     Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘776 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 93 of the Complaint, and therefore denies same.

          94.     Despite having knowledge of the issuance of the ‘776 Patent, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   the infringement of the ‘776 Patent by customers and retailers.

          Answer: Tristar denies the allegations set forth in Paragraph 94 of the Complaint.

          95.     Since at least the date of the issuance of the ‘776 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 95 of the Complaint.

          96.     Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in one or more claims of the ‘776 Patent, and has done so with knowledge

   that the products are especially made or adapted for use in an infringement of the ‘776 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 96 of the Complaint.




                                                   27
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              101 Filed: 12/14/2021
                                                      Page 28 of 122 PageID: 9500



          97.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 97 of the Complaint.

          98.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 98 of the Complaint.

          99.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 99 of the Complaint.

                                         COUNT VII
                                DIRECT PATENT INFRINGEMENT
                                         (‘213 Patent)

          100.    This Count alleges direct Patent Infringement of the ‘213 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          101.    Tristar has infringed and is still infringing one or more claims of the ‘213 Patent by

   making, using, selling, offering to sell and, upon belief, importing into the United States hose

   products embodying the invention protected under the ‘213 Patent, and will continue to do so

   unless enjoined by this Court.




                                                   28
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              102 Filed: 12/14/2021
                                                      Page 29 of 122 PageID: 9501



          Answer: Tristar denies the allegations set forth in Paragraph 101 of the Complaint.

          102.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 102 of the Complaint.

          103.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 103 of the Complaint.

                                         COUNT VIII
                              INDIRECT PATENT INFRINGEMENT
                                    (Tristar – ‘213 Patent)

          104.    This Count alleges indirect Patent Infringement of the ‘213 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          105.    Tristar has induced others to infringe and continues to induce others to infringe one

   or more claims of the ‘213 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 105 of the Complaint.

          106.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 106 of the Complaint.




                                                   29
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              103 Filed: 12/14/2021
                                                      Page 30 of 122 PageID: 9502



          107.    Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘213 Patent by selling and offering to sell

   Flex-Able Hose Products in their retail locations.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 107 of the Complaint, and therefore denies same.

          108.    Tristar should have known, and has known, that selling and offering to sell, and

   upon belief, importing into the United States Flex-Able Hose products would cause the direct

   infringement of the ‘213 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 108 of the Complaint.

          109.    Despite having knowledge of the issuance of the ‘213 Patent, Tristar has sold,

   offered to sell and promoted the accused Flex-Able Hose products with the specific intent to

   encourage and cause the infringement of the ‘213 Patent by customers and by retailers.

          Answer: Tristar denies the allegations set forth in Paragraph 109 of the Complaint.

          110.    Since at least the date of the issuance of the ‘213 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one

   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 110 of the Complaint.

          111.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 111 of the Complaint.




                                                   30
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              104 Filed: 12/14/2021
                                                      Page 31 of 122 PageID: 9503



             112.   Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 112 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             113.   Tristar has contributorily infringed and continues to contributorily infringe the ’213

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 113 of the Complaint.

             114.   Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 114 of the Complaint.

             115.   Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe one or more claims of the ‘213 Patent by selling and offering to sell

   Flex-Able Hose products in their retail locations.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 115 of the Complaint, and therefore denies same.

             116.   Despite having knowledge of the issuance of the ‘213 Patent, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   infringement of the ‘213 Patent by customers and retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 116 of the Complaint.

             117.   Since at least the date of the issuance of the ‘213 Patent, Tristar has had actual

   knowledge of the claims of the Patent, and the fact that its Flex-Able Hose products infringe one




                                                     31
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              105 Filed: 12/14/2021
                                                      Page 32 of 122 PageID: 9504



   or more of those claims, including through its copying of the XHose®. Upon belief, it has taken

   no steps to remedy any infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 117 of the Complaint.

          118.    Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in one or more claims of the ‘213 Patent, and has done so with knowledge

   that the products are especially made or adapted for use in an infringement of the ‘213 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 118 of the Complaint.

          119.    Tristar’s Flex-Able Hose products are not staples of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 119 of the Complaint.

          120.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 120 of the Complaint.

          121.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 121 of the Complaint.




                                                   32
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              106 Filed: 12/14/2021
                                                      Page 33 of 122 PageID: 9505



                                            COUNT IX
                                 DIRECT PATENT INFRINGEMENT
                                      (Tristar – ‘681 Patent)

            122.   This Count alleges direct Patent Infringement of the ‘681 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

            Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

            123.   Tristar has infringed and is still infringing the ‘681 Patent by making, using, selling,

   offering to sell and, upon belief, importing into the United States hose products incorporating the

   ornamental design shown in the ‘681 Patent, and will continue to do so unless enjoined by this

   Court.

            Answer: Tristar denies the allegations set forth in Paragraph 123 of the Complaint.

            124.   Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

            Answer: Tristar denies the allegations set forth in Paragraph 124 of the Complaint.

            125.   Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

            Answer: Tristar denies the allegations set forth in Paragraph 125 of the Complaint.




                                                     33
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              107 Filed: 12/14/2021
                                                      Page 34 of 122 PageID: 9506



                                            COUNT X
                                INDIRECT PATENT INFRINGEMENT
                                      (Tristar – ‘681 Patent)

           126.    This Count alleges indirect Patent Infringement of the ‘681 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

           Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.      INDUCEMENT OF INFRINGEMENT

           127.    Tristar has induced others to infringe and continues to induce others to infringe the

   ‘681 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 127 of the Complaint.

           128.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe the ‘681 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 128 of the Complaint.

           129.    Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe the ‘681 Patent by selling and offering to sell Flex-Able Hose products

   in their retail locations.

           Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 129 of the Complaint, and therefore denies same.

           130.    Tristar should have known, and has known, that selling and offering to sell, and

   upon belief, importing into the United States the Flex-Able Hose products would cause the direct

   infringement of the ‘681 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 130 of the Complaint.




                                                    34
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              108 Filed: 12/14/2021
                                                      Page 35 of 122 PageID: 9507



             131.   Despite having knowledge of the issuance of the ‘681 Patent, Tristar has sold,

   offered to sell and promoted the accused Flex-Able Hose products with specific intent to encourage

   and cause the infringement of the ‘681 Patent by customers and by retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 131 of the Complaint.

             132.   Since at least the date of the issuance of the ‘681 Patent, Tristar has had actual

   knowledge of Patent and the fact that its Flex-Able Hose products are infringements thereof,

   including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

   infringement.

             Answer: Tristar denies the allegations set forth in Paragraph 132 of the Complaint.

             133.   Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

             Answer: Tristar denies the allegations set forth in Paragraph 133 of the Complaint.

             134.   Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 134 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             135.   Tristar has contributorily infringed and continues to contributorily infringe the ‘681

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 135 of the Complaint.




                                                     35
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              109 Filed: 12/14/2021
                                                      Page 36 of 122 PageID: 9508



           136.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe the ‘681 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 136 of the Complaint.

           137.    Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe the ‘681 Patent by selling and offering to sell Flex-Able Hose products

   in their retail locations.

           Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 137 of the Complaint, and therefore denies same.

           138.    Despite having knowledge of the issuance of the ‘681 Patent, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   infringement of the ‘681 Patent by customers and retailers.

           Answer: Tristar denies the allegations set forth in Paragraph 138 of the Complaint.

           139.    Since at least the date of the issuance of the ‘681 Patent, Tristar has had actual

   knowledge of the Patent and the fact that its Flex-Able Hose products are infringements thereof,

   including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

   infringement.

           Answer: Tristar denies the allegations set forth in Paragraph 139 of the Complaint.

           140.    Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in the ‘681 Patent, and has done so with knowledge that the products are

   especially made or adapted for use in an infringement of the ‘681 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 140 of the Complaint.




                                                    36
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              110 Filed: 12/14/2021
                                                      Page 37 of 122 PageID: 9509



            141.   Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   appearance having no purpose other than infringement.

            Answer: Tristar denies the allegations set forth in Paragraph 141 of the Complaint.

            142.   Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

            Answer: Tristar denies the allegations set forth in Paragraph 142 of the Complaint.

            143.   Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

            Answer: Tristar denies the allegations set forth in Paragraph 143 of the Complaint.

                                            COUNT XI
                                 DIRECT PATENT INFRINGEMENT
                                      (Tristar – ‘186 Patent)

            144.   This Count alleges direct Patent Infringement of the ‘186 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

            Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

            145.   Tristar has infringed and is still infringing the ‘186 Patent by making, using, selling,

   offering to sell and, upon belief, importing into the United States hose products incorporating the

   ornamental design shown in the ‘186 Patent, and will continue to do so unless enjoined by this

   Court.




                                                     37
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              111 Filed: 12/14/2021
                                                      Page 38 of 122 PageID: 9510



          Answer: Tristar denies the allegations set forth in Paragraph 145 of the Complaint.

          146.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 146 of the Complaint.

          147.    Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 147 of the Complaint.

                                         COUNT XII
                              INDIRECT PATENT INFRINGEMENT
                                    (Tristar – ‘186 Patent)

          148.    This Count alleges indirect Patent Infringement of the ‘186 Patent against Tristar,

   pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          149.    Tristar has induced others to infringe and continues to induce others to infringe the

   ‘186 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 149 of the Complaint.

          150.    Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe the ‘186 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 150 of the Complaint.




                                                    38
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              112 Filed: 12/14/2021
                                                      Page 39 of 122 PageID: 9511



           151.    Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe the ‘186 Patent by selling and offering to sell Flex-Able Hose products

   in their retail locations.

           Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 151 of the Complaint, and therefore denies same.

           152.    Tristar should have known, and has known, that selling and offering to sell, and

   upon belief, importing into the United States the Flex-Able Hose products would cause the direct

   infringement of the ‘186 Patent.

           Answer: Tristar denies the allegations set forth in Paragraph 152 of the Complaint.

           153.    Despite having knowledge of the issuance of the ‘186 Patent, Tristar has sold,

   offered to sell and promoted the accused Flex-Able Hose products with specific intent to encourage

   and cause the infringement of the ‘186 Patent by customers and by retailers.

           Answer: Tristar denies the allegations set forth in Paragraph 153 of the Complaint.

           154.    Since at least the date of the issuance of the ‘186 Patent, Tristar has had actual

   knowledge of Patent and the fact that its Flex-Able Hose products are infringements thereof,

   including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

   infringement.

           Answer: Tristar denies the allegations set forth in Paragraph 154 of the Complaint.

           155.    Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

           Answer: Tristar denies the allegations set forth in Paragraph 155 of the Complaint.




                                                    39
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              113 Filed: 12/14/2021
                                                      Page 40 of 122 PageID: 9512



             156.   Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

             Answer: Tristar denies the allegations set forth in Paragraph 156 of the Complaint.

   B.        CONTRIBUTORY INFRINGEMENT

             157.   Tristar has contributorily infringed and continues to contributorily infringe the ‘186

   Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 157 of the Complaint.

             158.   Tristar’s end-user customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe the ‘186 Patent.

             Answer: Tristar denies the allegations set forth in Paragraph 158 of the Complaint.

             159.   Retailers including, without limitation, Wal-Mart, have directly infringed and

   continue to directly infringe the ‘186 Patent by selling and offering to sell Flex-Able Hose products

   in their retail locations.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 159 of the Complaint, and therefore denies same.

             160.   Despite having knowledge of the issuance of the ‘186 Patent, Tristar has sold and

   offered to sell the accused Flex-Able Hose products with the specific intent to encourage and cause

   infringement of the ‘186 Patent by customers and retailers.

             Answer: Tristar denies the allegations set forth in Paragraph 160 of the Complaint.

             161.   Since at least the date of the issuance of the ‘186 Patent, Tristar has had actual

   knowledge of the Patent and the fact that its Flex-Able Hose products are infringements thereof,




                                                     40
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              114 Filed: 12/14/2021
                                                      Page 41 of 122 PageID: 9513



   including through its copying of the XHose®. Upon belief, it has taken no steps to remedy any

   infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 161 of the Complaint.

          162.     Tristar has sold and offered to sell the accused Flex-Able Hose products to practice

   the invention claimed in the ‘186 Patent, and has done so with knowledge that the products are

   especially made or adapted for use in an infringement of the ‘186 Patent.

          Answer: Tristar denies the allegations set forth in Paragraph 162 of the Complaint.

          163.     Tristar’s Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   appearance having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 163 of the Complaint.

          164.     Tristar’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warranting a finding that this is an exceptional case

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar denies the allegations set forth in Paragraph 164 of the Complaint.

          165.     Tristar’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Tristar is enjoined from doing so by this Court.

          Answer: Tristar denies the allegations set forth in Paragraph 165 of the Complaint.




                                                    41
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              115 Filed: 12/14/2021
                                                      Page 42 of 122 PageID: 9514



                                         COUNT XIII
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘941 Patent)

          166.    This Count alleges direct Patent Infringement of the ‘941 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          167.    Wal-Mart has infringed and is still infringing one or more claims of the ‘941 Patent

   by selling and offering to sell hose products embodying the invention protected under the ‘941

   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 167 of the Complaint, and therefore denies same.

          168.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 168 of the Complaint, and therefore denies same.

          169.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 169 of the Complaint, and therefore denies same.




                                                   42
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              116 Filed: 12/14/2021
                                                      Page 43 of 122 PageID: 9515



                                         COUNT XIV
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘941 Patent)

          170.    This Count alleges indirect Patent Infringement of the ‘941 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          171.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘941 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 171 of the Complaint, and therefore denies same.

          172.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 172 of the Complaint, and therefore denies same.

          173.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘941 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 173 of the Complaint, and therefore denies same.

          174.    Despite having knowledge of the issuance of the ‘941 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘941 Patent.




                                                   43
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              117 Filed: 12/14/2021
                                                      Page 44 of 122 PageID: 9516



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 174 of the Complaint, and therefore denies same.

          175.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘941 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 175 of the Complaint, and therefore denies same.

          176.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 176 of the Complaint, and therefore denies same.

          177.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 177 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          178.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘941 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 178 of the Complaint, and therefore denies same.




                                                   44
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              118 Filed: 12/14/2021
                                                      Page 45 of 122 PageID: 9517



             179.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘941 Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 179 of the Complaint, and therefore denies same.

             180.   Despite having knowledge of the issuance of the ‘941 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘941 Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 180 of the Complaint, and therefore denies same.

             181.   Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘941 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 181 of the Complaint, and therefore denies same.

             182.   Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in one or more claims of the ‘941 Patent, and has done so with

   knowledge that the products are especially made or adapted for use in an infringement of the ’941

   Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 182 of the Complaint, and therefore denies same.




                                                     45
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              119 Filed: 12/14/2021
                                                      Page 46 of 122 PageID: 9518



          183.    The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function have no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 183 of the Complaint.

          184.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 184 of the Complaint, and therefore denies same.

          185.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 185 of the Complaint, and therefore denies same.

                                         COUNT XV
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘942 Patent)

          186.    This Count alleges direct Patent Infringement of the ‘942 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          187.    Wal-Mart has infringed and is still infringing one or more claims of the ‘942 Patent

   by selling and offering to sell hose products embodying the invention protected under the ‘942




                                                   46
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              120 Filed: 12/14/2021
                                                      Page 47 of 122 PageID: 9519



   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 187 of the Complaint, and therefore denies same.

          188.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 188 of the Complaint, and therefore denies same.

          189.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 189 of the Complaint, and therefore denies same.

                                         COUNT XVI
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘942 Patent)

          190.    This Count alleges indirect Patent Infringement of the ‘942 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT




                                                   47
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              121 Filed: 12/14/2021
                                                      Page 48 of 122 PageID: 9520



          191.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 191 of the Complaint, and therefore denies same.

          192.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 192 of the Complaint, and therefore denies same.

          193.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 193 of the Complaint, and therefore denies same.

          194.    Despite having knowledge of the issuance of the ‘942 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 194 of the Complaint, and therefore denies same.

          195.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘942 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 195 of the Complaint, and therefore denies same.




                                                   48
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              122 Filed: 12/14/2021
                                                      Page 49 of 122 PageID: 9521



          196.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 196 of the Complaint, and therefore denies same.

          197.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 197 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          198.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 198 of the Complaint, and therefore denies same.

          199.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘942 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 199 of the Complaint, and therefore denies same.

          200.    Despite having knowledge of the issuance of the ‘942 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused




                                                   49
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              123 Filed: 12/14/2021
                                                      Page 50 of 122 PageID: 9522



   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘942 Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 200 of the Complaint, and therefore denies same.

             201.   Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘942 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 201 of the Complaint, and therefore denies same.

             202.   Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in one or more claims of the ‘942 Patent, and has done so with

   knowledge that the products are especially made or adapted for use in an infringement of the ’942

   Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 202 of the Complaint, and therefore denies same.

             203.   The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function have no purpose other than infringement.

             Answer: Tristar denies the allegations set forth in Paragraph 203 of the Complaint.

             204.   Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.




                                                     50
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              124 Filed: 12/14/2021
                                                      Page 51 of 122 PageID: 9523



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 204 of the Complaint, and therefore denies same.

          205.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 205 of the Complaint, and therefore denies same.

                                         COUNT XVII
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘776 Patent)

          206.    This Count alleges direct Patent Infringement of the ‘776 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          207.    Wal-Mart has infringed and is still infringing one or more claims of the ‘776 Patent

   by selling and offering to sell hose products embodying the invention protected under the ‘776

   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 207 of the Complaint, and therefore denies same.

          208.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.




                                                   51
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              125 Filed: 12/14/2021
                                                      Page 52 of 122 PageID: 9524



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 208 of the Complaint, and therefore denies same.

          209.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 209 of the Complaint, and therefore denies same.

                                        COUNT XVIII
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘776 Patent)

          210.    This Count alleges indirect Patent Infringement of the ‘776 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          211.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 211 of the Complaint, and therefore denies same.

          212.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 212 of the Complaint, and therefore denies same.




                                                   52
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              126 Filed: 12/14/2021
                                                      Page 53 of 122 PageID: 9525



          213.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 213 of the Complaint, and therefore denies same.

          214.    Despite having knowledge of the issuance of the ‘776 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 214 of the Complaint, and therefore denies same.

          215.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘776 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 215 of the Complaint, and therefore denies same.

          216.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 216 of the Complaint, and therefore denies same.

          217.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing




                                                   53
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              127 Filed: 12/14/2021
                                                      Page 54 of 122 PageID: 9526



   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 217 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          218.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 218 of the Complaint, and therefore denies same.

          219.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 219 of the Complaint, and therefore denies same.

          220.    Despite having knowledge of the issuance of the ‘776 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘776 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 220 of the Complaint, and therefore denies same.

          221.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘776 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.




                                                   54
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              128 Filed: 12/14/2021
                                                      Page 55 of 122 PageID: 9527



             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 221 of the Complaint, and therefore denies same.

             222.   Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in one or more claims of the ‘776 Patent, and has done so with

   knowledge that the products are especially made or adapted for use in an infringement of the ’776

   Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 222 of the Complaint, and therefore denies same.

             223.   The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function have no purpose other than infringement.

             Answer: Tristar denies the allegations set forth in Paragraph 223 of the Complaint.

             224.   Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 224 of the Complaint, and therefore denies same.

             225.   Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 225 of the Complaint, and therefore denies same.




                                                    55
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              129 Filed: 12/14/2021
                                                      Page 56 of 122 PageID: 9528



                                         COUNT XIX
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘213 Patent)

          226.    This Count alleges direct Patent Infringement of the ‘213 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          227.    Wal-Mart has infringed and is still infringing one or more claims of the ‘213 Patent

   by selling and offering to sell hose products embodying the invention protected under the ‘213

   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 227 of the Complaint, and therefore denies same.

          228.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 228 of the Complaint, and therefore denies same.

          229.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 229 of the Complaint, and therefore denies same.




                                                   56
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              130 Filed: 12/14/2021
                                                      Page 57 of 122 PageID: 9529



                                         COUNT XX
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘213 Patent)

          230.    This Count alleges indirect Patent Infringement of the ‘213 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          231.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘213 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 231 of the Complaint, and therefore denies same.

          232.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 232 of the Complaint, and therefore denies same.

          233.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘213 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 233 of the Complaint, and therefore denies same.

          234.    Despite having knowledge of the issuance of the ‘213 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘213 Patent.




                                                   57
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              131 Filed: 12/14/2021
                                                      Page 58 of 122 PageID: 9530



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 234 of the Complaint, and therefore denies same.

          235.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘213 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 235 of the Complaint, and therefore denies same.

          236.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 236 of the Complaint, and therefore denies same.

          237.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 237 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          238.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘213 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 238 of the Complaint, and therefore denies same.




                                                   58
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              132 Filed: 12/14/2021
                                                      Page 59 of 122 PageID: 9531



             239.   Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘213 Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 239 of the Complaint, and therefore denies same.

             240.   Despite having knowledge of the issuance of the ‘213 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘213 Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 240 of the Complaint, and therefore denies same.

             241.   Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘213 Patent, and the fact that the Flex-Able Hose products infringe

   one or more of those claims. Upon belief, it has taken no steps to remedy any infringement.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 241 of the Complaint, and therefore denies same.

             242.   Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in one or more claims of the ‘213 Patent, and has done so with

   knowledge that the products are especially made or adapted for use in an infringement of the ’213

   Patent.

             Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 242 of the Complaint, and therefore denies same.




                                                     59
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              133 Filed: 12/14/2021
                                                      Page 60 of 122 PageID: 9532



          243.    The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function have no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 243 of the Complaint.

          244.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 244 of the Complaint, and therefore denies same.

          245.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 245 of the Complaint, and therefore denies same.

                                         COUNT XXI
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘681 Patent)

          246.    This Count alleges direct Patent Infringement of the ‘681 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          247.    Wal-Mart has infringed and is still infringing one or more claims of the ‘681 Patent

   by selling and offering to sell hose products incorporating the ornamental design shown in the ‘681




                                                   60
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              134 Filed: 12/14/2021
                                                      Page 61 of 122 PageID: 9533



   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 247 of the Complaint, and therefore denies same.

          248.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 248 of the Complaint, and therefore denies same.

          249.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 249 of the Complaint, and therefore denies same.

                                         COUNT XXII
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘681 Patent)

          250.    This Count alleges indirect Patent Infringement of the ‘681 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT




                                                   61
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              135 Filed: 12/14/2021
                                                      Page 62 of 122 PageID: 9534



          251.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 251 of the Complaint, and therefore denies same.

          252.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 252 of the Complaint, and therefore denies same.

          253.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 253 of the Complaint, and therefore denies same.

          254.    Despite having knowledge of the issuance of the ‘681 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 254 of the Complaint, and therefore denies same.

          255.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘681 Patent, and the fact that the Flex-Able Hose products are

   infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 255 of the Complaint, and therefore denies same.




                                                   62
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              136 Filed: 12/14/2021
                                                      Page 63 of 122 PageID: 9535



          256.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 256 of the Complaint, and therefore denies same.

          257.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 257 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          258.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 258 of the Complaint, and therefore denies same.

          259.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 259 of the Complaint, and therefore denies same.

          260.    Despite having knowledge of the issuance of the ‘681 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused




                                                   63
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              137 Filed: 12/14/2021
                                                      Page 64 of 122 PageID: 9536



   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 260 of the Complaint, and therefore denies same.

          261.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘681 Patent, and the fact that the Flex-Able Hose products are

   infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 261 of the Complaint, and therefore denies same.

          262.    Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in the ‘681 Patent, and has done so with knowledge that the products

   are especially made or adapted for use in an infringement of the ’681 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 262 of the Complaint, and therefore denies same.

          263.    The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function having no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 263 of the Complaint.

          264.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 264 of the Complaint, and therefore denies same.




                                                   64
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              138 Filed: 12/14/2021
                                                      Page 65 of 122 PageID: 9537



          265.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 265 of the Complaint, and therefore denies same.

                                        COUNT XXIII
                                DIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘186 Patent)

          266.    This Count alleges direct Patent Infringement of the ‘186 Patent against Wal-Mart,

   pursuant to 35 U.S.C. § 271(a). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

          267.    Wal-Mart has infringed and is still infringing one or more claims of the ‘186 Patent

   by selling and offering to sell hose products incorporating the ornamental design shown in the ‘186

   Patent at its “Wal-Mart” and “Sam’s Club” retail locations and online at www.walmart.com and

   www.samsclub.com, and will continue to do so unless enjoined by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 267 of the Complaint, and therefore denies same.

          268.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 268 of the Complaint, and therefore denies same.




                                                   65
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              139 Filed: 12/14/2021
                                                      Page 66 of 122 PageID: 9538



          269.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 269 of the Complaint, and therefore denies same.

                                        COUNT XXIV
                              INDIRECT PATENT INFRINGEMENT
                                    (Wal-Mart – ‘186 Patent)

          270.    This Count alleges indirect Patent Infringement of the ‘186 Patent against Wal-

   Mart, pursuant to 35 U.S.C. § 271(b) and (c). Plaintiffs repeat and reallege Paragraphs 1-33 above.

          Answer: Tristar denies the legal sufficiency of Plaintiffs’ claims and allegations. Tristar

   repeats and reiterates the responses to the allegations set forth in Paragraphs 1-33 above.

   A.     INDUCEMENT OF INFRINGEMENT

          271.    Wal-Mart has induced others to infringe and continue to induce others to infringe

   one or more claims of the ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 271 of the Complaint, and therefore denies same.

          272.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 272 of the Complaint, and therefore denies same.

          273.    Wal-Mart should have known, and has known, that selling and offering to sell the

   Flex-Able Hose products would cause the direct infringement of the ‘186 Patent.




                                                   66
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              140 Filed: 12/14/2021
                                                      Page 67 of 122 PageID: 9539



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 273 of the Complaint, and therefore denies same.

          274.    Despite having knowledge of the issuance of the ‘186 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with specific intent to encourage and cause its customers’ infringement

   of the ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 274 of the Complaint, and therefore denies same.

          275.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘186 Patent, and the fact that the Flex-Able Hose products are

   infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 275 of the Complaint, and therefore denies same.

          276.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 276 of the Complaint, and therefore denies same.

          277.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.




                                                   67
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              141 Filed: 12/14/2021
                                                      Page 68 of 122 PageID: 9540



          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 277 of the Complaint, and therefore denies same.

   B.     CONTRIBUTORY INFRINGEMENT

          278.    Wal-Mart has contributorily infringed and continue to contributorily infringe the

   ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 278 of the Complaint, and therefore denies same.

          279.    Wal-Mart’s customers, by using the accused Flex-Able Hose products, have

   directly infringed and continue to directly infringe one or more claims of the ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 279 of the Complaint, and therefore denies same.

          280.    Despite having knowledge of the issuance of the ‘186 Patent since at least the date

   of receipt of notice from Plaintiffs, Wal-Mart has sold, offered to sell and promoted the accused

   Flex-Able Hose products with the specific intent to encourage and cause its customers’

   infringement of the ‘186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 280 of the Complaint, and therefore denies same.

          281.    Since at least the date of receipt of notice from Plaintiffs, Wal-Mart has had actual

   knowledge of the claims of the ‘186 Patent, and the fact that the Flex-Able Hose products are

   infringements thereof. Upon belief, it has taken no steps to remedy any infringement.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 281 of the Complaint, and therefore denies same.




                                                   68
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              142 Filed: 12/14/2021
                                                      Page 69 of 122 PageID: 9541



          282.    Wal-Mart has sold and offered to sell the accused Flex-Able Hose products to

   practice the invention claimed in the ‘186 Patent, and has done so with knowledge that the products

   are especially made or adapted for use in an infringement of the ’186 Patent.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 282 of the Complaint, and therefore denies same.

          283.    The Flex-Able Hose products are not staple articles of commerce suitable for

   substantial non-infringing use. They are assembled from manufactured components for a specific

   function have no purpose other than infringement.

          Answer: Tristar denies the allegations set forth in Paragraph 283 of the Complaint.

          284.    Wal-Mart’s acts of infringement are willful, warranting the assessment of increased

   damages pursuant to 35 U.S.C. § 284, and warrant a finding that this is an exceptional case,

   pursuant to 35 U.S.C. § 285.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 284 of the Complaint, and therefore denies same.

          285.    Wal-Mart’s acts of infringement have occurred, are occurring and will continue to

   occur without the authority or license of Plaintiffs. These infringing acts have caused, are causing

   and will continue to cause injury to Plaintiffs, including irreparable injury and damages, unless

   and until Wal-Mart is enjoined from doing so by this Court.

          Answer: Tristar is without information sufficient to form a belief as to the truth of the

   allegations set forth in Paragraph 285 of the Complaint, and therefore denies same.

          286.    Tristar denies that Plaintiffs are entitled to any relief whatsoever, including the

   relief requested by Plaintiffs in its prayer for relief and subparagraphs A through V.




                                                    69
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              143 Filed: 12/14/2021
                                                      Page 70 of 122 PageID: 9542



                                       AFFIRMATIVE DEFENSES

          Tristar asserts the following affirmative defenses and reserves the right to amend its Answer

   as additional information becomes available. Tristar further reserves the right to rely upon and

   plead additional defenses that may be revealed or discovered throughout the pendency of this case.

                                   FIRST AFFIRMATIVE DEFENSE

          287.      Tristar has not directly infringed any claim of the ‘941 patent, either literally or

   under the doctrine of equivalents.

                                  SECOND AFFIRMATIVE DEFENSE

          288.      Tristar has not indirectly infringed any claim of the ‘941 patent, either by inducing

   infringement or committing acts constituting contributory infringement.

                                   THIRD AFFIRMATIVE DEFENSE

          289.      Each and every claim of the ‘941 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.

                                  FOURTH AFFIRMATIVE DEFENSE

          290.      Each and every claim of the ‘941 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.

                                   FIFTH AFFIRMATIVE DEFENSE

          291.      Each and every claim of the ‘941 patent is unenforceable under the doctrine of

   patent misuse.

                                   SIXTH AFFIRMATIVE DEFENSE

          292.      Plaintiffs are estopped, based on statements, representations, and admissions made

   during the prosecution of the ‘941 patent from asserting any interpretation of the ‘941 patent that

   would cover any product or service of Tristar.




                                                      70
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              144 Filed: 12/14/2021
                                                      Page 71 of 122 PageID: 9543



                                 SEVENTH AFFIRMATIVE DEFENSE

          293.      Tristar has not directly infringed any claim of the ‘942 patent, either literally or

   under the doctrine of equivalents.

                                  EIGHTH AFFIRMATIVE DEFENSE

          294.      Tristar has not indirectly infringed any claim of the ‘942 patent, either by

   inducing infringement or committing acts constituting contributory infringement.

                                   NINTH AFFIRMATIVE DEFENSE

          295.      Each and every claim of the ‘942 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.

                                  TENTH AFFIRMATIVE DEFENSE

          296.      Each and every claim of the ‘942 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.

                                ELEVENTH AFFIRMATIVE DEFENSE

          297.      Each and every claim of the ‘942 patent is unenforceable under the doctrine of

   patent misuse.

                                TWELFTH AFFIRMATIVE DEFENSE

          298.      Plaintiffs are estopped, based on statements, representations, and admissions

   made during the prosecution of the ‘942 patent from asserting any interpretation of the ‘942

   patent that would cover any product or service of Tristar.

                              THIRTEENTH AFFIRMATIVE DEFENSE

          299.      Tristar has not directly infringed any claim of the ‘776 patent, either literally or

   under the doctrine of equivalents.




                                                     71
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              145 Filed: 12/14/2021
                                                      Page 72 of 122 PageID: 9544



                              FOURTEENTH AFFIRMATIVE DEFENSE

          300.      Tristar has not indirectly infringed any claim of the ‘776 patent, either by

   inducing infringement or committing acts constituting contributory infringement.

                               FIFTEENTH AFFIRMATIVE DEFENSE

          301.      Each and every claim of the ‘776 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.

                               SIXTEENTH AFFIRMATIVE DEFENSE

          302.      Each and every claim of the ‘776 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.

                             SEVENTEENTH AFFIRMATIVE DEFENSE

          303.      Each and every claim of the ‘776 patent is unenforceable under the doctrine of

   patent misuse.

                              EIGHTEENTH AFFIRMATIVE DEFENSE

          304.      Plaintiffs are estopped, based on statements, representations, and admissions

   made during the prosecution of the ‘776 patent from asserting any interpretation of the ‘776

   patent that would cover any product or service of Tristar.

                              NINETEENTH AFFIRMATIVE DEFENSE

          305.      Tristar has not directly infringed any claim of the ‘213 patent, either literally or

   under the doctrine of equivalents.

                               TWENTIETH AFFIRMATIVE DEFENSE

          306.      Tristar has not indirectly infringed any claim of the ‘213 patent, either by

   inducing infringement or committing acts constituting contributory infringement.




                                                     72
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              146 Filed: 12/14/2021
                                                      Page 73 of 122 PageID: 9545



                             TWENTY-FIRST AFFIRMATIVE DEFENSE

          307.      Each and every claim of the ‘213 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.

                           TWENTY-SECOND AFFIRMATIVE DEFENSE

          308.      Each and every claim of the ‘213 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.

                            TWENTY-THIRD AFFIRMATIVE DEFENSE

          309.      Each and every claim of the ‘213 patent is unenforceable under the doctrine of

   patent misuse.

                           TWENTY-FOURTH AFFIRMATIVE DEFENSE

          310.      Plaintiffs are estopped, based on statements, representations, and admissions

   made during the prosecution of the ‘213 patent from asserting any interpretation of the ‘213

   patent that would cover any product or service of Tristar.

                             TWENTY-FIFTH AFFIRMATIVE DEFENSE

          311.      Tristar has not directly infringed any claim of the ‘681 patent, either literally or

   under the doctrine of equivalents.

                             TWENTY-SIXTH AFFIRMATIVE DEFENSE

          312.      Tristar has not indirectly infringed any claim of the ‘681 patent, either by inducing

   infringement or committing acts constituting contributory infringement.

                          TWENTY-SEVENTH AFFIRMATIVE DEFENSE

          313.      Each and every claim of the ‘681 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.




                                                     73
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              147 Filed: 12/14/2021
                                                      Page 74 of 122 PageID: 9546



                            TWENTY-EIGHT AFFIRMATIVE DEFENSE

          314.      Each and every claim of the ‘681 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.

                            TWENTY-NINETH AFFIRMATIVE DEFENSE

          315.      Each and every claim of the ‘681 patent is unenforceable under the doctrine of

   patent misuse.

                               THIRTIETH AFFIRMATIVE DEFENSE

          316.      Plaintiffs are estopped, based on statements, representations, and admissions made

   during the prosecution of the ‘681 patent from asserting any interpretation of the ‘681 patent that

   would cover any product or service of Tristar.

                              THIRTY-FIRST AFFIRMATIVE DEFENSE

          317.      Tristar has not directly infringed any claim of the ‘186 patent, either literally or

   under the doctrine of equivalents.

                            THIRTY-SECOND AFFIRMATIVE DEFENSE

          318.      Tristar has not indirectly infringed any claim of the ‘186 patent, either by inducing

   infringement or committing acts constituting contributory infringement.

                             THIRTY-THIRD AFFIRMATIVE DEFENSE

          319.      Each and every claim of the ‘186 patent is invalid for failure to comply with the

   Patent Laws of the United States 35 U.S.C. § 101 et seq. and 37 C.F.R. Chapter 1.

                            THIRTY-FOURTH AFFIRMATIVE DEFENSE

          320.      Each and every claim of the ‘186 patent is unenforceable for inequitable conduct,

   fraud on the Patent Office, and/or unclean hands as set forth in the Counterclaims.




                                                     74
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              148 Filed: 12/14/2021
                                                      Page 75 of 122 PageID: 9547



                              THIRTY-FIFTH AFFIRMATIVE DEFENSE

          321.      Each and every claim of the ‘186 patent is unenforceable under the doctrine of

   patent misuse.

                              THIRTY-SIXTH AFFIRMATIVE DEFENSE

          322.      Plaintiffs are estopped, based on statements, representations, and admissions made

   during the prosecution of the ‘186 patent from asserting any interpretation of the ‘186 patent that

   would cover any product or service of Tristar.

                           THIRTY-SEVENTH AFFIRMATIVE DEFENSE

          323.      Plaintiffs are barred from maintaining this action against Walmart because at all

   times Walmart’s actions were justified and lawful.

                            THIRTY-EIGHTH AFFIRMATIVE DEFENSE

          324.      Tristar reserves the right to assert any additional or further affirmative defenses

   which may arise in the course of this proceeding.

                             THIRTY-NINTH AFFIRMATIVE DEFENSE

          325.      As stated herein, Tristar alleges and asserts that the ‘941 patent is invalid. However,

   Blue Gentian and National Express 1 allege that the ‘941 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘941 patent. Accordingly, the inventorship of the

   ‘941 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.




   1
    Pursuant to this Court’s September 21, 2017 Order (DE 317), Telebrands Corp. (“Telebrands”)
   has been joined as a plaintiff and counterclaim defendant in connection with all allegations, claims,
   and defenses pled by and against National Express, and thus references in Tristar’s pleadings to
   National Express or Plaintiffs include Telebrands.


                                                      75
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              149 Filed: 12/14/2021
                                                      Page 76 of 122 PageID: 9548



           326.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘941 patent.

           327.    Mr. Ragner’s rights and interests in the ‘941 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘941 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.

                               FORTIETH AFFIRMATIVE DEFENSE

           328.    As stated herein, Tristar alleges and asserts that the ‘942 patent is invalid. However,

   Blue Gentian and National Express allege that the ‘942 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘942 patent. Accordingly, the inventorship of the

   ‘942 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.

           329.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘942 patent.




                                                     76
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              150 Filed: 12/14/2021
                                                      Page 77 of 122 PageID: 9549



           330.    Mr. Ragner’s rights and interests in the ‘942 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘942 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.

                              FORTY-FIRST AFFIRMATIVE DEFENSE

           331.    As stated herein, Tristar alleges and asserts that the ‘776 patent is invalid. However,

   Blue Gentian and National Express allege that the ‘776 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘776 patent. Accordingly, the inventorship of the

   ‘776 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.

           332.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘776 patent.

           333.    Mr. Ragner’s rights and interests in the ‘776 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘776 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.




                                                     77
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              151 Filed: 12/14/2021
                                                      Page 78 of 122 PageID: 9550



                            FORTY-SECOND AFFIRMATIVE DEFENSE

           334.    As stated herein, Tristar alleges and asserts that the ‘213 patent is invalid. However,

   Blue Gentian and National Express allege that the ‘213 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘213 patent. Accordingly, the inventorship of the

   ‘213 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.

           335.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘213 patent.

           336.    Mr. Ragner’s rights and interests in the ‘213 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘213 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.

                             FORTY-THIRD AFFIRMATIVE DEFENSE

           337.    As stated herein, Tristar alleges and asserts that the ‘681 patent is invalid. However,

   Blue Gentian and National Express allege that the ‘681 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘681 patent. Accordingly, the inventorship of the

   ‘681 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.




                                                     78
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              152 Filed: 12/14/2021
                                                      Page 79 of 122 PageID: 9551



           338.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘681 patent.

           339.    Mr. Ragner’s rights and interests in the ‘681 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘681 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.

                            FORTY-FOURTH AFFIRMATIVE DEFENSE

           340.    As stated herein, Tristar alleges and asserts that the ‘186 patent is invalid. However,

   Blue Gentian and National Express allege that the ‘186 patent is valid. At minimum, Mr. Ragner

   contributed to the conception of one claim of the ‘186 patent. Accordingly, the inventorship of the

   ‘186 patent should be corrected pursuant to 35 U.S.C. § 256 to include Mr. Ragner as a named

   inventor.

           341.    By virtue of Mr. Ragner’s employment agreement with Ragner Technology Corp.,

   Mr. Ragner owes a duty to tender any hose-related patents to Ragner Technology Corp. And,

   because Tristar is an exclusive licensee of Ragner Technology Corp. and Ragner Technology has

   confirmed it will accept Mr. Ragner’s tender of these rights, once Mr. Ragner is properly named

   as an inventor, Tristar will receive a license to all of the patents in suit, including the ‘186 patent.




                                                     79
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              153 Filed: 12/14/2021
                                                      Page 80 of 122 PageID: 9552



           342.    Mr. Ragner’s rights and interests in the ‘186 patent are among the rights and

   interests Mr. Ragner agreed to assign to Ragner Technology Corp., which in turn granted a license

   to such rights and interests to Tristar. By virtue of Mr. Ragner’s rights in the patent and his

   agreement to assign, Tristar is entitled to practice and license the ‘186 patent without the consent

   of, and without account to, any of the Plaintiffs. Tristar has wrongfully been denied its rights by

   Mr. Ragner’s omission as a named inventor.

           WHEREFORE, Tristar respectfully request that this Court dismiss Plaintiffs’ Complaint

   with prejudice, enter judgment as a matter of law on behalf of Tristar, and award Tristar such other

   relief as the Court deems just, proper and equitable, including, without limitation the costs and

   attorneys’ fees of this action.




                                                   80
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              154 Filed: 12/14/2021
                                                      Page 81 of 122 PageID: 9553



                                         COUNTERCLAIMS

          Counterclaim Plaintiff TRISTAR PRODUCTS, INC. (“Counterclaim Plaintiff,” “Tristar

   Products” or “Tristar”), pleads the following counterclaims against Counterclaim Defendants

   BLUE GENTIAN, LLC (“Blue Gentian”) and NATIONAL EXPRESS, INC. (“National Express”)

   (hereinafter collectively “Counterclaim Defendants”), as follows:

                                            THE PARTIES

          1.      Counterclaim Plaintiff Tristar Products, Inc. is a Pennsylvania corporation having

   its corporate headquarters at 492 Route 46 East, Fairfield, New Jersey 07004.

          2.      Upon information and belief, Counterclaim Defendant Blue Gentian is a Florida

   limited liability company having its principal place of business at 516 Les Jardin Drive, Palm

   Beach Gardens, Florida.

          3.      Upon information and belief, Counterclaim Defendant National Express is a

   Connecticut corporation having its principal place of business at 2 Morgan Avenue, Norwalk,

   Connecticut.

                                   JURISDICTION AND VENUE

          4.      These counterclaims against Counterclaim Defendants arise under the Declaratory

   Judgment Act, 28 U.S.C. §§ 2201 and 2202 and under 28 U.S.C. § 1338(a). There is a justiciable

   controversy concerning the validity, enforceability and infringement of U.S. Patent No. 8,291,941

   (“the ‘941 patent”), U.S. Patent No. 8,291,942 (“the ‘942 patent”), U.S. Patent No. 8,479,776 (“the

   ‘776 patent”), U.S. Patent No. 8,757,213 (“the ‘213 patent”), U.S. Design Patent D722,681 (“the

   ‘681 patent”), and U.S. Design Patent D724,186 (“the ‘186 patent”) as set forth in the Fifth

   Amended Complaint and in the Answer to which this Counterclaim is appended.




                                                   81
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              155 Filed: 12/14/2021
                                                      Page 82 of 122 PageID: 9554



          5.      This Court has subject matter jurisdiction over Tristar’s counterclaims under 28

   U.S.C. §§ 1338(a) and 1367 and Fed. R. Civ. P. 13. Counterclaim Defendants have submitted to

   the personal jurisdiction of this Court.

                                              BACKGROUND

          6.      Tristar Products is a developer, manufacturer, and marketer of various consumer

   products including, but not limited to, home appliances, fitness equipment, health and beauty

   articles, and hardware.

          7.      Among the products sold by Tristar Products is the accused FLEX-ABLE HOSE®

   product. Upon information and belief, Walmart Inc. (“Walmart”) sells the accused FLEX-ABLE

   HOSE® product at its retail locations.

          8.      Upon information and belief, Counterclaim Defendants market and offer for sale

   an expandable hose product under the brand name “XHOSE.”

          9.      The accused FLEX-ABLE HOSE® product competes directly with Counterclaim

   Defendants’ expandable hose product under the brand name “XHOSE.”

          10.     On September 25, 2005, U.S. Patent No. 6,948,527 (“the ‘527 patent”) entitled

   “Pressure-Actuated Linearly Retractable and Extendible Hose” duly and legally issued to Gary

   Dean Ragner and Robert Daniel deRochemont, Jr. Ragner Technology Corporation (“Ragner

   Technology”) is the owner and assignee of all right, title, and interest in and to the ‘527 patent,

   subject only to an exclusive license to Tristar Products. Tristar Products has an exclusive license

   to make, have made, use, distribute, sell, offer for sale, and import in the United States certain

   products covered by the ‘527 patent. Together, Ragner Technology and Tristar Products own all

   substantial rights in the ‘527 patent.




                                                   82
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              156 Filed: 12/14/2021
                                                      Page 83 of 122 PageID: 9555



          11.     On June 23, 2009, U.S. Patent No. 7,549,448 (“the ‘448 patent”) entitled “Linearly

   Retractable Pressure Hose” duly and legally issued to Gary Dean Ragner. Ragner Technology is

   the owner and assignee of all right, title, and interest in and to the ‘448 patent, subject only to an

   exclusive license to Tristar Products. Tristar Products has an exclusive license to make, have made,

   use, distribute, sell, offer for sale, and import in the United States certain products covered by the

   ‘448 patent. Together, Ragner Technology and Tristar Products own all substantial rights in the

   ‘448 patent.

          12.     Upon information and belief, in or about May 2011, Ragner Technology was

   introduced to Greg Janson (“Janson”) through a business broker named Vince Simonelli

   (“Simonelli”). Upon information and belief, Simonelli portrayed Janson as interested in investing

   in Ragner Technology or bringing Ragner Technology to the attention of potential investors. Upon

   information and belief, Ragner Technology hired Janson as a broker to recruit potential investors

   in Ragner Technology’s patented products. Upon information and belief, Janson signed a non-

   disclosure agreement with Ragner Technology on or about May 12, 2011.

          13.     Upon information and belief, on August 9, 2011, Janson contacted Ragner

   Technology requesting a copy of its business plan to distribute to potential investors. Upon

   information and belief, in response to Janson’s request, and in reliance of the terms of the executed

   non-disclosure agreement, Ragner Technology provided a business plan to Janson without any

   technical specifications of the product then under development.

          14.     Upon information and belief, Janson informed Counterclaim Defendant Blue

   Gentian’s principal Michael Berardi (“Berardi”), Counterclaim Plaintiff National Express, and the

   Estate of Edward Kelly (“Kelly”) that Ragner Technology was seeking to meet strictly with

   investors and not potential licensees of the patented technology.




                                                    83
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              157 Filed: 12/14/2021
                                                      Page 84 of 122 PageID: 9556



          15.     Upon information and belief, on August 15, 2011, Margaret Combs, CEO of Ragner

   Technology, was copied on an e-mail correspondence between Janson and Berardi.                Upon

   information and belief, the e-mail contained a copy of Ragner Technology’s business plan and

   instructions for accessing Ragner Technology’s password protected website for their expandable

   retractable hose products (the “Microhose product”). Upon information and belief, the password

   protected website demonstrated the various features and benefits of the Microhose.            Upon

   information and belief, the email further detailed the amount that Ragner Technology was seeking

   as investment in its expandable hose product.

          16.     Upon information and belief, in or about the week of August 15, 2011, Janson called

   Ragner Technology to set up a meeting between Ragner Technology and potential investors in

   Jupiter, Florida. Upon information and belief, a meeting was established for the morning of August

   23, 2011. Upon information and belief, Ragner Technology was given an address of 223 Skylark

   Point in Jupiter, Florida for the meeting. Upon information and belief, Janson also informed

   Ragner Technology that a gentleman was flying in from Connecticut for the meeting. Upon

   information and belief, email correspondence makes clear that Berardi received a copy of the

   Microhose Business Plan and that Ragner Technology was seeking $3 million as an investment in

   its patented technology.

          17.     Upon information and belief, on August 23, 2011, representatives of Ragner

   Technology comprising Gary Ragner, Robert deRochemont, Jr., and Margaret Combs arrived at

   223 Skylark Point in Jupiter, Florida for the scheduled meeting, and for the first time learned that

   it was the home of Berardi when he opened the door and introduced himself and his wife. Upon

   information and belief, at the meeting, Ragner Technology was introduced to and for the first time

   learned that the Connecticut gentleman was Kelly, CEO of Counterclaim Defendant National




                                                   84
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              158 Filed: 12/14/2021
                                                      Page 85 of 122 PageID: 9557



   Express. Upon information and belief, Berardi was introduced to Ragner Technology as Kelly’s

   producer for his television commercials. Upon information and belief, Simonelli and Janson were

   also present at the meeting.

          18.     Upon information and belief, following pleasantries, Kelly requested clarification

   regarding the scope of the meeting, and Ragner Technology again stated it was seeking investors

   and not licensing opportunities for its patented technology. Upon information and belief, prior to

   disclosing any confidential information, Margaret Combs informed Berardi and Kelly that non-

   disclosure agreements had not been prepared for Berardi, Berardi’s wife, or Counterclaim

   Defendant National Express, or Kelly, because Ragner Technology had been unaware with whom

   they were meeting. Upon information and belief, nevertheless, because confidential information

   was involved, Ms. Combs insisted that the meeting could not be conducted without agreement to

   terms of non-disclosure. Upon information and belief, for the purposes of the meeting, Ragner

   Technology and Berardi, Counterclaim Defendant National Express, and Kelly verbally agreed to

   terms of confidentiality and non-disclosure for the purposes of the meeting and Berardi,

   Counterclaim Defendant National Express, and Kelly agreed to execute a written non-disclosure

   agreement to be sent by Ms. Combs following the meeting.

          19.     Upon information and belief, upon assurances by Berardi, Counterclaim Defendant

   National Express, and Kelly that the information disclosed by Ragner Technology during the

   meeting was in accordance with the terms of the verbal non-disclosure agreement, Ragner

   Technology disclosed information relating to Ragner Technology, the scope of the patents, product

   specifications, and target market of the Microhose product. Upon information and belief, the

   material and false representations and omissions of confidentiality and non-disclosure made by

   Berardi, Counterclaim Defendant National Express and Kelly, were intended to induce and did




                                                  85
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              159 Filed: 12/14/2021
                                                      Page 86 of 122 PageID: 9558



   induce reliance by Ragner Technology to disclose confidential information in its presentation,

   including specific engineering diagrams, ideas, materials of manufacture, including but not limited

   to, prior iterations of prototype hoses and prototype hoses constructed of more than one layer, more

   than one material, at least one fabric layer, various materials of manufacture including, but not

   limited to, vinyl, nylon, rubber, polyester, and/or polypropylene, at least one layer with cord

   reinforcement including a hose wherein the biasing was performed by elastic material such as

   polymers made of thermoplastic polyurethane to provide retracting force, manufacture know-how,

   concepts, etc. related to its prototypes of the Microhose product.

          20.     Upon information and belief, Ragner Technology again articulated its request for a

   financial investor and Counterclaim Defendant National Express quickly expressed that it was

   interested in only licensing the patented technology -- it intended the product be manufactured in

   Taiwan.   Upon information and belief, Ragner Technology informed Berardi, Counterclaim

   Defendant National Express, and Kelly of its hesitancy to use a foreign manufacturer, due to prior

   experience with non-U.S. manufacturing. Kelly made assurances to Ragner Technology that he

   and/or Counterclaim Defendant National Express had an excellent contact in Taiwan who was

   capable of manufacturing a hose in accordance with the specification of the patented technology.

   Upon information and belief, Kelly requested, subject to the terms of the non-disclosure

   agreement, permission to contact his manufacturer in Taiwan to address the ability of the

   manufacturer to produce a product in accordance with the patented technology. Upon information

   and belief, Ragner Technology informed Kelly and Counterclaim Defendant National Express that

   limited disclosure for this limited purpose was authorized and in accordance with the parties’ goals

   and therefore such disclosure was permissible, subject to all other terms of the non-disclosure

   agreement. Upon information and belief, Kelly agreed and indicated that he would contact the




                                                   86
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              160 Filed: 12/14/2021
                                                      Page 87 of 122 PageID: 9559



   manufacturer and would inform Ragner Technology regarding his discussion(s) with the

   Taiwanese manufacturer.

          21.     Upon information and belief, after lunch Berardi was anxious to see a prototype or

   prototypes of the Microhose product.        Upon information and belief, Ragner Technology

   demonstrated one of the patented prototypes of the Microhose product in its possession to Berardi,

   Counterclaim Defendant National Express, and Kelly by connecting the prototype to Berardi’s

   faucet located in a side yard. Upon information and belief, before all the parties present, Berardi

   used the patented prototypes and saw it expand while walking around the side yard and retract

   when the water was turned off.

          22.     Upon information and belief, Kelly left immediately after Ragner Technology’s

   disclosure of confidential information to go to the airport. Upon information and belief, Ragner

   Technology collected the patented prototypes and left Berardi’s house at or about 2:00 PM EST.

          23.     Upon information and belief, on the following morning (August 24, 2011),

   Margaret Combs, as CEO of Ragner Technology, prepared non-disclosure agreements for Berardi,

   Counterclaim Defendant National Express, and Kelly. Upon information and belief, the non-

   disclosure agreements were dated for August 23, 2011, reflecting the date that Berardi,

   Counterclaim Defendant National Express, and Kelly verbally agreed to the terms of the

   confidentiality and non-disclosure agreement. Upon information and belief, both non-disclosure

   agreements were sent to an e-mail address on the business card provided by Counterclaim

   Defendant National Express.

          24.     Upon information and belief, despite assurances by Berardi, Counterclaim

   Defendant National Express, and Kelly that (1) the disclosure made by Ragner Technology on

   August 23, 2011 would be protected as confidential and (2) that each would execute the non-




                                                   87
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              161 Filed: 12/14/2021
                                                      Page 88 of 122 PageID: 9560



   disclosure following the meeting, Berardi, Counterclaim Defendant National Express, nor Kelly

   never executed the non-disclosure agreement.

          25.     Upon information and belief, Ragner Technology would not have agreed to meet

   with Berardi, Mrs. Berardi, Counterclaim Defendant National Express, or Kelly if they had not

   misrepresented their intentions with respect to investment in Ragner Technology.             Upon

   information and belief, but for Berardi, Counterclaim Defendant National Express, or Kelly’s

   apparently interest in inventing in Ragner Technology’s expandable hose products, Ragner

   Technology would neither have met with them, nor disclosed any confidential information to them.

          26.     Upon information and belief, on November 4, 2011, Berardi filed a patent

   application titled “Expandable and contractible hose” that purported to claim novel features of the

   prototypes of the Microhose product demonstrated by Ragner Technology at the August 23, 2011

   meeting.

          27.     Upon information and belief, Berardi fraudulently obtained patents from the United

   States Patent and Trademark Office (“USPTO”), including but not limited to U.S. Patent No.

   8,291,941 (“the ‘941 patent”) entitled “Expandable and contractible hose,” U.S. Patent No.

   8,291,942 (“the ‘942 patent”) entitled “Expandable hose assembly,” U.S. Patent No. 8,479,776

   (“the ‘776 patent”) entitled “Expandable garden hose,” U.S. Patent No. 8,757,213 (“the ‘213

   patent”) entitled “Commercial hose,” U.S. Design Patent No. D722,681 (“the ‘681 patent”) entitled

   “Expandable Hose,” and U.S. Design Patent No. D724,186 (“the ‘186 patent”) entitled

   “Expandable Hose Assembly”). Upon information and belief, in so doing Berardi deliberately

   failed to disclose material information—including proper identification of inventorship and key

   prior art—at times when it was known to Berardi that claimed features were from the prototypes




                                                   88
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              162 Filed: 12/14/2021
                                                      Page 89 of 122 PageID: 9561



   presented by and other information received from Ragner Technology at the August 23, 2011

   meeting and Berardi had a duty to disclose that prior art and inventorship to the USPTO.

          28.     Upon information and belief, Berardi made representations to the USPTO that were

   material to the patentability in its then pending patent claims which it knew to be false. Upon

   information and belief, the material and false representations and omissions were intended to

   induce and did induce reliance by the patent examiners charged with determining whether to grant

   Berardi’s patent claims

          29.     On August 3, 2012, the USPTO issued an Office Action in connection with the

   application which ultimately issued as the ‘941 patents, and on August 2, 2012, the USPTO issued

   an Office Action in connection with the application which ultimately issued as the ‘942 patent.

   Upon information and belief, the Office Actions demonstrate that the patent examiner (1) rejected

   a subset of pending claims as anticipated by the ‘527 patent, (2) rejected various subsets of pending

   claims as obvious in light of a combination of the ‘527 patent and other references. Upon

   information and belief, on August 15, 2012, Berardi, during an in-person conference, “presenting

   a video showing how Berardi initially manufactured the hose” without informing the examiner

   that he obtained such information from Mr. Ragner regarding creation of the hose under terms of

   non-disclosure. Upon information and belief, Berardi further “pointed [to] differences between

   the [pending claims] and the Ragner et al. reference, mainly the fact that the inner and outer layers

   of the Ragner et al. hose are bonded together and that the outer layer is plastic material, wherein

   the [pending claims’] outer layer is formed of a fabric material.” Upon information and belief,

   Berardi failed to inform the patent examiner that Mr. Ragner explained, under terms of non-

   disclosure, that the outer cover of the ‘527 invention could include a fabric cover, and that the

   inner and outer layer need not be bonded. Upon information and belief, but for these material




                                                    89
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              163 Filed: 12/14/2021
                                                      Page 90 of 122 PageID: 9562



   misrepresentations regarding the scope of the invention disclosed in the ‘527 patent – information

   that was known by Berardi and obtained during the August 23, 2011 meeting under terms of non-

   disclosure – the examiner would have maintained his rejection and the ‘941 and ‘942 patents would

   not have issued.

          30.     As reflected in the prosecution history of the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186

   patents, Berardi failed to mention the prototypes presented by Ragner Technology at the August

   23, 2011 meeting or correct inventorship for claimed features which Berardi did not conceive.

   Upon information and belief, Mr. Berardi filed an Oath and Declaration with the USPTO on

   November 4, 2011 representing that he was the inventor of the expandable and retractable hose

   that is the subject of the ‘941 patent, despite knowing that Mr. Ragner was the inventor of the

   subject of the ‘941 patent. Upon information and belief, Mr. Berardi filed an Oath and Declaration

   with the USPTO on June 6, 2012 representing that he was the inventor of the expandable and

   retractable hose that is the subject of the ‘942 patent, despite knowing that Mr. Ragner was the

   inventor of the subject of the ‘942 patent. Upon information and belief, the USPTO relied on

   Berardi’s material false statements and omissions as a principal reason for allowing Berardi’s

   patent claims to issue. But for Berardi’s material false statements and omissions, the claims of the

   ‘941, ‘942, ‘776, and ‘213 patents could not have issued as written.

          31.     Upon information and belief, Counterclaim Defendant Blue Gentian, is the owner

   of all right, title, and interests in the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186 patents fraudulently

   obtained by Berardi.     Berardi is a managing member of Blue Gentian, LLC and as such

   Counterclaim Defendant Blue Gentian knew that the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186 patents

   were fraudulently obtained.




                                                    90
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              164 Filed: 12/14/2021
                                                      Page 91 of 122 PageID: 9563



          32.     Upon information and belief, Counterclaim Defendant Blue Gentian has granted

   Counterclaim Defendant National Express the exclusive right under the ‘941, ‘942, ‘776, ‘213,

   ‘681, and ‘186 patents to at least market and sell an expandable hose product under the brand name

   “XHOSE.” Counterclaim Defendant National Express knew that the ‘941, ‘942, ‘776, ‘213, ‘681,

   and ‘186 patents were fraudulently obtained since Kelly acting on behalf of Counterclaim

   Defendant National Express was present at the August 23, 2011 meeting where Ragner Technology

   disclosed features that are now fraudulently claimed in the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186

   patents.

          33.     Upon information and belief, Chinese Patent Application No. 201220704911.9,

   now Chinese Patent CN 20352052 (“the CN ‘052 patent”), was filed on December 18, 2012. The

   CN ‘052 patent was published on July 10, 2013. A copy of the CN ‘052 patent (with machine

   translation) is attached hereto as Exhibit A.

          34.     Upon information and belief, the CN ‘052 patent identified Linwu Yu as the sole

   inventor.

          35.     Upon information and belief, the ‘776 patent and the ‘213 patent include claims to

   a connection mechanism that the CN ‘052 patent discloses.

          36.     Upon information and belief, the CN ‘052 patent was assigned to Counterclaim

   Defendant Blue Gentian on February 11, 2014.

          37.     As reflected in the prosecution history of the ‘213 patent, Counterclaim Defendant

   Blue Gentian deliberately failed to disclose material information at times when it was known to

   Counterclaim Defendant Blue Gentian that claimed features were from the CN ‘052 patent or

   correct inventorship for claimed features which Berardi did not conceive. Upon information and

   belief, the USPTO relied on Counterclaim Defendant Blue Gentian’s material false statements and




                                                   91
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              165 Filed: 12/14/2021
                                                      Page 92 of 122 PageID: 9564



   omissions as a principal reason for allowing the ‘213 patent claims to issue. But for Counterclaim

   Defendant Blue Gentian’s material false statements and omissions, the claims of the ‘776 patent

   could not have issued as written.

          38.     Upon information and belief, Counterclaim Defendant Blue Gentian is the owner

   of all right, title, and interests in the Canadian Industrial Design Patent No. 146,676 (“the ‘676

   Canadian Industrial Design Patent”) entitled “Expandable Hose Assembly.” The ‘676 Canadian

   Industrial Design Patent was filed July 26, 2013 and claims priority to U.S. Patent Application

   Serial No. 29/427,541 (issued as the ‘186 patent).

          39.     Upon information and belief, Counterclaim Defendant Blue Gentian asserted the

   ‘676 Canadian Industrial Design Patent in the Federal Court of Canada in the case styled E. Mishan

   and Sons, Inc. and Blue Gentian, LLC v. Supertek et al. (Case No. T-1112-13) (“the Canadian

   action”).

          40.     Upon information and belief, the defendants in the Canadian action served the

   following invalidating references: U.S. Patent No. D206,236, U.S. Patent No. 6,223,777, U.S.

   Patent No. 5,915,735, U.S. Patent No. 2,858,854, U.S. Patent No. 6,446,661, U.S. Patent No.

   5,947,116, U.S. Patent No. 6,408,848, U.S. Patent Application Publication No. 2002/0013974,

   U.S. Patent Application Publication No. 2004/0231096, European Patent No. EP 1,271,033, U.S.

   Patent No. 4,404,969, U.S. Patent No. 5,023,959, U.S. Patent No. 5,555,915, U.S. Patent No.

   6,568,610, U.S. Patent No. 6,698,457, U.S. Patent No. 7,735,523, U.S. Patent No. 126,069, U.S.

   Patent No. 1,179,374, U.S. Patent No. 6,659,366, U.S. Patent No. 4,467,837, U.S. Patent No.

   6,446,661, U.S. Patent No. 4,404,969, U.S. Patent No. 3,861,424, U.S. Patent No. 4,091,063, U.S.

   Patent No. 4,140,154, U.S. Patent No. 5,555,915, U.S. Patent No. 4,445,543, U.S. Patent No.

   6,305,428, U.S. Patent No. 6,192,940, U.S. Patent No. 6,698,457, U.S. Patent No. 5,918,642, U.S.




                                                  92
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              166 Filed: 12/14/2021
                                                      Page 93 of 122 PageID: 9565



   Patent No. 5,148,836, U.S. Patent No. 6,024,132, U.S. Patent Application Publication No.

   2009/0301593, U.S. Patent No. 6,103,971, U.S. Patent No. 7,735,523, U.S. Patent No. 4,669,757,

   U.S. Patent No. 4,736,969, U.S. Patent No. 5,112,087, U.S. Patent No.5,558,375, U.S. Patent No.

   2,102,010, U.S. Patent No. 4,154,237, U.S. Patent No. 543,220, U.S. Patent No. 674,045, U.S.

   Patent No. 2,634,071, U.S. Patent No. 7,549,448, and U.S. Patent No. 5,816,622.

          41.     Upon information and belief, Counterclaim Defendant Blue Gentian dedicated the

   ‘676 Canadian Industrial Design Patent to the public on July 10, 2014.

          42.     As reflected in the prosecution histories of the 681 patent and ‘186 patent,

   Counterclaim Defendant Blue Gentian deliberately failed to disclose material information at times

   when it was known to Counterclaim Defendant Blue Gentian of the invalidating prior art

   references in the Canadian action and dedication of the ‘676 Canadian Industrial Design Patent to

   the public. Upon information and belief, the USPTO relied on Counterclaim Defendant Blue

   Gentian’s material false statements and omissions as a principal reason for allowing the ‘681 and

   ‘186 patent claims to issue. But for Counterclaim Defendant Blue Gentian’s material false

   statements and omissions, the claims of the ‘681 patent and ‘186 patent could not have issued as

   written.

          43.     On July 15, 2014, U.S. Patent No. 8,776,836 (“the ‘836 patent”) entitled “Linearly

   Retractable Pressure Hose Structure” duly and legally issued to Gary Dean Ragner. Ragner

   Technology is the owner and assignee of all right, title, and interest in and to the ‘836 patent,

   subject only to an exclusive license to Tristar Products. Tristar Products has an exclusive license

   to make, have made, use, distribute, sell, offer for sale, and import in the United States certain

   products covered by the ‘836 patent. Together, Ragner Technology and Tristar Products own all

   substantial rights in the ‘836 patent.




                                                   93
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              167 Filed: 12/14/2021
                                                      Page 94 of 122 PageID: 9566



          44.     Tristar Products’ activities with respect to the FLEX-ABLE HOSE® product are a

   direct result of Tristar Products’ exclusive license granted from Ragner Technology to make, have

   made, use, distribute, sell, offer for sale, and import in the United States certain products covered

   by the ‘527 patent, the ‘448 patent, and the ‘836 patent. Tristar Products’ act of making, having

   made, using, distributing, selling, offering for sale, and/or importing in the United States certain

   products covered by the ‘527 patent, the ‘448 patent, and the ‘836 patent are wholly based on its

   reliance that the ‘527 patent, the ‘448 patent, and the ‘836 patent are valid.

          45.     Walmart is a retailer of various consumer products including, but not limited to,

   home appliances, fitness equipment, health and beauty articles, and hardware.

          46.     Among the products sold by Walmart is the FLEX-ABLE HOSE® product.

          47.     The FLEX-ABLE HOSE® product competes directly with Counterclaim

   Defendant National Express’ expandable hose product under the brand name “XHOSE.”

          48.     Upon information and belief, Counterclaim Defendant National Express and

   Counterclaim Defendant Blue Gentian have used the fraudulently obtained ‘941, ‘942, ‘776, ‘231,

   ‘681 and ‘186 patents to restrain competition in part by suing Counterclaim Plaintiff Tristar

   Products, Walmart, and other competitors claiming infringement and threatening their customers.

   Upon information and belief, various New Jersey cases between Telebrands, Inc. and Blue

   Gentian, LLC over the fraudulently obtained patents were settled.

          49.     Upon information and belief, the parties’ settlement, evinces an additional restraint

   on competition, as Telebrands currently occupies over 70% of the relevant expandable and

   contractible hose marketshare.

          50.     Upon information and belief, Counterclaim Defendant National Express and

   Counterclaim Defendant Blue Gentian have used the fraudulently obtained ‘941, ‘942, and ‘776




                                                    94
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              168 Filed: 12/14/2021
                                                      Page 95 of 122 PageID: 9567



   patents to fraudulently obtain international patents to further restrain competition internationally

   in part by suing Counterclaim Plaintiff Tristar and other competitors claiming infringement and

   threatening their customers in various international jurisdictions.

          51.     Counterclaim Defendants have disseminated information into the marketplace that

   further evinces the anticompetitive nature of the fraudulently obtained patents. First, Counterclaim

   Defendants have spent considerable sums of money filming and displaying commercials in the

   public domain which attempt to utilize the fraudulent patents. These commercials are a clear

   attempt to convince the consuming public that Counterclaim Defendant Blue Gentian’s patents

   signify that their product is the only expanding hose on the market – that if the public buys any

   other expandable hose it will “be fooled by imitations.” One of Counterclaim Defendants’

   commercials states “Hi, I’m Michael Berardi. I’m the inventor of the X-Hose, the original blue

   expanding hose. In fact, I’ve been awarded two U.S. patents for my invention. My X-Hose is the

   only patented expanding hose on the market and it bears the trusted DAP products name.” This is

   despite Counterclaim Defendants’ knowledge that the ‘527 patent covers an expanding hose, and

   that Berardi is not the original inventor of expandable and contractible hoses. A later commercial

   states “In fact, I invented it in my own backyard. I’ve been awarded 7 US patents and many

   international patents for my invention, and still, it’s one of the most imitated inventions ever! So

   don’t get all wrapped up like me with the imitators” while showing an image of Berardi wrapped

   in what are identified to consumers to be competitor’s “imitation” hoses. This commercial goes

   so far as to plead “and if you believe that a person’s hard work, ideas and dreams should be

   rewarded and not copied, then please buy my new DAP XHose Pro Extreme!”

          52.     In addition, in January of 2015, Berardi was the subject of a cover story for

   Inventor’s Digest in which he appears on the cover which exclaims that Mr. Berardi was




                                                    95
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              169 Filed: 12/14/2021
                                                      Page 96 of 122 PageID: 9568



   “HOSED!” by competition and wrapped in what is identified as “IMITATIONS!” An article inside

   the magazine details (1) that Berardi had no inventing experience prior to meeting with Mr. Ragner,

   (2) that Berardi began experimenting with expandable hoses around the time of the meeting with

   Ragner, (3) that Berardi has no notes or drawings that would establish his inventorship, only videos

   which occurred after the meeting with Ragner, (4) that Berardi applied for patents in an attempt to

   “protect” his invention, (5) that Berardi and Mrs. Berardi created the anticompetitive commercial

   materials “soup to nuts” and that Mr. and Mrs. Berardi were a team throughout the development

   and sale of the Xhose product, and (6) that Defendants have attempted to eliminate competition by

   filing lawsuits against entities they feel infringe the fraudulently obtained patents.

          53.     Interestingly, Berardi admits that an inventor “may be surprised to learn that

   someone else has already thought of your idea or your invention” but fails to discuss his

   misrepresentations to the United States Patent and Trademark Office in order to fraudulently obtain

   patents.

          54.     Upon information and belief, Counterclaim Defendants have, continue, and will

   continue to disseminate such information in order to stifle competition in the marketplace.

                                            THE CONFLICT

          55.     Counterclaim Defendants have asserted that Tristar directly infringe, induce

   infringement of, or contribute to the infringement the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186 patents

   as set forth in the Fifth Amended Complaint and in the Answer to which this Counterclaim is

   appended.

          56.     Upon information and belief, Counterclaim Defendants maintain that the accused

   FLEX-ABLE HOSE® product is allegedly infringing each and every element of the ‘941, ‘942,

   ‘776, ‘213, ‘681, and ‘186 patents. To the extent that this is Counterclaim Defendants’ claim of




                                                    96
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              170 Filed: 12/14/2021
                                                      Page 97 of 122 PageID: 9569



   infringement, Counterclaim Plaintiff has not infringed, induced infringement of, or contributed to

   the infringement of, any valid claim of the ‘941, ‘942, ‘776, ‘213, ‘681, and ‘186 patents. Should,

   however, the Court determine that Tristar infringes the ‘941 patent, ‘942 patent, ‘776 patent, ‘213

   patent, ‘681 patent and/or ‘186 patent then the ‘941 patent, ‘942 patent, ‘776, ‘213 patent, ‘681

   patent, and/or ‘186 patent is invalid.

          57.     Tristar has been injured and damaged by Counterclaim Defendants filing a

   Complaint asserting infringement against the accused FLEX-ABLE HOSE® product, which does

   not contain each and every element of the ‘941, ‘942, 776, ‘213, ‘681, and ‘186 patents.

          58.     Tristar has been injured and damaged by Counterclaim Defendants filing a

   Complaint asserting infringement of invalid patent claims.

                                    FIRST CLAIM FOR RELIEF
                                    Declaration of Noninfringement
                                             (‘941 Patent)

          59.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 58 herein.

          60.     An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Tristar allegedly infringes one or more claims of

   the ‘941 patent.

          61.     Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘941 patent.

          62.     Without declaratory relief, Tristar will be irreparably harmed and damaged.




                                                   97
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              171 Filed: 12/14/2021
                                                      Page 98 of 122 PageID: 9570



                                    SECOND CLAIM FOR RELIEF
                                       Declaration of Invalidity
                                            (‘941 Patent)

          63.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 62 herein.

          64.     Tristar believes that the ‘941 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          65.     An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘941 patent is valid.

          66.     Without declaratory relief, Tristar will be irreparably harmed and damaged.

          67.     Tristar is entitled to a judgment declaring that each claim of the ‘941 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.

                                    THIRD CLAIM FOR RELIEF
                                    Declaration of Unenforceability
                                             (‘941 Patent)

          68.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 67 herein.

          69.     An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘941 patent is enforceable.

          70.     The ‘941 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          71.     Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor




                                                    98
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 352 Page:03/01/18
                                              172 Filed: 12/14/2021
                                                      Page 99 of 122 PageID: 9571



   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.

          72.     Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          73.     Counterclaim     Defendant      Blue   Gentian   and   Berardi    made   affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.

          74.     Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘941 patent.

          75.     Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘941 patent.

          76.     Tristar is entitled to judgment declaring that each claim of the ‘941 patent is

   unenforceable due to inequitable conduct.

                                  FOURTH CLAIM FOR RELIEF
                                   Declaration of Noninfringement
                                            (‘942 Patent)

          77.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 76 herein.

          78.     An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Tristar allegedly infringes one or more claims of

   the ‘942 patent.




                                                    99
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  173 Filed:
                                               03/01/18 Page12/14/2021
                                                             100 of 122 PageID: 9572



          79.     Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘942 patent.

          80.     Without declaratory relief, Tristar will be irreparably harmed and damaged.

                                    FIFTH CLAIM FOR RELIEF
                                      Declaration of Invalidity
                                           (‘942 Patent)

          81.     Tristar realleges and incorporates the allegations set forth in Paragraph 1

   through Paragraph 80 herein.

          82.     Tristar believes that the ‘942 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          83.     An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘942 patent is valid.

          84.     Without declaratory relief, Tristar will be irreparably harmed and damaged.

          85.     Tristar is entitled to a judgment declaring that each claim of the ‘942 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.

                                    SIXTH CLAIM FOR RELIEF
                                    Declaration of Unenforceability
                                             (‘942 Patent)

          86.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 85 herein.

          87.     An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘942 patent is enforceable.




                                                   100
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  174 Filed:
                                               03/01/18 Page12/14/2021
                                                             101 of 122 PageID: 9573



          88.     The ‘942 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          89.     Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor

   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.

          90.     Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          91.     Counterclaim      Defendant     Blue    Gentian   and   Berardi   made   affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.

          92.     Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘942 patent.

          93.     Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘942 patent.

          94.     Tristar is entitled to judgment declaring that each claim of the ‘942 patent is

   unenforceable due to inequitable conduct.

                                    SEVENTH CLAIM FOR RELIEF
                                     Declaration of Noninfringement
                                              (‘776 Patent)

          95.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 94 herein.




                                                    101
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  175 Filed:
                                               03/01/18 Page12/14/2021
                                                             102 of 122 PageID: 9574



          96.     An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Tristar allegedly infringes one or more claims of

   the ‘776 patent.

          97.     Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘776 patent.

          98.     Without declaratory relief, Tristar will be irreparably harmed and damaged.

                                   EIGHTH CLAIM FOR RELIEF
                                      Declaration of Invalidity
                                           (‘776 Patent)

          99.     Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 98 herein.

          100.    Tristar believes that the ‘776 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          101.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘776 patent is valid.

          102.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

          103.    Tristar is entitled to a judgment declaring that each claim of the ‘776 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.




                                                   102
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  176 Filed:
                                               03/01/18 Page12/14/2021
                                                             103 of 122 PageID: 9575



                                    NINTH CLAIM FOR RELIEF
                                    Declaration of Unenforceability
                                             (‘776 Patent)

          104.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 103 herein.

          105.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘776 patent is enforceable.

          106.    The ‘776 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          107.    Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor

   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.

          108.    Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          109.    Counterclaim      Defendant     Blue    Gentian   and   Berardi   made   affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.

          110.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘776 patent.

          111.    Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘776 patent.




                                                    103
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  177 Filed:
                                               03/01/18 Page12/14/2021
                                                             104 of 122 PageID: 9576



          112.    Tristar is entitled to judgment declaring that each claim of the ‘776 patent is

   unenforceable due to inequitable conduct.

                                   TENTH CLAIM FOR RELIEF
                                   Declaration of Noninfringement
                                            (‘213 Patent)

          113.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 112 herein.

          114.    An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Walmart allegedly infringes one or more claims of

   the ‘213 patent.

          115.    Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘213 patent.

          116.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

                                 ELEVENTH CLAIM FOR RELIEF
                                     Declaration of Invalidity
                                          (‘213 Patent)

          117.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 116 herein.

          118.    Tristar believes that the ‘213 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          119.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘213 patent is valid.

          120.    Without declaratory relief, Tristar will be irreparably harmed and damaged.




                                                   104
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  178 Filed:
                                               03/01/18 Page12/14/2021
                                                             105 of 122 PageID: 9577



          121.    Tristar is entitled to a judgment declaring that each claim of the ‘213 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.

                                 TWELFTH CLAIM FOR RELIEF
                                  Declaration of Unenforceability
                                           (‘213 Patent)

          122.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 121 herein.

          123.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘213 patent is enforceable.

          124.    The ‘213 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          125.    Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor

   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.

          126.    Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          127.    Counterclaim      Defendant   Blue     Gentian   and   Berardi    made    affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.




                                                   105
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  179 Filed:
                                               03/01/18 Page12/14/2021
                                                             106 of 122 PageID: 9578



          128.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘213 patent.

          129.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Linwu Yu contributed claimed subject matter of the ‘213 patent.

          130.    Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘213 patent.

          131.    Tristar is entitled to judgment declaring that each claim of the ‘213 patent is

   unenforceable due to inequitable conduct.

                               THIRTEENTH CLAIM FOR RELIEF
                                 Declaration of Noninfringement
                                          (‘681 Patent)

          132.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 131 herein.

          133.    An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Tristar allegedly infringes one or more claims of

   the ‘681 patent.

          134.    Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘681 patent.

          135.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

                               FOURTEENTH CLAIM FOR RELIEF
                                    Declaration of Invalidity
                                         (‘681 Patent)

          136.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 135 herein.




                                                   106
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  180 Filed:
                                               03/01/18 Page12/14/2021
                                                             107 of 122 PageID: 9579



          137.    Tristar believes that the ‘681 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          138.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘681 patent is valid.

          139.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

          140.    Tristar is entitled to a judgment declaring that each claim of the ‘681 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.

                                 FIFTEENTH CLAIM FOR RELIEF
                                   Declaration of Unenforceability
                                            (‘681 Patent)

          141.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 140 herein.

          142.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘681 patent is enforceable.

          143.    The ‘681 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          144.    Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor

   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.




                                                   107
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  181 Filed:
                                               03/01/18 Page12/14/2021
                                                             108 of 122 PageID: 9580



          145.    Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          146.    Counterclaim     Defendant      Blue    Gentian   and   Berardi   made   affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.

          147.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘681 patent.

          148.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office of the references cited in the Canadian action and dedication of the ‘676 Canadian Industrial

   Design Patent to the public.

          149.    Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘681 patent.

          150.    Tristar is entitled to judgment declaring that each claim of the ‘681 patent is

   unenforceable due to inequitable conduct.

                                  SIXTEENTH CLAIM FOR RELIEF
                                    Declaration of Noninfringement
                                             (‘186 Patent)

          151.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 150 herein.

          152.    An actual case or controversy exists between Tristar and Counterclaim Defendants,

   based on Counterclaim Defendants’ claim that Tristar allegedly infringes one or more claims of

   the ‘186 patent.




                                                    108
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  182 Filed:
                                               03/01/18 Page12/14/2021
                                                             109 of 122 PageID: 9581



          153.    Tristar does not infringe, induce infringement of, and/or contributorily infringe, and

   has not infringed, induced infringement of, and /or contributorily infringed any valid and

   enforceable claim of the ‘186 patent.

          154.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

                              SEVENTEENTH CLAIM FOR RELIEF
                                   Declaration of Invalidity
                                        (‘186 Patent)

          155.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 154 herein.

          156.    Tristar believes that the ‘186 patent is invalid and void for failure to comply with

   one or more sections of Title 35 of the United States Code, including, without limitation, 35 U.S.C.

   §§ 101, 102, 103, and/or 112, and/or for failure to comply with 37 C.F.R. § 1.56.

          157.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘186 patent is valid.

          158.    Without declaratory relief, Tristar will be irreparably harmed and damaged.

          159.    Tristar is entitled to a judgment declaring that each claim of the ‘186 patent is

   invalid for failure to satisfy one or more conditions of patentability set forth in 35 U.S.C. §§ 101,

   102, 103, and/or 112.

                               EIGHTEENTH CLAIM FOR RELIEF
                                  Declaration of Unenforceability
                                           (‘186 Patent)

          160.    Tristar realleges and incorporates the allegations set forth in Paragraph 1 through

   Paragraph 159 herein.

          161.    An actual controversy exists between Tristar and Counterclaim Defendants

   regarding whether or not each claim of the ‘186 patent is enforceable.




                                                   109
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  183 Filed:
                                               03/01/18 Page12/14/2021
                                                             110 of 122 PageID: 9582



          162.    The ‘186 patent is unenforceable due to Counterclaim Defendant Blue Gentian and

   Berardi’s inequitable conduct.

          163.    Counterclaim Defendant Blue Gentian and Berardi had a general duty of candor

   and good faith in their dealing with the Patent Office. Pursuant to 37 C.F.R. § 1.56, an inventor

   has an affirmative obligation to disclose to the Patent Office all information they know to be

   material to the examination of their pending patent application. The inventor’s duty extends to

   their representatives, and all others who are substantively involved in the preparation and

   prosecution of the patent applications.

          164.    Counterclaim Defendant Blue Gentian and Berardi engaged in material

   misconduct.

          165.    Counterclaim      Defendant     Blue    Gentian   and   Berardi   made   affirmative

   misrepresentations of material facts and knowingly failed to appropriately disclose material

   information to the Patent Office with the intent to deceive the Patent Office.

          166.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office that Ragner contributed claimed subject matter of the ‘186 patent.

          167.    Neither Counterclaim Defendant Blue Gentian or Berardi informed the Patent

   Office of the references cited in the Canadian action and dedication of the ‘676 Canadian Industrial

   Design Patent to the public.

          168.    Counterclaim Defendant Blue Gentian’s and Berardi’s misconduct was but-for

   material to the issuance of the ‘186 patent.

          169.    Tristar is entitled to judgment declaring that each claim of the ‘186 patent is

   unenforceable due to inequitable conduct.




                                                    110
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  184 Filed:
                                               03/01/18 Page12/14/2021
                                                             111 of 122 PageID: 9583



                             NINETEENTH CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘941 Patent)

          170.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   169 herein.

          171.    This Counterclaim arises out of the improper identification of the inventors of the

   ‘941 patent.

          172.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          173.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘941

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘941 patent.

          174.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘941

   patent, and/or as parties with a purported ownership interest in the ‘941 patent, Blue Gentian, and

   National Express 2 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          175.    The inventorship of the ‘941 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          176.    Tristar further seeks a declaration that Tristar is a licensee of the ‘941 patent by

   virtue of Mr. Ragner’s rights in the ‘941 patent and his agreement to assign.

          177.    Tristar has a concrete financial interest in the ‘941 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   2
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ‘941 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   111
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  185 Filed:
                                               03/01/18 Page12/14/2021
                                                             112 of 122 PageID: 9584



                              TWENTIETH CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘942 Patent)

          178.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   177 herein.

          179.    This Counterclaim arises out of the improper identification of the inventors of the

   ‘942 patent.

          180.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          181.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘942

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘942 patent.

          182.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘942

   patent, and/or as parties with a purported ownership interest in the ‘942 patent, Blue Gentian, and

   National Express 3 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          183.    The inventorship of the ‘942 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          184.    Tristar further seeks a declaration that Tristar is a licensee of the ‘942 patent by

   virtue of Mr. Ragner’s rights in the ‘942 patent and his agreement to assign.

          185.    Tristar has a concrete financial interest in the ‘942 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   3
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ’942 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   112
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  186 Filed:
                                               03/01/18 Page12/14/2021
                                                             113 of 122 PageID: 9585



                            TWENTY-FIRST CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘776 Patent)

          186.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   185 herein.

          187.    This Counterclaim arises out of the improper identification of the inventors of the

   ’776 patent.

          188.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          189.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘776

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘776 patent.

          190.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘776

   patent, and/or as parties with a purported ownership interest in the ‘776 patent, Blue Gentian, and

   National Express 4 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          191.    The inventorship of the ‘776 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          192.    Tristar further seeks a declaration that Tristar is a licensee of the ‘776 patent by

   virtue of Mr. Ragner’s rights in the ‘776 patent and his agreement to assign.

          193.    Tristar has a concrete financial interest in the ‘776 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   4
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ’776 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   113
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  187 Filed:
                                               03/01/18 Page12/14/2021
                                                             114 of 122 PageID: 9586



                           TWENTY-SECOND CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘213 Patent)

          194.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   193 herein.

          195.    This Counterclaim arises out of the improper identification of the inventors of the

   ‘213 patent.

          196.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          197.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘213

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘213 patent.

          198.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘213

   patent, and/or as parties with a purported ownership interest in the ‘213 patent, Blue Gentian, and

   National Express 5 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          199.    The inventorship of the ‘213 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          200.    Tristar further seeks a declaration that Tristar is a licensee of the ‘213 patent by

   virtue of Mr. Ragner’s rights in the ‘213 patent and his agreement to assign.

          201.    Tristar has a concrete financial interest in the ‘213 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   5
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ’213 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   114
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  188 Filed:
                                               03/01/18 Page12/14/2021
                                                             115 of 122 PageID: 9587



                            TWENTY-THIRD CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘681 Patent)

          202.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   201 herein.

          203.    This Counterclaim arises out of the improper identification of the inventors of the

   ‘681 patent.

          204.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          205.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘681

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘681 patent.

          206.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘681

   patent, and/or as parties with a purported ownership interest in the ‘681 patent, Blue Gentian, and

   National Express 6 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          207.    The inventorship of the ‘681 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          208.    Tristar further seeks a declaration that Tristar is a licensee of the ‘681 patent by

   virtue of Mr. Ragner’s rights in the ‘681 patent and his agreement to assign.

          209.    Tristar has a concrete financial interest in the ‘681 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   6
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ‘681 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   115
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  189 Filed:
                                               03/01/18 Page12/14/2021
                                                             116 of 122 PageID: 9588



                           TWENTY-FOURTH CLAIM FOR RELIEF
                         Correction of Inventorship under 35 U.S.C. § 256
                                           (‘186 Patent)

          210.    Tristar realleges and incorporates the allegations set forth in Paragraphs 1 through

   209 herein.

          211.    This Counterclaim arises out of the improper identification of the inventors of the

   ‘186 patent.

          212.    Under 35 U.S.C. § 256, this Court can correct the inventorship of an issued U.S.

   Patent, including correction of misjoinder and nonjoinder of inventors.

          213.    At minimum, Mr. Ragner contributed to the conception of one claim of the ‘186

   patent. Therefore Mr. Ragner is, at minimum, a joint inventor of the ‘186 patent.

          214.    As parties involved in the omission of Mr. Ragner as a named inventor of the ‘186

   patent, and/or as parties with a purported ownership interest in the ‘186 patent, Blue Gentian, and

   National Express 7 are interested parties for a correction of inventorship claim. Therefore, this

   Counterclaim is asserted against all of the aforementioned parties.

          215.    The inventorship of the ‘186 patent should be corrected under 35 U.S.C. § 256 to

   include Mr. Ragner as a named inventor to the patent.

          216.    Tristar further seeks a declaration that Tristar is a licensee of the ‘186 patent by

   virtue of Mr. Ragner’s rights in the ‘186 patent and his agreement to assign.

          217.    Tristar has a concrete financial interest in the ‘186 patent and has standing to assert

   a correction of inventorship claim under 35 U.S.C. § 256.




   7
    See supra note 1. Upon information and belief, Telebrands purports to be an exclusive licensee
   of the ’186 patent, by way of an agreement between Telebrands and National Express, and
   Telebrands may thus qualify as an interested party for this correction of inventorship claim.


                                                   116
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  190 Filed:
                                               03/01/18 Page12/14/2021
                                                             117 of 122 PageID: 9589



                                       PRAYER FOR RELIEF

          WHEREFORE, Tristar prays that the Court enter judgment against Counterclaim

   Defendants Blue Gentian and National Express as follows:

          A.      A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Patent No. 8,291,941;

          B.      A declaration that Berardi U.S. Patent No. 8,291,941 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;

          C.      To the extent the ‘941 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘941 patent by adding Mr. Ragner as a named inventor;

          D.      A declaration that Tristar is a licensee of the ‘941 patent;

          E.      A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Patent No. 8,291,942;

          F.      A declaration that Berardi U.S. Patent No. 8,291,942 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;




                                                   117
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  191 Filed:
                                               03/01/18 Page12/14/2021
                                                             118 of 122 PageID: 9590



          G.      To the extent the ‘942 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘942 patent by adding Mr. Ragner as a named inventor;

          H.      A declaration that Tristar is a licensee of the ‘942 patent;

          I.      A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Patent No. 8,479,776;

          J.      A declaration that Berardi U.S. Patent No. 8,479,776 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;

          K.      To the extent the ‘776 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘776 patent by adding Mr. Ragner as a named inventor;

          L.      A declaration that Tristar is a licensee of the ‘776 patent;

          M.      A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Patent No. 8,757,213;

          N.      A declaration that Berardi U.S. Patent No. 8,757,213 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;




                                                   118
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  192 Filed:
                                               03/01/18 Page12/14/2021
                                                             119 of 122 PageID: 9591



          O.     To the extent the ‘213 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘213 patent by adding Mr. Ragner as a named inventor;

          P.     A declaration that Tristar is a licensee of the ‘213 patent;

          Q.     A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Design Patent D722,681;

          R.     A declaration that Berardi U.S. Design Patent D722,681 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;

          S.     To the extent the ‘681 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘681 patent by adding Mr. Ragner as a named inventor;

          T.     A declaration that Tristar is a licensee of the ‘681 patent;

          U.     A declaration that Tristar has not infringed, induced infringement of, or

   contributorily infringed, and does not infringe, induce infringement of, and/or contributorily

   infringe, any valid or enforceable claim of Berardi U.S. Design Patent D724,186;

          V.     A declaration that Berardi U.S. Design Patent D724,186 is unenforceable and/or

   invalid and void for failure to comply with one or more sections of Title 35 of the United States

   Code, including, without limitation, 35 U.S.C. §§ 101, 102,103, and/or 112, and/or for failure to

   comply with 37 C.F.R. § 1.56;




                                                  119
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  193 Filed:
                                               03/01/18 Page12/14/2021
                                                             120 of 122 PageID: 9592



          W.      To the extent the ‘186 patent is not declared invalid, an order directed to the United

   States Patent and Trademark Office to issue a certificate pursuant to 35 U.S.C. § 256 correcting

   inventorship of the ‘186 patent by adding Mr. Ragner as a named inventor;

          X.      A declaration that Tristar is a licensee of the ’186 patent;

          Y.      A declaration that this case is “exceptional” within the meaning of 35 U.S.C. § 285;

          Z.      An award to Tristar of its costs, attorney fees, and expenses pursuant to 35 U.S.C.

   § 285; and

          AA.     That Tristar be awarded such other and further relief as this Court deems proper

   and just.

                                    DEMAND FOR JURY TRIAL

          Tristar demands a trial by jury of all issues properly triable to a jury in this case.




                                                    120
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  194 Filed:
                                               03/01/18 Page12/14/2021
                                                             121 of 122 PageID: 9593



   Dated: March 1, 2018                Respectfully submitted,



                                       Edward P. Bakos (ebakos@bakoskritzer.com)
                                       Noam J. Kritzer (nkritzer@bakoskritzer.com)
                                       Bakos & Kritzer
                                       147 Columbia Turnpike
                                       Florham Park, New Jersey 07932
                                       Telephone: 908-273-0770
                                       Facsimile: 973-520-8260

                                       Counsel for Defendants:
                                       Tristar Products, Inc. and
                                       Walmart Inc.




                                        121
              Case: 21-2316 Document
Case 1:13-cv-01758-NLH-AMD  Document:352
                                      17 Filed
                                          Page:  195 Filed:
                                               03/01/18 Page12/14/2021
                                                             122 of 122 PageID: 9594



                                    CERTIFICATE OF SERVICE

          I hereby certify that on March 1, 2018, a copy of the foregoing was duly served by notice

   of electronic filing upon counsel of record.

          I certify that the foregoing statement made by me is true. I am aware that if any of the

   foregoing statement is willfully false, I am subject to punishment


   Dated: March 1, 2018


                                                  Edward P. Bakos (ebakos@bakoskritzer.com)
                                                  Bakos & Kritzer
                                                  147 Columbia Turnpike
                                                  Florham Park, New Jersey 07932
                                                  Telephone: 908-273-0770
                                                  Facsimile: 973-520-8260

                                                  Counsel for Defendants:
                                                  Tristar Products, Inc. and
                                                  Walmart Inc.




                                                   122
Case: 21-2316   Document: 17   Page: 196   Filed: 12/14/2021




                   EXHIBIT D
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     548 Page:  197 Filed:
                                          Filed 01/16/20   12/14/2021
                                                         Page 1 of 1 PageID: 15921



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




      BLUE GENTIAN, et al.,

                     Plaintiffs,             CIVIL NO. 13-1758 (NLH/AMD)
      v.                                     ORDER
      TRISTAR PRODUCTS, INC., et
      al.,

                     Defendants.


        For the reasons expressed in the Court’s Opinion filed

  today,

        IT IS on this     15th   day of   January , 2020

        ORDERED that JUDGMENT be, and hereby is, entered in favor

  of Defendants as to Defendants’ claims for Correction of

  Inventorship of United States Patent Numbers: 8,291,941,

  8,291,942, 8,479,776, 8,757,213, D722,681, and D724,186; and it

  is further

        ORDERED that the Director of the United States Patent and

  Trademark Office add Gary Ragner as an inventor of the above-

  listed patents and to issue a Certificate of Correction

  accordingly.




                                             s/ Noel L. Hillman
  At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.
Case: 21-2316   Document: 17   Page: 198   Filed: 12/14/2021




                   EXHIBIT E
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  199 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 1 of 47 PageID: 15872



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




        BLUE GENTIAN, et al.,

                      Plaintiffs,            CIVIL NO. 13-1758 (NLH/AMD)
        v.                                   OPINION
        TRISTAR PRODUCTS, INC., et
        al.,

                      Defendants.



  APPEARANCES:

  DAVID S. STONE
  BRADFORD W. MULLER
  STONE & MAGNANINI LLP
  100 CONNELL DRIVE, SUITE 2200
  BERKELEY HEIGHTS, NJ 07922

         Attorneys for Plaintiff Telebrands Corp.

  GEORGE C. JONES
  MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
  1300 MOUNT KEMBLE AVENUE
  PO BOX 2075
  MORRISTOWN, NJ 07962-2075

  and

  EDWARD F. MCHALE
  KENNETH W. COHEN
  ANDREW D. LOCKTON
  MCHALE & SLAVIN, P.A.
  2855 PGA BOULEVARD
  PALM BEACH GARDENS, FL 33410

         Attorneys for Blue Gentian, LLC and National Express, Inc.


                                        1
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  200 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 2 of 47 PageID: 15873



  EDWARD PAUL BAKOS
  NOAM JOSEPH KRITZER
  BAKOS & KRITZER
  147 COLUMBIA TURNPIKE
  FLORHAM PARK, NJ 07932

       Attorneys for Defendant Tristar Products, Inc., Wal-Mart
  Stores, Inc. d/b/a Sam’s Club, and Sam’s Wholesale Club.

  J. STEVEN BRAUGHMAN
  MEGAN RAYMOND
  PAUL, WEISS, RIFKIND, WHARTON & GARRISON, LLP
  2001 K STREET, NW
  WASHINGTON, DC 20006-1047

        Attorneys for Defendant Tristar Products, Inc.



  HILLMAN, District Judge

        Presently before the Court is the issue of whether Gary

  Ragner, a non-party, should be deemed a co-inventor, pursuant to

  35 U.S.C. § 256, of certain patents-in-suit held by Michael

  Berardi.    The Court held a multi-day hearing taking testimony

  and admitting certain documents and exhibits into evidence.             All

  parties have been well-represented and the Court has benefitted

  from both the oral advocacy and tutorials at the hearing and the

  thoughtful and extensive pre- and post-hearing submissions.             For

  the reasons stated below, this Court finds Gary Ragner is a co-

  inventor of the Michael Berardi patents-in-suit.

                                   BACKGROUND

        This case has a lengthy and complicated factual and

  procedural history.      At one time, three different judges


                                        2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  201 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 3 of 47 PageID: 15874



  presided over suits related to the contested patents and matters

  are still pending before the undersigned and a district judge in

  the Newark vicinage.      In lieu of recounting those details, which

  have been penned by this Court and others numerous times over

  the years of this litigation, this Court will focus on only the

  details relevant to the consideration of the matter disposed of

  in this Opinion.

        On July 28, 2017, Defendants moved under Federal Rule of

  Civil Procedure 42(b) for a hearing on correction of

  inventorship for the Berardi patents-in-suit pursuant to 35

  U.S.C. § 256.     On January 30, 2018, this Court granted

  Defendants’ request to hold a hearing to determine whether Gary

  Ragner should be added as a co-inventor on the Berardi patents-

  in-suit.    Discovery for the hearing ensued and all other pending

  matters have been staying pending resolution of Defendant’s

  motion. 1


  1 On July 19, 2019, the parties designated several matters,
  including this case, for mediation: Telebrands Products, Inc.,
  et al. v. National Express, Inc., et al., 1:13-cv-7752;
  Telebrands Corp. v. Ragner Tech. Corp., et al., 1:15-cv-3163;
  Ragner Tech. Corp., et al., v. Telebrands Corp., 1:15-cv-8185;
  Telebrands Corp. v. Ragner Technology Corp. et al., 1:16-cv-
  3474; Telebrands Corp. v. Ragner Tech. Corp., et al., 1:16-cv-
  3594; Blue Gentian, LLC v. Tristar Prods., Inc., 1:13-1758; Blue
  Gentian, LCC, et al. v. Tristar Prods., Inc., 1:13-cv-7099; and
  Ragner Tech. Corp., et al. v. Berardi, et al., 1:15-cv-7752. In
  light of the resolution of the pending motion, the parties will
  be directed to file on the docket a letter within 20 days
  setting forth their position regarding a possible global
  resolution of all pending matters through private mediation.
                                        3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  202 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 4 of 47 PageID: 15875



        On September 5-7, 2018, January 29 and 30, 2019, and April

  30, 2019, this Court commenced a hearing on correction of

  inventorship (the “Inventorship Hearing”).          At the Inventorship

  Hearing, the Court received the live testimony of Gary Ragner,

  Robert de Rochemont, Jr., Margaret Combs, Keith Mirchandani,

  Ajit Khubani, Bala Iyer, Manish Israni, Cheryl Berardi, and

  Michael Berardi.

        On May 29, 2019, the parties submitted post-hearing briefs.

  On June 12, 2019, the parties submitted responsive post-hearing

  briefs.    On June 26, 2019, the parties presented closing

  arguments to the Court.       The issues have been fully briefed and

  are ripe for adjudication. 2

        As noted, the issue currently before the Court stems from a

  larger dispute between the Plaintiffs, Blue Gentian, National

  Express, and Telebrands Corp., and the Defendants, Tristar

  Products, and Wal-Mart Stores.        Plaintiffs market, promote,

  distribute, and sell a garden hose known as the “XHose.”            Blue

  Gentian owns several patents related to the XHose.           Defendants

  also produce and promote a garden hose known as the “Flex~Able

  Hose.”    In a matter not currently before the Court, Plaintiffs


  2 There are two motions pending before the Court: a motion to
  disregard Plaintiffs’ unauthorized June 12, 2019 filing, and a
  motion for expedited consideration of motion to disregard
  Plaintiffs’ unauthorized June 12, 2019 filing. Through this
  Opinion and accompanying Order, the Court will deny those
  motions.
                                        4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  203 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 5 of 47 PageID: 15876



  allege that Defendants have infringed on Plaintiffs’ patents for

  the XHose.

        In this proceeding, Defendants allege that Gary Ragner, a

  non-party to this case, co-invented the XHose with Blue

  Gentian’s principal, Michael Berardi.         Defendants therefore

  argue that six of Blue Gentian’s patents should be corrected to

  reflect Gary Ragner’s inventorship. 3

        The bulk of the evidence relevant to determining

  inventorship comes from a single three to four-hour meeting held

  on August 23, 2011.      The relevant facts before, after, and

  including this meeting are discussed below.

        A. The Expandable Garden Hoses in Question

              a. The XHose

        The XHose is a lightweight, expandable garden hose.           The

  length and width of the XHose changes depending on the amount of

  water running through it.       The XHose features an elastic inner

  tube that acts as both a water conduit and a retracting force.

        Blue Gentian owns all intellectual property rights in and

  related to the XHose, including U.S. Patent No. 8,291,941 and

  U.S. Patent No. 8,291,942.       Michael Berardi is listed as the


  3 The six patents belonging to Michael Berardi and Blue Gentian
  are discussed in this opinion. Four of these patents are
  utility patents: U.S. Patent No. 8,291,941, U.S. Patent No.
  8,291,942, U.S. Patent No. 8,479,776, and U.S. Patent No.
  8,757,213. Two of these patents are design patents: U.S. Patent
  No. D722,681, and U.S. Patent No. D724,186.
                                        5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  204 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 6 of 47 PageID: 15877



  inventor of the XHose on these patents.         Blue Gentian granted

  National Express and exclusive license to use, sell, import,

  market, promote and distribute the XHose.

              b. The Flex~Able Hose and Pocket Hose

        Though not relevant to this opinion, the Court notes that

  the Flex~Able Hose and Pocket Hose are also lightweight,

  retractable hoses available for consumer distribution and use.

              c. The MicroHose

        Gary Ragner and Robert de Rochemont created an expandable

  hose called the “MicroHose.”        When the Ragner Technologies team

  and Michael Berardi met, Ragner and de Rochemont used a

  prototype of the MicroHose to demonstrate their product.            Ragner

  described this prototype is a “cutdown version” of the

  MicroHose, featuring a small diameter, elastic vinyl hose, wire

  coil for biasing, and a nylon or polyester valley cord 4 epoxied

  to each end for reinforcement.        According to Ragner, the valley




  4 The MicroHose is similar to the flexible hose found on a common
  household vacuum cleaner. When collapsed, the circumference of
  the hose appears uniform. When expanded, the hose forms a
  three-dimensional wave-like pattern of peaks and valleys. The
  valley cord winds around the hose through the “valleys,”
  reinforcing the outer strength of the hose to prevent bursting,
  something all developers known to the Court and many users have
  experienced with the water pressure typically used with garden
  hoses. Importantly, Ragner testified that he told Berardi at
  the August 23 meeting, testimony the Court credits as both
  credible and consistent with other evidence in the case, that
  the valley cord was only one way to prevent bursting. Another
  way was the use of a full outer cover made of fabric.
                                        6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  205 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 7 of 47 PageID: 15878



  cord’s purpose was both to double the amount of pressure the

  hose could handle and to help the hose hold its shape.            Ragner

  testified that this prototype did not expand radially, nor did

  the internal surgical tube in the MicroHose prototype serve as a

  conduit for water.      To date, no version of the MicroHose has

  been manufactured or sold commercially.

        As will be elaborated below, Ragner testified that at the

  August 23 meeting the attendees discussed “prototype 2” of the

  MicroHose.     The parties agree that this prototype was not

  physically present at this meeting.         According to Ragner,

  prototype 2 is a vacuum hose with a surgical tube inside.             As

  Ragner described, the internal surgical tube is epoxied to each

  end of the MicroHose prototype to act as a retracting force.

        B. Michael Berardi’s Background and Knowledge
           Prior to the August 23 Meeting

        Michael Berardi is an accomplished songwriter and video

  producer.    During his time at CBS Records and Born Music, he

  copyrighted over 150 songs.       Michael Berardi also has

  significant experience with the direct marketing industry and

  co-owns Berardi Productions with his wife, Cheryl.           Together,

  Cheryl and Michael Berardi have produced hundreds of television

  commercials.

        Despite having no technical background, prior to patenting

  the XHose, Michael Berardi had applied for two patents and


                                        7
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  206 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 8 of 47 PageID: 15879



  taught himself how to edit and produce commercials.            Michael

  Berardi credits his creative thinking and experience working in

  his father’s hardware store for his success inventing new

  products.    During his eleven years as an employee and three

  years as a manager at his father’s hardware store, Michael

  Berardi testified that he sold and repaired various products,

  including garden hoses.

        In either late July or early August 2011, an acquaintance,

  Thomas Moran, told Michael Berardi about a potential investment

  opportunity in a product called the MicroHose.           Based on this

  conversation, Michael Berardi testified that he searched the

  Internet to learn more about the MicroHose and Ragner

  Technologies.     Through this search, Michael Berardi found a news

  article about Ragner Technologies that contained a video

  demonstration of a MicroHose prototype.         Michael Berardi

  testified that after watching the video, he thought the

  MicroHose was “a very neat product” that “could be a fantastic

  Direct Response TV product.”        Michael Berardi watched the video

  three to four times, zooming in to see parts of the hose

  demonstration more closely.

        Michael Berardi testified that right after watching the

  video demonstration of the MicroHose, he experienced a “eureka

  moment” in his community gym.        After looking at certain gym

  equipment, Michael Berardi was struck by the idea of running

                                        8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     545 Page:  207 Filed:
                                         Filed 01/16/20    12/14/2021
                                                        Page 9 of 47 PageID: 15880



  water through a tube similar to the ones used in the resistance

  bands at the gym.      Michael Berardi testified that “it kind of

  reminded me I guess maybe of the expanding hose that Ragner had

  invented” and that he wondered “what would happen if I put water

  through this?”

        Michael Berardi told Cheryl Berardi about his idea for a

  new hose.    Cheryl Berardi responded that they should “not put

  any energy there” because they already planned to meet with

  Ragner Technologies.      Michael Berardi agreed with Cheryl

  Berardi’s assessment that it would be easier to work with a

  completed product.      Michael Berardi also stated that he was in

  the middle of pursuing two other large projects during this time

  period.    Ultimately, Michael Berardi did not take any steps to

  create the hose he imagined following his eureka moment but

  retained a “nebulous concept” for his hose.

        Soon after Berardi watched the online video demonstration

  of the MicroHose, an agent from Ragner Technologies, Margaret

  Combs, contacted him about setting up an investment meeting on

  August 23, 2011.     On August 16, 2011, Ragner Technologies sent

  Michael Berardi and other meeting attendees a username and

  password to access a website containing a business plan and

  three-year cash flow analysis.




                                        9
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              208 Filed: 12/14/2021
                                                      Page 10 of 47 PageID: 15881



        C. Gary Ragner’s Background and Knowledge Prior to the
           August 23 Meeting

        Gary Ragner is an engineer and co-founder of Ragner

   Technologies.    He holds a Bachelor of Science in physics and a

   master’s degree in mechanical and aerospace engineering.          Ragner

   also completed coursework in fluid dynamics and has seventeen

   years of experience designing hoses, for both vacuums and

   outdoor use.    Ragner holds several dozen patents for various

   inventions in the energy, aerospace, and electronic fields,

   among others.

        Since the mid-1990s, Ragner has co-invented with his

   current business partner, Robert de Rochemont.         Together Ragner

   and de Rochemont approached Combs, a retired business executive,

   about taking on various administrative, advisory, and management

   responsibilities within Ragner Technologies.        Eventually,

   Margaret Combs became the CEO and a 10% equity partner in Ragner

   Technologies.

        Beginning in 2004, Ragner and de Rochemont began buying

   supplies and experimenting with hose designs.         Since September

   2005, Ragner and de Rochemont have held U.S. Patent No.

   6,948,527 for a “pressure-actuated linearly retractable and

   extendible hose.”     On January 30, 2006, Ragner and de Rochemont

   applied for U.S. Patent No. 8,776,836 for a “linearly

   retractable pressure hose structure.”       This patent was granted


                                       10
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              209 Filed: 12/14/2021
                                                      Page 11 of 47 PageID: 15882



   on July 15, 2014, after being published in 2013.         After working

   on a similar design for a retractable vacuum hose, Ragner

   testified that he thought this design could apply to garden

   hoses as well.    By August 2011, de Rochemont and Ragner had

   created between eighteen and twenty prototypes of the MicroHose.

        D. The August 23 Meeting

        This meeting is particularly important to the determination

   of co-inventorship.     This meeting was the sole interaction

   between Michael Berardi and Gary Ragner.        The Court draws its

   facts regarding this meeting from the hearing record and

   documents before it.     The parties contest certain details of

   this meeting.    These disputed details will be acknowledged and

   discussed below.

        Michael and Cheryl Berardi hosted this meeting at their

   home in Palm Beach Gardens, Florida starting around 10:00 AM on

   August 23, 2011.    The attendees were:

        (1)   Michael Berardi, principal of Blue Gentian and co-
              owner of Berardi Productions;

        (2)   Cheryl Berardi, co-owner of Berardi Productions and
              wife of Michael Berardi;

        (3)   Ed Kelly, owner of National Express;

        (4)   Gary Ragner, CEO and founder of Ragner Technologies;

        (5) Robert de Rochemont, former Executive Vice President
   of Quality Assurance and current CEO of Ragner Technologies;

        (6) Margaret Combs, former CEO and current equity partner
   of Ragner Technologies;
                                       11
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              210 Filed: 12/14/2021
                                                      Page 12 of 47 PageID: 15883




         (7)   Greg Jansen, a “money finder” for Ragner Technologies;
   and

        (8) Vince Simonelli, a “money finder” for Ragner
   Technologies.

         The parties agree that the primary purpose of this three to

   four-hour meeting was to secure a $3 million investment for

   Ragner Technologies to build machines that could manufacture the

   MicroHose.    Earlier in the week, Combs, de Rochemont, and Ragner

   had concluded a similar meeting with a different investor in

   Boca Raton, Florida.     Combs testified that the Ragner

   Technologies team expected that Ed Kelly would be the primary

   investor.

         However, as both parties testified, Kelly, who has since

   passed away, seemed more interested in pursuing a licensing

   agreement rather than an investment arrangement.         During this

   meeting, Kelly proposed manufacturing the MicroHose in Taiwan or

   China to reduce production costs.        Ragner opposed this idea and

   expressed concerns about protecting his intellectual property.

   After the discussion of licensing, both parties testified that

   Kelly seemed disinterested in the remainder of the meeting and

   stayed relatively silent.

         The attendees next discussed Ragner Technologies’ finances.

   As Combs presented and explained Ragner Technologies’ business

   plan and cash flow, Michael Berardi testified that he realized


                                       12
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              211 Filed: 12/14/2021
                                                      Page 13 of 47 PageID: 15884



   the MicroHose would not make a successful direct response TV

   product (“DRTV product”).      Because Ragner Technologies estimated

   that the cost of manufacturing a single MicroHose would be

   between ten and twenty dollars, the MicroHose would likely be

   priced at approximately eighty dollars.         Ragner Technologies’

   manufacturing plan and cost structure made the MicroHouse

   unattractive in the DRTV market.         According to Michael Berardi,

   a DRTV product would ideally be priced at around thirty dollars.

        The attendees then had lunch and turned their discussion to

   the machinery involved in producing the MicroHose.         The Ragner

   Technologies team used large posters with graphics and photos to

   illustrate the process for manufacturing the MicroHose, or

   “Process 17.”    According to the Ragner Technologies team, these

   visual aids were meant to explain both the manufacturing process

   and the internal structure of the MicroHose.        Michael Berardi

   testified that during this portion of the meeting his “eyes

   started spinning” and Ragner lectured “like a professor” for a

   half-hour about the production process.

        Here, the parties disagree on the other topics the

   attendees discussed.     Ragner testified that he remembers one

   question being asked: “[Michael Berardi] asked whether we could

   replace the spring with elastic.”        Ragner stated he remembers

   thinking “that was kind of astute of him to realize that you

   could replace the retracting means with something else.”

                                       13
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              212 Filed: 12/14/2021
                                                      Page 14 of 47 PageID: 15885



   According to Ragner, he told Michael Berardi that it was

   possible to use elastic and that the first two prototypes of the

   MicroHose relied on internal elastic surgical tubes.          Ragner

   also testified that he told Michael Berardi that Ragner

   Technologies had opted not to continue with this design for the

   MicroHose because it was not durable enough.        Ragner further

   explained to Michael Berardi that the prototypes with elastic

   had burst during some of their demonstrations.         As Ragner

   described, this conversation was brief, and Michael Berardi

   seemed satisfied with Ragner’s answers.

        Combs testified that she did not hear this conversation, as

   she was not close enough to Ragner and Michael Berardi.            De

   Rochemont testified that he also did not hear any of this

   conversation between Ragner and Michael Berardi.         De Rochemont

   has severe hearing loss and “miss[es] most of what people are

   talking about.”    Usually, de Rochemont relies on lip reading to

   understand conversations.

        In contrast, Michael Berardi testified that he did not

   discuss elastic with Ragner, but that Ragner may have mentioned

   the term “elastomer” during his explanation of the manufacturing

   process.   Michael Berardi testified that he “remember[s]

   questions being asked but doesn’t remember specific questions.”

   Cheryl Berardi similarly testified that Michael Berardi did not

   ask about replacing the spring with elastic and that there was

                                       14
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              213 Filed: 12/14/2021
                                                      Page 15 of 47 PageID: 15886



   no discussion of earlier prototypes of the MicroHose.          Cheryl

   Berardi also said that she would sometimes leave the meeting to

   get food or drinks.     According to Cheryl Berardi, she remained

   able to hear the conversation thanks to her home’s open concept

   floor plan.

        Near the end of the meeting, the attendees moved outdoors

   for a live demonstration of the MicroHose prototype.          Ragner

   described this prototype as “a cutdown version of the

   MicroHose.”    This version “only had a valley cord in the valley

   of the hose for reinforcement, and essentially a small diameter

   vacuum hose, stretch hose, with two ends on it that had fittings

   for a garden hose.”

        Michael Berardi testified that he held the hose and used it

   briefly.   Michael Berardi further testified that he asked to

   keep the prototype.     Ragner declined to let Michael Berardi keep

   the model, saying that it “wasn’t really a working prototype

   because the materials were not strong enough to hold the PSI of

   the water.”    During the demonstration, Michael Berardi asked a

   question about the materials used in the prototype and whether

   this prototype was a final version of the MicroHose.

        The attendees disagree about how well the prototype

   performed during this demonstration.       Ragner testified that it

   performed “very well” and expanded to about five times its

   original length before retracting back to its original size.

                                       15
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              214 Filed: 12/14/2021
                                                      Page 16 of 47 PageID: 15887



   Combs testified that the prototype performed “exactly the way it

   was supposed to.”     In contrast, Michael Berardi described the

   prototype’s performance as “disappointing” because “[i]t didn’t

   expand much and it didn’t contract much.”        Cheryl Berardi

   testified that the hose “didn’t move a lot” and “when the water

   turned off, it did not contract well.”

        The meeting attendees also dispute the extent to which a

   non-disclosure agreement (NDA) was discussed and agreed upon.

   The Ragner Technologies team does not contend that Michael

   Berardi or Ed Kelly signed an NDA agreement before, during, or

   after the August 23 meeting.      Combs testified that Ragner

   Technologies typically asked parties to sign an NDA in advance

   of meetings.    However, she testified that because this meeting

   was scheduled at the last minute, she had not sent an NDA in

   advance of the August 23 meeting.        Combs also testified she did

   not bring her computer, which contained the up-to-date version

   of Ragner Technologies’ NDA.      Instead, Combs asserts that she

   broached the topic of an NDA at the outset of the meeting.

   According to Combs, after a tour of the Berardis’ home, she

   asked if the Berardis and Kelly would agree to keep the meeting

   confidential and sign an NDA.      Combs testified that Michael

   Berardi and Ed Kelly nodded, and the meeting continued.

        Michael Berardi testified that the Ragner Technologies team

   knew of the meeting time and location in advance of August 23,

                                       16
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              215 Filed: 12/14/2021
                                                      Page 17 of 47 PageID: 15888



   2011.   According to Michael Berardi, Combs informed them as they

   were walking out the door that she would send an NDA.          Michael

   Berardi testified he only shrugged in response because he “knew

   that there was no way [he] was going to deal with these people.”

   On August 25, 2011, Combs emailed an NDA to Michael Berardi and

   Ed Kelly.   Neither responded to her email nor signed an NDA.

        E. Events Following the August 23 Meeting

        Michael Berardi testified that he left the August 23

   meeting feeling “surprised and disappointed.”         Michael Berardi

   testified that he had retained his “nebulous idea” about his own

   hose and quickly started experimenting to make a cost effective,

   expandable hose.    To build on the “little idea [he] had

   germinating in [his] head,” Michael Berardi purchased supplies

   for his new hose at Home Depot, Wal-Mart, and Sports Authority

   and started experimenting a day after meeting with Ragner

   Technologies.

        During his first attempt at making an expandable garden

   hose, Michael Berardi testified he “didn’t really know . . .

   what [he] was doing” but had “some concept, some idea of maybe

   what would happen.”     For his first attempt at creating his

   retractable hose, Michael Berardi purchased a two-and-a-half-

   inch drainage pipe for pools to serve as the outer layer of his

   hose.   Within a day or two, Michael Berardi had developed his

   first prototype: a flat vinyl hose with an internal elastic

                                       17
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              216 Filed: 12/14/2021
                                                      Page 18 of 47 PageID: 15889



   tube.   In this version of Michael Berardi’s hose, the internal

   elastic tube was connected to the external vinyl hose at each

   end and did not expand radially.         According to Michael Berardi,

   “the water in that first one didn’t go through the hose . . . it

   was outside the inner tube.”      According to Michael Berardi, this

   prototype ultimately burst during testing.

        This failed prototype was “not [Michael Berardi’s] final

   thought process as to how the final product would be made.”            As

   Michael Berardi continued to experiment between August 24 and

   early November 2011, he adjusted the materials used in his hose.

   As he was unable to find webbing at the hardware and sporting

   goods stores he initially visited, Michael Berardi ordered it

   off the Internet and used both PVC pipe and clamps to insert an

   inner tube into the webbing.

        Michael Berardi, with the help of Cheryl Berardi,

   documented his attempts to build on his “seed idea” for an

   expandable garden hose suitable for direct TV response

   marketing.   Together, the Berardis created dozens of videos

   documenting the inventive process of the XHose.         Later, when

   they made a commercial for the XHose, Michael Berardi testified

   he “might have subconsciously remembered some of the things that

   [Gary Ragner] said” in his video for the MicroHose.          Michael

   Berardi continued by explaining that “there are things on mine

   that are new and things on his [Gary Ragner’s] that, you know,

                                       18
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              217 Filed: 12/14/2021
                                                      Page 19 of 47 PageID: 15890



   were similar.”    As he testified, many of these experiments

   failed.   However, on November 2, or 3, 2011, Michael Berardi

   succeeded in making a fifty-foot prototype of what would

   eventually become the XHose.      On November 4, 2011, Michael

   Berardi and Blue Gentian filed for a patent, which eventually

   became Patent ‘941.

        When asked about the invention, Cheryl Berardi testified

   that “nothing that was used to create the XHose was used

   discussed at that [the August 23] meeting.”        During the

   inventorship hearing before the Court, Michael Berardi testified

   that he did not use anything that Gary Ragner told or showed him

   when inventing his hose.      Ragner testified that Michael

   Berardi’s first prototype was “almost identical to what [he]

   described to him, minus the wire biasing spring.”         Ragner was

   struck by the fact that Michael Berardi used “the same diameter

   I kind of conveyed to him in prototype 2.”

                                   ANALYSIS

      A. Subject Matter Jurisdiction and Standing

        This Court has subject matter jurisdiction over this matter

   pursuant to 28 U.S.C. § 1338(a) (“The district courts shall have

   original jurisdiction of any civil action arising under any Act

   of Congress relating to patents, plant variety protection,

   copyrights and trademarks.”).      Under 35 U.S.C. § 116, patent

   applications must include the names of all inventors.          If a

                                       19
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              218 Filed: 12/14/2021
                                                      Page 20 of 47 PageID: 15891



   patent names persons who are not inventors (misjoinder) or omits

   persons who are inventors (nonjoiner), 35 U.S.C. § 256 “provides

   two methods for correction: (1) the Director of the United

   States Patent and Trademark Office may correct the patent upon

   application of all parties and assignees; or (2) ‘[t]he court

   before which such matter is called in question may order

   correction of the patent on notice and hearing of all the

   parties concerned.’” Polyzen, Inc. v. RadiaDyne, L.L.C., 2012 WL

   4049841 at *2 (E.D.N.C. 2012).

        For the Court to have jurisdiction over an action for

   correction, § 256 requires notice and an opportunity for all

   parties to be heard.     Stark v. Advanced Magnetics, Inc., 119

   F.3d 1551, 1553 (Fed. Cir. 1997).        In contrast to proceedings

   before the Director of the United States Patent and Trademark

   Office, § 256 does not require that all inventors and assignees

   agree for a district court to have subject matter jurisdiction.

   In this case, all parties were given notice and an opportunity

   to be heard.

      B. Motion Opinion Standard

        “Rule 52(a)(3) provides that the court is not required to

   state findings or conclusions when ruling on a motion unless the

   rules provide otherwise.”      Ambrose v. Krause Publications, Inc.,

   354 Fed.Appx. 711, 713 (3d Cir. 2009).        Nevertheless, when “the

   district court is presented with conflicting positions of

                                       20
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              219 Filed: 12/14/2021
                                                      Page 21 of 47 PageID: 15892



   substance as to how it should exercise its discretion . . . it

   is salutary practice to give the litigants, either orally or in

   writing, at least a minimum articulation for the reasons of its

   decision.”    State Farm Mut. Auto. Ins. Co. v. Midtown Medical

   Center, Inc., 388 Fed.Appx. 125, 129 (3d Cir. 2010) (quoting

   Interpace Corp. v. City of Phila., 438 F.2d 401, 404 (3d Cir.

   1971)).

        This Opinion constitutes the Court's Findings of Fact and

   Conclusions of Law pursuant to Rule 52(a)(3).         See Pierre v.

   Hess Oil Virgin Islands Corp., 624 F.2d 445, 450 (3d Cir. 1980)

   (holding that to be in compliance with Rule 52(a), findings of

   fact and conclusions of law do not need to be stated separately

   in a court's memorandum opinion); see also Ciolino v. Ameriquest

   Transp. Services, Inc., 751 F. Supp. 2d 776, 778 (D.N.J. 2010)

   (issuing an opinion which constituted the court’s findings of

   fact and conclusions of law).

      C. Correction of Inventorship Standard and Burden of Proof

        In a § 256 proceeding to correct inventorship, “the

   inventors as named in an issued patent are presumed to be

   correct.”    Hess v. Advanced Cardiovascular Sys., Inc., 106 F.3d

   976, 980 (Fed. Cir. 1997) (citations and internal quotation

   marks omitted).    In addition to this presumption, courts have

   also recognized the “temptation for even honest witnesses to

   reconstruct, in a manner favorable to their own position, what

                                       21
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              220 Filed: 12/14/2021
                                                      Page 22 of 47 PageID: 15893



   their state of mind may have been years earlier.”         Id. (citing

   Amax Fly Ash Corp. v. United States, 514 F.2d 1041, 1047

   (1975)).   In recognition of this temptation, the claimed

   inventor must “meet a heavy burden of proving his case by clear

   and convincing evidence.”      Au New Haven, LLC v. YKK Corp., 2019

   WL 2996473 at *5 (S.D.N.Y. 2019) (citing Finkelstein v. Mardkha,

   495 F. Supp. 2d 329, 337 (S.D.N.Y. 2007)).

        To satisfy this standard, a claimed inventor must provide

   evidence corroborating his testimony concerning conception of

   the invention.    Eli Lilly & Co. v. Aradigm Corp., 376 F.3d 1352,

   1358 (Fed. Cir. 2004); Ethicon, Inc. v. U.S. Surgical Corp., 135

   F.3d 1456, 1461 (Fed. Cir. 1998).        Finally, “[t]he determination

   of whether a person is a joint inventor is fact specific and no

   bright-line standard will suffice in every case.”         Fina Oil &

   Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997).

      D. Correction of Inventorship

           a. Conception

        Conception is a term of art in patent law and “the

   touchstone of inventorship.”      Burroughs Wellcome Co. v. Barr

   Labs., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994) (citing Sewall

   v. Walters, 21 F.3d 411, 415 (Fed. Cir. 1994)); Finkelstein, 495

   F.Supp.2d at 337.     A person can be a joint inventor only if he

   or she contributes to the conception of the claimed invention.

   See Eli Lilly, 376 F.3d at 1359.

                                       22
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              221 Filed: 12/14/2021
                                                      Page 23 of 47 PageID: 15894



         Courts have recognized that “the line between actual

   contributions to conception and the remaining, more prosaic

   contributions to the inventive process that do not render the

   contributor a co-inventor is sometimes a difficult one to draw.”

   Id.   However, the Court is not entirely without guidance as to a

   working definition of “conception.”       Conception is “the

   formation in the mind of the inventor, of a definite and

   permanent idea of the complete and operative invention, as it is

   hereafter to be applied in practice.”       Burroughs, 40 F.3d at

   1228 (quoting Hybritech Inc. v. Monoclonal Antibodies, Inc., 802

   F.3d 1367, 1376 (Fed. Cir. 1986)).       Conception has also been

   defined as “the complete performance of the mental part of the

   inventive act.”    Coleman v. Dines, 754 F.2d 353, 359 (Fed. Cir.

   1985).

         The mental act of conception is complete when “the idea is

   so clearly defined in the inventor’s mind that only ordinary

   skill would be necessary to reduce the invention to practice

   without extensive research or experimentation.”         Burroughs, 40

   F.3d at 1228; see Sewall, 21 F.3d at 415 (“Conception is

   complete when one of ordinary skill in the art could construct

   the apparatus without unduly extensive research or

   experimentation.”).     An idea is sufficiently defined when an

   inventor has a “specific, settled idea, a particular solution to

   the problem at hand, not just a general goal or research plan he

                                       23
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              222 Filed: 12/14/2021
                                                      Page 24 of 47 PageID: 15895



   hopes to pursue.”     Burroughs, 40 F.3d at 1228 (citing Fiers v.

   Revel, 984 F.2d 1164, 1169 (Fed. Cir. 1993)).         Conception of an

   invention, therefore, must include every feature of a claimed

   invention.   See Coleman, 754 F.2d at 359.       This analysis

   requires that an inventor can describe his or her invention with

   particularity.    Burroughs, 40 F.3d at 1228.

        Plaintiffs argue that Gary Ragner could not have

   contributed to the conception of the XHose because Michael

   Berardi had already conceived of a hose with an elastic tube

   inside a fabric cover during his “eureka moment” in his

   community gym.    However, by his own admission, at the time that

   Michael Berardi and Gary Ragner met, Michael Berardi did not

   have a definite and permanent idea of the complete and operative

   XHose.   Instead, he had a “nebulous concept” or “seed idea” for

   an expandable garden hose derived simply from his exposure to

   the Ragner Technologies video.

        On August 23, 2011, Michael Berardi had not completed the

   mental part of the inventive act.        Moreover, his idea was not so

   clearly defined that it only took ordinary skill to produce the

   XHose.   Developing the XHose required extensive experimentation.

   Michael Berardi testified that it took almost two and a half

   months of experimentation to create a fifty-foot prototype of

   the XHose.   Michael Berardi did not have a specific, settled

   idea, but rather a general goal of creating an expandable garden

                                       24
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              223 Filed: 12/14/2021
                                                      Page 25 of 47 PageID: 15896



   hose that could succeed as a DRTV product.        Similarly, Michael

   Berardi did not yet have solution to a problem, or even a

   research plan to follow for the creation of the XHose.          In fact,

   he testified that while making his first prototype, he “didn’t

   really know what [he] was doing” and had not settled on a “final

   thought process” for how to produce his hose.

        At the time that Michael Berardi and Gary Ragner met,

   Michael Berardi’s idea for a hose did not yet include every

   feature of his invention.      Michael Berardi’s inventive process

   demonstrates that his idea for the XHose was indeed “nebulous,”

   as he described it.     Michael Berardi testified he “didn’t really

   know . . . if [he] was going to put the water through the hose”

   when he made the first prototype of the XHose.         During the two

   and a half months following his meeting with Ragner, Michael

   Berardi changed both the materials and the design for the XHose.

   Furthermore, even if one credits it, Michael Berardi’s

   conversation with his wife following his “eureka moment” does

   not illustrate that Michael Berardi could describe his invention

   with particularity, but rather that he was enthusiastic about

   the idea.

        The Court finds that because Michael Berardi did not have a

   conception of the XHose prior to the August 23 meeting, it is

   possible that Gary Ragner contributed to the conception of the

   XHose.

                                       25
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              224 Filed: 12/14/2021
                                                      Page 26 of 47 PageID: 15897



           b. Collaboration

        Title 35, United States Code, Section 116 allows for a

   patented invention to be the work of two or more joint

   inventors.   Ethicon, 135 F.3d at 1461 (citing 35 U.S.C. § 116).

   “Joint inventorship under section 116 can only arise when

   collaboration or concerted effort occurs.”        Eli Lilly, 376 F.3d

   at 1359.   To be added to a patent, an alleged inventor must show

   that his or her labor were “conjoined with the efforts” of the

   listed inventors.     Id.

        While it is difficult to precisely define collaboration for

   the purpose of joint inventorship, the Federal Circuit in

   Kimberly-Clark Corp. provides a helpful explanation:

        For persons to be joint inventors under Section 116,
        there must be some element of joint behavior, such as
        collaboration or working under common direction, one
        inventor seeing a relevant report and building upon it
        or hearing another’s suggestion at a meeting.

   973 F.2d 911, 918 (Fed. Cir. 1992).       In other words, “joint

   inventorship arises only ‘when collaboration or concerted effort

   occurs - that is, when the inventors have some open line of

   communication during or in temporal proximity to their inventive

   efforts.’”   Falana v. Kent State Univ., 669 F.3d 1349, 1358

   (Fed. Cir. 2012) (quoting Eli Lilly, 376 F.3d at 1359).          On the

   other hand, the Federal Circuit in Kimberly-Clark Corp. further

   articulated that:



                                       26
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              225 Filed: 12/14/2021
                                                      Page 27 of 47 PageID: 15898



        Individuals cannot be joint inventors if they are
        completely ignorant of what each other has done until
        years after their individual independent efforts. They
        cannot be totally independent of each other and be joint
        inventors.

   973 F.2d at 918.

        Though joint inventors must have knowledge of his or her

   co-inventor’s efforts, these cases stop short of requiring an

   intent to invent.     In CODA Dev. S.R.O. v. Goodyear Tire & Rubber

   Co., the Federal Circuit considered whether dismissal of a

   correction of inventorship claim at the motion to dismiss stage

   was appropriate.     916 F.3d 1350, 1353 (Fed. Cir. 2019).        In that

   matter, the defendant, through General Motors Corp., expressed

   an interest in plaintiff’s self-inflating tire (“SIT”)

   technology.    Id.   The plaintiff met with the defendant and

   allegedly “shared novel, proprietary, and confidential

   information concerning its SIT technology.”           Id. at 1354.

        At a second meeting a few months later, the plaintiff

   allowed the defendant to examine a working prototype, which the

   defendant photographed without the plaintiff’s permission.              Id.

   A few months later, the defendant applied for a patent “entitled

   ‘Self-Inflating Tire Assembly.’”         Id.    The plaintiff claimed

   this invention was at least in part what the plaintiff had shown

   the defendant during their meetings.           Id.   Eleven other patents

   were issued to the defendant on similar technology thereafter.

   Id. at 1355.    The Federal Circuit opined that this set of

                                       27
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              226 Filed: 12/14/2021
                                                      Page 28 of 47 PageID: 15899



   allegations was sufficient to support a correction of

   inventorship claim, and specifically was enough to show

   collaboration.    Id. at 1359-60.     In reaching this decision, the

   Federal Circuit took into account the defendant’s prior

   failures, eagerness to meet with the plaintiff, unauthorized

   photography of a functional prototype, the timing of a more

   distance relationship with the plaintiff, and an accusation from

   a former employee as evidence that the plaintiff’s correction of

   inventorship claim was plausible.        Id. at 1359.

        While there may be slight factual differences between the

   situation described in CODA Dev. S.R.O. and the current facts,

   the Court finds that the facts are sufficiently similar to

   support a finding of collaboration in this matter.         Michael

   Berardi saw relevant and excruciatingly detailed graphics and

   photographs at his meeting with Ragner Technologies.          These

   disclosures encompassed Ragner’s novel, proprietary, and

   confidential information concerning Ragner Technologies’

   MicroHose most, if not all, of which had been set forth in

   Ragner’s pending patent applications.

        Though Michael Berardi did not photograph the prototype he

   was shown, he did hold and use it, even asking to keep it.

   Berardi clearly relied upon the prototype and Ragner’s oral

   suggestions about alternative methods for building an expandable

   hose in building his own.      After Michael Berardi applied for his

                                       28
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              227 Filed: 12/14/2021
                                                      Page 29 of 47 PageID: 15900



   patent for the XHose in November 2011, Ragner recognized these

   inventions as being related to what he had shown Michael Berardi

   in the August 23 meeting.      Moreover, Michael Berardi had neither

   attempted nor failed to make an expandable hose prior to meeting

   with Ragner Technologies and he admitted he was eager to meet

   with Ragner Technologies about its expandable hose.

        After the meeting, neither Ed Kelly nor Michael Berardi

   responded to Margaret Combs’ email regarding an NDA, and the

   parties never communicated again, suggesting a more distant

   relationship.    These facts are not are favorable to Plaintiff.

   The Court credits the testimony of Combs that she had secured an

   oral commitment from those at the meeting, including Berardi,

   for the post-meeting signing of an NDA.        Her post-meeting

   conduct corroborates that testimony.

        An NDA was never signed not because the parties had not

   agreed to it but rather because the investor part of the group

   was not interested in investing in a machine to build a product

   that could be built more cheaply overseas.        And Michael Berardi

   had no reason to sign an NDA after the fact.        Despite the oral

   agreement that had been reached, the Court is convinced Berardi

   left the meeting intent on using what he had learned in it to

   flesh out his nebulous idea and build a flexible hose for

   himself.



                                       29
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              228 Filed: 12/14/2021
                                                      Page 30 of 47 PageID: 15901



        Plaintiffs argue that because Gary Ragner did not intend to

   invent a garden hose when he met with Michael Berardi, he could

   not have collaborated in creating the XHose.        Plaintiffs further

   point to the fact that Ragner did not think that he had invented

   a new garden hose when he left the August 23 meeting as evidence

   that he did not collaborate with Michael Berardi.         The Court

   rejects Plaintiff’s argument that there must be an intent to

   invent or expectation of having invented for collaboration, as a

   legal matter to occur.     The issue is not Ragner’s intent but

   Berardi’s and his level of knowledge before and after the

   meeting.

        The Court finds on the evidence presented that as a matter

   of law Gary Ragner collaborated with Michael Berardi to invent

   the patents in question.

           c. Contribution

        A person can be listed as an inventor only if he or she

   contributes to the conception of the claimed invention.          Fina

   Oil & Chem. Co., 123 F.3d at 1473.       However, the statute

   providing for joint inventorship does not set an explicit lower

   limit on “the quantum or quality of the inventive contribution

   required for a person to qualify as a joint inventor.”          Id.; see

   35 U.S.C. § 116.    Title 35, United States Code, Section 116

   allows for inventors to apply for a patent jointly event though

   “(1) they did not physically work together or at the same time;

                                       30
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              229 Filed: 12/14/2021
                                                      Page 31 of 47 PageID: 15902



   (2) each did not make the same type or amount of contribution,

   or (3) each did not make a contribution to the subject matter of

   every claim of the patent.”      35 U.S.C. § 116.     A joint inventor

   does not need to make a contribution of the same type or amount

   of the named inventor, nor does a joint inventor need to make a

   claim to every claim of a patent.        See Finkelstein, 495

   F.Supp.2d at 337-38 (quoting Ethicon Inc., 135 F.3d at 1460).            A

   contribution to one claim is enough.        See id.

        To qualify as a joint inventor, a person’s contribution

   must be “not insignificant in quality, when that contribution is

   measured against the dimension of the full invention.”          Fina Oil

   & Chem. Co., 123 F.3d at 1473.      Merely “explaining to the

   inventors what the state of the art was and supplying a product

   to them for use in their invention” is not a sufficient

   contribution to establish joint inventorship.         Hess, 106 F.3d at

   980 (holding that a person who did “no more than a skilled

   salesman would do” and did not conduct any research and

   development work had not contributed to an invention).

   Similarly, “exercising ordinary skill in the art to reduce an

   idea to practice” does not constitution a contribution.          See

   Finkelstein, 495 F.Supp.2d at 416.       A person who provides “well-

   known principles or explains the state of the art without ever

   having ‘a firm and definite idea’ of the claimed combination as



                                       31
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              230 Filed: 12/14/2021
                                                      Page 32 of 47 PageID: 15903



   a whole” cannot be named a joint inventor.        Ethicon, 135 F.3d at

   1460 (quoting Hess, 106 F.3d at 981).

        Defendants do not contend that Ragner physically worked

   with Michael Berardi in creating the XHose.        Defendants

   similarly do not contend that Ragner and Michael Berardi did

   their work at the same time.      Defendants also do not argue that

   Ragner and Michael Berardi made the same amount or type of

   contribution.    Defendants instead argue that Michael Berardi

   contributed nothing to the invention of the XHose.         According to

   Defendants, Ragner contributed at least one of the following

   concepts to the conception of the XHose: “(1) inner and outer

   tubes attached only at the ends; (2) a fabric outer tube, and

   (3) an elastic inner tube that can provide force to retract the

   hose, including without a metal spring.”

        Plaintiffs counter that Ragner did not contribute to

   Michael Berardi’s invention. 5     Plaintiffs highlight that all the

   MicroHose prototypes Ragner and de Rochemont had created before

   August 23 relied on a wire or some type spring for biasing.

   Plaintiffs deny that the conversation between Ragner and Michael

   Berardi about replacing the spring component with elastic ever




   5 Plaintiffs also assert that the Court is required to engage in
   claim construction prior to determining inventorship. The Court
   has declined to do so and need not do so in order to determine
   that Defendants have met the standard to show that Ragner is a
   co-inventor of the Berardi patents-in-suit.
                                       32
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              231 Filed: 12/14/2021
                                                      Page 33 of 47 PageID: 15904



   occurred.   Plaintiffs emphasize that Michael Berardi never saw,

   held, or used prototype 2 of the MicroHose, but instead saw a

   prototype that differs greatly from the XHose.         At most,

   Plaintiffs allege that Ragner contributed valuable information

   that was already part of the prior art in hose manufacturing.

        Plaintiffs argue that the novel information that Ragner

   claims to have disclosed during the meeting was covered by his

   previous patent, U.S. Patent No. 6,948,527.        Therefore,

   according to Plaintiffs, everything Ragner described to Michael

   Berardi was already part of the art.       Ragner testified that in

   lay terms, patent ‘527 discloses several elements that are also

   found in the XHose: (1) hoses with inner and outer layers; (2)

   hoses that include an inner layer wrapped in an outer layer; and

   (3) hoses with an inner layer wrapped in an outer layer that is

   not attached to the inner layer except at the end of the hose.

        The Court finds that Ragner made a significant contribution

   to the invention of the XHose.      In the course of his meeting

   with Michael Berardi, Cheryl Berardi, and Ed Kelly, Ragner did

   more than merely explain the state of the art and supply a

   product for their use.     According to Michael Berardi’s

   testimony, Ragner acted more “like a professor” than a skilled

   salesman during his explanation of the MicroHose production

   process.    Ragner shared the fruits of his own research and

   development work on expandable garden hoses for over a half-hour

                                       33
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              232 Filed: 12/14/2021
                                                      Page 34 of 47 PageID: 15905



   during this investment meeting.       He created and presented visual

   aids to explain both the manufacturing process and internal

   structure of the MicroHose, exercising more than ordinary skill

   in the art.

        Given his years of experience working on hoses and his

   eighteen to twenty prototypes of the MicroHose, the Court finds

   that Ragner had a clear and definite picture of the expandable,

   retractable garden hose he described as prototype 2.          Ragner’s

   decision not to pursue this design further does not reflect a

   lack of a clear or definite idea.        Rather, Ragner’s continued

   innovation reflects a rejection of a design that, in Ragner’s

   view, exhibited an unacceptable propensity to burst under high

   water pressure.

        Without engaging in claim construction, the Court does not

   find that everything Ragner disclosed was covered by Patent

   ‘527.   Ragner testified that he told Michael Berardi it was

   possible to make an expandable garden hose without using a

   spring to bias the hose, testimony the Court credits.          Patent

   ‘527 relies on a spring for biasing, whereas Michael Berardi’s

   patents do not.    Berardi Patent ‘941 uses the absence of a

   spring as a means of distinguishing itself from Ragner Patent

   ‘527.   If the presence of a biasing spring is what distinguishes

   Michael Berardi’s patents from Ragner’s patent, then by



                                       34
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              233 Filed: 12/14/2021
                                                      Page 35 of 47 PageID: 15906



   disclosing that a biasing spring was not necessary, Ragner could

   not have been disclosing information already in the art.

        The Court finds that Ragner contributed to the invention of

   the XHose by sharing information that was not previously

   available to Michael Berardi about designs for a retractable

   hose.

           d. Corroboration

        When considering whether an alleged inventor’s testimony is

   corroborated, a Court must “bear in mind the purpose of

   corroboration, which is to prevent fraud, by providing

   independent confirmation of the inventor’s testimony.”          Kridl v.

   McCormick, 105 F.3d 1446, 1450 (Fed Cir. 1997); see Mycogen

   Plant Sci., Inc. v. Monsanto Co., 61 F.Supp.2d 199, 240 (Fed.

   Cir. 1999).    “There is no single formula that must be followed

   in proving corroboration.”      Berry v. Webb, 412 F.2d 261, 266

   (CCPA 1969).    By the same token, there is no single type of

   corroborating evidence.     Finkelstein, 495 F.Supp.2d at 337

   (citing Trovan, Ltd. v. Sokymat SA, Irori, 299 F.3d 1292, 1303

   (Fed Cir. 2002)).

        Typically, courts have allowed for “proof by circumstantial

   evidence” and have not required “an over-the-shoulder observer

   or corroboration of every factual issue.”        Cooper v. Goldfarb,

   154 F.3d 1321, 1330 (Fed. Cir. 1998).       Corroborating evidence

   includes contemporaneous documentary evidence, oral testimony of

                                       35
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              234 Filed: 12/14/2021
                                                      Page 36 of 47 PageID: 15907



   others, and circumstantial evidence.        Finkelstein, 495 F.Supp.2d

   at 337.

        Of these types of relevant evidence, only the inventor’s

   testimony must be corroborated before it can be considered.

   Price v. Symsek, 998 F.2d 1187, 1196 (Fed. Cir. 1993).          In

   contrast, physical exhibits do not require corroboration.            Id.

   The Federal Circuit has referred to documentary or physical

   evidence as “the most reliable proof that the inventor’s

   testimony has been corroborated.”        Martek Biosciences Corp. v.

   Nutrinova Inc., 579 F.3d 1363, 1375 (Fed. Cir. 2009) (citing

   Sandt Tech. Ltd. v. Resco Metal & Plastics Corp., 264 F.3d 1344,

   1350-51 (Fed. Cir. 2001)).      This evidence is particularly

   reliable because physical evidence is usually “created at the

   time of conception or reduction to practice,” eliminating the

   “risk of litigation-inspired fabrication or exaggeration.”

   Sandt Tech. Ltd., 264 F.3d at 1351.

        The Federal Circuit applies a “rule of reason” test to

   determine whether the inventor’s testimony has been

   corroborated.    Id.   The Court will therefore “examine, analyze,

   and evaluate reasonably all pertinent evidence when weighing the

   credibility of an inventor’s story.”        Holmwood v. Sugavanam, 948

   F.2d 1236, 1239 (Fed. Cir. 1991).        In Price v. Symsek, the

   Federal Circuit listed several factors bearing on the inventor’s

   credibility and whether the inventor’s testimony is adequately

                                       36
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              235 Filed: 12/14/2021
                                                      Page 37 of 47 PageID: 15908



   corroborated: “(1) the delay between the event and the trial,

   (2) interest of corroborating witnesses, (3) contradiction or

   impeachment, (4) corroboration, (5) the corroborating witnesses’

   familiarity with details of alleged prior structure, (6)

   improbability of prior use considering state of the art, (7)

   impact of the invention on the industry, and (8) relationship

   between witness and alleged prior user.”        998 F.2d at 1195 n. 3.

        Defendants offer several physical exhibits to corroborate

   Ragner’s testimony.     These exhibits include: Ragner

   Technologies’ business plan, a version of the MicroHose

   prototype similar to the one used for demonstration at the

   meeting, a color drawing of Process 17, 6 instructions for

   potential investors written by Ragner, and U.S. Patent No.

   8,776,836.   The business plan, drawing, and instructions all

   discuss “knitted reinforcement” or “fiber reinforcement” on the

   outside of the hose.     Ragner’s Process 17 drawing also

   references an expandable hose with an elastic tube that provides




   6 Michael Berardi testified that he was not sure if the process
   17 drawing he was shown during his deposition or during this
   hearing was the exact document he saw during the August 23
   meeting. Michael and Cheryl Berardi both testified that the
   drawing they saw during the meeting at their house was in color.
   Michael Berardi contests that the document at the meeting did
   not have pictures or graphics. The exhibit was entered into
   evidence with both parties’ acquiescence. The Court finds on
   the evidence presented at the hearing that the document entered
   into evidence is either the graphic shown at the meeting or is
   not materially different.
                                       37
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              236 Filed: 12/14/2021
                                                      Page 38 of 47 PageID: 15909



   retracting force.     The prototype Ragner used to demonstrate the

   MicroHose features an inner and outer tube attached only at the

   ends.

        The Court agrees with Defendants that U.S. Patent No.

   8,776,836 corroborates Ragner’s testimony.        Patent ‘836, which

   was filed in 2006, but not published until 2013, memorializes

   Ragner’s knowledge about retractable garden hoses when he

   attended the August 23, 2011 meeting.       However, because this

   patent was not published until 2013, this information was not

   publicly known at the time Ragner and Berardi met and discussed

   the MicroHose.

        Again, without engaging in claim construction, the Court

   finds that Patent ‘836 corroborates Ragner’s testimony that he

   had previously designed a hose with these three features: (1)

   inner and outer tubes connected only at the ends; (2) a fabric

   outer tube made of nylon or polyester; and (3) an elastic inner

   tube to provide biasing force without the need for a spring.

   This prior knowledge corroborates Ragner’s testimony that he was

   prepared to, and did in fact, discuss these features with

   Michael Berardi at the August 23 meeting.        The fact that Patent

   ‘836 later entered the public domain does not bar a finding of

   co-inventorship, especially given that this information was “not

   contemporaneously available to an ordinary skilled artisan”

   during the meeting in question.       Cf., CardiAQ Valve Techs. v.

                                       38
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              237 Filed: 12/14/2021
                                                      Page 39 of 47 PageID: 15910



   Neovasc Inc., 708 Fed. Appx. 654, 660 (Fed. Cir. 2017)

   (unpublished).

        Furthermore, Michael Berardi’s first prototype also

   corroborates Ragner’s testimony.         Ragner testified that he was

   struck by the similarity between what he had described to

   Michael Berardi as prototype 2 and Michael Berardi’s first

   prototype.     Both prototypes featured elastic running through the

   middle of a larger, a two-and-a-half-inch diameter hose.          In

   both prototypes, water could not run through the internal

   elastic element.

        Perhaps even more telling is that this initial prototype

   did not seem to match Michael Berardi’s own alleged conception

   of his hose.     Michael Berardi’s first version appears to more

   closely match Ragner’s description of prototype 2 than his

   original idea for a hose.      During his “eureka moment,” Michael

   Berardi contemplated running water through an elastic tube like

   the ones he saw in his community gym.         However, this was not the

   idea he first implemented.      Instead, Michael Berardi started his

   inventive process with the design that Ragner testified he

   shared with Michael Berardi just days before.

        Because these exhibits are physical evidence created at the

   time of conception or reduction to practice, there is no risk of

   litigation-inspired fabrication or exaggeration.         The Court

   finds that these exhibits corroborate Gary Ragner’s testimony.

                                       39
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              238 Filed: 12/14/2021
                                                      Page 40 of 47 PageID: 15911



        Next, the Court will take into account all the pertinent

   evidence when weighing the credibility of Ragner’s story.          Using

   the factors from Price, the Court will examine whether each

   witness’s testimony corroborates Ragner’s invention story.

        A long delay between the events in question and testimony

   may undermine the reliability of an alleged inventor’s

   testimony.   See Woodland Trust v. Flowertree Nursery, Inc., 148

   F.3d 1368, 1371-72 (Fed. Cir. 1998).        However, when an alleged

   inventor relies on contemporaneous documents and demonstrates a

   strong recollection of the subject matter, his or her testimony

   is bolstered.    Ceats, Inc. v. Continental Airlines, 2012 WL

   12886830 at *7 (E.D. Tex. 2012).         In this case, all the

   corroborating and contradictory witnesses are testifying about

   events that occurred in 2011 or earlier.         It has been several

   years since this meeting has occurred but, in some cases, the

   witnesses have had access to contemporaneous documents.

        An interested witness is a “named party, an employee of or

   assignor to a named party, or [a person who] otherwise is in a

   position where he or she stands to directly and substantially

   gain by his or her invention being found to have priority over

   the patent claims at issue.”      Id. (citing Thomson S.A. v.

   Quixote Corp., 116 F.3d 1172, 1176 (Fed. Cir. 1999)); see

   Netscape Comms. Corp. v. ValueClick, Inc., 704 F.Supp.2d 544,

   555-56 (E.D. Va. 2010) (discussing the requirements for

                                       40
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              239 Filed: 12/14/2021
                                                      Page 41 of 47 PageID: 15912



   corroborating interested and disinterested witnesses’

   testimony).     As will be discussed below, several of the

   witnesses offering corroborating or contradicting testimony are

   interested witnesses.

        1. Margaret Combs’ Testimony

        Though Ragner Technologies no longer employs Combs, she has

   retained a 10% equity in the company.       Combs is an interested

   witness for purposes of corroborating Ragner’s testimony.

        Combs testified that she was not close enough to Ragner and

   Michael Berardi to overhear a conversation about prototype 2 or

   any alternative designs for an expandable hose.         Combs’

   testimony neither contradicts nor corroborates Ragner’s

   testimony.

        2. Robert de Rochemont’s Testimony

        De Rochemont is currently the CEO of Ragner Technologies.

   De Rochemont is an interested witness for the purposes of

   corroborating Ragner’s testimony.

        De Rochemont testified that due to his hearing loss, he,

   like Combs, was not able to hear Ragner and Michael Berardi’s

   conversation.     De Rochemont’s testimony neither contradicts nor

   corroborates Ragner’s testimony.

        3. Keith Mirchandani’s Testimony

        As an owner of Telebrands, Keith Mirchandani is an employee

   of a named party.     Because Telebrands also produces an

                                       41
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              240 Filed: 12/14/2021
                                                      Page 42 of 47 PageID: 15913



   expandable hose, Mirchandani likely has an interest in the

   outcome of this inventorship hearing.         Mirchandani is an

   interested witness for the purposes of corroborating Ragner’s

   testimony.

        Mirchandani testified that Ragner relayed his conversation

   with Michael Berardi to him later.        Mirchandani testified that

   Ragner told him that Ragner had shared with Michael Berardi that

   a spring may not be necessary for a retractable hose.          However,

   Mirchandani was not present at the meeting to witness this

   conversation himself.     Furthermore, Mirchandani did not learn of

   the MicroHose until September 2012 when he began pursuing

   licensing agreements for an expandable hose.        It is therefore

   unlikely that Mirchandani is familiar with the details of the

   MicroHose structure or prototype 2.

        The Court finds that Mirchandani’s corroboration is weak at

   best.

        4. Cheryl Berardi’s Testimony

        Cheryl Berardi is an employee of a named party, Blue

   Gentian.   Cheryl Berardi does not stand to gain if Ragner is

   named as a co-inventor of these patents.        Cheryl Berardi is

   therefore an interested witness.         Though Cheryl Berardi may not

   stand to gain if Ragner is named as a co-inventor, she is not

   without an incentive to reconstruct the events of August 23 in a

   manner favorable to her position.        Cheryl Berardi and Blue

                                       42
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              241 Filed: 12/14/2021
                                                      Page 43 of 47 PageID: 15914



   Gentian stand to benefit from Michael Berardi remaining the sole

   inventor of the XHose.

        Cheryl Berardi’s testimony partially contradicts Ragner’s

   testimony.   Cheryl Berardi testified that the meeting attendees

   did not discuss elastic or any previous models of the MicroHose

   during the August 23 meeting at her home.         Cheryl Berardi also

   testified that she was not paying attention to all parts of the

   meeting and would at times leave the room.         The Court finds

   Cheryl Berardi’s contradictory testimony unpersuasive.

        5. Michael Berardi’s Testimony

        Michael Berardi is an employee of a named party, Blue

   Gentian.   However, Michael Berardi does not stand to gain if

   Ragner is named as a co-inventor of these patents.         Michael

   Berardi is therefore an interested witness as defined above.

   Like Cheryl Berardi, Michael Berardi also has an interest in

   reconstructing the events of the August 23 meeting in a manner

   more favorable to himself.      Michael Berardi and Blue Gentian

   have an interest in remaining the sole owners of the six patents

   in question.

        Michael Berardi’s testimony both contradicts and

   corroborates Ragner’s testimony.         Michael Berardi contradicted

   Ragner’s testimony by claiming that while they may have

   discussed “elastomers,” at the August 23 meeting, they did not

   discuss “elastic.”     However, Michael Berardi also testified that

                                       43
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              242 Filed: 12/14/2021
                                                      Page 44 of 47 PageID: 15915



   he did ask Ragner about the materials used in the MicroHose

   prototype during the demonstration portion of the meeting.

   Michael Berardi stated that while he did remember some questions

   being asked during the Ragner Technologies team’s explanation of

   Process 17, he could not remember any specific questions.          This

   account does not preclude the possibility that Ragner’s

   testimony about his conversation with Michael Berardi was

   accurate.    To the extent their testimony conflicts, after

   observing their demeanor and after reviewing all the evidence as

   a whole, the Court views Ragner’s testimony on this issue the

   most credible.

        Furthermore, while Ragner maintains that Michael Berardi

   took most, if not all, of his idea for the XHose from Ragner

   Technologies, Michael Berardi partially concedes that he “may

   have subconsciously remembered” some elements of Ragner’s video

   for the MicroHose during his inventive process.         Michael Berardi

   also admitted that his original idea for the XHose “kind of

   reminded me I guess maybe of the expanding hose that Ragner had

   invented.”

        Michael Berardi’s testimony is particularly relevant for

   corroboration.    As the only inventor currently listed on the six

   patents in suit, Michael Berardi is very familiar with the

   details of the technology used in the XHose.        Michael Berardi

   also held and used a prototype of the MicroHose at the August 23

                                       44
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              243 Filed: 12/14/2021
                                                      Page 45 of 47 PageID: 15916



   meeting.   During the three to four-hour meeting at his house,

   Michael Berardi listened to Ragner lecture “like a professor”

   about manufacturing the MicroHose.       Michael Berardi is therefore

   familiar with the details of both inventions.

        Ragner Technologies attempted to establish an ongoing

   business relationship with Ed Kelly and Michael Berardi.

   Following the August 23 meeting, it became clear, at least to

   Michael Berardi, that this business relationship would not move

   forward.   As mentioned above, the prospect of a business

   relationship lasted from late July 2011, to August 23, 2011.

   When Margaret Combs emailed Ed Kelly and Michael Berardi about a

   non-disclosure agreement on August 25, 2011, she did not receive

   a response.    Ragner Technologies and Michael Berardi never met

   again.

        After considering all pertinent evidence, the Court finds

   that Ragner’s testimony is adequately corroborated both by

   physical and circumstantial evidence.       Although he was seeking

   investors not a collaborator, when Gary Ragner made his

   elaborate and thorough presentation at the August 23 meeting, he

   conveyed to Michael Berardi key elements of the eventual product

   known as the XHose, more specifically, as Defendants contend:

   (1) inner and outer tubes attached only at the ends; (2) a

   fabric outer tube, and (3) an elastic inner tube that can



                                       45
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              244 Filed: 12/14/2021
                                                      Page 46 of 47 PageID: 15917



   provide force to retract the hose, including without a metal

   spring.

        When, as here, “inventors have some open line of

   communication during or in temporal proximity to their inventive

   efforts” co-inventorship can occur.       Falana, 669 F.3d at 1358.

   Michael Berardi may be a resourceful and inventive person, but

   here his creation of the XHose occurred only because of the

   immediately preceding insight, inventiveness, prior detailed

   experimentation, design, help, and guidance, albeit short-lived,

   of Gary Ragner.

                                  Conclusion

        Gary Ragner came to the August 2011 meeting well-prepared

   as an experienced engineer and inventor of flexible and

   expandable hoses.     Ragner had not only experimented with various

   designs, he had built several prototypes (including one he

   brought and demonstrated at the meeting) and had taken the

   further step of designing a machine to build them.         To explain

   the machine is to explain the product.        His expertise and years

   of work were on full display.

        In a practical sense, however, Ragner was ill-prepared for

   the hastily arranged version of “Shark Tank” he encountered in

   Michael Berardi’s home.     Berardi, as creative in other milieus

   as he may have been, hosted the meeting not as an experienced

   engineer but because of his understandable eagerness to learn

                                       46
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 545 Page:01/16/20
                                              245 Filed: 12/14/2021
                                                      Page 47 of 47 PageID: 15918



   about and exploit commercially the product he had seen in the

   Ragner Technology online video.       He left the meeting having been

   taught something he did not know before the meeting - the key

   design principles of an expandable and flexible hose as outlined

   about.   He simply went on, in short time, to build, using the

   information he had learned, a cheaper and simpler version of the

   invention Ragner disclosed at the meeting and one, importantly,

   containing each of its key components.

        Accordingly, for the reasons discussed above, Defendants

   have shown through clear and convincing evidence that Gary

   Ragner contributed to the conception of the XHose and should be

   named an co-inventor.     The Court will grant Defendants’ motion

   for a correction of inventorship.

        An accompanying Order will be entered directing a

   correction of inventorship for the patents in suit.           Orders

   denying Defendants’ motion to disregard Plaintiffs’ unauthorized

   June 12, 2019 filing, and motion for expedited consideration of

   motion to disregard Plaintiffs’ unauthorized June 12, 2019

   filing will also be entered.


                                            s/ Noel L. Hillman
   At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.



   Dated: January 15, 2019



                                       47
Case: 21-2316   Document: 17   Page: 246   Filed: 12/14/2021




                   EXHIBIT F
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     555 Page:  247 Filed:
                                          Filed 02/14/20   12/14/2021
                                                         Page 1 of 2 PageID: 16086



                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  BLUE GENTIAN, LLC, NATIONAL
  EXPRESS, INC., and TELEBRANDS CORP.,

                        Plaintiffs,
                                                                NOTICE OF APPEAL
                v.

  TRISTAR PRODUCTS, INC. and WAL-
                                                                  Case No.: 13-1758
  MART STORES, INC. d/b/a SAM’S CLUB
  AND SAM’S WHOLESALE CLUB,

                        Defendants.


         Notice is given that Plaintiffs, Blue Gentian, LLC, National Express, Inc. and Telebrands

  Corporation, appeal to the United States Court of Appeals for the Federal Circuit from the

  Judgment and Opinion (Docket Nos. 545 & 548) entered in this action on January 16, 2020,

  entered in favor of Defendants as to Defendants’ claims for Correction of Inventorship of U.S.

  Patent Numbers: 8,291,941, 8,291,942, 8,479,776, 8,757,213, D772,681, and D724,186.

         Dated and signed this 14th day of February, 2020.


                                                             STONE & MAGNANINI LLP
                                                             By: /s/ David S. Stone
                                                             David S. Stone
                                                             100 Connell Drive, Suite 2200
                                                             Berkeley Heights, NJ 07922
                                                             Telephone: (973) 218-1111
                                                             dstone@stonemagnalaw.com
                                                             Attorneys for Plaintiff Telebrands
                                                             Corporation

                                                             MCELROY, DEUTSCH,
                                                             MULVANEY & CARPENTER, LLP
                                                             By: /s/ George C. Jones
                                                             George C. Jones
                                                             1300 Mount Kemble Avenue
                                                             P.O. Bo 2075
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     555 Page:  248 Filed:
                                          Filed 02/14/20   12/14/2021
                                                         Page 2 of 2 PageID: 16087



                                                 Morristown, NJ 07962-2075
                                                 Telephone: (973) 993-8100
                                                 gjones@mdmc-law.com

                                                 McHALE & SLAVIN, P.A.
                                                 By: /s/ Edward F. McHale
                                                 Edward F. McHale
                                                 2855 PGA Boulevard
                                                 Palm Beach Gardens, FL 3341
                                                 Telephone (561) 625-6575
                                                 litigation@mchaleslavin.com
                                                 Attorneys for Blue Gentian, LLC and
                                                 National Express, Inc. and Michael
                                                 Berardi.
Case: 21-2316   Document: 17   Page: 249   Filed: 12/14/2021




                  EXHIBIT G
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     550 Page:  250 Filed:
                                          Filed 01/31/20   12/14/2021
                                                         Page 1 of 2 PageID: 16003



  David S. Stone
  Bradford W. Muller
  STONE & MAGNANINI LLP
  100 Connell Drive, Suite 2200
  Berkeley Heights, NJ 07922
  973-218.1111 (P)
  973-218-1106 (F)
  dstone@stonemagnalaw.com
  bmuller@stonemagnalaw.com
  Attorneys for Plaintiff Telebrands Corporation

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

                                         :
  BLUE GENTIAN, LLC,                     :
  NATIONAL EXPRESS, INC., and            :       Civil Action No. 13-1758 (NLH)
  TELEBRANDS CORP.,                      :                    (AMD)
                                         :
                    Plaintiffs,          :
                                         :
        v.                               :
                                         :
  TRISTAR PRODUCTS, INC. and             :
  WAL-MART STORES, INC., d/b/a           :
  SAM’S CLUB and SAM’S                   :
  WHOLESALE CLUB,                        :
                                         :
                    Defendants.          :
                                         :

  NOTICE OF MOTION REQUESTING CERTIFICATION OF JUDGMENT
     UNDER RULE 54(B) AND MOTION FOR STAY OF ORDER AND
       JUDGMENT (DOCKET NOS. 545 & 548) AND OF CERTAIN
               PROCEEDINGS PENDING APPEAL

        PLEASE TAKE NOTICE that on March 2, 2020, Plaintiff Telebrands

  Corp. (“Telebrands”) shall move before the Honorable Noel L. Hillman, U.S.D.J.,

                                             1
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     550 Page:  251 Filed:
                                          Filed 01/31/20   12/14/2021
                                                         Page 2 of 2 PageID: 16004



  at the Mitchell H. Cohen Building & U.S. Courthouse, 4th & Cooper Streets,

  Room 3A Camden, NJ 08101, for entry of an Order certifying the January 21, 2020

  judgment under Rule 54(b) and for a stay of the Order and Judgement (Docket

  Nos. 545 & 548) and of certain proceedings pending appeal.

        PLEASE TAKE FURTHER NOTICE that in support of this motion,

  Telebrands will rely on the Memorandum submitted herewith. Also submitted

  herewith is a proposed Order, and a Certification of Service.


  Dated: January 31, 2020                Respectfully submitted,

                                         s/ David S. Stone
                                         David S. Stone
                                         Bradford W. Muller
                                         STONE & MAGNANINI LLP
                                         100 Connell Drive, Suit 2200
                                         Berkeley Heights, NJ 07922
                                         973-218.1111 (P)
                                         973-218-1106 (F)
                                         dstone@stonemagnalaw.com
                                         bmuller@stonemagnalaw.com
                                         Attorneys for Plaintiff Telebrands
                                         Corporation




                                           2
Case: 21-2316   Document: 17   Page: 252   Filed: 12/14/2021




                  EXHIBIT H
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  253 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 1 of 7 PageID: 16186



  David S. Stone
  Bradford W. Muller
  STONE & MAGNANINI LLP
  100 Connell Drive, Suite 2200
  Berkeley Heights, NJ 07922
  Telephone: (973) 218.1111
  Facsimile: (973) 218-1106
  dstone@stonemagnalaw.com
  bmuller@stonemagnalaw.com

  Attorneys for Plaintiff Telebrands Corp.

                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY

                                             :
  BLUE GENTIAN, LLC, NATIONAL                :   Civil Action No. 13-1758
  EXPRESS, INC., and TELEBRANDS              :
  CORP.,                                     :
                                             :   District Judge Noel L. Hillman
                        Plaintiffs,          :   Magistrate Judge Ann Marie Donio
                                             :
  v.                                         :
                                             :
  TRISTAR PRODUCTS, INC. and                 :
  WAL-MART STORES, INC. d/b/a                :
  SAM’S CLUB and SAM’S                       :          ORAL ARGUMENT
  WHOLESALE CLUB,                            :          REQUESTED
                                             :
                        Defendants.          :
                                             :

   REPLY BRIEF IN FURTHER SUPPORT OF PLAINTIFFS’ MOTION REQUESTING
   CERTIFICATION OF JUDGMENT UNDER RULE 54(B) AND MOTION FOR STAY
     OF ORDER AND JUDGMENT (DOCKET NOS. 545 & 548) AND OF CERTAIN
                     PROCEEDINGS PENDING APPEAL
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  254 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 2 of 7 PageID: 16187



                                                TABLE OF CONTENTS

   TABLE OF AUTHORITIES .................................................................................................. ii
   REPLY ARGUMENT .............................................................................................................1
   CONCLUSION ........................................................................................................................3




                                                                      i
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  255 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 3 of 7 PageID: 16188



                                                TABLE OF AUTHORITIES
  Budinich v. Becton Dickinson & Co.,
    486 U.S. 196 (1988) ................................................................................................................. 2
  Ray Haluch Gravel Co. v. Central Pension Fund,
    134 S. Ct. 2205 (2014) ........................................................................................................... 2
  Statues
  35 U.S.C. § 285 .............................................................................................................................. 2
  Rules
  Fed. R. Civ. Pro. R. 58(e) ................................................................................................................2
  Fed. R. Civ. Pro. R. 54(b) .............................................................................................................. 3
  L. Civ. R. 7.1(d)(3) ..........................................................................................................................4
  L. Civ. R. 7.1(i) ................................................................................................................................4




                                                                          ii
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  256 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 4 of 7 PageID: 16189



                                 REPLY ARGUMENT

        After the Court ignores Defendants’ rhetoric in their opposition brief, what

  emerges is (a) Defendants agree that the Court should certify its inventorship

  opinion and order (Dkt. Nos. 545 & 548) as final for purposes of an immediate

  appeal to the Federal Circuit and (b) Defendants do not oppose a stay pending that

  appeal. The only difference in the parties’ respective positions is that Defendants

  believe the certification and stay should await completion of the parties’ mediation.

  As set forth below, while Plaintiffs agree that the Court can and should decide

  Defendants’ pending motion for clarification/reconsideration (Dkt. 549), which is

  improper on its face, before it certifies the matter for appeal so that there can be no

  dispute as to the finality of the order and opinion that the Federal Circuit will

  consider, Plaintiffs disagree that the Court should wait to enter the certification and

  stay pending mediation. No further delay is necessary. 1


  1
    While in the process of drafting this reply brief, Judge Salas entered an Order in
  the related Newark cases staying the parties’ mediation before Retired Judge
  Brown (currently scheduled for March 24, 2020), pending Your Honor’s decision
  regarding the disqualification of Telebrands’ former counsel in the present matter,
  the Pryor Cashman law firm (and its partner, Jeffery Snow, Esq.). However, on
  February 21, 2020, via telephonic hearing, Magistrate Judge Donio dismissed the
  Defendants’ motion to disqualify Pryor Cashman, finding that it was not properly
  before the Court. Accordingly, we expect that Judge Salas will vacate her order
  and allow the parties’ mediation to proceed on March 24, 2020, unless the
  Defendants seek to disqualify Mr. Snow from appearing at the mediation itself.
  Defendants’ critical concern raised at the telephonic hearing was that Mr.
  Snow/Pryor Cashman would be indirectly involved in Telebrands’ appeal of the
  inventorship decision. That issue has been resolved because Plaintiffs have agreed
                                            1
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  257 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 5 of 7 PageID: 16190



        Regarding certification, the parties agree that clarity and finality is important

  for the marketplace, which is why Defendants do not dispute the need for

  certification of the Court’s inventorship decision for appellate review once the

  pending clarification/reconsideration motion before the Court is decided.           In

  addition, Defendants appear not to disagree that third-party retailers could be

  placed in legal jeopardy if they rely on an interlocutory opinion that may be

  overturned by the Federal Circuit when making their business decisions.2

  Certification is, without question, a necessary next step in this dispute.

        Regarding the stay request, Plaintiffs are seeking to stay (a) all proceedings

  in the current action pending appeal, (b) proceedings in the related anti-trust

  not to involve Mr. Snow or Pryor Cashman in the appeal, and if for any reason that
  were to change, Plaintiffs’ counsel agreed to alert the Court and opposing counsel
  to any plans to seek Mr. Snow’s or Pryor Cashman’s assistance on the appeal. To
  be clear, by way of the present motion Plaintiffs are not requesting a stay of the
  pending March 24, 2020 mediation.
  2
   Defendants do argue that, theoretically, the Camden case is not rendered moot by
  the Court’s inventorship decision because Defendants may, among other things,
  seek costs and attorneys fees’ pursuant to 35 U.S.C. § 285. This argument is
  irrelevant because Defendants agree that a certification to the Federal Circuit is
  appropriate, thus finality is not truly in dispute. Even so, Defendants’ argument
  ignores clear case-law which states that a District Court is empowered to decide a
  fee application even while an appeal of the underlying decision is pending. This is
  because an unresolved motion for attorneys’ fees is a collateral matter that does
  not preclude a merits judgment from becoming final. See Budinich v. Becton
  Dickinson & Co., 486 U.S. 196 (1988); Ray Haluch Gravel Co. v. Central
  Pension Fund, 134 S. Ct. 2205 (2014); see also Fed. R. Civ. Pro. 58(e) (giving a
  district court discretion, but not requiring it, to delay entry of final judgment to
  resolve a pending claim for attorneys’ fees in certain situations).

                                             2
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  258 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 6 of 7 PageID: 16191



  dispute between the parties currently before the Court as No. 1:15-cv-7752-NLH-

  AMD, and (c) the Court’s Order (Dkt. No. 548) that “the Director of the United

  States Patent and Trademark Office add Gary Ragner as an inventor of the above-

  listed patents and to issue a Certificate of Correction accordingly.” Thus, a major

  reason that Plaintiffs’ request for a stay is time sensitive is that the Court’s order

  directs immediate administrative action be taken to formally change inventorship

  of the Berardi Patents. (Dkt. 548). It is of vital importance that this administrative

  process be halted, pending appeal, as the issuance of such a Certificate of

  Correction while the parties’ further litigate inventorship before the Federal Circuit

  would cause more confusion within the marketplace, and it would eliminate the

  Court’s ability to preserve the status quo pending appeal. There is no reason to

  delay entry of this stay as a result of a pending mediation.

                                    CONCLUSION

        For the aforementioned reasons, the Plaintiffs request that the Court grant

  their Motion and certify the Court’s Opinion and Judgment (Dkt. Nos. 545 & 548)

  as final for appellate purposes pursuant to Rule 54(b), and further issue a stay

  pending appeal (a) of all proceedings in the current matter, (b) of all proceedings in

  the related anti-trust dispute between the parties currently before the Court as No.




                                            3
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     562 Page:  259 Filed:
                                          Filed 02/24/20   12/14/2021
                                                         Page 7 of 7 PageID: 16192



  1:15-cv-7752-NLH-AMD, and (c) of the Court’s Order on inventorship (Dkt. No.

  548).3

  Dated: February 24, 2020

                                         Respectfully submitted,

                                         STONE & MAGNANINI LLP
                                         s/ David Stone
                                         David S. Stone
                                         Counsel for Plaintiff Telebrands Corp.

                                         McELROY, DEUTSCH, MULVANEY
                                         & CARPENTER
                                         George C. Jones
                                         Counsel for Blue Gentian, LLC
                                         and National Express, Inc.

                                         McHALE & SLAVIN, P.A.
                                         Edward F. McHale
                                         Counsel for Blue Gentian, LLC
                                         and National Express, Inc.




  3
    Finally, we note that under the guise of arguing their opposition to Plaintiffs’
  brief, Defendants re-argued their separate motion for clarification/reconsideration.
  Pursuant to L. Civ. R. 7.1(d)(3), Defendants are not entitled to a reply brief in
  further support of their motion made under L. Civ. R. 7.1(i). Such argument was
  inappropriately included in their briefing on this separate motion and should be
  ignored by the Court.
                                            4
Case: 21-2316   Document: 17   Page: 260   Filed: 12/14/2021




                   EXHIBIT I
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     565 Page:  261 Filed:
                                          Filed 05/13/20   12/14/2021
                                                         Page 1 of 3 PageID: 16237




  David S. Stone, Esq.
  Bradford W. Muller, Esq.
  STONE & MAGNANINI LLP
  100 Connell Drive, Suite 2200
  Berkeley Heights, NJ 07922
  Telephone: (973) 218-1111
  Facsimile: (973) 218-1106
  dstone@stonemagnalaw.com
  bmuller@stonemagnalaw.com
  Attorneys for Plaintiff Telebrands Corporation

                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY

                                          :
  BLUE GENTIAN, LLC,                      :
  NATIONAL EXPRESS, INC., and             :     Civil Action No. 13-1758 (NLH)
  TELEBRANDS CORP.,                       :                  (AMD)
                                          :
                     Plaintiffs,          :
                                          :
        v.                                :
                                          :
  TRISTAR PRODUCTS, INC. and              :
  WAL-MART STORES, INC., d/b/a            :
  SAM’S CLUB and SAM’S                    :
  WHOLESALE CLUB,                         :
                                          :
                     Defendants.          :
                                          :

                 STIPULATION OF VOLUNTARY DISMISSAL
                    PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)


        IT IS HEREBY STIPULATED AND AGREED by and between the Parties

  and/or their respective counsel that the above-captioned action is voluntarily

  dismissed, with prejudice and without costs, against Defendant WAL-MART
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     565 Page:  262 Filed:
                                          Filed 05/13/20   12/14/2021
                                                         Page 2 of 3 PageID: 16238




  STORES, INC. (now operating as Walmart Inc.), d/b/a SAM’S CLUB and SAM’S

  WHOLESALE CLUB, pursuant to Federal Rules of Civil Procedure

  41(a)(1)(A)(ii).

  Dated: May 13, 2020

  /s/ David S. Stone                        /s/ George C. Jones
  David S. Stone, Esq.                      George C. Jones, Esq.
  STONE & MAGNANINI LLP                     MCELROY, DEUTSCH, MULVANEY
  100 Connell Drive, Suite 2200             & CARPENTER, LLP
  Berkeley Heights, NJ 07922                1300 Mt. Kemble Avenue
  Telephone: (973) 218-1111                 P.O. Box 2075
  Facsimile: (973) 218-1106                 Morristown, New Jersey 07962-2075
  dstone@stonemagnalaw.com                  GJones@mdmc-law.com

  Attorneys for Plaintiff Telebrands        Attorneys for Plaintiffs Blue Gentian,
  Corporation                               LLC and National Express, Inc.

  /s/ Edward F. McHale                      /s/ Edward P. Bakos
  Edward F. McHale, Esq.                    Edward P. Bakos, Esq.
  MCHALE & SLAVIN, P.A.                     BAKOS & KRITZER
  2855 PGA Boulevard                        147 Columbia Turnpike
  Palm Beach Gardens, Florida 33410         Florham Park, New Jersey 07932
  litigation@mchaleslavin.com               ebakos@bakoskritzer.com

  Attorneys for Plaintiffs Blue Gentian, Attorneys for Defendant Wal-Mart Stores,
  LLC and National Express, Inc.         Inc.




                                        2
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     565 Page:  263 Filed:
                                          Filed 05/13/20   12/14/2021
                                                         Page 3 of 3 PageID: 16239




                            CERTIFICATE OF SERVICE

        I hereby certify that on May 13, 2020, I caused to be served on all counsel of

  record, electronically via the Court's electronic filing system, a true and correct

  copy of the Stipulation of Voluntary Dismissal.

                                                  /s/ David S. Stone
                                                  David S. Stone, Esq.




                                             3
Case: 21-2316   Document: 17   Page: 264   Filed: 12/14/2021




                   EXHIBIT J
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  265 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 1 of 14 PageID: 16117



                        UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY
                              CAMDEN DIVISION

  BLUE GENTIAN, LLC,                       )
  NATIONAL EXPRESS, INC., and TELE-        )
  BRANDS CORP.,                            ) CIVIL ACTION FILE NUMBER:
                                           )
                          Plaintiffs,      ) 1:13-CV-1758-NLH-AMD
  v.                                       )
                                           )
                                           )
  TRISTAR PRODUCTS, INC. and
                                           )
  WALMART INC.,                            )
                                           )
                          Defendants.      )
                                           )
                                           )
                                           )

  DEFENDANTS’ BRIEF IN RESPONSE TO PLAINTIFFS’ MOTION TO CERTIFY FOR
           APPEAL UNDER RULE 54(b) AND FOR RELATED STAY
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  266 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 2 of 14 PageID: 16118



                                                 TABLE OF CONTENTS

  I.     Defendants Would Not Oppose Rule 54(b) Certification After Defendants’
         Motions for Limited Clarification and Renewal of Defendants’ Motion to
         Disqualify Are Resolved, and After the Parties Complete Mediation ...........................3

         A.        Defendants’ Motion for Limited Clarification of the Opinion Plaintiffs
                   Wish to Appeal Should Be Resolved Before Any Certification ........................ 3

         B.        Defendants’ Motion to Renew Their Earlier Motion to Disqualify
                   Telebrands’ Counsel Should Be Resolved Before Any Certification ............... 6

         C.        The Parties Mediation Efforts Should Be Completed Before
                   Certification ........................................................................................................... 7

  II.    Final Judgment on the Entire Case Cannot Be Entered Because Defendants
         Have Pending Counterclaims that Have Not Yet Been Adjudicated ............................8

  III.   No Stay Should Be Entered Until These Same Motions Have Been Addressed
         and the Agreed Mediation Is Completed .........................................................................9

  IV.    CONCLUSION ................................................................................................................10




                                                                    i
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  267 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 3 of 14 PageID: 16119




                                                   TABLE OF AUTHORITIES

                                                                                                                                        Page(s)
  Cases

  Avenue Innovations Inc. v. Telebrands Corp.,
     No. 5:15-cv-00174-RWS, DE 1 (E.D. Tex. Oct. 29, 2015) .....................................................10

  Curtiss-Wright Corp. v. Gen. Elec. Co.,03163
     446 U.S. 1 (1980) ...............................................................................................................5, 7, 8

  Nystrom v. Trex Co.,
     339 F.3d 1347 (Fed. Cir. 2003)..................................................................................................9

  Ragner Technology Corp. v. Berardi,
     No. 1:15-cv-07752-NLH-AMD .................................................................................................3

  Telebrands Corp. v. Ragner Tech. Corp.,
      No. 2:15-cv-03163-ES-MAH, DE 162 (D.N.J. July 18, 2019) .................................................8

  Statutes

  35 U.S.C. § 285 ................................................................................................................................9

  Rules

  Fed. R. Civ. P. 54(b) .............................................................................................................. passim

  L. Civ. R. 7.1(i) ............................................................................................................................4, 5

  Other Authorities

  Ruth Simon, Four-Year Water Balloon Fight Ends With $31 Million Truce, Wall
     Street Journal, May 20, 2019 (available at https://www.wsj.com/articles/four-
     year-water-balloon-fight-ends-with-31-million-truce-11558388873) .....................................10




                                                                         ii
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  268 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 4 of 14 PageID: 16120



            Defendants Tristar Products, Inc. and Walmart Inc. respectfully respond to Plaintiffs’ mo-

  tion (DE 550 et seq., “Motion”) requesting the Court to “certify” its January 16 Opinion and Or-

  der concerning correction of inventorship (DE 545 & 548) as final under Fed. R. Civ. P. 54(b)

  for purposes of immediate appeal (or, alternatively, enter “final judgment”), and to issue various

  related stays. While Plaintiffs’ current request to certify is premature and their request to enter

  “final judgment” on the entire case must be rejected, Defendants would not oppose Rule 54(b)

  certification of the Opinion and Order once the Court has had an opportunity to address the mer-

  its of two pending motions directly relevant to the appeal for which Plaintiffs request certifica-

  tion, and once the parties complete the agreed mediation provided for by this Court and Judge

  Salas in Newark.

            Plaintiffs’ Motion for Rule 54(b) certification is, to begin with, at odds with Plaintiffs’

  own actions. On February 14, without explanation, Plaintiffs filed a premature appeal from the

  Court’s inventorship Opinion and Order (DE 545 & 548) without waiting for the very certifica-

  tion for appeal this Motion requests. See DE 555. Defendants nonetheless agree with Plaintiffs

  that the Court’s ruling on inventorship fully disposes of all of Plaintiffs’ (but not Defendants’)

  claims in this litigation,1 making Plaintiffs’ claims untenable and enabling the Court’s entry of

  judgment against Plaintiffs on all of them. Thus, while “final judgment” on the entire action can-

  not be entered in light of Defendants’ pending claims (including their claims for costs, attorney

  fees, and expenses in this exceptional case), and while Plaintiffs’ Motion to certify and stay is

  now premature, Defendants would not oppose certification under Rule 54(b) for appeal of the

  Court’s inventorship ruling after all three of the following events are complete:

            First, the Court has had the opportunity to address the merits of Defendants’ motion for



  1
      See, e.g., DE 550-1 (“Br.” or “Brief”) at 3-5, 22 (“Plaintiffs’ claims… will not stand”).


                                                      1
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  269 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 5 of 14 PageID: 16121



         limited clarification of the same Opinion Plaintiffs now wish to appeal (DE 549 et seq.);

         Second, the Court has ruled on Defendants’ motion to renew their prior motion to dis-

         qualify Telebrands’ counsel, Jeffrey Snow and Pryor Cashman LLP (DE 552 et seq.) and

         the underlying motion (DE 329 et seq.) based on these lawyers switching sides in this liti-

         gation to sue (a) their former client, Walmart, on the same subject matter, and (b) their

         former co-defendants, Walmart and Tristar, to whom they owe fiduciary obligations of

         confidentiality. Mr. Snow and Pryor Cashman formally withdrew in lieu of litigating the

         merits of the original disqualification motion (which was dismissed as moot), but now re-

         fuse to provide clear confirmation they will not be involved in Plaintiffs’ appeal against

         their former client/co-defendants. In fact, Mr. Snow and Pryor Cashman have affirma-

         tively involved themselves in this dispute,

                                arguing in correspondence about




                                                                                        and

         Third, the parties have completed their agreed, Court-sanctioned efforts to mediate.



         Plaintiffs’ hyperbolic attempts to denigrate Defendants’ motion for clarification in hopes

  the Court might ignore it in granting Rule 54(b) certification (see, e.g., Br. 17 n.5) highlight

  Plaintiffs’ intent to exploit any argued ambiguities in the Court’s Opinion on appeal, and the

  value of addressing them before further resources are wasted on Plaintiffs’ meritless claims.

  Once these have occurred, if the Court certifies the Opinion and Order under Rule 54(b), then a

  stay of other proceedings in this matter and in Ragner Technology Corp. v. Berardi, No. 1:15-cv-




                                                    2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  270 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 6 of 14 PageID: 16122



  07752-NLH-AMD (the “‘7752 matter”) would be appropriate pending that appeal.2


         I.      Defendants Would Not Oppose Rule 54(b) Certification After Defendants’
                 Motions for Limited Clarification and Renewal of Defendants’ Motion to
                 Disqualify Are Resolved, and After the Parties Complete Mediation


         Plaintiffs’ Motion correctly concedes that the Court’s determination that Gary Ragner

  should be named as an inventor on each of the asserted Berardi patents (see DE 545 & 548)

  means Plaintiffs’ affirmative claims in this action are no longer viable, and that judgment can be

  entered against Plaintiffs on all of their claims: “Plaintiffs’ remaining claims in the… matter rise

  or fall based on whether Mr. Ragner is a co-inventor of the Berardi Patents; they cannot be sus-

  tained if Mr. Ragner is a co-inventor.” Br. 4-5; id. at 22 (“Plaintiffs’ claims in the present matter

  will not stand if Mr. Ragner is deemed a co-inventor of the Berardi Patents”); id. at 3-4; see also

  id. at 1 n.1, 3, 7. On this basis, Defendants would not oppose Rule 54(b)3 certification for appeal

  of the Court’s interlocutory inventorship Opinion and Order (DE 545 & 548) at the appropriate

  time. But Rule 54(b) permits certification “only if the court expressly determines that there is no

  just reason for delay,” and Plaintiffs’ request is clearly premature.


         A.      Defendants’ Motion for Limited Clarification of the Opinion Plaintiffs Wish
                 to Appeal Should Be Resolved Before Any Certification


         Defendants filed (a day before Plaintiffs’ Motion) a motion for limited clarification of the

  very Opinion Plaintiffs now ask to appeal. See DE 549 et seq. There is no basis (Plaintiffs offer


  2
    Defendants respectfully submit there is no reason for delay in the Newark cases, which Plain-
  tiffs confirm “are not the subject of [their] application” for a stay (Br. 7 n.2), and those cases
  should proceed notwithstanding any discussion herein about this case or the ‘7752 matter.
  3
    Plaintiffs acknowledge this is necessary to appeal an interlocutory order—like the Order at is-
  sue here— “adjudicating only a portion of the matters pending” (Br. 1-2), but inexplicably ap-
  pealed the Order without the required Rule 54(b) certification. See DE 555. Unless the appeal is
  promptly withdrawn, Defendants will be forced to waste more resources seeking dismissal.

                                                    3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  271 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 7 of 14 PageID: 16123



  none) to ask the Court to exercise its discretion not only to alter the normal litigation timeline to

  permit appeal of the Court’s interlocutory ruling, but to do so on an Opinion the Court might yet

  decide to amend based on a pending motion for clarification, and before the Court has even had

  an opportunity to consider that motion. While Plaintiffs acknowledge (in a footnote on page 17

  of their Brief) that Defendants’ motion for limited clarification has been filed, they offer no basis

  for proceeding with certifying the Court’s Opinion and related Order for appeal before that mo-

  tion is briefed and resolved “in due course” (Br. 17 n.5)—and, indeed, on a motion schedule

  identical to Plaintiffs’ present Motion to certify. Defendants’ motion for limited clarification

  (like Plaintiffs’ Motion to certify) was noticed for the Court’s March 2, 2020 motion day, and

  Defendants expect briefing to be completed by the end of this month (with any opposition from

  Plaintiffs due today (February 18)). Despite having the motion and these facts in hand, Plaintiffs

  offer no basis for rushing their request for discretionary certification so that it occurs before reso-

  lution of Defendants’ motion and the Court’s determination of whether there are any revisions it

  wishes to make to the very Opinion Plaintiffs seek to appeal.

         While Plaintiffs offer no justification for this literal “rush to judgment,” their Motion pa-

  pers reveal Plaintiffs’ clear motivation for seeking an appeal before the Court can consider De-

  fendants’ motion: Plaintiffs intend to use purported ambiguities in the Court’s Opinion to argue

  on appeal that the Court approached the question of inventorship in ways it clearly did not. See

  Br. 17 n.5 (arguing “this Court’s findings – as written – do not support the ultimate conclusion”)

  (emphasis added); id. at 10 (“Plaintiffs… do not seek reconsideration”). As set forth in Defend-

  ants’ papers, Defendants’ motion seeks only “limited clarification of the Court’s January 16,

  2020 Opinion (DE 545 []) pursuant to the Court’s inherent authority and consistent with L. Civ.

  R. 7.1(i), to conform the Opinion to the record and further confirm certain aspects of the Court’s




                                                    4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  272 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 8 of 14 PageID: 16124



  underlying analysis.” See, e.g., DE 549-1 at 1-2. Contrary to Plaintiffs’ unsupported complaints

  (Br. 17 n.5), such requests to clarify are entirely proper, and may be considered under the rubric

  provided by L.Civ.R. 7.1(i). See, e.g., DE 549-1 at 1-2 & n.2 (citing Lynch v. Tropicana Prods.,

  No. 2:11-cv-07382, 2013 U.S. Dist. LEXIS 128410 (D.N.J. Sept. 9, 2013)); id. at *3-5. Defend-

  ants’ proposed clarifications include, inter alia, findings that are “at minimum implicit in the

  Court’s determination that Gary Ragner should be named as an inventor on each of the asserted

  Berardi patents.” See, e.g., id. at 5. But Plaintiffs’ Motion (filed one day later) suggests the

  Court has no power to make any changes to its January 16 Opinion (Br. 17 n.5), while simultane-

  ously claiming purported ambiguities in that Opinion indicate the Court did not actually draw the

  conclusions it clearly did and should be reversed for this reason. Plaintiffs suggest, e.g., that the

  Court reached its conclusions “by only analyzing Mr. Berardi’s XHose product in general, and

  Mr. Berardi’s inventive process” rather than “the Berardi Patents” or their claims, when in fact

  the Court did no such thing. Contrast, e.g., Br. 11, 17 n.5, with, e.g., Opinion at 2, 4, 5 & n.3.

  Plaintiffs’ attempts to play “gotcha” by denying the Court an opportunity to clarify any purported

  ambiguities in the Opinion, while simultaneously asserting Plaintiffs should be permitted to ex-

  ploit them on appeal, are indefensible, and (even in Plaintiffs’ wished-for world) simply waste-

  ful: they would set up, at most, a situation in which the Court could be asked to clarify the same

  points on any remand. See Br. 17 n.5. Defendants respectfully submit the Court should not cer-

  tify its Opinion for appeal until it has had an opportunity to consider on the merits Defendants’

  pending motion for limited clarification of that Opinion. Indeed, this is the only sensible result

  in light of the “judicial administrative interests as well as the equities involved” here. See, e.g.,

  Br. 2 (Plaintiffs quoting Curtiss-Wright Corp. v. Gen. Elec. Co., 446 U.S. 1, 7-8 (1980));

  Curtiss-Wright, 446 U.S. at 8.




                                                     5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     558 Page:  273 Filed:
                                         Filed 02/18/20    12/14/2021
                                                        Page 9 of 14 PageID: 16125



         B.      Defendants’ Motion to Renew Their Earlier Motion to Disqualify Tele-
                 brands’ Counsel Should Be Resolved Before Any Certification


         On February 7, Defendants moved to renew their prior request to disqualify Telebrands’

  counsel Jeffrey L. Snow and Pryor Cashman LLP (DE 552 et seq.). That earlier motion (DE 329

  et seq.) was based on Mr. Snow’s and Pryor Cashman’s switching sides in this litigation to be-

  come adverse to (and to actively sue) their former client, Walmart, and two former co-defend-

  ants, Walmart and Tristar, to whom they owe confidentiality obligations. The motion was previ-

  ously denied as moot because (rather than contest the motion on the merits) Mr. Snow and Pryor

  Cashman formally withdrew the day their brief in opposition was due. DE 339. But, as detailed

  in Defendants’ papers, that motion is no longer moot. Mr. Snow and Pryor Cashman have re-

  fused to give clear confirmation they will not be involved in Plaintiffs’ threatened appeal from

  the Court’s decision on inventorship. See, e.g., DE 552-3 & -4; DE 553. Mr. Snow, a Pryor

  Cashman partner, has further demonstrated their intent to continue their improper work against

  Walmart and Tristar in this dispute (despite their formal withdrawal) by




  See, e.g., DE 553-1; DE 552-3 & -4; DE 553. In a February 4 email




                                         See DE 553-1 at 5 (emphasis added). When Tristar’s


                                                  6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 558 Page:02/18/20
                                              274 Filed: 12/14/2021
                                                      Page 10 of 14 PageID: 16126




                                                                 in charge

       inter alia                             See




                      inter alia



                                                See

   Curtiss-Wright
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 558 Page:02/18/20
                                              275 Filed: 12/14/2021
                                                      Page 11 of 14 PageID: 16127



          Plaintiffs acknowledge the parties have agreed to mediation (here and elsewhere), and

   that Judge Salas (like this Court) has entered related orders.5 See Br. 7; DE 542; DE 547; DE

   551; Telebrands Corp. v. Ragner Tech. Corp., No. 2:15-cv-03163-ES-MAH, DE 162 (D.N.J.

   July 18, 2019) (Judge Salas). Indeed, Plaintiffs argue this mediation is “an additional reason for

   granting the[ir] requested stay (other than to pursue an appeal on the issue of correction of inven-

   torship).” Br. 7. But there is no reason (and Plaintiffs offer none) for Plaintiffs’ requested Rule

   54(b) certification and appeal to proceed despite mediation, while all other activity is stayed.

   Rather, making completion of mediation a precursor to certification enables the Court and parties

   to ensure further costs and activity associated with any appeal can be postponed until the parties

   determine whether, as a result of mediation, they might be avoided altogether. While Plaintiffs

   apparently prefer to mediate with the threat of an appeal in hand, that threat has already been

   made. And if Plaintiffs simply wish to leverage ongoing activity in an appeal as part of their me-

   diation strategy, this is no different from other activity that could be pursued against Plaintiffs

   during mediation, but that Plaintiffs wish to stay. Plaintiffs’ appeal—rather than being acceler-

   ated while all other litigation is halted—should wait, like that other activity, until the agreed me-

   diation is completed. Holding any certification until the completion of mediation is the simplest

   way to effect this result (without, e.g., unnecessary Federal Circuit stay motions), and is certainly

   within the “sound judicial discretion of this court” given the interests and equities here. See

   Curtiss-Wright, 446 U.S. at 8; Br. 2.


          II.     Final Judgment on the Entire Case Cannot Be Entered Because Defendants
                  Have Pending Counterclaims that Have Not Yet Been Adjudicated




   5
    While Mr. Snow recently asked Judge Salas to suspend mediation in light of Defendants’ dis-
   qualification motion, Defendants oppose that request.


                                                     8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 558 Page:02/18/20
                                              276 Filed: 12/14/2021
                                                      Page 12 of 14 PageID: 16128



          Although Plaintiffs suggest no claims remain in light of the Court’s inventorship determi-

   nation (e.g., Br. 8 (“the only claims remaining are those of Plaintiffs”), 1 n.1 (“the Court.. dis-

   patched… remainder of the present case”)), this is not true. While Plaintiffs’ affirmative claims

   have all been disposed of and made untenable, final judgment on the entire case cannot yet be

   entered because Defendants have remaining unadjudicated counterclaims. See, e.g., DE 352 at

   81-120; DE 353 at 83-124. While a Federal Circuit affirmance of the Court’s inventorship ruling

   will mean Defendants have no need to pursue most of these counterclaims, at present Plaintiffs’

   efforts to reverse the Court’s decision mean those counterclaims remain pertinent now. Further,

   Defendants—who maintain this case is exceptional—expect to seek an award of appropriate re-

   lief from Plaintiffs (including their costs, attorney fees, and expenses) under 35 U.S.C. § 285.

   Plaintiffs certainly do not have the power to surrender Defendants’ claims in their efforts to gin

   up an imagined “final judgment” on the entire case, see, e.g., Nystrom v. Trex Co., 339 F.3d 1347

   (Fed. Cir. 2003) (dismissing appeal for lack of jurisdiction in light of unresolved counterclaims

   for declarations of invalidity and unenforceability), and no such judgment can properly be en-

   tered now. Cf. Br. 1 n.1 (incorrectly claiming Court may “simply recast[]” Order “as a final

   judgment”).


          III.    No Stay Should Be Entered Until These Same Motions Have Been Addressed
                  and the Agreed Mediation Is Completed


          While Defendants would not oppose an eventual stay subject to a Rule 54(b) certification

   and a proper appeal, no such stay should be entered until the three key events identified above

   have occurred and certification has taken place. Defendants agree that, at that point, a stay of

   other proceedings here and in the ‘7752 matter would be appropriate pending such an appeal.

          For clarity of the record, however, Defendants do not agree with the various unsupported



                                                     9
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 558 Page:02/18/20
                                              277 Filed: 12/14/2021
                                                      Page 13 of 14 PageID: 16129



   and erroneous assertions Plaintiffs make concerning the Court’s Opinion and Order, the rights

   and interests of Defendants, or the other circumstances of this case. By way of example only,

   and without limitation:

          Defendants do not undertake to correct Plaintiffs’ rehashed (and rejected) arguments,

          such as a supposed need for claim construction when Plaintiffs identified no dispute re-

          quiring resolution for inventorship, or the imagined requirement that a co-inventor must

          invent the entirety of a claim. See, e.g., Br. 8-17, 21; cf., e.g., Opinion at 22, 32 n.5, 30-

          35;

          Defendants do not acquiesce in Plaintiffs’ assertions regarding Plaintiffs’ financial viabil-

          ity or public interest arguments. See Br. 8-9; compare Br. 8, with, e.g., Avenue Innova-

          tions Inc. v. Telebrands Corp., No. 5:15-cv-00174-RWS (E.D. Tex. Oct. 29, 2015), DE 1

          (Complaint) at 5 (¶20) (“[O]n information and belief, …Telebrands has declared bank-

          ruptcy to escape its debts… including… for patent infringement”)6); and

          Defendants do not undertake to correct, here, Plaintiffs’ warping of the Court’s analysis,

          including about aspects of the Opinion that are the subject of Defendants’ pending mo-

          tion for limited clarification (DE 549 et seq.).

          Finally, Defendants note there is no reason for delay in the Newark cases pending before

   Judge Salas, which should proceed notwithstanding any discussion herein about a stay of this

   case or the ‘7752 matter. See also Br. 7 n.2 (Plaintiffs not seeking stay of Newark cases).


   IV.    CONCLUSION


   6
     Telebrands apparently recently resolved another patent suit through payment of a significant
   financial settlement. See Ruth Simon, Four-Year Water Balloon Fight Ends With $31 Million
   Truce, Wall Street Journal, May 20, 2019 (available at https://www.wsj.com/articles/four-year-water-
   balloon-fight-ends-with-31-million-truce-11558388873 (last accessed February 17, 2020)).



                                                     10
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 558 Page:02/18/20
                                              278 Filed: 12/14/2021
                                                      Page 14 of 14 PageID: 16130



          Defendants respectfully submit Plaintiffs’ Motion should be denied and they should be

   granted no relief, except Defendants would not oppose Rule 54(b) certification for purposes of

   appeal of the Court’s interlocutory Opinion and Order concerning inventorship after (1) Defend-

   ants’ motion for limited clarification of the Opinion concerning inventorship has been resolved

   on the merits, (2) Defendants’ motion to renew their earlier motion to disqualify Telebrands’

   counsel has been resolved, together with the underlying motion, and (3) the parties’ current ef-

   forts to mediate are completed. Once these three events occur, and if the Court certifies the

   Opinion and Order under Rule 54(b) for purposes of appeal, then Defendants would not oppose a

   stay of further proceedings in this litigation and in the ‘7752 matter pending such appeal.




   Dated: February 18, 2020                   Respectfully submitted,

                                              /s/ Edward P. Bakos
                                              Edward P. Bakos (ebakos@bakoskritzer.com)
                                              Noam J. Kritzer (nkritzer@bakoskritzer.com)
                                              Bakos & Kritzer
                                              147 Columbia Turnpike, Suite 102
                                              Florham Park, New Jersey 07932
                                              Tel: 908-273-0770
                                              Fax: 973-520-8260
                                              Counsel for Defendants:
                                              Tristar Products, Inc. and Walmart Inc.
                                              J. Steven Baughman (sbaughman@paulweiss.com)
                                              (pro hac vice)
                                              Paul, Weiss, Rifkind, Wharton & Garrison, LLP
                                              2001 K Street, NW
                                              Washington, DC 20006-1047
                                              Tel: 202-223-7300
                                              Fax: 202-223-7420
                                              Counsel for Defendant Tristar Products, Inc.




                                                   11
Case: 21-2316   Document: 17   Page: 279   Filed: 12/14/2021




                  EXHIBIT K
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  280 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 1 of 24 PageID: 16240



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




        BLUE GENTIAN, et al.,                1:13-cv-1758

                      Plaintiffs,            OPINION

             v.

        TRISTAR PRODUCTS, INC., et
        al.,
                     Defendants.


  APPEARANCES:

  DAVID S. STONE
  BRADFORD W. MULLER
  STONE & MAGNANINI LLP
  100 CONNELL DRIVE, SUITE 2200
  BERKELEY HEIGHTS, NJ 07922
       Attorneys for Plaintiff Telebrands Corp.

  GEORGE C. JONES
  MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
  1300 MOUNT KEMBLE AVENUE
  PO BOX 2075
  MORRISTOWN, NJ 07962-2075

  and

  EDWARD F. MCHALE
  KENNETH W. COHEN
  ANDREW D. LOCKTON
  MCHALE & SLAVIN, P.A.
  2855 PGA BOULEVARD
  PALM BEACH GARDENS, FL 33410
       Attorneys for Blue Gentian, LLC and National Express, Inc.

  EDWARD PAUL BAKOS
  NOAM JOSEPH KRITZER
  BAKOS & KRITZER
  147 COLUMBIA TURNPIKE
  FLORHAM PARK, NJ 07932
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  281 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 2 of 24 PageID: 16241



        Attorneys for Defendant Tristar Products, Inc., Wal-Mart
        Stores, Inc. d/b/a/ Sam’s Club, and Sam’s Wholesale Club.

  J. STEVEN BRAUGHMAN
  MEGAN RAYMOND
  PAUL, WEISS, RIFKIND, WHARTON & GARRISON, LLP
  2001 K STREET, NW
  WASHINGTON, DC 20006-1047
       Attorneys for Defendant Tristar Products, Inc.



  HILLMAN, District Judge,

        This matter comes before the Court upon motion for

  clarification by Defendants and Plaintiffs’ motion to certify

  judgment under Rule 54(b) and motion to stay an order and

  judgment and certain proceedings pending appeal.           After

  considering the submissions of the parties, 1 and based upon the

  following, this Court will grant Defendants’ motion for

  clarification pursuant to L.Civ.R. 7.1(i) and will deny

  Plaintiffs’ motion to certify judgment and motion to stay

  pending appeal without prejudice.         Finally, the Court will issue

  a temporary stay for ninety days to allow the parties additional

  time to complete mediation efforts.


  1 On February 24, 2020, Defendants filed a motion for leave to
  file a reply to their motion for clarification. On March 23,
  2020, Plaintiffs objected to this motion for leave based on
  Local Civil Rule 7.1(d)(3), which prohibits a party from filing
  reply papers in support of a motion for reconsideration under
  Rule 7.1(i) without first obtaining leave of the court. See ECF
  No. 564 (citing Treusch v. Center Square Supermarket, LLC, No.
  11-4874, 2013 U.S. Dist. LEXIS 49349, at *4 n.1 (D.N.J. Apr. 5,
  2014)). The Court has considered all submissions and will grant
  Defendants’ motion for leave.


                                        2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  282 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 3 of 24 PageID: 16242



                                   BACKGROUND

        This case has a lengthy and complicated factual and

  procedural history.      In lieu of recounting all the details of

  this matter, this Court will focus on only the details relevant

  to the consideration of the matters disposed of in this Opinion.

        The issue currently before the Court stems from a larger

  dispute between the Plaintiffs, Blue Gentian, National Express,

  and Telebrands Corp., and the Defendants, Tristar Products, and

  Wal-Mart Stores. 2    Plaintiffs market, promote, distribute, and

  sell a garden hose known as the “XHose.”          Blue Gentian owns

  several patents related to the XHose.         Defendants also produce

  and promote a garden hose known as the “Flex~Able Hose.”            In a

  matter not currently before the Court, Plaintiffs allege that

  Defendants have infringed on Plaintiffs’ patents for the XHose.

        In July 2017, Defendants moved under Federal Rule of Civil

  Procedure 42(b) for a hearing on correction of inventorship for

  the Berardi patents-in-suit pursuant to 25 U.S.C. 256.            On

  January 21, 2020, this Court issued an opinion granting

  Defendants’ motion for correction of inventorship.           In




  2 As of May 13, 2020, Walmart Inc. has been dismissed as a party
  to this case. See ECF No. 565.



                                        3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  283 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 4 of 24 PageID: 16243



  accordance with this Opinion, the Court ordered that Gary Ragner

  be added to six patents-in-suit as a co-inventor. 3

        On January 30, 2020, Defendants filed a motion for

  clarification.     On January 31, 2020, Plaintiffs filed a motion

  requesting a certification of judgment under Rule 54(b) and a

  motion for stay of order, judgment, and certain proceedings

  pending appeal. These matters have been fully briefed and are

  ripe for adjudication.

                                   DISCUSSION

      A. Subject Matter Jurisdiction

        This Court has subject matter jurisdiction over this matter

  pursuant to 28 U.S.C. § 1338(a). (“The district courts shall

  have original jurisdiction of any civil action arising under any

  Act of Congress relating to patents, plant variety protection

  copyrights and trademarks.”).

      B. Standard of Review for a Motion for Clarification

        “The general purpose of a motion for clarification is to

  explain or clarify something ambiguous or vague, not to alter or

  amend.”    Resolution Trust Corp. v. KPMG Peat Marwick, No. 92-

  1373, 1993 U.S. Dist. LEXIS 16546, at *5 (D.N.J. June 8, 1998).

  In contrast, the purpose of a motion for reconsideration is to


  3 Four of these patents are utility patents: U.S. Patent No.
  8,291,941, U.S. Patent No. 8,291,942, U.S. Patent No. 8,479,776,
  and U.S. Patent No. 8,757,213. Two of these patents are design
  patents: U.S. Patent No. D722,681, and U.S. Patent No. D724,186.


                                        4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  284 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 5 of 24 PageID: 16244



  “correct manifest errors of law or fact or to present newly

  discovered evidence.”      Harsco Corp. v. Zlotnicki, 779 F.2d 906,

  909 (3d Cir. 1985), cert. denied, 476 U.S. 1171, (1986)

  (citation omitted).      In this district, motions for clarification

  are “often evaluated under the standard for a motion for

  reconsideration.”      Asirifi v. Omni Asset Management, LLC, No.

  11-4039, 2013 U.S. Dist. LEXIS 129584, at * 4 (D.N.J. Sept. 11,

  2013) (citing Fastware, LLC v. Gold Type Bus. Machines, Inc.,

  No. 09-1530, 2009 U.S. Dist. LEXIS 59866 (D.N.J. July 14, 2009)

  and Nye v. Ingersoll Rand Co., No. 08-3481, 2011 U.S. Dist.

  LEXIS 7383 (D.N.J. Jan. 25, 2011)).

        Under Local Rule 7.1(i), the moving party must demonstrate

  either: “(1) an intervening change in the controlling law; (2)

  the availability of new evidence that was not available when the

  court [issued its order]; or (3) the need to correct a clear

  error of law or fact or to prevent manifest injustice.”

  Andreyko v. Sunrise Sr. Living, Inc., 993 F. Supp. 2d 475, 478

  (D.N.J. 2014) (alteration in original)(citations omitted); see

  also Spyer v. Navient Solutions, Inc., No. 15-3814, 2016 U.S.

  Dist. LEXIS 137329, at *1 (D.N.J. Oct. 4, 2016) (“A judgment may

  be altered or amended only if the party seeking reconsideration

  shows: (1) an intervening change in the controlling law; (2) the

  availability of new evidence that was not available when the

  court granted the motion []; or (3) the need to correct a clear


                                        5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  285 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 6 of 24 PageID: 16245



  error of law or fact or to prevent manifest injustice.”) (citing

  Max’s Seafood Café ex rel. Lou-Ann, Inc. v. Quinteros, 176 F.3d

  669, 677 (3d Cir. 1999)).

      C. Defendants’ Motion for Clarification

          Defendants made a motion for limited clarification on

  January 30, 2020. 4    In its motion, Defendants ask the Court to

  make a “limited clarification” of the Court’s January 2020

  Opinion, ECF No. 545.      Defendants allege that this limited

  clarification will “conform the Opinion to the record and

  further confirm certain aspects of the Court’s underlying

  analysis.”     ECF No. 549-1 at 1.

          Defendants request that several sections of the Court’s

  January 2020 Opinion be revised.          Defendants assert that the

  sections they identified should be clarified to better reflect

  the record, the patents in question, the technology used in the

  various hoses and prototypes. 5       See ECF No. 549-2 (showing




  4 Defendants note    that they believe this motion is appropriately
  styled as one for    clarification but maintains that this motion
  should be granted    if considered a motion for reconsideration.
  ECF No. 549-1, at    2 n.2.

  5 Defendants take issue with the following sections discussing
  correction of inventorship:

      •   The Court’s description of MicroHose prototype Ragner
          demonstrated and discussed with Berardi. (ECF No. 545, at
          7);



                                        6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  286 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 7 of 24 PageID: 16246



  Defendants’ proposed revisions to the Court’s January Opinion).

  Defendants also helpfully highlights several typographical

  errors, and one instance in which the Opinion incorrectly

  identifies Keith Mirchandani as the owner of Telebrands, rather

  than Tristar.     See id.

         Plaintiffs argue that this motion should be denied because

  Defendants’ motion attempts to “recast[] the Court’s opinion to

  go beyond the Court’s original findings and in some cases

  reverse them.”     ECF No. 556 at 1 (emphasis in original).

  Plaintiffs argue that this motion is procedurally improper as it

  does not cite any overlooked legal matters or controlling

  decisions and there has been no intervening change in the

  controlling law and no introduction of new evidence.            Plaintiffs




     •   The Court’s description of Ragner’s testimony about his
         patent, U.S. Patent No. 6,948,527 (“Patent ‘527”) (ECF No.
         545, at 33);
     •   The wording of the Court’s finding that Ragner made a
         significant contribution to the invention of the XHose (ECF
         No. 545, at 33);
     •   The Court’s phrasing in its comparison of Ragner’s Patent
         ‘527 with Berardi’s U.S Patent No. 8,291,941 (“Patent
         ‘941”) (ECF No. 545, at 34);
     •   The Court’s phrasing in its finding that Ragner contributed
         to the invention of the XHose by sharing information with
         Berardi (ECF No. 545, at 35);
     •   The Court’s description of Ragner’s demonstrated prototype
         as circumstantial evidence to corroborate Ragner’s
         testimony (ECF No. 545, at 38); and
     •   Part of the Court’s conclusion that Gary Ragner contributed
         to the conception of the XHose and should be named as a co-
         inventor (ECF No. 545, at 47).


                                        7
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  287 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 8 of 24 PageID: 16247



  argue that whether this Court’s findings of fact and its

  conclusions are sufficient is not a matter this Court should

  revisit, but rather an issue for the Federal Circuit to decide.

        The Court will grant Defendants’ motion for clarification

  in its entirety and adopt each of Defendants’ proposed changes.

  The Court finds its appropriate to conform the Opinion to the

  record and clarify the meaning of the Court’s original Opinion.

  The Court agrees with Defendants that each proposed change

  clarifies ambiguities in the Court’s previous Opinion, does not

  constitute a reversal of the Court’s previous Opinion, and makes

  clear the scope and limits of the Court’s previous Opinion.

  Regarding the prior art issue, the Court highlights that the

  Court never made a finding regarding the scope of the prior art

  and the Defendants’ proposed change clarifies this ambiguity in

  the previous Opinion.      The Court finds the grant of Defendants’

  motion is consistent with the purpose of such motions, which is

  “to explain or clarify something ambiguous or vague, not to

  alter or amend.”     Resolution Trust Corp., 1993 U.S. Dist. LEXIS

  16546, at *2.     Accordingly, Defendants’ motion for clarification

  will be granted.

     D. Standard for Certifying Judgment

        Courts of Appeal have jurisdiction to review “final”

  decisions of District Courts.        28 U.S.C. § 1291.     “Generally, an

  order which terminates fewer than all claims pending in an


                                        8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     567 Page:  288 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 9 of 24 PageID: 16248



  action or claims against fewer than all the parties to an action

  does not constitute a ‘final’ order for purposes of 28 U.S.C. §

  1291.”    Elliot v. Archdiocese of New York, 682 F.3d 213, 219 (3d

  Cir. 2012).     However, under Rule 54(b), a District Court may

  convert an order adjudicating less than an entire action into a

  “final” decision over which a Court of Appeals may exercise

  jurisdiction under 28 U.S.C. § 1291.         See id.

        There is a strong federal policy against piecemeal

  litigation and appeals.       Merrill Lynch Bus. Fin. Serv., Inc. v.

  Kupperman, No. 06-4802, 2007 U.S. Dist. LEXIS 57640, at *13

  (D.N.J. Aug. 8, 2007) (describing this policy as “one of

  longstanding validity and continuing vitality”) (citing Gerardi

  v. Pellulo, F.3d 1362, 1368 (3d Cir. 1994)); see also Elliott,

  682 F.3d at 220 (“Certification of a judgment as final under

  Rule 54(b) is the exception, not the rule, to the usual course

  of proceedings in a district court”).         Rule 54(b) offers a means

  of mitigating the potentially harsh effects that this federal

  policy can create in certain limited circumstances.            Kupperman,

  2007 U.S. Dist. LEXIS 57640, at *13; see also Seidman v.

  American Mobile Sys., 965 F. Supp. 612, 617-18 (E.D. Pa. 1997)

  (“Rule 54(b) . . . attempts to strike a balance between the

  undesirability of piecemeal appeals and the need for making

  review available at a time that best serves the needs of the

  parties”) (internal quotations and citations omitted).


                                        9
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              289 Filed: 12/14/2021
                                                      Page 10 of 24 PageID: 16249



        In order to certify a final decision under Rule 54(b),

   certain requirements must be met: (1) “there has been a final

   judgment on the merits, i.e., an ultimate disposition on a

   cognizable claim for relief” and (2) there is “no just reason

   for delay.”    Berckeley Inv. Grp., Ltd. V. Colkitt, 455 F.3d 195,

   202 (3d Cir. 2006) (quoting Curtiss-Wright Corp. v. General

   Elec. Co., 446 U.S. 1, 7-8 (1980)).

        The Third Circuit 6 has held that a District Court should

   consider the following factors when determining if there is a

   just reason for delay:




   6 The parties cite both Third Circuit and Federal Circuit law in
   arguing the motion to certify judgment and stay proceedings.
   See ECF No. 550-1, at ii-iii; ECF No. 557, at ii; ECF No. 558,
   at ii, and ECF No. 562, at ii. In Snellman v. Ricoh, 836 F.2d
   528, 533 (Fed. Cir. 1987), the Federal Circuit held that
   “[b]ecause construction of the Federal Rules of Civil Procedure
   is a matter not unique to patent law, we would normally apply
   the law of the regional circuit in which the district court
   sits.” In this case, the regional circuit is the Third Circuit.

   In W.L. Gore & Associates, Inc. v. Int’l Medical Prosthetics
   Research Associates, Inc., 975 F.2d 858, 861 (Fed. Cir. 1992),
   the Federal Circuit commented that it was “faced with the
   difficult question of which circuit’s law governs when our
   jurisdiction turns on the construction of ‘final.’” The Federal
   Circuit in Gore further noted that the “Supreme Court case law
   governs no matter which circuit’s law we would otherwise apply.”
   Next, the Federal Circuit held that it would look to Supreme
   Court precedent and Ninth Circuit and Federal Circuit case law
   first before looking “to the law of all circuits equally for
   persuasive reasoning.” This Court will adopt the same
   methodology, looking to Supreme Court precedent, Federal Circuit
   and Third Circuit case law before examining the law of all
   circuits for persuasive reasoning.


                                       10
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              290 Filed: 12/14/2021
                                                      Page 11 of 24 PageID: 16250



        (1)     the presence or absence of a claim or
                counterclaim which could result in a set-off
                against the judgment sought to be made final

        (2)     the relationship between the adjudicated and non-
                adjudicated claims;

        (3)     the possibility that the need for review might or
                might not be mooted by future developments in the
                district court;

        (4)     the possibility that the reviewing court might be
                obliged to consider the same issue a second time;

        (5)     miscellaneous factors such as delay, economic and
                solvency considerations, shortening the time of
                trial, frivolity of competing claims, expense,
                and the like . . . .

   Waldorf v. Shuta, 142 F.3d 601, 609 (3d Cir. 1998) (citing

   Allis-Chalmers Corp. v. Phila. Electric Co., 521 F.2d 360,

   364 (3d Cir. 1975)).     The burden to demonstrate that the

   present case should be certified as final is on the party

   seeking certification to convince the Court that its case

   is the “infrequent, harsh case meriting favorable exercise

   of discretion” to certify judgment as final under Rule

   54(b).     See Anthuis v. Cold Indus. Operating Corp., 971

   F.2d 999, 1003-04 (3d Cir. 1992) (discussing the standard

   set in Allis-Chalmers Corp., 521 F.2d at 364-65).

      E. Standard for a Motion to Stay Pending Appeal

        Faced with a decision to stay a civil order pending appeal,

   the Court considers: (1) whether the applicant has made a strong

   showing that he or she is likely to succeed on the merits; (2)



                                       11
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              291 Filed: 12/14/2021
                                                      Page 12 of 24 PageID: 16251



   whether the applicant will be irreparably injured absent a stay;

   (3) whether issuance of a stay will substantially injure other

   parties interested in the proceeding; and (4) where the public

   interest lies.    See Hilton v. Braunskill, 481 U.S. 770, 776

   (1987); see also Standard Haven Products, Inc. v. Gencor Indus.,

   Inc., 897 F.2d 511, 512 (Fed Cir. 1990).        These four factors can

   effectively merge into a single consideration: assessing whether

   the movant’s chances for success on appeal and weighing the

   equities as they effect the parties and the public.          See E.I.

   DuPont de Nemours & Co. v. Phillips Petroleum Co., 835 F.2d 277,

   278 (Fed. Cir. 1987); see also In re Revel AC, Inc., 802 F.3d

   558, 569-70 (3d Cir. 2015) (discussing the “sliding scale”

   approach to assessing a motion to stay).

        The Third Circuit has recognized that “[t]he ‘formulations

   used to describe the degree of likelihood of success that must

   be shown’ vary widely.”     E.I. DuPont de Nemours & Co., 802 F.3d

   at 568 (quoting Mohammed v. Reno, 309 F.3d 95, 100 (2d Cir.

   2002)) (emphasis in original).      In other courts, these

   formulations range from “more likely to succeed than fail,”

   Abdul Wali v. Coughlin, 754 F.2d 1015, 1026 (2d Cir. 1985), to

   “a substantial possibility, although less than a likelihood of

   success.”   Dubose v. Pierce, 761 F.2d 913, 920 (2d Cir. 1985).

   The Third Circuit has held that “a sufficient degree of success

   for a strong showing exists if there is ‘a reasonable chance, or


                                       12
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              292 Filed: 12/14/2021
                                                      Page 13 of 24 PageID: 16252



   probability, of winning.’”      In re Revel AC, Inc., 802 F.3d at

   569 (quoting Singer Mgmt. Consultants, Inc. v. Milgram, 650 F.3d

   223, 229 (3d Cir. 2011) (en banc)).       The Third Circuit has

   further clarified that under this standard it “is not enough

   that the chance of success be better than negligible,” but the

   likelihood of winning does not need to be “more likely than

   not.”   Id. (internal quotations and citations omitted).

        For the second factor, the party applying for the stay must

   “demonstrate that irreparable injury is likely [not merely

   possible] in the absence of [a] [stay].”        Winter v. Natural Res.

   Def. Council, Inc.,, 555 U.S. 7, 22 (2008) (emphasis in

   original); see also In re Revel AC, Inc., 802 F.3d at 571 (“To

   establish irreparable harm, a stay movant ‘must demonstrate an

   injury that is neither remote nor speculative, but actual and

   imminent.’”) (quoting Tucker Anthony Realty Corp. v.

   Schlesinger, 888 F.2d 969, 975 (2d Cir. 1989)).         In this

   context, the Third Circuit has held that it “understand[s] the

   Supreme Court’s use of the ‘likely’ to mean more apt to occur

   than not.”   In re Revel AC, Inc., 802 F.3d at 569 (citing

   Michigan v. U.S. Army Corps of Engineers, 667 F.3d 765, 788 (7th

   Cir. 2011)).

        If an applicant satisfies the first two factors, the court

   will “weigh the likely harm to the movant (absent a stay)

   (factor two) against the likely irreparable harm to the stay


                                       13
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              293 Filed: 12/14/2021
                                                      Page 14 of 24 PageID: 16253



   opponent(s) if the stay is granted (factor three).”          Id.   This

   is knowns as balancing of harms or balancing equities.          The

   Court will also take into account where the public interest

   lies, “in effect, how a stay decision has ‘consequences beyond

   the immediate parties.’”      Id. (quoting Roland Mach. Co. v.

   Dresser Indus., 749 F.2d 380, 388 (7th Cir. 1984)).

      F. Plaintiffs’ Motion to Certify Judgment and Stay Proceedings

        Plaintiffs request that the Court certify the January 2020

   Opinion under Rule 54(b) or enter final judgment.         Assuming that

   the Court grants Plaintiffs’ motion, Plaintiffs ask that the

   Court to grant a stay pending appeal.       Specifically, Plaintiffs

   request that the stay’s scope include a stay of all proceedings

   in this case, a stay in the antitrust dispute currently before

   this Court, and a stay of the Court’s order directing that Gary

   Ragner be added as an inventor to the patents.

        Defendants state that they would not oppose a Plaintiffs’

   motion to certify judgment and stay proceedings so long as

   several matters are addressed first.       Specifically, Defendants

   argue that Plaintiffs’ motion is premature until (1) Defendants’

   motion for clarification is resolved; (2) Defendants’ motion to

   disqualify counsel is resolved; and (3) the parties complete

   mediation.

        The Court will first address certification of judgment.

      1. Certification of Judgment


                                       14
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              294 Filed: 12/14/2021
                                                      Page 15 of 24 PageID: 16254



             a. Ultimate Disposition of a Cognizable Claim

        Plaintiffs allege that in similar disputes, a decision on

   inventorship has been considered final under Rule 54(b).          ECF

   No. 550-1, at 2-3 (citing cases).        Plaintiffs also maintain that

   the decision to certify a judgment “hinges, in large part, on

   the individual case’s facts and procedural posture rather than

   on a bright line rule.”     Id. at 3.    Plaintiffs point to language

   from Defendants’ briefs in which Defendants assert that the

   correction of inventorship issue is dispositive.         Plaintiffs

   allege that Plaintiffs’ remaining claims “rise or fall based on

   whether Mr. Ragner is a co-inventor of the Berardi patents” and

   cannot move forward if Ragner is a co-inventor.         Id. at 4.    As

   will be discussed below, Defendants contest whether the decision

   on inventorship resolves all claims in this case.

        The Court finds that the January 2020 decision on the

   motion for correction of inventorship is the ultimate

   disposition of a cognizable claim.       Plaintiffs’ Fifth Amended

   Complaint alleges twenty-four counts of patent infringement on

   the patents in suit.     ECF No. 166.    The parties do not dispute

   that inventorship is a dispositive issue in these twenty-four

   counts.    See ECF No. 301, at § II (discussing “The Case-

   Dispositive Issue of Inventorship”).

        The Court finds that Plaintiffs have satisfied this prong

   in seeking certification of final judgment.


                                       15
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              295 Filed: 12/14/2021
                                                      Page 16 of 24 PageID: 16255



           b. Just Reason for Delay

        Plaintiffs assert that there does not appear to be a just

   reason for further delay.      Plaintiffs argue that there are no

   pending counterclaims that should delay certification of final

   judgment because this Court would have the discretion to delay

   entry of final judgment to resolve a pending claim of attorneys’

   fees.

        In contrast, Defendants assert that there is a just reason

   for delay in this case for several reasons.         First, Defendants

   have pending counterclaims that have not yet been adjudicated.

   Defendants acknowledge that the Court’s ruling on inventorship

   will mean that Defendants need not pursue a number of their

   counterclaims but maintain that because this is an exceptional

   case, they will seek relief from Plaintiffs.         The Court finds

   that though Defendants may have an outstanding claim for relief

   in the form of attorneys’ fees and costs, this does not prevent

   certification of final judgment.         See Ray Haluch Gravel Co. v.

   Central Pension Fund, 571 U.S. 177, 177 (2014) (upholding the

   First Circuit’s determination that an unresolved attorneys’ fees

   issue generally does not prevent judgment on the merits from

   being final).

        Second, Defendants argue their Motion for Limited

   Clarification of the Opinion Plaintiffs wish to appeal should be

   resolved before any certification.         Plaintiffs agree that the


                                       16
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              296 Filed: 12/14/2021
                                                      Page 17 of 24 PageID: 16256



   Court can and should decide Defendants’ Motion for Clarification

   before the Court certified the matter for appeal.         As detailed

   above, the Court granted Defendants’ Motion for Clarification

   and therefore the pending motion does not prevent the

   certification of final judgment.         Third, Defendants argue their

   Motion to Renew their earlier motion to disqualify Telebrands’

   Counsel should be resolved before any certification.          In

   response, Plaintiffs highlight that Magistrate Judge Donio

   dismissed the Defendants’ renewed motion and “Plaintiffs have

   agreed not to involve Mr. Snow or Pryor Cashman in the appeal,

   and if for any reason that were to change, Plaintiffs’ counsel

   agreed to alert the Court and opposing counsel to any plans to

   seek Mr. Snow’s or Pryor Cashman’s assistance on the appeal.”

   See 562 at 1-2 n.1.     In light of Judge Donio’s denial of

   Defendants’ renewed motion and Plaintiffs’ agreement to not

   involve Mr. Snow or Pryor Cashan in the appeal, the Court agrees

   this additional argument does not prevent the certification of

   final judgment.    ECF No. 560.

        Finally, Defendants argue the parties’ mediation efforts

   should be completed before certification.        Defendants focus on

   the fact Plaintiffs even acknowledge the parties have agreed to

   mediation and that Judge Salas and this Court have entered

   related orders and argue mediation is actually “an additional

   reason for granting the[ir] requested stay (other than to pursue


                                       17
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              297 Filed: 12/14/2021
                                                      Page 18 of 24 PageID: 16257



   an appeal on the issue of correction of investorship.”          ECF No.

   557 at 8; ECF No. 542, 547, 551; Telebrands Corp. v. Ragner

   Tech. Corp., No. 2:15--03163, DE 162 (D.N.J. July 18, 2019).

   Defendants argue “making completion of mediation a precursor to

   certification enables the Court and parties to ensure further

   costs and activity associated with any appeal can be postponed

   until the parties determine whether, as a result of mediation,

   they might be avoided altogether.”       ECF No. 557 at 8.

        Defendants further argue “any certification until the

   completion of mediation is the simplest way to effect this

   result (without, e.g., unnecessary Federal Circuit stay

   motions), and is certainly within the ‘sound judicial discretion

   of this court’ given the interests and equities here.”          ECF No.

   557 at 8 (quoting Curtiss-Wright Corp. v. Gen. Elec. Comp., 446

   U.S. 1, 8 (1980)).     In response, Plaintiffs argue the Court

   should not wait to enter the certification and stay pending

   mediation because “no further delay is necessary.”         ECF No. 562

   at 3.   The Court agrees with Defendants that the pending

   mediation is a just reason for delay because this ensures that

   costs and activity associated with any appeal can be postponed

   until the parties determine whether the need for an appeal may

   be avoided all together as a result of mediation.         In deciding

   whether there is any just reason for delay, “it is left to the

   sound discretion of the district court to determine . . . when


                                       18
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              298 Filed: 12/14/2021
                                                      Page 19 of 24 PageID: 16258



   each final decision in a multiple claims action is ready for

   appeal.”   Curtiss-Wright, 446 U.S. at 8.       Requiring the parties

   to continue mediation efforts prior to the Court’s certification

   of the Opinion for appeal conserves both judicial and the

   parties’ resources and potentially resolves the matter

   altogether, which might moot the need for the Third Circuit to

   review the Court’s previous Opinion.       Accordingly, this Court

   will deny Plaintiffs’ motion to certify judgment under Rule

   54(b) at this time.

      2. Motion to Stay Pending Appeal

        For the foregoing reasons, the Court is unable to grant

   Plaintiffs’ Motion to Stay Pending Appeal.        However, in the

   event mediation efforts are unsuccessful within the next ninety

   days, the Court will still address the factors for a motion to

   stay pending appeal.

            a. Success on the Merits

        Plaintiffs allege that there are legitimate reasons to

   believe that the Federal Circuit would not uphold this Court’s

   January 2020 decision on inventorship.        Firstly, Plaintiffs

   argue that there is a significant legal issue for appeal as to

   whether the Court erred in failing to construe the claims in the

   Berardi patents before deciding the correction of inventorship

   issue.   Secondly, Plaintiffs argue that there is a significant

   issue for appeal as to whether the Court properly applied the


                                       19
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              299 Filed: 12/14/2021
                                                      Page 20 of 24 PageID: 16259



   law concerning collaboration, conception and contribution.

   Defendants do not weigh in on Plaintiffs’ alleged success on the

   merits.

        The Court finds that Plaintiffs have shown that they have a

   reasonable chance or probability of winning on appeal.

   Plaintiffs have highlighted two specific issues that they

   believe could lead the Federal Circuit to disagree with this

   Court’s ruling.    While Plaintiffs may not have shown that they

   are more likely than not to win on appeal, they have shown that

   their chances of success on the merits are better than

   negligible.

        Plaintiffs have satisfied this prong.

             b. Balancing the Equities

   Irreparable Harm to Plaintiffs

        Plaintiffs argue that they will be irreparably harmed

   without a stay because their only remaining claims will be

   foreclosed by adding Ragner to the patents-in-suit.          Plaintiffs

   further assert that they need clarity regarding the patents-in-

   suit in order to effectively participate in the marketplace.

   Plaintiffs highlight that Telebrands is in the process of

   securing contracts to distribute its “Pocket Hose” and that the

   lack of clarity has negatively impacted these negotiations.

   Defendants do not contest Plaintiffs’ description of the likely

   harm in the absence of a stay.


                                       20
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              300 Filed: 12/14/2021
                                                      Page 21 of 24 PageID: 16260



   Injury to Defendants

        Plaintiffs further allege that a stay will not burden the

   Defendants because no monetary damages are sought by the

   Defendants.    Defendants do not speak to possible injury if a

   stay is granted.    Defendants do argue that requiring that the

   parties complete mediation before granting a stay would enable

   the Court and the parties to “ensure further costs and activity

   associated with any appeal can be postponed until the parties

   determine whether, as a result of mediation, they might be

   avoided all together.”     ECF No. 558 at 8.

   Public Interest

        Plaintiffs claim that the public interest supports a stay

   because allowing the Federal Circuit to address Plaintiffs’

   appeal will create a clear path forward for the parties and

   their customers.    Plaintiffs allege that they are financially

   viable companies capable of paying any incremental damages that

   would be caused by a stay.

        The Court finds that after weighing the likely harm to

   Plaintiffs against the likely harm to Defendants and assessing

   in the public interest, the factors would weigh in favor of

   granting a stay pending an appeal.

        However, as explained above, a stay pending appeal at this

   time would not be appropriate.      Nevertheless, a district court

   enjoys “broad discretion to stay proceedings as an incident to


                                       21
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              301 Filed: 12/14/2021
                                                      Page 22 of 24 PageID: 16261



   its power to control its own docket.”       Clinton v. Jones, 520

   U.S. 681, 706 (1997).

        “District courts possess inherent discretion to stay a

   proceeding whenever ‘the interests of justice’ mandate ‘such

   action.’”   Akishev v. Kapustin, 23 F. Supp. 3d 440, 445 (D.N.J.

   2014) (quoting U.S. v. Kordel, 397 U.S. 1, 12 n.27 (1970).           “To

   determine the appropriateness of a stay, courts consider

   ‘whether a stay will simplify issues and promote judicial

   economy, the balance of harm to the parties, and the length of

   the [] stay.’”    Owlpoint, LLC v. Spencer Thomas Grp., No. 20-

   4495, 2021 U.S. Dist. LEXIS 17988, *4 (D.N.J. Jan. 29, 2021)

   (quoting Bais Yaakov of Spring Valley v. Peterson's Nelnet, LLC,

   No. 11-0011, 2011 U.S. Dist. LEXIS 102743 (D.N.J. Sept. 12,

   2011) (citation omitted)(alteration in original).         Here, the

   Court exercises its inherent judicial discretion and will issue

   a temporary stay for ninety days to allow the parties additional

   time to complete mediation efforts.

        The scope of the Court’s stay shall include a stay of all

   proceedings in this case, a stay in the antitrust dispute

   currently before this Court, and a stay of the Court’s order

   directing that Ragner be added as an inventor to the patents.

   As other district courts have already found, this Court finds

   “[a]llowing the [p]arties to mediate this dispute may conserve

   both judicial and the [p]arties’ resources and potentially


                                       22
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              302 Filed: 12/14/2021
                                                      Page 23 of 24 PageID: 16262



   resolve the matter altogether.”       World of Beer Franchising, Inc.

   v. MWB Dev. I, LLC, No. 17-1171, 2017 U.S. Dist. LEXIS 200830,

   *1-2 (M.D. Fla. June 21, 2017); see Advanced Bodycare Sols., LLC

   v. Thione Int’l, Inc., 524 F.3d 1235, 1241 (11th Cir. 2008)

   (“[D]istrict courts have inherent, discretionary authority to

   issue stays in many circumstances, and granting a stay to permit

   mediation (or to require it) will often be appropriate.”);

   Lacroix v. Lejeune Auto Wholesale, Inc., No. 20-21469, No. 20-

   21469, 2020 U.S. Dist. LEXIS 189772, at *5 (S.D. Fl. Oct. 14,

   2020)(“ One additional circumstance that has occasionally

   satisfied the aforementioned factors is the possibility of

   avoiding unnecessary expenses while the parties engage in

   mediation or settlement discussions that might conserve the

   parties’ resources and promote judicial economy.”); Pac. Rim

   Land Dev., LLC v. Imperial Pac. Int’l (CNMI), LLC, No. 19-16,

   2020 U.S. Dist. LEXIS 74812, at *4-5 (D.N. Mar. Is., Apr. 23,

   2020) (“[A] court may opt to stay the case to allow for

   mediation.”); ArrivalStar, S.A. v. Blue Sky Network, LLC, No.

   11-4479, 2012 U.S. Dist. LEXIS 22316, at *4 (N.D. Cal. Feb. 22,

   2012) (“The Court concludes that Blue Sky has shown good cause

   to justify a stay of discovery pending mediation. The Court

   finds that staying discovery pending mediation will conserve the

   resources of the parties and will not impose an inequity on any

   party.”).   If the mediation is unsuccessful within ninety days,


                                       23
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 567 Page:08/12/21
                                              303 Filed: 12/14/2021
                                                      Page 24 of 24 PageID: 16263



   then the Court finds a longer stay for certification may be

   appropriate.

                                  CONCLUSION

        For the reasons stated above, the Court will grant

   Defendants’ motion for clarification.        The Court will deny

   without prejudice Plaintiffs’ motion to certify judgment and

   stay the proceedings pending appeal.        The Court will issue a

   temporary stay for ninety days to allow the parties additional

   time to complete mediation efforts.



   Date: August 12, 2021                     s/ Noel L. Hillman
   At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                       24
Case: 21-2316   Document: 17   Page: 304   Filed: 12/14/2021




                   EXHIBIT L
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     568 Page:  305 Filed:
                                          Filed 08/12/21   12/14/2021
                                                         Page 1 of 2 PageID: 16264



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



      BLUE GENTIAN, et al.,                  1:13-cv-1758

                     Plaintiffs,             ORDER

            v.

      TRISTAR PRODUCTS, INC., et
      al.,
                   Defendants.


        For the reasons expressed in the Court’s Opinion filed

  today,

        ITS IS on this 12th day of August, 2021,

        ORDERED that Defendants’ Motion for Limited Clarification

  [ECF No. 549] be, and the same hereby is, GRANTED, and the Court

  will enter an Amended Opinion regarding the Court’s earlier

  Opinion [ECF No. 545] reflecting the changes outlined in its

  Opinion entered today; and it is further

        ORDERED that Defendants’ Motion for Leave to File a Reply

  [ECF No. 563] be, and the same hereby, is GRANTED; and it is

  further

        ORDERED that Plaintiffs’ Motion for Certification and Stay

  Pending Appeal [ECF No. 550] be, and the same hereby is, DENIED

  WITHOUT PREJUDICE; and it is further

        ORDERED that this matter shall be stayed for ninety (90)

  days to allow the parties additional time to complete mediation

                                        1
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     568 Page:  306 Filed:
                                          Filed 08/12/21   12/14/2021
                                                         Page 2 of 2 PageID: 16265



  efforts.    The scope of the Court’s stay shall include a stay of

  all proceedings in this case, a stay in the antitrust dispute

  currently before this Court, and a stay of the Court’s order

  directing that Gary Ragner be added as an inventor to the

  patents.


                                              s/ Noel L. Hillman
  At Camden, New Jersey                     NOEL L. HILLMAN, U.S.D.J.




                                        2
Case: 21-2316   Document: 17   Page: 307   Filed: 12/14/2021




                  EXHIBIT M
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  308 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 1 of 48 PageID: 16266



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY




        BLUE GENTIAN, et al.,

                      Plaintiffs,            CIVIL NO. 13-1758 (NLH/AMD)
        v.                                   AMENDED OPINION
        TRISTAR PRODUCTS, INC., et
        al.,

                      Defendants.



  APPEARANCES:

  DAVID S. STONE
  BRADFORD W. MULLER
  STONE & MAGNANINI LLP
  100 CONNELL DRIVE, SUITE 2200
  BERKELEY HEIGHTS, NJ 07922

         Attorneys for Plaintiff Telebrands Corp.

  GEORGE C. JONES
  MCELROY, DEUTSCH, MULVANEY & CARPENTER, LLP
  1300 MOUNT KEMBLE AVENUE
  PO BOX 2075
  MORRISTOWN, NJ 07962-2075

  and

  EDWARD F. MCHALE
  KENNETH W. COHEN
  ANDREW D. LOCKTON
  MCHALE & SLAVIN, P.A.
  2855 PGA BOULEVARD
  PALM BEACH GARDENS, FL 33410

         Attorneys for Blue Gentian, LLC and National Express, Inc.


                                        1
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  309 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 2 of 48 PageID: 16267



  EDWARD PAUL BAKOS
  NOAM JOSEPH KRITZER
  BAKOS & KRITZER
  147 COLUMBIA TURNPIKE
  FLORHAM PARK, NJ 07932

        Attorneys for Defendant Tristar Products, Inc., Wal-Mart
        Stores, Inc. d/b/a Sam’s Club, and Sam’s Wholesale Club.

  J. STEVEN BRAUGHMAN
  MEGAN RAYMOND
  PAUL, WEISS, RIFKIND, WHARTON & GARRISON, LLP
  2001 K STREET, NW
  WASHINGTON, DC 20006-1047

        Attorneys for Defendant Tristar Products, Inc.

  HILLMAN, District Judge

        Presently before the Court is the issue of whether Gary

  Ragner, a non-party, should be deemed a co-inventor, pursuant to

  35 U.S.C. § 256, of certain patents-in-suit held by Michael

  Berardi.    The Court held a multi-day hearing taking testimony

  and admitting certain documents and exhibits into evidence.             All

  parties have been well-represented and the Court has benefitted

  from both the oral advocacy and tutorials at the hearing and the

  thoughtful and extensive pre- and post-hearing submissions.             For

  the reasons stated below, this Court finds Gary Ragner is a co-

  inventor of the Michael Berardi patents-in-suit.

                                   BACKGROUND

        This case has a lengthy and complicated factual and

  procedural history.      At one time, three different judges

  presided over suits related to the contested patents and matters


                                        2
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  310 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 3 of 48 PageID: 16268



  are still pending before the undersigned and a district judge in

  the Newark vicinage.      In lieu of recounting those details, which

  have been penned by this Court and others numerous times over

  the years of this litigation, this Court will focus on only the

  details relevant to the consideration of the matter disposed of

  in this Opinion.

        On July 28, 2017, Defendants moved under Federal Rule of

  Civil Procedure 42(b) for a hearing on correction of

  inventorship for the Berardi patents-in-suit pursuant to 35

  U.S.C. § 256.     On January 30, 2018, this Court granted

  Defendants’ request to hold a hearing to determine whether Gary

  Ragner should be added as a co-inventor on the Berardi patents-

  in-suit.    Discovery for the hearing ensued and all other pending

  matters have been staying pending resolution of Defendant’s

  motion. 1




  1 On July 19, 2019, the parties designated several matters,
  including this case, for mediation: Telebrands Products, Inc.,
  et al. v. National Express, Inc., et al., 1:13-cv-7752;
  Telebrands Corp. v. Ragner Tech. Corp., et al., 1:15-cv-3163;
  Ragner Tech. Corp., et al., v. Telebrands Corp., 1:15-cv-8185;
  Telebrands Corp. v. Ragner Technology Corp. et al., 1:16-cv-
  3474; Telebrands Corp. v. Ragner Tech. Corp., et al., 1:16-cv-
  3594; Blue Gentian, LLC v. Tristar Prods., Inc., 1:13-1758; Blue
  Gentian, LCC, et al. v. Tristar Prods., Inc., 1:13-cv-7099; and
  Ragner Tech. Corp., et al. v. Berardi, et al., 1:15-cv-7752. In
  light of the resolution of the pending motion, the parties will
  be directed to file on the docket a letter within 20 days
  confirming their intent to proceed to settlement discussions
  through private mediation.
                                        3
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  311 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 4 of 48 PageID: 16269



        On September 5-7, 2018, January 29 and 30, 2019, and April

  30, 2019, this Court commenced a hearing on correction of

  inventorship (the “Inventorship Hearing”).          At the Inventorship

  Hearing, the Court received the live testimony of Gary Ragner,

  Robert de Rochemont, Jr., Margaret Combs, Keith Mirchandani,

  Ajit Khubani, Bala Iyer, Manish Israni, Cheryl Berardi, and

  Michael Berardi.

        On May 29, 2019, the parties submitted post-hearing briefs.

  On June 12, 2019, the parties submitted responsive post-hearing

  briefs.    On June 26, 2019, the parties presented closing

  arguments to the Court.       The issues have been fully briefed and

  are ripe for adjudication. 2

        As noted, the issue currently before the Court stems from a

  larger dispute between the Plaintiffs, Blue Gentian, National

  Express, and Telebrands Corp., and the Defendants, Tristar

  Products, and Wal-Mart Stores.        Plaintiffs market, promote,

  distribute, and sell a garden hose known as the “XHose.”            Blue

  Gentian owns several patents related to the XHose.           Defendants

  also produce and promote a garden hose known as the “Flex~Able

  Hose.”    In a matter not currently before the Court, Plaintiffs


  2 There are two motions pending before the Court: a motion to
  disregard Plaintiffs’ unauthorized June 12, 2019 filing, and a
  motion for expedited consideration of motion to disregard
  Plaintiffs’ unauthorized June 12, 2019 filing. Through this
  Opinion and accompanying Order, the Court will deny those
  motions.
                                        4
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  312 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 5 of 48 PageID: 16270



  allege that Defendants have infringed on Plaintiffs’ patents for

  the XHose.

        In this proceeding, Defendants allege that Gary Ragner, a

  non-party to this case, co-invented the XHose with Blue

  Gentian’s principal, Michael Berardi.         Defendants therefore

  argue that six of Blue Gentian’s patents should be corrected to

  reflect Gary Ragner’s inventorship. 3

        The bulk of the evidence relevant to determining

  inventorship comes from a single three to four-hour meeting held

  on August 23, 2011.      The relevant facts before, after, and

  including this meeting are discussed below.

        A. The Expandable Garden Hoses in Question

              a. The XHose

        The XHose is a lightweight, expandable garden hose.           The

  length and width of the XHose changes depending on the amount of

  water running through it.       The XHose features an elastic inner

  tube that acts as both a water conduit and a retracting force.

        Blue Gentian owns all intellectual property rights in and

  related to the XHose, including U.S. Patent No. 8,291,941 and

  U.S. Patent No. 8,291,942.       Michael Berardi is listed as the


  3 The six patents belonging to Michael Berardi and Blue Gentian
  are discussed in this opinion. Four of these patents are
  utility patents: U.S. Patent No. 8,291,941, U.S. Patent No.
  8,291,942, U.S. Patent No. 8,479,776, and U.S. Patent No.
  8,757,213. Two of these patents are design patents: U.S. Patent
  No. D722,681, and U.S. Patent No. D724,186.
                                        5
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  313 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 6 of 48 PageID: 16271



  inventor of the XHose on these patents.         Blue Gentian granted

  National Express an exclusive license to use, sell, import,

  market, promote and distribute the XHose.

              b. The Flex~Able Hose and Pocket Hose

        Though not relevant to this opinion, the Court notes that

  the Flex~Able Hose and Pocket Hose are also lightweight,

  retractable hoses available for consumer distribution and use.

              c. The MicroHose

        Gary Ragner and Robert de Rochemont created an expandable

  hose called the “MicroHose.”        When the Ragner Technologies team

  and Michael Berardi met, Ragner and de Rochemont used a

  prototype of the MicroHose to demonstrate their product.            Ragner

  described this prototype is a “cutdown version” of the

  MicroHose, featuring a small diameter, elastic vinyl hose, wire

  coil for biasing, and a nylon or polyester valley cord 4 epoxied

  to each end for reinforcement.        According to Ragner, the valley




  4 The MicroHose is similar to the flexible hose found on a common
  household vacuum cleaner. When collapsed, the circumference of
  the hose appears uniform. When expanded, the hose forms a
  three-dimensional wave-like pattern of peaks and valleys. The
  valley cord winds around the hose through the “valleys,”
  reinforcing the outer strength of the hose to prevent bursting,
  something all developers known to the Court and many users have
  experienced with the water pressure typically used with garden
  hoses. Importantly, Ragner testified that he told Berardi at
  the August 23 meeting, testimony the Court credits as both
  credible and consistent with other evidence in the case, that
  the valley cord was only one way to prevent bursting. Another
  way was the use of a full outer cover made of fabric.
                                        6
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  314 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 7 of 48 PageID: 16272



  cord’s purpose was both to double the amount of pressure the

  hose could handle and to help the hose hold its shape.            Ragner

  testified that this demonstrated prototype did not have a

  separate surgical tube inside it that expanded radially like a

  balloon (rather, the demonstrated prototype had an elastic tube

  for water whose radial expansion was constrained by a valley

  cord), nor did the internal surgical tube in another MicroHose

  prototype that he discussed with Berardi serve as a conduit for

  water.    To date, no version of the wire-based MicroHose has been

  sold commercially.

        As will be elaborated below, Ragner testified that at the

  August 23 meeting the attendees discussed “prototype 2” of the

  MicroHose.    The parties agree that this prototype was not

  physically present at this meeting.         According to Ragner,

  prototype 2 is a vacuum hose with a surgical tube inside.             As

  Ragner described, the internal surgical tube is epoxied to each

  end of the MicroHose prototype to act as a retracting force.

        B. Michael Berardi’s Background and Knowledge
           Prior to the August 23 Meeting

        Michael Berardi is an accomplished songwriter and video

  producer.    During his time at CBS Records and Born Music, he

  copyrighted over 150 songs.       Michael Berardi also has

  significant experience with the direct marketing industry and

  co-owns Berardi Productions with his wife, Cheryl.           Together,


                                        7
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  315 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 8 of 48 PageID: 16273



  Cheryl and Michael Berardi have produced hundreds of television

  commercials.

        Despite having no technical background, prior to patenting

  the XHose, Michael Berardi had applied for two patents and

  taught himself how to edit and produce commercials.            Michael

  Berardi credits his creative thinking and experience working in

  his father’s hardware store for his success inventing new

  products.    During his eleven years as an employee and three

  years as a manager at his father’s hardware store, Michael

  Berardi testified that he sold and repaired various products,

  including garden hoses.

        In either late July or early August 2011, an acquaintance,

  Thomas Moran, told Michael Berardi about a potential investment

  opportunity in a product called the MicroHose.           Based on this

  conversation, Michael Berardi testified that he searched the

  Internet to learn more about the MicroHose and Ragner

  Technologies.     Through this search, Michael Berardi found a news

  article about Ragner Technologies that contained a video

  demonstration of a MicroHose prototype.         Michael Berardi

  testified that after watching the video, he thought the

  MicroHose was “a very neat product” that “could be a fantastic

  Direct Response TV product.”        Michael Berardi watched the video

  three to four times, zooming in to see parts of the hose

  demonstration more closely.

                                        8
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                           Document 17
                                     569 Page:  316 Filed:
                                         Filed 08/12/21    12/14/2021
                                                        Page 9 of 48 PageID: 16274



        Michael Berardi testified that right after watching the

  video demonstration of the MicroHose, he experienced a “eureka

  moment” in his community gym.        After looking at certain gym

  equipment, Michael Berardi was struck by the idea of running

  water through a tube similar to the ones used in the resistance

  bands at the gym.      Michael Berardi testified that “it kind of

  reminded me I guess maybe of the expanding hose that Ragner had

  invented” and that he wondered “what would happen if I put water

  through this?”

        Michael Berardi told Cheryl Berardi about his idea for a

  new hose.    Cheryl Berardi responded that they should “not put

  any energy there” because they already planned to meet with

  Ragner Technologies.      Michael Berardi agreed with Cheryl

  Berardi’s assessment that it would be easier to work with a

  completed product.      Michael Berardi also stated that he was in

  the middle of pursuing two other large projects during this time

  period.    Ultimately, Michael Berardi did not take any steps to

  create the hose he imagined following his eureka moment but

  retained a “nebulous concept” for his hose.

        Soon after Berardi watched the online video demonstration

  of the MicroHose, an agent from Ragner Technologies, Margaret

  Combs, contacted him about setting up an investment meeting on

  August 23, 2011.     On August 16, 2011, Ragner Technologies sent

  Michael Berardi and other meeting attendees a username and

                                        9
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              317 Filed: 12/14/2021
                                                      Page 10 of 48 PageID: 16275



   password to access a website containing a business plan and

   three-year cash flow analysis.




        C. Gary Ragner’s Background and Knowledge Prior to the
           August 23 Meeting

        Gary Ragner is an engineer and co-founder of Ragner

   Technologies.    He holds a Bachelor of Science in physics and a

   master’s degree in mechanical and aerospace engineering.          Ragner

   also completed coursework in fluid dynamics and has seventeen

   years of experience designing hoses, for both vacuums and

   outdoor use.    Ragner holds several dozen patents for various

   inventions in the energy, aerospace, and electronic fields,

   among others.

        Since the mid-1990s, Ragner has co-invented with his

   current business partner, Robert de Rochemont.         Together Ragner

   and de Rochemont approached Combs, a retired business executive,

   about taking on various administrative, advisory, and management

   responsibilities within Ragner Technologies.        Eventually,

   Margaret Combs became the CEO and a 10% equity partner in Ragner

   Technologies.

        Beginning in 2004, Ragner and de Rochemont began buying

   supplies and experimenting with hose designs.         Since September

   2005, Ragner and de Rochemont have held U.S. Patent No.

   6,948,527 for a “pressure-actuated linearly retractable and

                                       10
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              318 Filed: 12/14/2021
                                                      Page 11 of 48 PageID: 16276



   extendible hose.”     On January 30, 2006, Ragner and de Rochemont

   applied for U.S. Patent No. 8,776,836 for a “linearly

   retractable pressure hose structure.”       This patent was granted

   on July 15, 2014, after being published in 2013.         After working

   on a similar design for a retractable vacuum hose, Ragner

   testified that he thought this design could apply to garden

   hoses as well.    By August 2011, de Rochemont and Ragner had

   created between eighteen and twenty prototypes of the MicroHose.

        D. The August 23 Meeting

        This meeting is particularly important to the determination

   of co-inventorship.     This meeting was the sole interaction

   between Michael Berardi and Gary Ragner.        The Court draws its

   facts regarding this meeting from the hearing record and

   documents before it.     The parties contest certain details of

   this meeting.    These disputed details will be acknowledged and

   discussed below.

        Michael and Cheryl Berardi hosted this meeting at their

   home in Palm Beach Gardens, Florida starting around 10:00 AM on

   August 23, 2011.    The attendees were:

        (1)   Michael Berardi, principal of Blue Gentian and co-
              owner of Berardi Productions;

        (2)   Cheryl Berardi, co-owner of Berardi Productions and
              wife of Michael Berardi;

        (3)   Ed Kelly, owner of National Express;

        (4)   Gary Ragner, CEO and founder of Ragner Technologies;
                                       11
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              319 Filed: 12/14/2021
                                                      Page 12 of 48 PageID: 16277




        (5) Robert de Rochemont, former Executive Vice President
   of Quality Assurance and current CEO of Ragner Technologies;

        (6) Margaret Combs, former CEO and current equity partner
   of Ragner Technologies;

         (7)   Greg Jansen, a “money finder” for Ragner Technologies;
   and

        (8) Vince Simonelli, a “money finder” for Ragner
   Technologies.

         The parties agree that the primary purpose of this three to

   four-hour meeting was to secure a $3 million investment for

   Ragner Technologies to build machines that could manufacture the

   MicroHose.    Earlier in the week, Combs, de Rochemont, and Ragner

   had concluded a similar meeting with a different investor in

   Boca Raton, Florida.     Combs testified that the Ragner

   Technologies team expected that Ed Kelly would be the primary

   investor.

         However, as both parties testified, Kelly, who has since

   passed away, seemed more interested in pursuing a licensing

   agreement rather than an investment arrangement.         During this

   meeting, Kelly proposed manufacturing the MicroHose in Taiwan or

   China to reduce production costs.        Ragner opposed this idea and

   expressed concerns about protecting his intellectual property.

   After the discussion of licensing, both parties testified that

   Kelly seemed disinterested in the remainder of the meeting and

   stayed relatively silent.


                                       12
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              320 Filed: 12/14/2021
                                                      Page 13 of 48 PageID: 16278



        The attendees next discussed Ragner Technologies’ finances.

   As Combs presented and explained Ragner Technologies’ business

   plan and cash flow, Michael Berardi testified that he realized

   the MicroHose would not make a successful direct response TV

   product (“DRTV product”).      Because Ragner Technologies estimated

   that the cost of manufacturing a single MicroHose would be

   between ten and twenty dollars, the MicroHose would likely be

   priced at approximately eighty dollars.        Ragner Technologies’

   manufacturing plan and cost structure made the MicroHouse

   unattractive in the DRTV market.         According to Michael Berardi,

   a DRTV product would ideally be priced at around thirty dollars.

        The attendees then had lunch and turned their discussion to

   the machinery involved in producing the MicroHose.         The Ragner

   Technologies team used large posters with graphics and photos to

   illustrate the process for manufacturing the MicroHose, or

   “Process 17.”    According to the Ragner Technologies team, these

   visual aids were meant to explain both the manufacturing process

   and the internal structure of the MicroHose.        Michael Berardi

   testified that during this portion of the meeting his “eyes

   started spinning” and Ragner lectured “like a professor” for a

   half-hour about the production process.

        Here, the parties disagree on the other topics the

   attendees discussed.     Ragner testified that he remembers one

   question being asked: “[Michael Berardi] asked whether we could

                                       13
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              321 Filed: 12/14/2021
                                                      Page 14 of 48 PageID: 16279



   replace the spring with elastic.”        Ragner stated he remembers

   thinking “that was kind of astute of him to realize that you

   could replace the retracting means with something else.”

   According to Ragner, he told Michael Berardi that it was

   possible to use elastic and that the first two prototypes of the

   MicroHose relied on internal elastic surgical tubes.          Ragner

   also testified that he told Michael Berardi that Ragner

   Technologies had opted not to continue with this design for the

   MicroHose because it was not durable enough.        Ragner further

   explained to Michael Berardi that the prototypes with elastic

   had burst during some of their demonstrations.         As Ragner

   described, this conversation was brief, and Michael Berardi

   seemed satisfied with Ragner’s answers.

        Combs testified that she did not hear this conversation, as

   she was not close enough to Ragner and Michael Berardi.          De

   Rochemont testified that he also did not hear any of this

   conversation between Ragner and Michael Berardi.         De Rochemont

   has severe hearing loss and “miss[es] most of what people are

   talking about.”    Usually, de Rochemont relies on lip reading to

   understand conversations.

        In contrast, Michael Berardi testified that he did not

   discuss elastic with Ragner, but that Ragner may have mentioned

   the term “elastomer” during his explanation of the manufacturing

   process.   Michael Berardi testified that he “remember[s]

                                       14
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              322 Filed: 12/14/2021
                                                      Page 15 of 48 PageID: 16280



   questions being asked but doesn’t remember specific questions.”

   Cheryl Berardi similarly testified that Michael Berardi did not

   ask about replacing the spring with elastic and that there was

   no discussion of earlier prototypes of the MicroHose.          Cheryl

   Berardi also said that she would sometimes leave the meeting to

   get food or drinks.     According to Cheryl Berardi, she remained

   able to hear the conversation thanks to her home’s open concept

   floor plan.

        Near the end of the meeting, the attendees moved outdoors

   for a live demonstration of the MicroHose prototype.          Ragner

   described this prototype as “a cutdown version of the

   MicroHose.”    This version “only had a valley cord in the valley

   of the hose for reinforcement, and essentially a small diameter

   vacuum hose, stretch hose, with two ends on it that had fittings

   for a garden hose.”

        Michael Berardi testified that he held the hose and used it

   briefly.   Michael Berardi further testified that he asked to

   keep the prototype.     Ragner declined to let Michael Berardi keep

   the model, saying that it “wasn’t really a working prototype

   because the materials were not strong enough to hold the PSI of

   the water.”    During the demonstration, Michael Berardi asked a

   question about the materials used in the prototype and whether

   this prototype was a final version of the MicroHose.



                                       15
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              323 Filed: 12/14/2021
                                                      Page 16 of 48 PageID: 16281



        The attendees disagree about how well the prototype

   performed during this demonstration.       Ragner testified that it

   performed “very well” and expanded to about five times its

   original length before retracting back to its original size.

   Combs testified that the prototype performed “exactly the way it

   was supposed to.”     In contrast, Michael Berardi described the

   prototype’s performance as “disappointing” because “[i]t didn’t

   expand much and it didn’t contract much.”        Cheryl Berardi

   testified that the hose “didn’t move a lot” and “when the water

   turned off, it did not contract well.”

        The meeting attendees also dispute the extent to which a

   non-disclosure agreement (NDA) was discussed and agreed upon.

   The Ragner Technologies team does not contend that Michael

   Berardi or Ed Kelly signed an NDA agreement before, during, or

   after the August 23 meeting.      Combs testified that Ragner

   Technologies typically asked parties to sign an NDA in advance

   of meetings.    However, she testified that because this meeting

   was scheduled at the last minute, she had not sent an NDA in

   advance of the August 23 meeting.        Combs also testified she did

   not bring her computer, which contained the up-to-date version

   of Ragner Technologies’ NDA.      Instead, Combs asserts that she

   broached the topic of an NDA at the outset of the meeting.

   According to Combs, after a tour of the Berardis’ home, she

   asked if the Berardis and Kelly would agree to keep the meeting

                                       16
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              324 Filed: 12/14/2021
                                                      Page 17 of 48 PageID: 16282



   confidential and sign an NDA.      Combs testified that Michael

   Berardi and Ed Kelly nodded, and the meeting continued.

        Michael Berardi testified that the Ragner Technologies team

   knew of the meeting time and location in advance of August 23,

   2011.   According to Michael Berardi, Combs informed them as they

   were walking out the door that she would send an NDA.          Michael

   Berardi testified he only shrugged in response because he “knew

   that there was no way [he] was going to deal with these people.”

   On August 25, 2011, Combs emailed an NDA to Michael Berardi and

   Ed Kelly.   Neither responded to her email nor signed an NDA.

        E. Events Following the August 23 Meeting

        Michael Berardi testified that he left the August 23

   meeting feeling “surprised and disappointed.”         Michael Berardi

   testified that he had retained his “nebulous idea” about his own

   hose and quickly started experimenting to make a cost effective,

   expandable hose.    To build on the “little idea [he] had

   germinating in [his] head,” Michael Berardi purchased supplies

   for his new hose at Home Depot, Wal-Mart, and Sports Authority

   and started experimenting a day after meeting with Ragner

   Technologies.

        During his first attempt at making an expandable garden

   hose, Michael Berardi testified he “didn’t really know . . .

   what [he] was doing” but had “some concept, some idea of maybe

   what would happen.”     For his first attempt at creating his

                                       17
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              325 Filed: 12/14/2021
                                                      Page 18 of 48 PageID: 16283



   retractable hose, Michael Berardi purchased a two-and-a-half-

   inch drainage pipe for pools to serve as the outer layer of his

   hose.   Within a day or two, Michael Berardi had developed his

   first prototype: a flat vinyl hose with an internal elastic

   tube.   In this version of Michael Berardi’s hose, the internal

   elastic tube was connected to the external vinyl hose at each

   end and did not expand radially.         According to Michael Berardi,

   “the water in that first one didn’t go through the hose . . . it

   was outside the inner tube.”      According to Michael Berardi, this

   prototype ultimately burst during testing.

        This failed prototype was “not [Michael Berardi’s] final

   thought process as to how the final product would be made.”           As

   Michael Berardi continued to experiment between August 24 and

   early November 2011, he adjusted the materials used in his hose.

   As he was unable to find webbing at the hardware and sporting

   goods stores he initially visited, Michael Berardi ordered it

   off the Internet and used both PVC pipe and clamps to insert an

   inner tube into the webbing.

        Michael Berardi, with the help of Cheryl Berardi,

   documented his attempts to build on his “seed idea” for an

   expandable garden hose suitable for direct TV response

   marketing.   Together, the Berardis created dozens of videos

   documenting the inventive process of the XHose.         Later, when

   they made a commercial for the XHose, Michael Berardi testified

                                       18
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              326 Filed: 12/14/2021
                                                      Page 19 of 48 PageID: 16284



   he “might have subconsciously remembered some of the things that

   [Gary Ragner] said” in his video for the MicroHose.          Michael

   Berardi continued by explaining that “there are things on mine

   that are new and things on his [Gary Ragner’s] that, you know,

   were similar.”    As he testified, many of these experiments

   failed.   However, on November 2, or 3, 2011, Michael Berardi

   succeeded in making a fifty-foot prototype of what would

   eventually become the XHose.      On November 4, 2011, Michael

   Berardi and Blue Gentian filed for a patent, which eventually

   became Patent ‘941.

        When asked about the invention, Cheryl Berardi testified

   that “nothing that was used to create the XHose was used

   discussed at that [the August 23] meeting.”        During the

   inventorship hearing before the Court, Michael Berardi testified

   that he did not use anything that Gary Ragner told or showed him

   when inventing his hose.      Ragner testified that Michael

   Berardi’s first prototype was “almost identical to what [he]

   described to him, minus the wire biasing spring.”         Ragner was

   struck by the fact that Michael Berardi used “the same diameter

   I kind of conveyed to him in prototype 2.”

                                   ANALYSIS

      A. Subject Matter Jurisdiction and Standing

        This Court has subject matter jurisdiction over this matter

   pursuant to 28 U.S.C. § 1338(a) (“The district courts shall have

                                       19
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              327 Filed: 12/14/2021
                                                      Page 20 of 48 PageID: 16285



   original jurisdiction of any civil action arising under any Act

   of Congress relating to patents, plant variety protection,

   copyrights and trademarks.”).      Under 35 U.S.C. § 116, patent

   applications must include the names of all inventors.          If a

   patent names persons who are not inventors (misjoinder) or omits

   persons who are inventors (nonjoiner), 35 U.S.C. § 256 “provides

   two methods for correction: (1) the Director of the United

   States Patent and Trademark Office may correct the patent upon

   application of all parties and assignees; or (2) ‘[t]he court

   before which such matter is called in question may order

   correction of the patent on notice and hearing of all the

   parties concerned.’” Polyzen, Inc. v. RadiaDyne, L.L.C., 2012 WL

   4049841 at *2 (E.D.N.C. 2012).

        For the Court to have jurisdiction over an action for

   correction, § 256 requires notice and an opportunity for all

   parties to be heard.     Stark v. Advanced Magnetics, Inc., 119

   F.3d 1551, 1553 (Fed. Cir. 1997).        In contrast to proceedings

   before the Director of the United States Patent and Trademark

   Office, § 256 does not require that all inventors and assignees

   agree for a district court to have subject matter jurisdiction.

   In this case, all parties were given notice and an opportunity

   to be heard.

      B. Motion Opinion Standard



                                       20
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              328 Filed: 12/14/2021
                                                      Page 21 of 48 PageID: 16286



        “Rule 52(a)(3) provides that the court is not required to

   state findings or conclusions when ruling on a motion unless the

   rules provide otherwise.”      Ambrose v. Krause Publications, Inc.,

   354 Fed.Appx. 711, 713 (3d Cir. 2009).        Nevertheless, when “the

   district court is presented with conflicting positions of

   substance as to how it should exercise its discretion . . . it

   is salutary practice to give the litigants, either orally or in

   writing, at least a minimum articulation for the reasons of its

   decision.”   State Farm Mut. Auto. Ins. Co. v. Midtown Medical

   Center, Inc., 388 Fed.Appx. 125, 129 (3d Cir. 2010) (quoting

   Interpace Corp. v. City of Phila., 438 F.2d 401, 404 (3d Cir.

   1971)).

        This Opinion constitutes the Court's Findings of Fact and

   Conclusions of Law pursuant to Rule 52(a)(3).         See Pierre v.

   Hess Oil Virgin Islands Corp., 624 F.2d 445, 450 (3d Cir. 1980)

   (holding that to be in compliance with Rule 52(a), findings of

   fact and conclusions of law do not need to be stated separately

   in a court's memorandum opinion); see also Ciolino v. Ameriquest

   Transp. Services, Inc., 751 F. Supp. 2d 776, 778 (D.N.J. 2010)

   (issuing an opinion which constituted the court’s findings of

   fact and conclusions of law).

      C. Correction of Inventorship Standard and Burden of Proof

        In a § 256 proceeding to correct inventorship, “the

   inventors as named in an issued patent are presumed to be

                                       21
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              329 Filed: 12/14/2021
                                                      Page 22 of 48 PageID: 16287



   correct.”    Hess v. Advanced Cardiovascular Sys., Inc., 106 F.3d

   976, 980 (Fed. Cir. 1997) (citations and internal quotation

   marks omitted).    In addition to this presumption, courts have

   also recognized the “temptation for even honest witnesses to

   reconstruct, in a manner favorable to their own position, what

   their state of mind may have been years earlier.”         Id. (citing

   Amax Fly Ash Corp. v. United States, 514 F.2d 1041, 1047

   (1975)).    In recognition of this temptation, the claimed

   inventor must “meet a heavy burden of proving his case by clear

   and convincing evidence.”      Au New Haven, LLC v. YKK Corp., 2019

   WL 2996473 at *5 (S.D.N.Y. 2019) (citing Finkelstein v. Mardkha,

   495 F. Supp. 2d 329, 337 (S.D.N.Y. 2007)).

        To satisfy this standard, a claimed inventor must provide

   evidence corroborating his testimony concerning conception of

   the invention.    Eli Lilly & Co. v. Aradigm Corp., 376 F.3d 1352,

   1358 (Fed. Cir. 2004); Ethicon, Inc. v. U.S. Surgical Corp., 135

   F.3d 1456, 1461 (Fed. Cir. 1998).        Finally, “[t]he determination

   of whether a person is a joint inventor is fact specific and no

   bright-line standard will suffice in every case.”         Fina Oil &

   Chem. Co. v. Ewen, 123 F.3d 1466, 1473 (Fed. Cir. 1997).

      D. Correction of Inventorship

           a. Conception

        Conception is a term of art in patent law and “the

   touchstone of inventorship.”      Burroughs Wellcome Co. v. Barr

                                       22
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              330 Filed: 12/14/2021
                                                      Page 23 of 48 PageID: 16288



   Labs., Inc., 40 F.3d 1223, 1228 (Fed. Cir. 1994) (citing Sewall

   v. Walters, 21 F.3d 411, 415 (Fed. Cir. 1994)); Finkelstein, 495

   F.Supp.2d at 337.     A person can be a joint inventor only if he

   or she contributes to the conception of the claimed invention.

   See Eli Lilly, 376 F.3d at 1359.

         Courts have recognized that “the line between actual

   contributions to conception and the remaining, more prosaic

   contributions to the inventive process that do not render the

   contributor a co-inventor is sometimes a difficult one to draw.”

   Id.   However, the Court is not entirely without guidance as to a

   working definition of “conception.”       Conception is “the

   formation in the mind of the inventor, of a definite and

   permanent idea of the complete and operative invention, as it is

   hereafter to be applied in practice.”       Burroughs, 40 F.3d at

   1228 (quoting Hybritech Inc. v. Monoclonal Antibodies, Inc., 802

   F.3d 1367, 1376 (Fed. Cir. 1986)).       Conception has also been

   defined as “the complete performance of the mental part of the

   inventive act.”    Coleman v. Dines, 754 F.2d 353, 359 (Fed. Cir.

   1985).

         The mental act of conception is complete when “the idea is

   so clearly defined in the inventor’s mind that only ordinary

   skill would be necessary to reduce the invention to practice

   without extensive research or experimentation.”         Burroughs, 40

   F.3d at 1228; see Sewall, 21 F.3d at 415 (“Conception is

                                       23
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              331 Filed: 12/14/2021
                                                      Page 24 of 48 PageID: 16289



   complete when one of ordinary skill in the art could construct

   the apparatus without unduly extensive research or

   experimentation.”).     An idea is sufficiently defined when an

   inventor has a “specific, settled idea, a particular solution to

   the problem at hand, not just a general goal or research plan he

   hopes to pursue.”     Burroughs, 40 F.3d at 1228 (citing Fiers v.

   Revel, 984 F.2d 1164, 1169 (Fed. Cir. 1993)).         Conception of an

   invention, therefore, must include every feature of a claimed

   invention.   See Coleman, 754 F.2d at 359.       This analysis

   requires that an inventor can describe his or her invention with

   particularity.    Burroughs, 40 F.3d at 1228.

        Plaintiffs argue that Gary Ragner could not have

   contributed to the conception of the XHose because Michael

   Berardi had already conceived of a hose with an elastic tube

   inside a fabric cover during his “eureka moment” in his

   community gym.    However, by his own admission, at the time that

   Michael Berardi and Gary Ragner met, Michael Berardi did not

   have a definite and permanent idea of the complete and operative

   XHose.   Instead, he had a “nebulous concept” or “seed idea” for

   an expandable garden hose derived simply from his exposure to

   the Ragner Technologies video.

        On August 23, 2011, Michael Berardi had not completed the

   mental part of the inventive act.        Moreover, his idea was not so

   clearly defined that it only took ordinary skill to produce the

                                       24
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              332 Filed: 12/14/2021
                                                      Page 25 of 48 PageID: 16290



   XHose.   Developing the XHose required extensive experimentation.

   Michael Berardi testified that it took almost two and a half

   months of experimentation to create a fifty-foot prototype of

   the XHose.   Michael Berardi did not have a specific, settled

   idea, but rather a general goal of creating an expandable garden

   hose that could succeed as a DRTV product.        Similarly, Michael

   Berardi did not yet have solution to a problem, or even a

   research plan to follow for the creation of the XHose.          In fact,

   he testified that while making his first prototype, he “didn’t

   really know what [he] was doing” and had not settled on a “final

   thought process” for how to produce his hose.

        At the time that Michael Berardi and Gary Ragner met,

   Michael Berardi’s idea for a hose did not yet include every

   feature of his invention.      Michael Berardi’s inventive process

   demonstrates that his idea for the XHose was indeed “nebulous,”

   as he described it.     Michael Berardi testified he “didn’t really

   know . . . if [he] was going to put the water through the hose”

   when he made the first prototype of the XHose.         During the two

   and a half months following his meeting with Ragner, Michael

   Berardi changed both the materials and the design for the XHose.

   Furthermore, even if one credits it, Michael Berardi’s

   conversation with his wife following his “eureka moment” does

   not illustrate that Michael Berardi could describe his invention



                                       25
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              333 Filed: 12/14/2021
                                                      Page 26 of 48 PageID: 16291



   with particularity, but rather that he was enthusiastic about

   the idea.

        The Court finds that because Michael Berardi did not have a

   conception of the XHose prior to the August 23 meeting, it is

   possible that Gary Ragner contributed to the conception of the

   XHose.

            b. Collaboration

        Title 35, United States Code, Section 116 allows for a

   patented invention to be the work of two or more joint

   inventors.   Ethicon, 135 F.3d at 1461 (citing 35 U.S.C. § 116).

   “Joint inventorship under section 116 can only arise when

   collaboration or concerted effort occurs.”        Eli Lilly, 376 F.3d

   at 1359.    To be added to a patent, an alleged inventor must show

   that his or her labor were “conjoined with the efforts” of the

   listed inventors.     Id.

        While it is difficult to precisely define collaboration for

   the purpose of joint inventorship, the Federal Circuit in

   Kimberly-Clark Corp. provides a helpful explanation:

        For persons to be joint inventors under Section 116,
        there must be some element of joint behavior, such as
        collaboration or working under common direction, one
        inventor seeing a relevant report and building upon it
        or hearing another’s suggestion at a meeting.

   973 F.2d 911, 918 (Fed. Cir. 1992).       In other words, “joint

   inventorship arises only ‘when collaboration or concerted effort

   occurs - that is, when the inventors have some open line of
                                       26
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              334 Filed: 12/14/2021
                                                      Page 27 of 48 PageID: 16292



   communication during or in temporal proximity to their inventive

   efforts.’”    Falana v. Kent State Univ., 669 F.3d 1349, 1358

   (Fed. Cir. 2012) (quoting Eli Lilly, 376 F.3d at 1359).          On the

   other hand, the Federal Circuit in Kimberly-Clark Corp. further

   articulated that:

        Individuals cannot be joint inventors if they are
        completely ignorant of what each other has done until
        years after their individual independent efforts. They
        cannot be totally independent of each other and be joint
        inventors.

   973 F.2d at 918.

        Though joint inventors must have knowledge of his or her

   co-inventor’s efforts, these cases stop short of requiring an

   intent to invent.     In CODA Dev. S.R.O. v. Goodyear Tire & Rubber

   Co., the Federal Circuit considered whether dismissal of a

   correction of inventorship claim at the motion to dismiss stage

   was appropriate.     916 F.3d 1350, 1353 (Fed. Cir. 2019).       In that

   matter, the defendant, through General Motors Corp., expressed

   an interest in plaintiff’s self-inflating tire (“SIT”)

   technology.    Id.   The plaintiff met with the defendant and

   allegedly “shared novel, proprietary, and confidential

   information concerning its SIT technology.”        Id. at 1354.

        At a second meeting a few months later, the plaintiff

   allowed the defendant to examine a working prototype, which the

   defendant photographed without the plaintiff’s permission.           Id.

   A few months later, the defendant applied for a patent “entitled

                                       27
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              335 Filed: 12/14/2021
                                                      Page 28 of 48 PageID: 16293



   ‘Self-Inflating Tire Assembly.’”         Id.    The plaintiff claimed

   this invention was at least in part what the plaintiff had shown

   the defendant during their meetings.           Id.   Eleven other patents

   were issued to the defendant on similar technology thereafter.

   Id. at 1355.    The Federal Circuit opined that this set of

   allegations was sufficient to support a correction of

   inventorship claim, and specifically was enough to show

   collaboration.    Id. at 1359-60.     In reaching this decision, the

   Federal Circuit took into account the defendant’s prior

   failures, eagerness to meet with the plaintiff, unauthorized

   photography of a functional prototype, the timing of a more

   distance relationship with the plaintiff, and an accusation from

   a former employee as evidence that the plaintiff’s correction of

   inventorship claim was plausible.         Id. at 1359.

        While there may be slight factual differences between the

   situation described in CODA Dev. S.R.O. and the current facts,

   the Court finds that the facts are sufficiently similar to

   support a finding of collaboration in this matter.           Michael

   Berardi saw relevant and excruciatingly detailed graphics and

   photographs at his meeting with Ragner Technologies.           These

   disclosures encompassed Ragner’s novel, proprietary, and

   confidential information concerning Ragner Technologies’

   MicroHose most, if not all, of which had been set forth in

   Ragner’s pending patent applications.

                                       28
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              336 Filed: 12/14/2021
                                                      Page 29 of 48 PageID: 16294



        Though Michael Berardi did not photograph the prototype he

   was shown, he did hold and use it, even asking to keep it.

   Berardi clearly relied upon the prototype and Ragner’s oral

   suggestions about alternative methods for building an expandable

   hose in building his own.      After Michael Berardi applied for his

   patent for the XHose in November 2011, Ragner recognized these

   inventions as being related to what he had shown Michael Berardi

   in the August 23 meeting.      Moreover, Michael Berardi had neither

   attempted nor failed to make an expandable hose prior to meeting

   with Ragner Technologies and he admitted he was eager to meet

   with Ragner Technologies about its expandable hose.

        After the meeting, neither Ed Kelly nor Michael Berardi

   responded to Margaret Combs’ email regarding an NDA, and the

   parties never communicated again, suggesting a more distant

   relationship.    These facts are not favorable to Plaintiff.         The

   Court credits the testimony of Combs that she had secured an

   oral commitment from those at the meeting, including Berardi,

   for the post-meeting signing of an NDA.        Her post-meeting

   conduct corroborates that testimony.

        An NDA was never signed not because the parties had not

   agreed to it but rather because the investor part of the group

   was not interested in investing in a machine to build a product

   that could be built more cheaply overseas.        And Michael Berardi

   had no reason to sign an NDA after the fact.        Despite the oral

                                       29
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              337 Filed: 12/14/2021
                                                      Page 30 of 48 PageID: 16295



   agreement that had been reached, the Court is convinced Berardi

   left the meeting intent on using what he had learned in it to

   flesh out his nebulous idea and build a flexible hose for

   himself.

        Plaintiffs argue that because Gary Ragner did not intend to

   invent a garden hose when he met with Michael Berardi, he could

   not have collaborated in creating the XHose.        Plaintiffs further

   point to the fact that Ragner did not think that he had invented

   a new garden hose when he left the August 23 meeting as evidence

   that he did not collaborate with Michael Berardi.         The Court

   rejects Plaintiff’s argument that there must be an intent to

   invent or expectation of having invented for collaboration, as a

   legal matter to occur.     The issue is not Ragner’s intent but

   Berardi’s and his level of knowledge before and after the

   meeting.

        The Court finds on the evidence presented that as a matter

   of law Gary Ragner collaborated with Michael Berardi to invent

   the patents in question.

           c. Contribution

        A person can be listed as an inventor only if he or she

   contributes to the conception of the claimed invention.          Fina

   Oil & Chem. Co., 123 F.3d at 1473.       However, the statute

   providing for joint inventorship does not set an explicit lower

   limit on “the quantum or quality of the inventive contribution

                                       30
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              338 Filed: 12/14/2021
                                                      Page 31 of 48 PageID: 16296



   required for a person to qualify as a joint inventor.”          Id.; see

   35 U.S.C. § 116.    Title 35, United States Code, Section 116

   allows for inventors to apply for a patent jointly event though

   “(1) they did not physically work together or at the same time;

   (2) each did not make the same type or amount of contribution,

   or (3) each did not make a contribution to the subject matter of

   every claim of the patent.”      35 U.S.C. § 116.     A joint inventor

   does not need to make a contribution of the same type or amount

   of the named inventor, nor does a joint inventor need to make a

   claim to every claim of a patent.        See Finkelstein, 495

   F.Supp.2d at 337-38 (quoting Ethicon Inc., 135 F.3d at 1460).           A

   contribution to one claim is enough.        See id.

        To qualify as a joint inventor, a person’s contribution

   must be “not insignificant in quality, when that contribution is

   measured against the dimension of the full invention.”          Fina Oil

   & Chem. Co., 123 F.3d at 1473.      Merely “explaining to the

   inventors what the state of the art was and supplying a product

   to them for use in their invention” is not a sufficient

   contribution to establish joint inventorship.         Hess, 106 F.3d at

   980 (holding that a person who did “no more than a skilled

   salesman would do” and did not conduct any research and

   development work had not contributed to an invention).

   Similarly, “exercising ordinary skill in the art to reduce an

   idea to practice” does not constitution a contribution.          See

                                       31
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              339 Filed: 12/14/2021
                                                      Page 32 of 48 PageID: 16297



   Finkelstein, 495 F.Supp.2d at 416.       A person who provides “well-

   known principles or explains the state of the art without ever

   having ‘a firm and definite idea’ of the claimed combination as

   a whole” cannot be named a joint inventor.        Ethicon, 135 F.3d at

   1460 (quoting Hess, 106 F.3d at 981).

        Defendants do not contend that Ragner physically worked

   with Michael Berardi in creating the XHose.        Defendants

   similarly do not contend that Ragner and Michael Berardi did

   their work at the same time.      Defendants also do not argue that

   Ragner and Michael Berardi made the same amount or type of

   contribution.    Defendants instead argue that Michael Berardi

   contributed nothing to the invention of the XHose.         According to

   Defendants, Ragner contributed at least one of the following

   concepts to the conception of the XHose: “(1) inner and outer

   tubes attached only at the ends; (2) a fabric outer tube, and

   (3) an elastic inner tube that can provide force to retract the

   hose, including without a metal spring.”

        Plaintiffs counter that Ragner did not contribute to

   Michael Berardi’s invention. 5     Plaintiffs highlight that all the

   MicroHose prototypes Ragner and de Rochemont had created before




   5 Plaintiffs also assert that the Court is required to engage in
   claim construction prior to determining inventorship. The Court
   has declined to do so and need not do so in order to determine
   that Defendants have met the standard to show that Ragner is a
   co-inventor of the Berardi patents-in-suit.
                                       32
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              340 Filed: 12/14/2021
                                                      Page 33 of 48 PageID: 16298



   August 23 relied on a wire or some type spring for biasing.

   Plaintiffs deny that the conversation between Ragner and Michael

   Berardi about replacing the spring component with elastic ever

   occurred.   Plaintiffs emphasize that Michael Berardi never saw,

   held, or used prototype 2 of the MicroHose, but instead saw a

   prototype that differs greatly from the XHose.         At most,

   Plaintiffs allege that Ragner contributed valuable information

   that was already part of the prior art in hose manufacturing.

        Plaintiffs argue that the novel information that Ragner

   claims to have disclosed during the meeting was covered by his

   previous patent, U.S. Patent No. 6,948,527.        Therefore,

   according to Plaintiffs, everything Ragner described to Michael

   Berardi was already part of the art.       But Berardi and Plaintiffs

   have asserted that Berardi’s patents are distinguished from

   Ragner Patent ‘527 by Berardi’s inclusion of (1) inner and outer

   tubes attached only at the ends, (2) a fabric outer tube, and

   (3) an elastic inner tube that can provide force to retract the

   hose without a metal spring.

        The Court finds that Ragner made a significant contribution

   to the invention of the XHose, and, in particular, to the

   conception of at least one claim in each of the six asserted

   Berardi patents, by conveying these three elements to Berardi in

   the context of the design for a garden hose. It was not disputed

   that each of Berardi’s four asserted utility patents has one or

                                       33
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              341 Filed: 12/14/2021
                                                      Page 34 of 48 PageID: 16299



   more claims that require at least these three elements. Further,

   in disclosing these elements in the context of Ragner’s hose

   designs – including his disclosure that the spring in those

   designs could be removed – Ragner (as he testified) conveyed to

   Berardi a hose with the ‘crumpled’ aspect depicted in Berardi’s

   two design patent claims, which Berardi himself admitted is the

   result of how the hose is made.       In the course of his meeting

   with Michael Berardi, Cheryl Berardi, and Ed Kelly, Ragner did

   more than merely explain the state of the art and supply a

   product for their use.     According to Michael Berardi’s

   testimony, Ragner acted more “like a professor” than a skilled

   salesman during his explanation of the MicroHose production

   process.   Ragner shared the fruits of his own research and

   development work on expandable garden hoses for over a half-hour

   during this investment meeting.       He created and presented visual

   aids to explain both the manufacturing process and internal

   structure of the MicroHose, exercising more than ordinary skill

   in the art.

        Given his years of experience working on hoses and his

   eighteen to twenty prototypes of the MicroHose, the Court finds

   that Ragner had a clear and definite picture of the expandable,

   retractable garden hose he described as prototype 2.          Ragner’s

   decision not to pursue this design further does not reflect a

   lack of a clear or definite idea.        Rather, Ragner’s continued

                                       34
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              342 Filed: 12/14/2021
                                                      Page 35 of 48 PageID: 16300



   innovation reflects a rejection of a design that, in Ragner’s

   view, exhibited an unacceptable propensity to burst under high

   water pressure.

          Without engaging in claim construction, the Court does not

   find that everything Ragner disclosed was covered by Patent

   ‘527.    Ragner testified that he told Michael Berardi it was

   possible to make an expandable garden hose without using a

   spring to bias the hose, testimony the Court credits.          Michael

   Berardi (joined by Plaintiffs) interprets Patent ‘527 as relying

   on a spring for biasing, whereas Michael Berardi’s patents do

   not.    Berardi Patent ‘941 asserts the absence of a spring as a

   means of distinguishing itself from Ragner Patent ‘527.          If the

   presence of a biasing spring is what distinguishes Michael

   Berardi’s patents from Ragner’s patent, then by disclosing that

   a biasing spring was not necessary, Ragner could not have been

   disclosing information already in the art.

          The Court finds that Ragner contributed to the invention of

   the XHose by sharing information that, according to Michael

   Berardi’s (and Plaintiffs’) own understanding and assertions,

   was not previously available to Michael Berardi about designs

   for a retractable hose.

            d. Corroboration

          When considering whether an alleged inventor’s testimony is

   corroborated, a Court must “bear in mind the purpose of

                                       35
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              343 Filed: 12/14/2021
                                                      Page 36 of 48 PageID: 16301



   corroboration, which is to prevent fraud, by providing

   independent confirmation of the inventor’s testimony.”          Kridl v.

   McCormick, 105 F.3d 1446, 1450 (Fed Cir. 1997); see Mycogen

   Plant Sci., Inc. v. Monsanto Co., 61 F.Supp.2d 199, 240 (Fed.

   Cir. 1999).    “There is no single formula that must be followed

   in proving corroboration.”      Berry v. Webb, 412 F.2d 261, 266

   (CCPA 1969).    By the same token, there is no single type of

   corroborating evidence.     Finkelstein, 495 F.Supp.2d at 337

   (citing Trovan, Ltd. v. Sokymat SA, Irori, 299 F.3d 1292, 1303

   (Fed Cir. 2002)).

        Typically, courts have allowed for “proof by circumstantial

   evidence” and have not required “an over-the-shoulder observer

   or corroboration of every factual issue.”        Cooper v. Goldfarb,

   154 F.3d 1321, 1330 (Fed. Cir. 1998).        Corroborating evidence

   includes contemporaneous documentary evidence, oral testimony of

   others, and circumstantial evidence.        Finkelstein, 495 F.Supp.2d

   at 337.

        Of these types of relevant evidence, only the inventor’s

   testimony must be corroborated before it can be considered.

   Price v. Symsek, 998 F.2d 1187, 1196 (Fed. Cir. 1993).          In

   contrast, physical exhibits do not require corroboration.            Id.

   The Federal Circuit has referred to documentary or physical

   evidence as “the most reliable proof that the inventor’s

   testimony has been corroborated.”        Martek Biosciences Corp. v.

                                       36
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              344 Filed: 12/14/2021
                                                      Page 37 of 48 PageID: 16302



   Nutrinova Inc., 579 F.3d 1363, 1375 (Fed. Cir. 2009) (citing

   Sandt Tech. Ltd. v. Resco Metal & Plastics Corp., 264 F.3d 1344,

   1350-51 (Fed. Cir. 2001)).      This evidence is particularly

   reliable because physical evidence is usually “created at the

   time of conception or reduction to practice,” eliminating the

   “risk of litigation-inspired fabrication or exaggeration.”

   Sandt Tech. Ltd., 264 F.3d at 1351.

        The Federal Circuit applies a “rule of reason” test to

   determine whether the inventor’s testimony has been

   corroborated.    Id.   The Court will therefore “examine, analyze,

   and evaluate reasonably all pertinent evidence when weighing the

   credibility of an inventor’s story.”        Holmwood v. Sugavanam, 948

   F.2d 1236, 1239 (Fed. Cir. 1991).        In Price v. Symsek, the

   Federal Circuit listed several factors bearing on the inventor’s

   credibility and whether the inventor’s testimony is adequately

   corroborated: “(1) the delay between the event and the trial,

   (2) interest of corroborating witnesses, (3) contradiction or

   impeachment, (4) corroboration, (5) the corroborating witnesses’

   familiarity with details of alleged prior structure, (6)

   improbability of prior use considering state of the art, (7)

   impact of the invention on the industry, and (8) relationship

   between witness and alleged prior user.”        998 F.2d at 1195 n. 3.

        Defendants offer several physical exhibits to corroborate

   Ragner’s testimony.     These exhibits include: Ragner

                                       37
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              345 Filed: 12/14/2021
                                                      Page 38 of 48 PageID: 16303



   Technologies’ business plan, a version of the MicroHose

   prototype similar to the one used for demonstration at the

   meeting, a color drawing of Process 17, 6 instructions for

   potential investors written by Ragner, and U.S. Patent No.

   8,776,836.   The business plan, drawing, and instructions all

   discuss “knitted reinforcement” or “fiber reinforcement” on the

   outside of the hose.     Ragner’s Process 17 drawing also

   references an expandable hose with an elastic tube that provides

   retracting force.     The prototype Ragner actually used to

   demonstrate the MicroHose was like another protype presented at

   the hearing that features an inner and outer tube attached only

   at the ends, except that in the demonstrated prototype the

   elastic vinyl tube through which water flowed was surrounded by

   a valley cord (rather than a full outer fabric tube) that was

   attached only at the ends.

        The Court agrees with Defendants that U.S. Patent No.

   8,776,836 corroborates Ragner’s testimony.        Patent ‘836, which




   6 Michael Berardi testified that he was not sure if the process
   17 drawing he was shown during his deposition or during this
   hearing was the exact document he saw during the August 23
   meeting. Michael and Cheryl Berardi both testified that the
   drawing they saw during the meeting at their house was in color.
   Michael Berardi contests that the document at the meeting did
   not have pictures or graphics. The exhibit was entered into
   evidence with both parties’ acquiescence. The Court finds on
   the evidence presented at the hearing that the document entered
   into evidence is either the graphic shown at the meeting or is
   not materially different.
                                       38
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              346 Filed: 12/14/2021
                                                      Page 39 of 48 PageID: 16304



   was filed in 2006, but not published until 2013, memorializes

   Ragner’s knowledge about retractable garden hoses when he

   attended the August 23, 2011 meeting.         However, because this

   patent was not published until 2013, this information was not

   publicly known at the time Ragner and Berardi met and discussed

   the MicroHose.

        Again, without engaging in claim construction, the Court

   finds that Patent ‘836 corroborates Ragner’s testimony that he

   had previously designed a hose with these three features: (1)

   inner and outer tubes connected only at the ends; (2) a fabric

   outer tube made of nylon or polyester; and (3) an elastic inner

   tube to provide biasing force without the need for a spring.

   This prior knowledge corroborates Ragner’s testimony that he was

   prepared to, and did in fact, discuss these features with

   Michael Berardi at the August 23 meeting.         The fact that Patent

   ‘836 later entered the public domain does not bar a finding of

   co-inventorship, especially given that this information was “not

   contemporaneously available to an ordinary skilled artisan”

   during the meeting in question.       Cf., CardiAQ Valve Techs. v.

   Neovasc Inc., 708 Fed. Appx. 654, 660 (Fed. Cir. 2017)

   (unpublished).

        Furthermore, Michael Berardi’s first prototype also

   corroborates Ragner’s testimony.         Ragner testified that he was

   struck by the similarity between what he had described to

                                       39
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              347 Filed: 12/14/2021
                                                      Page 40 of 48 PageID: 16305



   Michael Berardi as prototype 2 and Michael Berardi’s first

   prototype.   Both prototypes featured elastic running through the

   middle of a larger, a two-and-a-half-inch diameter hose.          In

   both prototypes, water could not run through the internal

   elastic element.

        Perhaps even more telling is that this initial prototype

   did not seem to match Michael Berardi’s own alleged conception

   of his hose.    Michael Berardi’s first version appears to more

   closely match Ragner’s description of prototype 2 than his

   original idea for a hose.      During his “eureka moment,” Michael

   Berardi contemplated running water through an elastic tube like

   the ones he saw in his community gym.       However, this was not the

   idea he first implemented.      Instead, Michael Berardi started his

   inventive process with the design that Ragner testified he

   shared with Michael Berardi just days before.

        Because these exhibits are physical evidence created at the

   time of conception or reduction to practice, there is no risk of

   litigation-inspired fabrication or exaggeration.         The Court

   finds that these exhibits corroborate Gary Ragner’s testimony.

        Next, the Court will take into account all the pertinent

   evidence when weighing the credibility of Ragner’s story.          Using

   the factors from Price, the Court will examine whether each

   witness’s testimony corroborates Ragner’s invention story.



                                       40
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              348 Filed: 12/14/2021
                                                      Page 41 of 48 PageID: 16306



        A long delay between the events in question and testimony

   may undermine the reliability of an alleged inventor’s

   testimony.    See Woodland Trust v. Flowertree Nursery, Inc., 148

   F.3d 1368, 1371-72 (Fed. Cir. 1998).         However, when an alleged

   inventor relies on contemporaneous documents and demonstrates a

   strong recollection of the subject matter, his or her testimony

   is bolstered.    Ceats, Inc. v. Continental Airlines, 2012 WL

   12886830 at *7 (E.D. Tex. 2012).         In this case, all the

   corroborating and contradictory witnesses are testifying about

   events that occurred in 2011 or earlier.         It has been several

   years since this meeting has occurred but, in some cases, the

   witnesses have had access to contemporaneous documents.

        An interested witness is a “named party, an employee of or

   assignor to a named party, or [a person who] otherwise is in a

   position where he or she stands to directly and substantially

   gain by his or her invention being found to have priority over

   the patent claims at issue.”      Id. (citing Thomson S.A. v.

   Quixote Corp., 116 F.3d 1172, 1176 (Fed. Cir. 1999)); see

   Netscape Comms. Corp. v. ValueClick, Inc., 704 F.Supp.2d 544,

   555-56 (E.D. Va. 2010) (discussing the requirements for

   corroborating interested and disinterested witnesses’

   testimony).    As will be discussed below, several of the

   witnesses offering corroborating or contradicting testimony are

   interested witnesses.

                                       41
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              349 Filed: 12/14/2021
                                                      Page 42 of 48 PageID: 16307



        1. Margaret Combs’ Testimony

        Though Ragner Technologies no longer employs Combs, she has

   retained a 10% equity in the company.       Combs is an interested

   witness for purposes of corroborating Ragner’s testimony.

        Combs testified that she was not close enough to Ragner and

   Michael Berardi to overhear a conversation about prototype 2 or

   any alternative designs for an expandable hose.         Combs’

   testimony neither contradicts nor corroborates Ragner’s

   testimony.

        2. Robert de Rochemont’s Testimony

        De Rochemont is currently the CEO of Ragner Technologies.

   De Rochemont is an interested witness for the purposes of

   corroborating Ragner’s testimony.

        De Rochemont testified that due to his hearing loss, he,

   like Combs, was not able to hear Ragner and Michael Berardi’s

   conversation.    De Rochemont’s testimony neither contradicts nor

   corroborates Ragner’s testimony.

        3. Keith Mirchandani’s Testimony

        As an owner of Tristar, Keith Mirchandani is an employee of

   a named party.    Because Tristar also produces an expandable

   hose, Mirchandani likely has an interest in the outcome of this

   inventorship hearing.     Mirchandani is an interested witness for

   the purposes of corroborating Ragner’s testimony.



                                       42
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              350 Filed: 12/14/2021
                                                      Page 43 of 48 PageID: 16308



        Mirchandani testified that Ragner relayed his conversation

   with Michael Berardi to him later.        Mirchandani testified that

   Ragner told him that Ragner had shared with Michael Berardi that

   a spring may not be necessary for a retractable hose.          However,

   Mirchandani was not present at the meeting to witness this

   conversation himself.     Furthermore, Mirchandani did not learn of

   the MicroHose until September 2012 when he began pursuing

   licensing agreements for an expandable hose.        It is therefore

   unlikely that Mirchandani is familiar with the details of the

   MicroHose structure or prototype 2.

        The Court finds that Mirchandani’s corroboration is weak at

   best.

        4. Cheryl Berardi’s Testimony

        Cheryl Berardi is an employee of a named party, Blue

   Gentian.   Cheryl Berardi does not stand to gain if Ragner is

   named as a co-inventor of these patents.        Cheryl Berardi is

   therefore an interested witness.         Though Cheryl Berardi may not

   stand to gain if Ragner is named as a co-inventor, she is not

   without an incentive to reconstruct the events of August 23 in a

   manner favorable to her position.        Cheryl Berardi and Blue

   Gentian stand to benefit from Michael Berardi remaining the sole

   inventor of the XHose.

        Cheryl Berardi’s testimony partially contradicts Ragner’s

   testimony.   Cheryl Berardi testified that the meeting attendees

                                       43
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              351 Filed: 12/14/2021
                                                      Page 44 of 48 PageID: 16309



   did not discuss elastic or any previous models of the MicroHose

   during the August 23 meeting at her home.        Cheryl Berardi also

   testified that she was not paying attention to all parts of the

   meeting and would at times leave the room.        The Court finds

   Cheryl Berardi’s contradictory testimony unpersuasive.

        5. Michael Berardi’s Testimony

        Michael Berardi is an employee of a named party, Blue

   Gentian.   However, Michael Berardi does not stand to gain if

   Ragner is named as a co-inventor of these patents.         Michael

   Berardi is therefore an interested witness as defined above.

   Like Cheryl Berardi, Michael Berardi also has an interest in

   reconstructing the events of the August 23 meeting in a manner

   more favorable to himself.      Michael Berardi and Blue Gentian

   have an interest in remaining the sole owners of the six patents

   in question.

        Michael Berardi’s testimony both contradicts and

   corroborates Ragner’s testimony.         Michael Berardi contradicted

   Ragner’s testimony by claiming that while they may have

   discussed “elastomers,” at the August 23 meeting, they did not

   discuss “elastic.”     However, Michael Berardi also testified that

   he did ask Ragner about the materials used in the MicroHose

   prototype during the demonstration portion of the meeting.

   Michael Berardi stated that while he did remember some questions

   being asked during the Ragner Technologies team’s explanation of

                                       44
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              352 Filed: 12/14/2021
                                                      Page 45 of 48 PageID: 16310



   Process 17, he could not remember any specific questions.          This

   account does not preclude the possibility that Ragner’s

   testimony about his conversation with Michael Berardi was

   accurate.    To the extent their testimony conflicts, after

   observing their demeanor and after reviewing all the evidence as

   a whole, the Court views Ragner’s testimony on this issue the

   most credible.

        Furthermore, while Ragner maintains that Michael Berardi

   took most, if not all, of his idea for the XHose from Ragner

   Technologies, Michael Berardi partially concedes that he “may

   have subconsciously remembered” some elements of Ragner’s video

   for the MicroHose during his inventive process.         Michael Berardi

   also admitted that his original idea for the XHose “kind of

   reminded me I guess maybe of the expanding hose that Ragner had

   invented.”

        Michael Berardi’s testimony is particularly relevant for

   corroboration.    As the only inventor currently listed on the six

   patents in suit, Michael Berardi is very familiar with the

   details of the technology used in the XHose.        Michael Berardi

   also held and used a prototype of the MicroHose at the August 23

   meeting.    During the three to four-hour meeting at his house,

   Michael Berardi listened to Ragner lecture “like a professor”

   about manufacturing the MicroHose.       Michael Berardi is therefore

   familiar with the details of both inventions.

                                       45
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              353 Filed: 12/14/2021
                                                      Page 46 of 48 PageID: 16311



        Ragner Technologies attempted to establish an ongoing

   business relationship with Ed Kelly and Michael Berardi.

   Following the August 23 meeting, it became clear, at least to

   Michael Berardi, that this business relationship would not move

   forward.   As mentioned above, the prospect of a business

   relationship lasted from late July 2011, to August 23, 2011.

   When Margaret Combs emailed Ed Kelly and Michael Berardi about a

   non-disclosure agreement on August 25, 2011, she did not receive

   a response.    Ragner Technologies and Michael Berardi never met

   again.

        After considering all pertinent evidence, the Court finds

   that Ragner’s testimony is adequately corroborated both by

   physical and circumstantial evidence.       Although he was seeking

   investors not a collaborator, when Gary Ragner made his

   elaborate and thorough presentation at the August 23 meeting, he

   conveyed to Michael Berardi key elements of the eventual product

   known as the XHose, more specifically, as Defendants contend:

   (1) inner and outer tubes attached only at the ends; (2) a

   fabric outer tube, and (3) an elastic inner tube that can

   provide force to retract the hose, including without a metal

   spring.

        When, as here, “inventors have some open line of

   communication during or in temporal proximity to their inventive

   efforts” co-inventorship can occur.       Falana, 669 F.3d at 1358.

                                       46
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              354 Filed: 12/14/2021
                                                      Page 47 of 48 PageID: 16312



   Michael Berardi may be a resourceful and inventive person, but

   here his creation of the XHose occurred only because of the

   immediately preceding insight, inventiveness, prior detailed

   experimentation, design, help, and guidance, albeit short-lived,

   of Gary Ragner.

                                  Conclusion

        Gary Ragner came to the August 2011 meeting well-prepared

   as an experienced engineer and inventor of flexible and

   expandable hoses.     Ragner had not only experimented with various

   designs, he had built several prototypes (including one he

   brought and demonstrated at the meeting) and had taken the

   further step of designing a machine to build them.         To explain

   the machine is to explain the product.        His expertise and years

   of work were on full display.

        In a practical sense, however, Ragner was ill-prepared for

   the hastily arranged version of “Shark Tank” he encountered in

   Michael Berardi’s home.     Berardi, as creative in other milieus

   as he may have been, hosted the meeting not as an experienced

   engineer but because of his understandable eagerness to learn

   about and exploit commercially the product he had seen in the

   Ragner Technology online video.       He left the meeting having been

   taught something he did not know before the meeting - the key

   design principles of an expandable and flexible hose as outlined

   above.   He simply went on, in short time, to build, using the

                                       47
             Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document: 17 Filed
                           Document 569 Page:08/12/21
                                              355 Filed: 12/14/2021
                                                      Page 48 of 48 PageID: 16313



   information he had learned, a cheaper and simpler version of the

   invention Ragner disclosed at the meeting and one, importantly,

   containing each of its key components.

        Accordingly, for the reasons discussed above, Defendants

   have shown through clear and convincing evidence that Gary

   Ragner contributed to the conception of the XHose and at least

   one claim in each of the asserted Berardi patents and should be

   named an co-inventor.     The Court will grant Defendants’ motion

   for a correction of inventorship.

        An accompanying Order will be entered directing a

   correction of inventorship for the patents in suit.          Orders

   denying Defendants’ motion to disregard Plaintiffs’ unauthorized

   June 12, 2019 filing, and motion for expedited consideration of

   motion to disregard Plaintiffs’ unauthorized June 12, 2019

   filing will also be entered.



   Date: August 12, 2021                    _s/ Noel L. Hillman_______
   At Camden, New Jersey                    NOEL L. HILLMAN, U.S.D.J.




                                       48
Case: 21-2316   Document: 17   Page: 356   Filed: 12/14/2021




                   EXHIBIT N
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     571 Page:  357 Filed:
                                          Filed 09/10/21   12/14/2021
                                                         Page 1 of 2 PageID: 16317



                               UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY


  BLUE GENTIAN, LLC, NATIONAL
  EXPRESS, INC., and TELEBRANDS CORP.,

                        Plaintiffs,
                v.                                        [AMENDED] NOTICE OF APPEAL
  TRISTAR PRODUCTS, INC. and WAL-
  MART STORES, INC. d/b/a SAM’S CLUB
                                                          Case No.: 13-1758
  AND SAM’S WHOLESALE CLUB,

                        Defendants.



         NOTICE IS GIVEN that Plaintiffs, Blue Gentian, LLC, National Express, Inc. and

  Telebrands Corporation, appeal to the United States Court of Appeals for the Federal Circuit from

  the Opinion and Judgment (Docket Nos. 545 & 548) as entered in this action on January 16,

  2020, and Amended Opinion (Docket No. 567), as entered in this action on August 12, 2021,

  entered in favor of Defendants as to Defendants’ claims for Correction of Inventorship of U.S.

  Patent Numbers: 8,291,941, 8,291,942, 8,479,776, 8,757,213, D772,681, and D724,186.

         Dated and signed this 10th day of September, 2021.


                                                              STONE & MAGNANINI LLP
                                                              By: /s/ David S. Stone
                                                              David S. Stone
                                                              100 Connell Drive, Suite 2200
                                                              Berkeley Heights, NJ 07922
                                                              Telephone: (973) 218-1111
                                                              dstone@stonemagnalaw.com
                                                              Attorneys for Plaintiff Telebrands
                                                              Corporation

                                                              MCELROY, DEUTSCH,
                                                              MULVANEY & CARPENTER, LLP
                                                              By: /s/ George C. Jones
                                                              George C. Jones
                                                              1300 Mount Kemble Avenue
                                                              P.O. Box 2075
            Case: 21-2316
Case 1:13-cv-01758-NLH-AMD Document:
                            Document17
                                     571 Page:  358 Filed:
                                          Filed 09/10/21   12/14/2021
                                                         Page 2 of 2 PageID: 16318



                                                 Morristown, NJ 07962-2075
                                                 Telephone: (973) 993-8100
                                                 gjones@mdmc-law.com

                                                 McHALE & SLAVIN, P.A.
                                                 By: /s/ Edward F. McHale
                                                 Edward F. McHale
                                                 2855 PGA Boulevard
                                                 Palm Beach Gardens, FL 3341
                                                 Telephone (561) 625-6575
                                                 litigation@mchaleslavin.com

                                                 Attorneys for Blue Gentian, LLC and
                                                 National Express, Inc. and Michael
                                                 Berardi.
